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                         Nos. 2022-1477, -1478, -1479, 1480

                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT


                                  VEDERI, LLC,
                                                           Appellant,
                                         v.
                                  GOOGLE LLC,
                                                           Cross-Appellant.


  Appeals from the United States Patent and Trademark Office, Patent Trial and
  Appeal Board In Inter Partes Reexamination Nos. 95/000,681, -682, -683, -684

                APPELLANT VEDERI, LLC’S OPENING BRIEF




                                                            David A. Dillard
                                                                Shaun P. Lee
                                  LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                           655 N. Central Avenue, Suite 2300
                                                   Glendale, CA 91203-1445
                                                 Telephone: (626) 795-9900
                                                 Facsimile: (626) 577-8800
                                                     Attorneys for Appellant,
                                                                 Vederi, LLC




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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-1477, 22-1478, 22-1479, 22-1480
   Short Case Caption Vederi LLC v. Google LLC
   Filing Party/Entity Vederi LLC



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/01/2022
  Date: _________________                   Signature:    /s/ Shaun P. Lee

                                            Name:         Shaun P. Lee
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FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented         all real parties in interest    all parent corporations
 by undersigned counsel in        for the entities. Do not        for the entities and all
 this case.                       list the real parties if        publicly held companies
                                  they are the same as the        that own 10% or more
                                  entities.                       stock in the entities.

                                  ✔ None/Not Applicable
                                  ☐                               ✔ None/Not Applicable
                                                                  ☐

          Vederi LLC




                                     Additional pages attached
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FORM 9. Certificate of Interest                                                               Form 9 (p. 3)
                                                                                                 July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
            None/Not Applicable                                 Additional pages attached
  Lewis Roca Rothgerber Christie LLP (formerly
          Christie, Parker & Hale LLP)



            Robert Green




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
            None/Not Applicable                                 Additional pages attached
 Vederi LLC v. Google LLC, Central District of
  California, Case No. 2:10-cv-07747-FMO-CW




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔         None/Not Applicable                                 Additional pages attached
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Board            Patent Trial and Appeal Board
‘025 patent      U.S. 7,805,025
‘760 patent      U.S. 7,239,760
‘316 patent      U.S. 7,577,316
‘596 patent      U.S. 7,813,596
Vederi           Collectively the ‘025, ‘760, ‘316 and 596 patents
patents
Yee              Yee, F., GPS & Video Data Collection in Los Angeles County, A
                 Status Report, Position Location and Navigation Symposium, 1994,
                 IEEE, 388-393, Apr. 1994.

Lachinski        U.S. Patent No. 5,633,946
Dykes            Dykes, J., An approach to virtual environments for visualization using
                 linked geo-referenced panoramic imagery, Computers, Environment
                 and Urban Systems, Vol. 24, Issue 2, pp. 127-152, March 31, 2000.

Shiffer          Shiffer, M., Augmenting Geographic Information with Collaborative
                 Multimedia Technologies, Proceedings of Auto Carto 11, American
                 Society for Photogrammetry and Remote Sensing, American Congress
                 on Surveying and Mapping, pp. 367-376, 1993
Ishida           Ishida, T., et al, Digital City Kyoto: Towards a Social Information
                 Infrastructure, Lecture Notes in Artificial Intelligence, Vol. 1652, pp.
                 23-35, Springer-Verlag, 1999.




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I.       STATEMENT OF RELATED CASES
         This appeal is a consolidation of:
         Appeal No. 2022-1477 regarding Reexamination Control No. 95/000,681 (the
‘681 reexamination) for U.S. patent 7,805,025;
         Appeal No. 2022-1478 regarding Reexamination Control No. 95/000,682 (the
‘682 reexamination) for U.S. patent 7,239,760;
         Appeal No. 2022-1479 regarding Reexamination Control No. 95/000,683 (the
‘683 reexamination) for U.S. patent 7,577,316; and
         Appeal No. 2022-1480 regarding Reexamination Control No. 95/000,684 (the
‘684 reexamination) for U.S. patent 7,813,596.
         The Vederi patents are the subject of a patent infringement action CV 10-
07747 FMO (CWx) in the Central District of California. The District Court has
stayed the proceedings pending resolution of the reexaminations.
II.      STATEMENT OF JURISDICTION
         On December 16, 2021, the Patent Trial and Appeal Board (“Board”) issued
final decisions in the ‘681, the ‘682, the ‘683, and the ‘684 Reexaminations.
         Notices of appeal were timely filed with respect to all reexaminations. The
appeals were consolidated pursuant to the Court’s order dated February 18, 2022.
         This Court has jurisdiction over Vederi’s appeal under 28 U.S.C.
§1295(a)(4)(A).
III.     STATEMENT OF THE ISSUES
         A.    Claim Construction
         Whether the Board erred in construing “a second user input specifying a
navigation direction relative to the first location” to include a user input that specifies
a “navigation direction” that is not specified relative to a “first location.”
         Whether the Board erred in construing “a composite image created by
processing pixel data of a plurality of the image frames” to encompass a “single

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image” that includes multiple different views that do not form a continuous single
view.
         Whether the Board erred in construing “invoking display of the web page” for
“the retail establishment” to include the display of information gathered from a web
page without invoking display of the web page.
         Whether the Board erred in construing “arbitrary address” to cover a user
interface where a user cannot input arbitrary addresses and must select from a pre-
defined set of valid addresses.
         B.    Invalidity
         Whether the Board’s findings that claims 2-6, 8-10, 14-18, 20, 24, 26, 29, 33-
38, 41, 42, 44-48, 51-54, 56-60, 63-68, and 70-72 of the ‘025 patent are unpatentable
under 35 U.S.C. §103 in view of Ishida, Dykes, and Yee are supported by substantial
evidence.
         Whether the Board’s findings that claim 8 of the ‘760 patent is unpatentable
under 35 U.S.C. §103 in view of Shiffer, Yee, and Lachinski and whether claims 2,
3, 8, 12-18, 21-26, 29, and 32-37 of the ‘760 patent are unpatentable under 35 U.S.C.
§103 in view of Shiffer and Yee are supported by substantial evidence.
         Whether the Board’s findings that claims 13 and 18-24 of the ‘316 patent are
unpatentable under 35 U.S.C. §103 in view of Yee, Lachinski, and Dykes are
supported by substantial evidence.
         Whether the Board’s findings that claim 4 of the ‘596 patent is unpatentable
under 35 U.S.C. §103 in view of Yee, Dykes, and Lachinski and that claims 4 and
21 of the ‘596 patent are unpatentable under 35 U.S.C. §103 in view of Ishida, Yee,
and Dykes are supported by substantial evidence.




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IV.      STATEMENT OF THE CASE
         This consolidated appeal arose from the inter-partes reexaminations of four
patents owned by Vederi, LLC (“Vederi” or “Patent Owner”).1 Google LLC
(“Requester”) requested the reexaminations. After a remand from a previous appeal
to the Federal Circuit, reopening of reexamination, and appeal to the Board, the
Board found new grounds of rejection for the claims at issue. Vederi appeals the
Board’s decisions of unpatentability.
         A.        Overview of the Inventions
         The Vederi patents relate to systems and methods for visually navigating a
geographic area from a user terminal. For example, when the geographic area is a
street, the claimed invention displays composite images of the objects on each side
of the street (e.g., as if one were moving along the street), and information about
businesses depicted in the images. (Appx356, Abstract).
         Digital video cameras are mounted on a moving vehicle that drives around an
urban area recording image frames of the views of buildings, houses, etc. (Appx377
at 3:46-57; Appx377 at 4:50-58) A GPS receiver and inertial navigation system
provide the position of the camera as the image frames are being acquired.
(Appx356, Abstract; Appx376 at 2:29-31) The recorded image frames are used to
synthesize composite images that preferably provide a wider angle of view than any
single recorded image frame (e.g., by stitching two recorded image frames together).
(Appx378 at 5:45-51) When requested, the server retrieves the composite images
associated with a particular location and causes them to be displayed (Appx381 at

         1
              The four Vederi patents stem from a provisional application filed October 6,
2000. (Appx14175-14291) The ‘760 patent issued on July 3, 2007; the ‘316 patent
issued on August 18, 2009; the ‘025 patent issued on September 28, 2010; and the
‘596 patent issued on October 12, 2010. (See, Appx292-419)


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11:50-53).The composite images depict what one would see if one were actually at
the location. (Appx378 at 5:45-51).
         In some embodiments, a server stores the composite images along with their
associated geographic information. (Appx380 at 10:26-33). The server receives
inquiries from a user about a location within a geographic area as an address or as
geographic coordinates of the location, or as a selection of a location on a map.
(Appx381 at 11:43-53). The server retrieves composite images associated with the
selected location along with a map of the area and information on the businesses in
the area. (Id. at 12:26-47). The server may cause these images and information to
be displayed on a remote user terminal such as a personal computer, a personal
digital assistant, and similar devices, such as a smart phone. (Id. at 11:56-12:3)
         Figure 16 of the Vederi patents (below) shows a computer interface for
accessing panoramas 224:




         (Appx373)
         One method of creating a composite image as disclosed in the Vederi patents
is shown in Figure 2 of the patents, below.


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                                         (Appx359)
         Individual frames 42 are combined to generate a “composite image 40” which
has a single wider view of objects in the geographic area that is different from the
frames 42 and that is one that a person would see if they were at a location on the
opposite side of the street from the depicted buildings. (See Appx378 at 5:48-6:5)
         In some embodiments, the method uses street segment data, rather than
individual addresses, to organize and store the composite images. (Appx376 at 2:40-
45) Therefore, the images do not need to be matched exactly to individual addresses,
and there is no need to gather or store information about the exact location and span
of each address along a street. (Appx378 at 6:37-47).
         The images are associated with mathematically interpolated addresses within
the street segments. (Appx381 at 11:13-20) When a user enters an address, the
system identifies the segment that encompasses that address and calculates where
along the segment that address would fall—regardless of whether that address is
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assigned to a physical building along that segment. (Appx382 at 13:27-14:14) The
system then provides the composite image closest along the segment to the requested
location. (See Appx382 at 13:27-14:44).
         A user may select an initial location by entering an address to see a panorama
of the location. (Appx381 at 12:17-19) Selecting “navigation buttons 232” allow a
user to navigate through a geographic area in a corresponding navigation direction
(e.g., north, south, west, east) relative to a current location. The system then selects
a new location (“second location”) based on the navigation direction and updates the
current location, such that repeated selections of the same navigation button (e.g.,
the “east” button) navigates the user to new locations along the navigation direction
and such that selections of different navigation buttons navigate in different,
corresponding navigation directions relative to the current location, where the new
location may be in the same segment or in a different segment. (Appx382 at
13:10-20)
         B.    The Vederi Patent Claims
         All of the claims of the Vederi patents are directed to a system or method for
enabling visual navigation of a geographic area from a user terminal.
               1.     The ‘025 patent
         The claims of the ‘025 patent generally relate to retrieving a first image
associated with a first location specified by a user, receiving a second user input
specifying a navigation direction relative to the first location, determining a second
location based on the navigation direction, and retrieving a second image associated
with the second location. (See, e.g., Claim 21 Appx384 at 17:43-18:9.)
         Claims 2-6, 8-10, 14-20, 33-36, 58-60 and 64-72 of the ‘025 patent require
the retrieved images to be composite images (Appx383 at 15:64-16:19, 16:24-36;
Appx384 at 17:11-42; Appx385 at 19:3-17; Appx386 at 21:42-52, 22:6-48).



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         Claim 28 of the ‘025 patent relates to invoking display of a web page
associated with a retail establishment depicted in the retrieved images. (Appx384 at
18:43-48)
               2.     The ‘760 patent
         The claims of the ‘760 patent generally relate to retrieving a first image
associated with a first location specified by a user, receiving a second user input
specifying a navigation direction relative to the first location, determining a second
location based on the navigation direction, and retrieving a second image associated
with the second location. (See, e.g., Claim 1 Appx319 at 15:57-16:9) These features
allow a user to navigate relative to a currently displayed location.
               3.     The ‘316 patent
         The claims of the ‘316 patent relate to variations where the second location is
identified based on the selection of an icon displayed on the screen, rather than the
selection of a navigation direction as recited in the independent claims of the ‘025
and ‘760 patents. (See, e.g., Claim 1 Appx353 at 15:41-57).
         Claims 13, 18, and 19 of the ‘316 patent require the retrieved images to be
composite images. (Appx353 at 16:37-39).
         Claim 20 of the ‘316 patent relates to receiving a first user input as an
“arbitrary address.” (Appx353 at 16:62-66).
               4.     The ‘596 patent
         The claims of the ‘596 patent relate to a variation where the second location
is identified based on the selection of a position on a map displayed on the screen.
(See, e.g., Claim 1 Appx415 at 15:41-64.)
         Claim 4 of the ‘596 patent requires the retrieved images to be composite
images. (Appx415 at 16:6-9).
         Claim 21 of the ‘596 patent relates to invoking display of a web page
associated with a retail establishment depicted in the retrieved images. (Appx416 at
18:7-12).
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         C.    The Cited References
               1.    Yee
         Yee discloses a system for viewing video images collected by a van driving
through city streets. “A user can point at a road segment or specific location on a
computerized map and instantly display the video image(s) for that selected segment.
(Appx14108-14109). The images can be displayed as rolling video of four views in
a frame or as single-frame images.” (Appx14109) Yee discloses that “every house
is individually tagged with its address” (Id.), which enables the entry of a street
address to “retrieve house images” (Id.).
         Requester introduced Lachinski under 37 CFR §1.948(a)(2) in its February 6,
2013 Comments in the ‘682 reexamination “to explain Yee’s teachings.”
(Appx3893)
               2.    Dykes
         Dykes discloses a system for displaying multimedia data in association with
maps with the objective of supporting student fieldwork (Appx14151). For example,
the system can correlate data collected in the field with the location at which the data
was collected and display that data on a map. (Appx14164).
         Dykes discloses that standard digital cameras may be used with “cheap and
accessible panorama software” to stitch captured images into seamless panoramas
(Appx14156). Dykes displays, on the map, the locations and the directions in which
the images are taken (Appx14159) and the images can be accessed by clicking on a
symbol on the map corresponding to that image. Symbols can also be shown within
the images to represent other locations that have associated image data. Clicking on
those symbols within the panorama cause those images to be displayed
(Appx14161).




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               3.     Shiffer
         Shiffer discloses a system for supporting city-planning activities as focused
on a selected site, including assessments of visual environments and illustrations of
proposed changes to the visual environments (Appx14085).
         “Navigation images” of Shiffer allow a user to “drive or fly through the study
area” (Appx14087) and are represented on the map as “linear symbols that represent
the routes available to the user” (Id.). The navigation images are shown as videos
and a controller on screen “allows the user to control the direction of flight (forward
or reverse), as well as the speed of flight, by sliding the pointer towards either end
of the controller.” (Appx14087-14088).
         Shiffer discloses that 360° axial views allow a user to look completely around
a selected site. Proposed changes to an environment can be seen by showing
architectural models and artists’ renderings of the changes directly overlaid at the
appropriate locations on a map, “along with arrows that are linked to various
perspective views” as shown in Figure 3. Selecting an arrow yields an image of an
architectural model or rendering in a separate window, with controls allowing users
to navigate around the image by ‘zooming’ or ‘panning’.” (Appx14088).
               4.     Ishida
         Ishida discloses a 3D virtual city corresponding to a real-world city for users
to interact with using a 3D interface (Appx14138), which may be built in 3DML,
shown using a web browser plug-in (Appx14140). Ishida integrates information
extracted from web pages into the 3D virtual city at locations in the virtual city
corresponding to real-world locations (Appx14142).
         D.    The Board’s Decisions on the Reexaminations
               1.     Claim Construction
         The Board concluded that the phrase “composite image created by processing
pixel data of a plurality of image frames” should be construed to include “a single

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image created by combining different image data or by uniting image data but does
not require a single new image with a single view” and that “the limitation of
‘processing pixel data of a plurality of image frames’ requires no more than taking
in and using pixel data from two or more image frames to create the composite
image.” (Appx18, Appx21).
         The Board construed “web page for the retail establishment” as including “a
web page that (1) shows particular information about the retail establishment or (2)
is associated with a particular retail establishment.” (Appx278). The Board further
construed “web page” to be “a document on the World Wide Web, consisting of a
hypertext file and any related files for scripts and graphics.” (Appx279).
         The Board construed “arbitrary address” as “can be various addresses,
including those based on the user’s preference or convenience, and can be an
assigned address or an address selected from a group associated with tagged
images.” (Appx255).
               2.     Rejection of the claims
         The chart below shows the bases for the Board’s new grounds of rejection
based on prior art.
  Patent                 Claims                  References           Basis
  ‘025                   2-6, 8-10, 14-18,       Ishida, Dykes, and   §103
                         20, 24, 26, 29, 33-     Yee
                         38, 41, 42, 44-48,
                         51-54, 56-60, 63-
                         68, and 70-72
  ‘760                   8                       Shiffer, Yee, and    §103
                                                 Lachinski
  ‘760                   2, 3, 8, 12-18, 21-     Shiffer and Yee      §103
                         26, 29, and 32-37
  ‘316                   13 and 18-24            Yee, Lachinski,      §103
                                                 and Dykes
  ‘596                   4                       Yee, Dykes, and      §103
                                                 Lachinski
  ‘596                   4 and 21                Ishida, Yee, and     §103
                                                 Dykes


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V.       SUMMARY OF THE ARGUMENT
         The Board erred in construing “composite images created by processing pixel
data of a plurality of the image frames” to mean “a single image created by
combining different image data or by uniting image data” that includes displays
showing two or more independent images with discontinuous views.
         The Board erred in construing “a second user input specifying a navigation
direction relative to the first location” to include a user input that specifies a
“navigation direction” that is not specified relative to a “first location.”
         The Board erred in construing “web page for the retail establishment” to
include information collected from web sources on the World Wide Web regarding
a retail establishment, without displaying the information as a web page.
         The Board erred in construing “arbitrary address” to cover a user interface
where a user cannot present arbitrary addresses and is constrained to pre-defined,
assigned addresses.
         Applying its erroneous claim constructions, the Board erroneously rejected
the claims requiring these, and other, limitations. These erroneous rejections include
rejections of: claims 2-6, 8-10, 14-18, 20, 24, 26, 29, 33-38, 41, 42, 44-48, 51-54,
56-60, 63-68, and 70-72 of the ‘025 patent as being obvious over Ishida, Dykes, and
Yee; claim 8 of the ‘760 patent as being obvious over Shiffer, Yee, and Lachinski;
claims 2, 3, 8, 12-18, 21-26, 29, and 32-37 of the ‘760 patent as being obvious over
Shiffer and Yee; claims 13 and 18-24 of the ‘316 patent as being obvious over Yee,
Lachinski, and Dykes; claim 4 of the ‘596 patent as being obvious over Yee, Dykes,
and Lachinski; and claims 4 and 21 of the ‘596 patent as being obvious over Ishida,
Yee, and Dykes.
         These rejections should be reversed at least because the cited references do
not disclose the limitations of the rejected claims when those claims are properly
construed.

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VI.      ARGUMENT
         A.    Claim construction
               1.    Standard of review
         The Court reviews the Board’s legal decisions de novo and its underlying
factual determinations for substantial evidence. In re Sullivan, 498 F.3d 1345, 1350
(Fed. Cir. 2007). Obviousness is a question of law with underlying issues of fact.
Randall Mfg. v. Rea, 733 F.3d 1355, 1362 (Fed. Cir. 2013). Claim construction is
reviewed de novo except for subsidiary fact findings based on extrinsic evidence,
which are reviewed for substantial evidence. In re Smith Int’l, 871 F.3d 1375, 1380
(Fed. Cir. 2017).

               2.    Legal Principles regarding Ordinary and Customary
                     Meaning under Phillips

         Because the Vederi patents are now expired, the Board construed the claims
based on “their ordinary and customary meaning” as would have been understood
by “a person of ordinary skill in the art in question at the time of the invention.”
Phillips v. AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005); see also MPEP
2258(I)(G) (citing Phillips, 415 F.3d at 1316; Ex parte Papst-Motoren, No. 650-04,
1 U.S.P.Q.2d 1655 (B.P.A.I. Dec. 23, 1986)).
         The Federal Circuit has recently emphasized that construing the terms and
limitations of the claims based on “their ordinary and customary meaning,” involves
a focus on the specification of the patent:
               Indeed, the specification is key—it is "highly relevant to
               the claim construction analysis" and the "single best guide
               to the meaning of a disputed term." Phillips, 415 F.3d at
               1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90
               F.3d 1576, 1582 (Fed. Cir. 1996));…

         (Immunex Corp. v. Sanofi-Aventis U.S. LLC, 977 F.3d 1212, 1218 (Fed. Cir.
2020)), cert. denied, 141 S.Ct. 2799 (June 21, 2021) .

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         The Federal Circuit has emphasized that:
            In most situations, an analysis of the intrinsic evidence
            alone will resolve any ambiguity in a disputed claim term.
            In such circumstances, it is improper to rely on extrinsic
            evidence. See, e.g., Pall Corp. v. Micron Separations,
            Inc., 66 F.3d 1211, 1216, 36 USPQ2d 1225, 1228
            (Fed.Cir.1995)
(Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1583 (Fed. Cir. 1996))

         Other basic principles of claim construction apply to the ordinary and
customary meaning standard. For example, “patentees [are] not required to include
within each of their claims all of [the] advantages or features described as significant
or important in the written description.” Advanced Fiber Techs. (AFT) Trust v. J&L
Fiber Svcs., Inc., 674 F.3d 1365, 1380 (Fed. Cir. 2012) (Dyk, dissenting-in-part),
(citing, Golight, Inc. v. Wal-Mart Stores, Inc., 355 F.3d 1327, 1331 (Fed. Cir. 2004))
Additionally, all claim terms are presumed to have meaning. Merck & Co., Inc. v.
Teva Pharms. USA Inc., 395 F.3d 1364, 1372, (Fed. Cir. 2005) (“A claim
construction that gives meaning to all the terms of the claim is preferred over one
that does not do so.”) See also, Gen. Am. Transp. Corp. v. Cryo-Trans, Inc., 93 F.3d
766, 770 (Fed.Cir. 1996) (rejecting the district court’s claim construction because it
rendered superfluous the claim requirement for openings adjacent to the end walls).
               3.     The meaning of “location” in “a second user input specifying
                      a navigation direction relative to the first location.”
         The independent claims of the ‘025 and ‘760 patents recite, in part:
                      receiving a first user input specifying a first location
               in the geographic area;
                      …
                      receiving a second user input specifying a
               navigation direction relative to the first location in the
               geographic area;
                      determining a second location based on the user
               specified navigation direction . . .

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or recite similar limitations. (Appx319 at 15:60-61; Appx319 at 16:3-7; Appx383 at
15:46-47; Appx383 at 15:57-61)
         The Board did not explicitly construe these limitations in its Decisions on
Appeal and Decisions on Rehearing in the reexaminations of the ‘025 and ‘760
patents and applied these limitations under their “ordinary and customary”
meanings.
         The Board construed the term “location” in its ‘760 Decision on Rehearing:
               Furthermore, the recited term “location” in claims 1 and
               20 can encompass a street or region and is not limited to a
               particular building or object within the map as Vederi’s
               arguments appear to imply.
               (Appx228)

         The Board’s construction of “location” is inconsistent with the “ordinary and
customary meaning” of this term in light of the specification.
         For example, in the Detailed Description of the ‘760 patent (emphasis added):
               In a particular use of the system, a user places inquiries
               about a location in a geographic area depicted in the image
               database 32. For example, the user may enter an address
               of the location, enter the geographic coordinates of the
               location, select the location on a map of the geographic
               area, or specify a displacement from a current location.
               (Appx317 at 11:54–59)

         See also Appx317 at 12:29–48 and Appx318 at 14:35–59. The specification
consistently refers to a “location” based on geographic coordinates or a point along
a street segment.
         A person of ordinary skill in the art would understand that the ordinary and
customary meaning of the term “location” in light of the specification refers to a
region identified by an address or geographic coordinates, and would not interpret
“location” as encompassing an entire “street or region” as found by the Board.



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               4.     The meaning of “navigation direction” in “a second user
                      input specifying a navigation direction relative to the first
                      location.”
         The Board did not explicitly construe the “navigation direction” limitation but
applied a “ordinary and customary” meaning that was inconsistent with the
specification of the Vederi patents to include circumstances where a “direction” is
not specified relative to another location.
         Regarding a “navigation direction,” the ‘760 patent states, in reference to Fig.
16 (reproduced below), in part (emphasis added):
               The composite image is also updated as the user navigates
               through the streets using the navigation buttons 232. From
               a current location, the user may choose to navigate north,
               south, west, and east by actuating the corresponding
               buttons. Preferably, only the navigation buttons
               corresponding to the possible direction of motions from
               the current position are enabled. As the user actuates one
               of the buttons, the current position is incremented by a
               predetermined amount, currently set to eight meters, to the
               next available composite image on the current or adjacent
               segment. The image area 224 is then updated with the new
               composite image.
               (Appx318 at 13:24-34)




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         (Appx309)
         The specification discloses that the “navigation buttons 232” control the
“possible direction of motions from the current position” or current location. (Id.)
         In view of the specification, one skilled in the art would understand that “a
second user input specifying a navigation direction relative to the first location”
enables a user to visually navigate along the streets based on the specifying
directions of their choosing (e.g., north, south, east, west, etc.) relative to a current
location (e.g., “first location”)).
               5.    The meaning of “composite image” in “a composite image
                     created by processing pixel data of a plurality of the image
                     frames”

         The ‘025 Decision on Appeal construes “composite image” on page 20:
               Accordingly, the phrase "composite image" in claims 6,
               18, 34, 35, and 68 means a single image created by
               combining different image data or by uniting image data
               and the further limitation of "each composite image is
               created by processing pixel data of a plurality of the image
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               frames" in claim 35 means a single image that may be
               created by combining or uniting image data from a
               plurality of image frames at the level of pixel data.
               (Appx21)

         Similar remarks appear in the ‘316 Decision on Appeal (Appx117-118) and
the ’596 Decision on Appeal (Appx160).
         However, the Board’s construction of “composite image” did not define
“single image.”
         Based on the customary and ordinary meaning of the term “composite image”
in view of the specification, Vederi respectfully submits that the term “single image”
in the Board’s construction of “composite image” would be understood to be an
image that depicts a single continuous view and would exclude placing multiple
arbitrary images together into a discontinuous arrangement.
         The specification provides support for Vederi’s construction:
                      a)      In the Abstract
         Vederi’s construction is consistent with the overview of the ‘025 patent
provided in the Abstract, which specifically refers to generating a composite image
that provides “a panoramic view” (see Appx356, ‘025 patent, Abstract)
                      b)      In the Summary of the Invention
         The summary of the invention explains that “[t]he present invention addresses
and alleviates the above-mentioned deficiencies associated with the prior art.”
(Appx376 at 2:19-20). The summary of the invention refers to the “composite
image” and identifies that the “composite image depict[s] a view of the objects from
a particular location outside of the path” and “provides a field of view of the location
that is wider than the field of view provided by any single image acquired by the
image recording device.” (Id. at 2:33-39).
                      c)      In the Detailed Description of the Invention
         Consistent with this purpose of the invention, the specification provides that

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“[i]n essence, the composite images help provide a panoramic view of the
location.” (Appx378 at 5:50-51, emphasis added).
         The Detailed Description supports this construction, e.g.:
               The composite images are created by synthesizing
               individual image frames acquired by a video camera
               moving through the location and filming the objects in its
               view. (Appx377 at 3:46-49)

               The post-processing computer 28 uses the image and
               position sequences to synthesize the acquired images and
               create composite images of the location that was filmed.
               The composite images preferably provide a wider field of
               view of the location than any single image frame acquired
               by the camera 10. In essence, the composite images help
               provide a panoramic view of the location. (Appx378 at
               5:45-51)

         Fig. 2 shows a composite image which has a single continuous view of objects
in the geographic area that is different from the individual frames from which it is
synthesized, e.g., the view that is created is one that a person would see if he or she
were at a single location on the opposite side of the street from the depicted
buildings. (Appx378 at 5:45–6:5)
         Fig. 16 of the Vederi patents and Fig. 11 of the provisional application to
which the Vederi patents claim priority show additional examples of composite
images, which are reproduced below.




         (Appx373)




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         (Appx14186)
         The specification uses “composite image” to mean a new image, created by
processing pixel data of a plurality of image frames, that depicts a single continuous
view (from a single location) of the objects in the geographical area that is different
from any of the views depicted in any one of the image frames from which the
composite image is created, such as those shown in the examples above. This is the
meaning given by the specification and should be adopted. See, In re Abbott
Diabetes Care, Inc., 696 F.3d 1142, 1149 (Fed. Cir. 2012).

               6.     The meaning of “a web page for the retail establishment.”

         Claim 28 of the ‘025 patent recites, inter alia:
                wherein the particular one of the objects is a retail
                establishment, the method further comprising:
                accessing a web page for the retail establishment; and
                invoking by the computer system a display of the web
                page on the display screen.
               (Appx384 at 18:43-48) (emphasis added)
         Claim 21 of the ‘596 patent recites similar limitations (Appx416 at 18:7-12).
The Board refers to these as the “Web Page Limitations” and the ‘025 Decision on
Appeal finds that:
               we understand the ordinary meaning of this phrase to
               include a web page that (1) shows particular information
               about the retail establishment or (2) is associated with a
               particular retail establishment.

(Appx23)
         Similar remarks appear in the ‘596 Decision on Appeal. (Appx161)

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         In its Requests for Rehearing in the reexaminations of the ‘025 and ‘596
patents, Vederi argued that the Board failed to construe the term “web page.” Vederi
provided a definition that was adopted by the Board, which found a “web page” to
“include a document on the World Wide Web, consisting of a hypertext file and any
related files for scripts and graphics.” (Appx193-194)
               7.     The meaning of “an arbitrary address.”
         Claim 20 of the ‘316 patent reads (emphasis added):
               20. The method of claim 1, wherein the first location
               specified by the first user input is an arbitrary address
               entered via the first user input, the entered arbitrary
               address specifying information selected from a group
               consisting of street name, city, state, and zip code.
               (Appx353 at 16:62-66)

         Claim 20 modifies the portion of claim 1 that reads “receiving a first user input
specifying a first location in the geographic area.”
         Vederi submits that “arbitrary address” means “any potential addresses
(assigned and unassigned) in the geographic area, not preselected or constrained by
the system.”
         An “arbitrary something,” refers to any member of a set of potential or
possible “somethings.”2 The specification refers to an “arbitrary value.” (“In step 82,
a time phase is initialized to an arbitrary value using the camera time stamp.” (‘316
Patent, Appx349 at 7:15–20)). In this context, “arbitrary” refers to any of the
possible values.
         An “arbitrary location” for an event is any of all the potential locations

2
     Arbitrary,    The      American      Heritage    Dictionary,    available     at
https://www.ahdictionary.com/word/search.html?q=arbitrary (Defs. 1 and 2) (“adj.
1. Determined by chance, whim, or impulse, and not by necessity, reason, or
principle: stopped at the first motel we passed, an arbitrary choice. 2. Based on or
subject to individual judgment or preference: The diet imposes overall calorie limits,
but daily menus are arbitrary.”)
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suitable for that event. If one characterized all the potential locations as a set of
potential locations, “an arbitrary location” would be any member of that set of
potential locations. This set can be limited—e.g., “an arbitrary location in the city of
Pasadena” limits the set to locations within Pasadena.
         The claimed invention provides the ability to select any potential address
within a geographic area and view that address without requiring one-to-one
corresponding street images. (‘316 Patent, Appx346 at 2:45–49) If the selected
address does not correspond to an assigned address, the invention still shows an
image of the location along the street where that address would be located if it
existed—the selection of an address is not constrained to a pre-defined list of
assigned addresses. Therefore, the image database must have images of both
assigned and unassigned addresses so that when a user keys in an address, even if
it is unassigned, an image associated with that unassigned address will be displayed.
         One method for supporting arbitrary addresses described in the ‘316 patent
divides each street into segments that correspond to groups of addresses when
mapping an area. (See Appx348 at 6:37–47). When a user enters an address, the
system calculates where along the street segment that address would fall—regardless
of whether that address exists. (See Appx352 at 13:21–14:14)
         In the ‘316 Decision on Rehearing, the Board found that:
                . . . “an arbitrary address” can be various addresses,
               including those based on the user’s preference or
               convenience, and can be an assigned address or an address
               selected from a group associated with tagged images.
               (Appx255)

         The Board’s construction of “arbitrary address” renders the word “arbitrary”
superfluous. Under the claim construction standards of Phillips, the term “arbitrary”
must be given weight to distinguish its meaning from the meaning of “address.” For
example, the term “address” in the Web Page Limitations could reasonably be
afforded the same construction that the Board gave to the term “arbitrary address,”
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at least because a user already provides a “first user input” based on their “preference
or convenience.” The Board’s construction of “arbitrary address” improperly
requires knowing a user’s state of mind (their “preference or convenience”) when
evaluating the scope of the claim.
         Vederi submits “arbitrary address” in claim 20 is a limitation on the “first user
input,” e.g., specifying the first location using an “address” versus specifying
“geographic location coordinates” (see, e.g., ‘316 patent Appx351 at 11:45–48).
         The adjective “arbitrary” in “arbitrary address” indicates that the “address
entered via the first user input” is entered as an unconstrained choice, e.g., in that it
allows both assigned addresses (street numbers assigned to buildings and/or plots)
and unassigned addresses (e.g., unassigned numbers located between buildings
and/or plots).
         In the context of the specification of the ‘316 patent, including the portions of
the ‘316 patent cited above, Vederi submits that the customary and ordinary meaning
of “arbitrary address” means that the user input accepts both unassigned and
assigned addresses in contrast to requiring the user to select from a predetermined
list of assigned addresses.
         B.    Invalidity Rejections
               1.     Claims requiring, inter alia, a “composite image” “created by
                      processing pixel data of a plurality of” “image frames
                      acquired by an image recording device moving along a
                      trajectory”
         Representative claim 4 of the ‘596 patent recites, in part (emphasis added):
               wherein the first and second images are each a composite
               image,
               wherein each composite image is created by processing
               pixel data of a plurality of the image frames.
               (Appx415 at 16:6-9)

         Claim 35 of the ‘025 patent recites similar limitations. (Appx385 at 19:11-14)
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         Representative claim 13 of the ‘316 patent recites, in part:
               wherein the first image is a composite image created by
               processing pixel data of a plurality of the image frames.
               (Appx353 at 16:37-39)

         Claim 4 of the ‘596 patent was rejected under 35 U.S.C. §103 as being obvious
over Yee, Dykes, and Lachinski and separately as being obvious over Ishida, Yee,
and Dykes. Claims 6, 18, 34, 35, 68, and 69 of the ‘025 patent were rejected as being
obvious over Ishida, Dykes, and Yee. Claims 13, 18, 19, 23, and 24 of the ‘316
patent were rejected as obvious over Yee, Lachinski, and Dykes.
                      a)      Yee and Lachinski do not disclose “Composite Images”
         All of the new grounds of rejections rely on Yee, and some of the new grounds
further cite Lachinski.
         Vederi respectfully submits that the Board has applied Lachinski to an extent
beyond rebutting Vederi’s arguments in accordance with 37 C.F.R. §1.948(a)(2).
The Board relies on Lachinski for teachings that are not present in the Yee reference.
Nevertheless, in the interest of fully responding to the Board’s new grounds of
rejection, the below remarks also analyze Lachinski on its merits.
         The Board’s ‘025 Decision on Appeal found that:
               Yee addresses collected data made available with its
               product. Yee 389. The data includes provided various
               views, including “curbside view, front and back,” “street
               view, front and back,” “real estate view left and right,”
               “real estate and addresss [sic] zoom, 4-view,” and
               “composites of them.” Id. Yee explicitly discloses
               “composites” (id.; see RAN 71) and “them” refers back to
               the other discussed views, including a front and back
               curbside view, a front and back street view, and a left and
               right real estate view. Thus, Yee teaches creating
               “composites” of these various views.
               (Appx36)

         Similar remarks appear in the ‘596 Decision on appeal (Appx165) and the

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‘316 Decision on Appeal (Appx124-125).
         Yee does not disclose “composite images” as properly construed. The only
portion of Yee alleged to teach “composite images” is cited above, but Yee does not
explain the meaning of “composites of them.”
         Vederi presented the GeoSpan Brochure “Drive around town on your PC with
GEOVISTA,” Appx1626-1630 originally attached to Vederi’s January 8, 2013
Reply, which includes the below figure, captioned “Street & Real Estate 4-way
Composite View:”




         (Appx1628)
         The “Street & Real Estate 4-way Composite View” shown in the GeoSpan
Brochure appears to be a collage of the “street view, front and back” and “real estate
view left and right” listed in Yee. Vederi submits that this figure clarifies the
meaning of “composites of them” as the term was used in Yee, as there is no other
evidence in the record associated with Yee reference (e.g., related to the work by
GeoSpan) that uses the word “composite” or variants thereof.
         Vederi also submits that this rebuts the characterization of Yee as allegedly
disclosing a “composite image” when the term is construed based on the Phillips
standard in view of the specification.
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         The ‘025 Decision on Rehearing states:
               Although “GeoVista” and “GeoSpan” are discussed in
               Yee (see, e.g., Yee 388, 392), there is insufficient evidence
               that the “4-way” view in the GeoSpan Brochure
               demonstrates the only possible 4-view that Yee creates.
               (Appx207)

         Similar remarks appear in the ‘596 Decision on Rehearing (Appx281-282)
and the ‘316 Decision on Rehearing (Appx257-258).
         Vederi submits that the Board’s reasoning is speculative. Yee and Lachinski
provide no examples or definitions of its “composites” and teach no ways to generate
composites other than the 4-view.
         The Board refers to a “four-view generator” in Lachinski at 5:25–31
(Appx14124) as allegedly providing further explanation of the “composite images.”
The “four-view generator 62” is the only method taught in Lachinski for combining
multiple images and the description of the “four-view generator 62” is consistent
with the GeoSpan Brochure’s “Street & Real Estate 4-way Composite View.”
         The ’025 Decision on Rehearing further states:
               Also, the reproduced image in the Request for Rehearing
               (Req. Reh’g 23) is described as a “4-way Composite
               View” (id. (emphasis added)), whereas Yee describes the
               “4-view” as a separate view from the “composite of them”
               and other views. Yee 389; see also Dec. 36 (stating “the
               [language] ‘composites of them’ is separate from the ‘4-
               view’ in Yee”) (citing Yee 389).
               (Appx207)

         The Board’s reliance on “4-view” as allegedly distinct from “composites of
them” is incorrect and explained by Lachinski in its description of its sole
mechanism for combining images, “4-view generator.”
         Figure 3 of Lachinski, below, depicts the “4-view generator” in context.



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(Appx14114)
         As shown above, a “digital matrix router 23" connects ten “video cameras”
50A through 50J to “video monitors” 54A through 54D, a “video tape recorder” 20,
and a “4-view generator” 62. (Appx14123-14124 at 4:35–5:24). Lachinski also
describes the views captured by the “video cameras” in a table reproduced below:
               ______________________________________
               CAMERA         VIEW
               ______________________________________
               50A            Driver’s Front
               50B            Boulevard Front
               50C            Stereo Front
               50D            Right Side - Short Focal Length
               50E            Right Side - Long Focal Length
               50F            Driver’s Rear
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               50G              Boulevard Rear
               50H              Stereo Rear
               50I              Left Side - Short Focal Length
               50J              Left Side - Long Focal Length
               ______________________________________
               (Appx14123 at 4:51–63)

         Lachinski’s cameras 50 appear to capture views corresponding to the
“curbside view, front and back; street view, front and back; real estate view left and
right; real estate and addresss zoom” of Yee.
         Lachinski states that its “digital matrix router” 23:
               provides at a plurality of router outputs 78 any desired
               combination of signals received at its inputs 74 as
               instructed by software located in the control computer 16.
               (Appx14124 at 5:12–15)

         The “four-view generator” 62 takes four inputs, reduces the image represented
by each input to ¼ its original size, and “combines the reduced images to form a
single video image by placing each of the reduced images into one of the four corners
of an output image” which is referred to as a “four-view image.” A “time base
corrector” 64 holds the four-view image in a buffer to provide enough time for the
image to be stable (“approximately one tenth of a second”) to be accurately recorded
by the “video tape recorder” 20. (Appx14124 at 5:25–40)
         The “four-view image” produced by the “four-view generator 62” is supplied
(through “output” 84 to the “time base corrector” 64) as one of the inputs to the
digital matrix router 23.
         Because the “digital matrix router” 23 provides at its outputs “any desired
combination of signals received at its inputs,” Lachinski explains how the “four-
view generator” of Lachinski can also create a four-view image where one of the
four views is a previously generated “four-view image.”
         The “composites of them” of Yee can therefore include a “4-view” adjacent
other views, such as a real estate view, within a 4-view composite image because
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Yee and Lachinski do not teach any other way to combine views.
         Finding Yee and Lachinski to teach any type of “composite” other than the
“4-view” is speculative and unsupported by the record.
         The four-view images described in detail in Lachinski and depicted in the
GeoSpan brochure show four separate and distinct images that are placed in a two-
by-two grid, without forming a single continuous view. The four images may be
selected for combination arbitrarily (Appx14124 at 5:10–16) and regardless of
whether they form a single continuous view.
         Yee and Lachinski do not describe any combinations of views that would
result in a single continuous view and do not disclose a “composite image” as
construed in view of the Vederi patents.
                     b)       Yee, Lachinski, and Dykes in combination do not
                              disclose Composite Images
         Vederi submits that one skilled in the art would not have combined Yee,
Lachinski, and Dykes to arrive at “composite image” as properly construed.
         The ‘025 Decision on Appeal states:
               Dykes teaches and suggests creating images that “are each
               a composite image” because of the reasons similar to those
               previously discussed when addressing claim 33. That is,
               Dykes teaches creating panoramas, which are single
               images created by combining and uniting different image
               data (e.g., the nine images in the upper left in Figure 2)
               through a stitching technique. See Dykes 134-36, Fig. 2.
               Dykes thus illustrates how images taken at different points
               can be stitched together to yield a single, composite image.
               See RAN 25 (citing Dykes 134-35, Fig. 2);
               (Appx40)

         Similar remarks appear in the ‘596 Decision on Appeal (Appx166-167) the
‘316 Decision on Appeal (Appx129-130).



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         The Board underestimates the challenges involved in the Board’s proposed
use of the techniques of Dykes to stitch together images captured in accordance with
Yee.
         For example, one possible interpretation of the Board’s combination is to
connect a module configured to perform the stitching technique of Dykes to the
“digital matrix router 23” of Lachinski (e.g., in place of the “4-view generator”).
         One skilled in the art would understand that stitching together high-resolution
images such as those captured by the system described in Yee3 using the computers
available at the time would take minutes, which is far longer than the time available
based on the 30 frame per second capture rate of the system of Yee. In contrast, the
four-view generator of Lachinski can be implemented entirely using analog
electronics and can generate the four-view within about one-tenth of a second as
described in Lachinski (Appx14124 at 5:38–39).
         Alternatively, the Board’s suggested combination would apply the stitching
technique to images captured by Yee at different times using the same camera. One
skilled in the art would understand that the “panorama software” described in Dykes
could not be used to generate panorama using image frames captured by Yee as
suggested by the Board, at least because Dykes merely discloses generating
panoramas based on rotating a camera in a full circle of 360° to capture images with
a small overlap and does not disclose generating panoramas using images captured
from different locations. See, e.g., Dykes at 132 (Appx14154) and Fig. 2 of Dykes,
reproduced below:




3
 “Each camera uses 3-CCD (charged couple devices) sensors with a resolution of
750 lines for a high quality professional color image.” Yee at 391 (Appx14108)
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(Appx14157)
         There appear to be two potential sets of images captured by Yee that could be
combined according to the Board’s combination. One possible set of images are
captured at the same time by different cameras in the four directions of Yee (front,
back, right side, left side) and a second possible set of images are captured at
different times by the same camera (e.g., images captured by the same left side
camera at two different times). It is unclear on which sets of images the Board is
proposing to combine.
         Regarding the images captured at the same time, page 391 of Yee describes
its cameras as follows:
               The cameras provide coverage 10-40 meters in front of the
               vehicle and over a horizontal angle of 63 degrees.
               (Appx14108)

         Lachinski provides little detail about the orientations of these cameras apart
from their descriptions in the “view” column of the table at 4:51–63 (Appx14123).

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However, it does not appear that these cameras provide sufficient coverage to cover
360° with overlap.
         One skilled in the art would understand that the two “long focal length”
cameras have narrow fields of view that fully overlap with the fields of view of the
“short focal length” cameras. The “stereo front” and “stereo rear” cameras of
Lachinski appear to support stereo photogrammetric processes (Appx14129 at
16:18–33), where these “stereo” cameras completely or nearly completely overlap
in field of view with a corresponding “main” camera (but physically offset to
introduce parallax). Therefore these “long focal length” and “stereo” cameras would
be redundant for generating 360° panoramas.
         Assuming the remaining cameras provide a horizontal angle of 63° in each of
the four directions (front, back, right, and left), the total horizontal angle coverage is
4×63°=252° and therefore would not provide 360° coverage and would not have
overlap between the images. Furthermore, the cameras are in different parts of the
van, and therefore, even if they did overlap, those overlapped portions would exhibit
parallax. These parallax inconsistencies would cause a stitching technique of Dykes
to fail or to generate panoramas with errors. Therefore, Yee and Lachinski do not
capture images with a “small overlap” that can be stitched into panoramas.
         Regarding the images captured at different locations, in the ‘025 Decision on
Appeal, the Board cites pages 134–36 of Dykes as allegedly teaching “how images
taken at different points can be stitched together to yield a single, composite image.”
(Appx26)
         However, Vederi submits that Dykes at pages 134–36 (Appx14156-14158)
does not describe a technique of stitching together “images taken at different points,”
and only describes stitching together images taken from the same point or location,
but in different viewing directions (by rotating the camera).
         For example, in subsection 5.1, of Dykes states, in part:
               Fig. 2 shows the way in which a series of digital images
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               are combined to produce a panorama.
               (Appx14156)

         However, Figure 2 of Dykes (reproduced above) shows how images captured
at a single point and looking outward in different directions can be stitched together.
         Subsection 5.2 of Dykes (Appx14156, Appx14158) provides a survey of
“Geographic uses of panoramic imagery” in reference to work by other researchers.
         Subsection 5.3 of Dykes (Appx14158) explains the design of the software that
the authors developed for supporting “fieldwork teachers” based on existing
constraints and comparisons to then-available software solutions.
         Cited pages 134–36 of Dykes therefore do not disclose stitching together
“images taken at different points.”
         Vederi further submits that it would have been prohibitively expensive to
combine the teachings of Yee and Dykes. For example, Yee states, in part:
               At the time of the writing of this paper, 13,000 miles had
               been driven on the GeoVan. Of those miles, 8,000 of them
               are "good" miles, ie. miles covered only once. We estimate
               another 20,000 miles to go in LA County. . . .
               You will note the uncertainty as to miles covered. The
               procedure for exact mileage computation still awaits
               processing of the tapes which because of their large
               numbers defies completion.
               (Appx14110)

         Vederi respectfully submits that if merely computing the miles covered by the
GeoVan “defies completion” due to the “large numbers,” performing the
computationally expensive task of stitching high resolution images together into
panoramas would slow down and add expense to a manually intensive approach that
was already slow and costly.4 Creating panoramas in Yee using the technique of
Dykes would have delayed completion of a product that already “defie[d]

4
 See, e.g., “GEN-2 City Tour BBC & CNBC 1995, January 1, 2004” (Appx9460-
9461). See also Appx14130 at 17:38-50.
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completion.”
         There is no reason to combine the teachings of Yee and Dykes to arrive at the
claimed limitations requiring a “composite image” as properly construed in view of
the specification.
         Claims 2-6, 8-10, 14-20, 33-36, 58-60 and 64-72 of the ‘025 patent, claim of
the ‘596 patent, and claims 13, 18, and 19 of the ‘316 patent also require the retrieved
images to be composite images. Therefore, these claims are also not obvious in view
of combinations of references that rely on Yee and Dykes.
                     c)       Ishida in combination with Yee and Dykes do not
                              disclose Composite Images

         Claims 4, 69, and 72 of the ‘596 patent, which depend directly or indirectly
from claim 1, and claims 4 and 21 of the ‘596 patent are rejected under 35 U.S.C.
§103 as allegedly being obvious over Ishida in view of Yee and Dykes.
         However, Ishida does not appear to describe generating composite images
using 2D photographs and therefore does not supply the above-discussed
deficiencies of the combination of Yee and Dykes.
               2.    Claims requiring, inter alia, “a first location in a geographic
                     area” and a “second user input specifying a navigation
                     direction relative to the first location”
         Claims 1, 43, and 55 of the ‘025 patent and claim 1 of the ‘760 patent recite,
in part:
                      receiving a first user input specifying a first location
               in the geographic area;
                      …
                      receiving a second user input specifying a
               navigation direction relative to the first location in the
               geographic area;
                      determining a second location based on the user
               specified navigation direction; and
                      retrieving from the image source a second image
               associated with the second location.
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               (e.g., Appx383 at 15:46-47 and Appx383 at 15:57-62)

         Canceled claims 13 and 21 of the ‘025 patent and canceled claim 20 of the
‘760 patent recite similar claim limitations.
                     a)       The cited combination of Yee and Dykes fails to teach
                              at least the limitations “receiving a first user input
                              specifying a first location in the geographic area; . . .
                              receiving a second user input specifying a navigation
                              direction relative to the first location; determining a
                              second location based on the user specified navigation
                              direction”
         The ‘025 Decision on Appeal presented new grounds of rejection of claims
17, 33, and 67 of the ‘025 patent based on the combination of Ishida, Yee and Dykes.
The analysis treated claim 33, which depends from claim 21, as a representative
claim. Claims 17 and 67 recite similar limitations, which the ‘025 Decision on
Appeal finds unpatentable for the same reasons as claim 33 (Appx34-35).
         Regarding claim 33 and referring to Dykes, page 26 of the ‘025 Decision on
Appeal states:
               Dykes discusses displaying arrows in portions of
               panoramic image (e.g., arrows in "VFC panorama:htd-
               018" and "VFC panorama:mark 58" of Figure 4) in a
               viewer. Dykes 137, 141, Fig. 4. Dykes also explains a user
               can select another section of the image (e.g., moving the
               cursor right or left in the viewer around an arrow or
               "receiving ... a second user input specifying a navigation
               direction relative to the first location in the geographic
               area" as claim 21 recites) and based on this selection,
               Dykes teaches processing a new image at another location
               according to the selected section. See id. at 137-39, Fig. 3.
               (Appx27)

         The ‘025 Decision on Appeal found that the “arrows” shown in “VFC
panorama:htd-018” and “VFC panorama:mark58” of Figure 4 of Dykes teach “a
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second user input specifying a navigation direction relative to the first location in
the geographic area.”
         Fig. 4 of Dykes is reproduced below:




         The “arrows” in the viewer may be referred to as “symbols.” Dykes states that
the “[s]ymbols within the viewer provide links to the other panoramic images,”
(Appx14163). Each of these symbols corresponds to exactly one location. Activating
a link opens a viewer window displaying the panoramic image captured at that
location. This linking is performed regardless of a first location that was selected by
the user—clicking on three different symbols on the panorama in a viewer window
will result in showing three different viewer windows corresponding to different
locations. Accordingly, selecting the “symbols” or “arrows” of Dykes do not
disclose at least “receiving a second user input specifying a navigation direction
relative to the first location in the geographic area; determining a second location
based on the user specified navigation direction; and retrieving from the image
source a second image associated with the second location” as recited, for example,
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in the claims 17, 33, and 67 of the ‘025 patent, at least because the selection of a
“symbol” in Dykes directly selects a “second location” without specifying a
navigation direction and determining the second location based on the navigation
direction.
         The Board responded to these arguments (emphasis added):
               Also, selecting an arrow to the right or the left of a given
               arrow within “VFC panorama:htd-018” and “VFC
               panorama:mark 58” of Figure 4 in Dykes suggests
               “receiving a second user input specifying a navigation
               direction” (e.g., right or left) “relative to [a] first location”
               contrary to Vederi’s contentions. Thus, although each
               arrow corresponds to a particular location, when a user
               navigates right or left between different arrows within a
               panoramic image, for example, the specified “user input”
               is relative to another location and “specif[ies] a
               navigation direction” as recited in the canceled
               independent claim 21. See 3PR Comments 14-15 (citing
               Dykes 139-40, 142) (reproducing Dykes, Fig. 4)
               (Appx199)

         Cited VFC panoraMap:htd-018 from Figure 4 of Dykes is shown below. The
Board appears to find that selecting, for example, an arrow on the left side or the
arrow on the right side discloses the limitation “receiving by the computer system a
second user input specifying a navigation direction relative to the first location in
the geographic area” as recited in the independent claims of the ‘025 patent because
the location associated with the selected arow has some direction with respect to
“another location” corresponding to the “first location” as recited in the claims.




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(Appx14163)
         Dykes discloses that “symbols within the viewer provide links to other
panoramic images” (emphasis added), and it is unclear which portion of Dykes
relates to “another location” or “first location” that the navigation direction is
specified relative to. In any case, the selection of an arrow in the panorama does not
“specify” a navigation direction relative to a “first location” and then determine a
second location based on the navigation direction because the second location is
determined directly from the selection of the corresponding arrow without an
additional step of specifying a navigation direction as recited in the claims.
         It is unclear from the Board’s Decisions which portions of Yee and Dykes
allegedly teach the limitation “receiving a first user input specifying a first location
in the geographic area” in the new grounds of rejection, e.g., to specify the “another
location” referred to by the Board at Appx199. Vederi notes that the Board states
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that it adopts the findings and conclusions discussed in the Non-Final Office Action
and the original Reexamination Request. (Appx24).
         Regarding this limitation, Exhibit CC-D of the original Reexamination
Request cites Yee at 391–92:
               A user can point at a road segment or specific location on
               a computerized map and instantly display the video
               image(s) for that selected segment.
               (Exhibit CC-D Appx993)

         However, the Board’s Decisions do not explain how the user’s pointing at “a
road segment or specific location on a computerized map” as described in Yee relates
to the panoramas of Dykes such that arrows to the left and right in the panorama
specify a navigation direction relative to a first location specified by the selection of
a road segment as taught in Yee.
         Therefore, the selection of arrows shown in VFC panoraMap:htd-018 of
Dykes do not disclose steps including a first user input specifying a first location,
receiving a second user input specifying a navigation direction relative to the first
location, and determining a second location based on the navigation direction and
therefore do not disclose at least the above recited limitations of claim 21 of the ‘025
patent.
         The ‘025 Decision on Rehearing further finds that a panning feature of Dykes
discloses these limitations:
               Additionally, Dykes discusses “[t]he process of selecting
               a section v of the panoramic image to view and
               representing the angle of the view with arrow symbols can
               be programmed to occur interactively when the cursor is
               moved to the left or right in a viewer.” Id. at 137 (emphasis
               added). Although quoting the above-noted portion in the
               June 2021 Decision (Req. Reh’g 14), Vederi does not
               address the panel’s discussion related to moving a cursor
               right or left (e.g., a specifying a navigation direction
               relative to a first location) in the viewer around the arrow.

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               See id. at 13-18.
               (Appx200)

         However, panning a panoramic image does not specify a navigation direction
that results in the determination of a second location and, at best, merely selects a
portion of the panoramic image to be displayed. For example, Vederi respectfully
submits that the ordinary and customary meaning of “location” is that one’s location
does not change when turning in place (e.g., looking left and right to look in different
directions).
         Dykes appears to associate each panoramic image with a single location, so
merely panning an image does not determine a “second location.” See, e.g., Dykes
at 139 (Appx14161).
         The Decisions do not explain how setting a “section v of the panoramic image
to view” in accordance with Dykes is used to determine a “second location” based
on viewed “section.”
         Because panning a panorama does not specify a navigation direction and
determine a second location based on a navigation direction, Vederi respectfully
submits the panning feature of Dykes does not disclose at least the above recited
limitations including separate steps of receiving a user input specifying a navigation
direction relative to a first location and determining a second location based on the
navigation direction.
         The ‘025 Decision on Rehearing states, in part:
               Additionally, as Requester explains, Dykes teaches a
               “waypoint symbol” (e.g., arrow) in the map or image is
               geo-referenced (see 3PR Comments 14- 15 (citing Dykes
               139-140, 142) (reproducing Dykes, Fig. 4)) and thus, for
               each user selection on a map (or image) associated with an
               arrow, Dykes at least suggests determining its location
               (e.g., GPS coordinates) based on the user selection (see id.
               at 14-16 (further citing Dykes 144)).
               (Appx201)

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         However, the Board does not explain which portions of Dykes disclose the
use of the “waypoint symbol” feature of Dykes to “receive a second user input
specifying a navigation direction relative to the first location” and “determine a
second location based on the user specified navigation direction” as recited in claim
21 of the ‘025 patent.
         Similar limitations appear in claims 1, 13, 43, and 55 of the ‘025 patent, and
therefore Vederi submits that these claims, in addition to claims of the ‘025 patent
that depend from these claims, such as claims 17, 33, and 67, are patentable over the
cited combination of Yee and Dykes in the Board’s new grounds of rejection.
                      b)      Shiffer and Yee fail to teach “navigation direction
                              relative to the first location”
         The ‘760 Decision on Appeal presented a new ground of rejection for claims
2, 3, 12–18, 21–26, 29, and 32–37 of the ‘760 patent based on Shiffer and Yee, and
also presented a new ground of rejection for claim 8 based on Shiffer, Yee, and
Lachinski.
         The ‘760 Decision on Appeal refers to the limitation “a second user input
specifying a navigation direction relative to the first location” as the “Navigation
Direction Limitation” (‘760 Decision on Appeal, Appx77). In the ‘760 Decision on
Appeal, the Board cites Shiffer, finding its “navigation shots or images”
(Appx14100) teach the Navigation Direction Limitation.
         Vederi submits that the “navigation shots” of Shiffer, combined with Yee, do
not teach the Navigation Direction Limitation.
         Cited Figure 2, showing the “navigation shots or images” of Shiffer is
reproduced below:




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(Appx14100)
         The Board also finds that:
               Shiffer even further explains that the image in the “upper
               left comer of Figure 2 represents an oblique navigation
               image of a selected street.” Shiffer 372 (emphasis added).
               Thus, although the linear symbols in Shiffer’s
               “Neighborhood” image in Figure 2 may extend for several
               blocks as argued by [Vederi], an ordinarily skilled artisan
               would have recognized the user selects or specifies a
               specific location (e.g., a street or a particular spot along
               the linear symbols) in Figure 2’s map. Furthermore, the
               recited term “location” in claims 1 and 20 can encompass
               a street or region and is not limited to a particular building
               or object within the map as [Vederi’s] arguments appear
               to imply.
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               (Appx228)

         The Board therefore finds that a “location” as recited in the claims
encompasses a “street or region.”
         Taking the Board’s definition of “location” to mean a “street” selected by
selecting one of the “large arrows” of Shiffer, Vederi submits that “sliding the
controller’s pointer in forward direction” would not specify a “navigation direction
relative to the first location in the geographic area” because advancing or reversing
the playback of the video recording merely specifies a direction within the street.
This portion of Shiffer does not “determin[e] a second location based on the user
specified navigation direction” because sliding the controller of Shiffer would
advance the recording of the “flight” to another point within the same “location” (on
the same street) and does not disclose selecting another location (e.g., a different
street or different “large arrow” corresponding to another “location”).
         Page 10 of the ‘760 Decision on Rehearing states, citing page 19 of the ‘760
Decision on Appeal, that Shiffer:
               teaches or suggests controlling the direction of movement
               or flight through a geographic area (e.g., the geographic
               area identified by the large arrows in the “Neighborhood”
               window in Figure 2) from one location (e.g., the originally
               selected location) to another location by sliding the
               controller’s pointer in a forward or reverse direction.
               (Appx230)

         Under the alternative definition that “location” refers to different points of a
flight depicted in the “Aerial Views,” Vederi submits that Shiffer does not disclose
that, when “the user selects or specifies a specific location (e.g., a street or a
particular spot along the linear symbols) in Figure 2’s map,” the recording of the
flight is advanced to a point corresponding to that “specific location.”
         Vederi further submits that cited page 372 of Shiffer (Appx14100) merely
describes the selection of a playback direction for the “video image” of Figure 2 of
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Shiffer in a “forward or reverse,” but does not specify a “navigation direction”
because the corresponding direction merely advances or reverses the playback of a
video.
         Controlling the playback of the video does not “determine a second location”
because Shiffer does not appear to correlate positions in video shown in the “Aerial
Views” window with physical locations.
         Accordingly, Shiffer does not teach a second user input specifying a
navigation direction relative to a first location and does not determine a second
location based on the user specified navigation direction as recited in the Navigation
Direction Limitation.
         The Board provides an alternative ground of rejection based on Figure 3 of
Shiffer on page 22 of the ‘760 Decision on Appeal, namely that Shiffer discloses:
               (1) the user ‘can view the proposal from various
               perspectives around the site by selecting appropriate
               arrows linked to the map” (id.) and (2) the user “can
               navigate around a specific rendering by zooming and
               panning with on-screen controls” (id.).
               (Appx85)




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         Figure 3 of Shiffer is reproduced below:




         (Appx14101)
         Selecting the arrows in the “Neighborhood” window of Shiffer does not
disclose the Navigation Direction Limitation because the selection of any arrow
directly shows the view from that arrow. The selection of an arrow does not specify
a “navigation direction relative to a first location” and does not determine a “second
location” based on a user specified navigation direction.
         Vederi further submits that one skilled in the art would understand that
“zooming” changes the magnification on a portion of an image without changing a
location. For example, if a tall building blocked the view of a landmark from a
location, zooming-in would not remove the obstruction because the viewer’s
location has not changed.
         Likewise, Vederi argued that one skilled in the art would understand that

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“panning” does not result in a change of location, but instead merely corresponds to
a change in orientation of the viewer. Looking to the left or right of the tall building
would show other objects in the area that were outside of the initial field of view but
would not reveal the mountain peak that was obscured by the building. On the other
hand, a change in location could reveal the mountain peak hidden behind the
building (e.g., a line of sight to the mountain peak is no longer blocked by the
building).
         Page 13 of the ‘760 Decision on Rehearing responds:
               Vederi contends “panning an image merely causes the
               view of the image to shift, such as by rotating or pivoting
               a camera left or right.” See Req. Reh’g 12-13 (citing
               Shiffer 372). But, this contention does not address or rebut
               the Board’s finding related to dependent claims 14 and 15
               of the ‘760 patent, which include a rotating left or right as
               a moving direction of a navigation button. See 3PR
               Comments 5 (discussing claims 14 and 15 of the ‘760
               patent).
               (Appx233)

         Vederi respectfully submits that this finding misreads the limitations of claims
14 and 15, which depend from claim 12. Claims 12, 14, and 15 of the ‘760 patent
are reproduced below:
               12. The method of claim 1 further comprising:
               displaying a navigation button on the screen of the user
               terminal; and
               retrieving the image associated with the second location
               from the image source upon actuation of the navigation
               button using the user input device.

               14. The method of claim 12, wherein the navigation button
               indicates direction of motion with respect to the displayed
               image.

               15. The method of claim 14, wherein the direction of
               motion includes one of panning left or right, rotating left

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               or right, and viewing a direction opposite of a displayed
               direction.
               (Appx319 at 16:60-65; Appx320 at 17:1-7)

         As seen above, claim 14 merely recites that “the navigation button indicates
direction of motion with respect to the displayed image” (emphasis added).
         Furthermore, claim 15, which depends from claim 14, further specifies that
the “direction of motion” includes “one of panning left or right, rotating left or right,
and viewing a direction opposite of a displayed direction.”
         Regarding the term “direction of motion,” the specification of the ‘760 patent
states, in part:
               From a current location, the user may choose to navigate
               north, south, west, and east by actuating the corresponding
               buttons. Preferably, only the navigation buttons
               corresponding to the possible direction of motions from
               the current position are enabled. As the user actuates one
               of the buttons, the current position is incremented by a
               predetermined amount, currently set to eight meters, to the
               next available composite image on the current or adjacent
               segment. The image area 224 is then updated with the new
               composite image. (Appx318 at 13:25–34)

         The “direction of motion” indicated on these buttons may include navigation
in various directions (e.g., north, south, west, and east) and another “direction of
motion” such as “panning left or right, rotating left or right, and viewing a direction
opposite of a displayed direction.”
         While a “direction of motion” can include “rotating left or right” there is no
evidence that the “navigation direction” recited in claim 1 must also include
“rotating left or right.”
         Therefore, the Board appears to apply a flawed analysis of the claims of the
‘760 patent in its construction of the term “navigation direction” to include “rotating
left or right.”
         Vederi further submits that, the “zooming” and “panning” features of Shiffer
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merely allow users to look at different parts of one image. See Shiffer at 373:
               Selecting an arrow yields an image of an architectural
               model or rendering in a separate window, with controls
               allowing users to navigate around the image by "zooming"
               or "panning".
               (Appx14101)

         These portions of Shiffer do not disclose that the “zoomed” or “panned” image
results in identifying a second location and “retrieving from the image source a
second image associated with the second location” as recited in the claims.
         For at least the reasons above, Vederi submits that the new grounds of
rejection based on Shiffer and Yee fails to disclose at least:
                      receiving a first user input specifying a first location
               in the geographic area;
                      …
                      receiving a second user input specifying a
               navigation direction relative to the first location in the
               geographic area;
                      determining a second location based on the user
               specified navigation direction; and
                      retrieving from the image source a second image
               associated with the second location.
               (Appx319 at 15:61-62; Appx319 at 16:3-9)

as recited in claim 1 of the ‘760 patent and similar limitations of claim 20 of the ‘760
patent.
         The portions of Lachinski cited in the ‘760 Decision on Appeal do not supply
these deficiencies of Shiffer and Yee.
         For at least these reasons, Vederi requests that the new grounds of rejection
of claims 2, 3, 12–18, 21–26, 29, and 32–37 of the ‘760 patent based on Shiffer and
Yee be reversed and that the new grounds of rejection of claim 8 of the ‘760 patent
based on Shiffer, Yee, and Lachinski be reversed and that these claims be allowed.



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               3.     Claims requiring, inter alia, a “web page for the retail
                      establishment”
         Claim 28 of the ‘025 patent recites, in part:
               The method of claim 27, wherein the particular one of the
               objects is a retail establishment, the method further
               comprising:
                     accessing a web page for the retail establishment;
               and
                     invoking by the computer system a display of the
               web page on the display screen.
               (Appx384 at 18:43-48)

         Claim 21 of the ‘596 patent recites similar limitations, which the Board called
the “Web Page Limitations.”
         In the ‘025 Decision on Appeal, the Board found new grounds of rejection for
claims 28, 29, 51, and 63 of the ‘025 patent and in the ‘596 Decision on Appeal, the
Board found new grounds of rejection for claim 21 based on the same three
references: Ishida, Yee, and Dykes.
         The Board does not cite Yee and Dykes as disclosing the Web Page
Limitations, and Vederi argued in its Requests for Rehearing that Ishida does not
disclose the Web Page Limitations, at least because Ishida does not disclose
invoking the display of a web page for a retail establishment.
         The Board accepted Vederi’s definition of “web page” (Appx279) and the
Board responded in the ‘025 Decision on Rehearing (Appx212-213) and the ‘596
Decision on Rehearing (Appx287-288), citing portions of Ishida that allegedly
disclose the Web Page Limitations.
         However, none of the portions of Ishida cited by the Board disclose the Web
Page Limitations.
         Taking each of the citations from the ‘025 Decision on Rehearing in turn, the
first citation relates to “a 3DML WEB plug-in.” In context, the cited portion of page

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27 of Ishida recites:
               Though there are various approaches for building 3D
               experiences, we started with 3DML [8] for our initial
               prototype. People are comfortable moving through 3D
               spaces with game interfaces such as those currently
               offered by Doom or Quake, and now offered by the 3DML
               WEB plug-in.
               (Appx14140)

         The American Heritage® Dictionary of the English language provides the
following definition of “plug-in”:
               plug-in n. Computers An accessory software program that
               extends the capabilities of an existing application. Also
               called add-in, add-on.

         Therefore, a “WEB plug-in” is a software program that extends the
capabilities of a “WEB browser.” For example, web browser plug-ins have been
used to extend the capabilities of web browsers to display documents that were not
natively supported by the web browsers’ rendering engines such as Adobe® Flash
animations, Adobe® Portable Document Format (PDF) files, and 3DML documents.
         Ishida’s use of a 3DML WEB plug-in to deliver a prototype does not disclose
the steps of the Web Page Limitations, such as “accessing a web page for the retail
establishment” and “invoking by the computer system a display of the web page on
the display screen.”
         The ‘025 Decision also cites to the phrase “any site on the WEB” at page 27
of Ishida which reads, in part:
               Some problems exist when downloading gif or jpeg
               compressed photos: as with any site on the WEB using
               many graphics, it takes some time when using telephone
               line connections.
               (Appx14140)

         Therefore, this portion of Ishida merely describes problems arising from
“downloading gif or jpeg compressed photos” and does not disclose the Web Page
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Limitations.
         The ‘025 Decision refers to “a WEB and ftp interface” (Ishida 28). However,
this portion reads:
               One solution we’re working to implement, is a WEB and
               ftp interface to allow individual shopkeepers to update the
               advertisement photos on their 3D buildings by themselves.
               (Appx14141)

         Therefore, Ishida merely describes a “WEB and ftp interface” for users to
update photos on their 3D buildings (e.g., upload photos) but does not disclose the
Web Page Limitations.
         The ‘025 Decision on Rehearing also refers back to the ‘025 Decision on
appeal, citing Ishida 23-25, 28, Fig. 1 discussing Ishida’s three-layer model as
allegedly disclosing the Web Page Limitations. Ishida describes its “three layer
architecture” in its Abstract:
               We propose the three layer architecture for digital cities:
               a) the information layer integrates both WWW archives
               and real-time sensory information related to the city, b) the
               interface layer provides 2D and 3D views of the city, and
               c) the interaction layer assists social interaction among
               people who are living/visiting in/at the city.
               (Appx14136)

and in more detail in page 25 with reference to Figure 1 (below).




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(Appx14138)
         Ishida discloses that, in the “information layer” of the “three layer model” of
Ishida, “WWW archives and realtime sensory data are integrated and reorganized
using the city metaphor” and the display of a 3D (three-dimensional) virtual space
in the “interface layer” to present the collected and reorganized information in a form
that is native to the 3D virtual space (e.g., animating city buses moving along their
routes Appx14138).
         While various portions of Ishida describe integrating WEB data into the
virtual city, Ishida does not teach accessing “a document on the World Wide Web,
consisting of a hypertext file and any related files for scripts and graphics” of a retail
establishment and invoking display of that document on the display screen in
accordance with the Web Page Limitations.
         Pages 50–51 of the ‘025 Decision on Appeal find:
               As an example, sensors in Kyoto gather traffic data from
               buses that send location and route data to the live digital
               city, and WEB pages for bus stops are retrieved and
               displayed so that real-time bus data is displayed on the
               map of Kyoto. See Ishida 29-30, Fig. 5(b); see 3PR Rh’g
               Request 11 (reproducing Ishida, Figs 5(a)-(b)). As such,
               each of these web pages in Ishida (e.g., WEB and ftp
               interface) shows particular information (e.g., bus data)
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                about or associated with a retail establishment (e.g., a
                transportation company having a bus stop).
                (Appx51-52)

          However, the only portion of cited pages 29–30 of Ishida that relate to “WEB”
states:
                WEB retrieval under the constraint of sensory data is
                definitely an interesting research issue.
                (Appx14143)

          Pages 29–30 of Ishida do not state that any web page is displayed in the user
interface of Ishida. At best, this cited portion of Ishida states that “we are using real-
time bus data and display them on the digital city” without stating how the
information is displayed in the digital city (e.g., through virtual signage coded using
3DML, animated 3D buses driving down the virtual streets as mentioned in Ishida
at 25, etc.) and therefore does not disclose the Web Page Limitations.
          The ‘025 Decision on Appeal finds that:
                As previously explained, Ishida’s WEB interface
                generates a digital city (e.g., a web page) that integrates
                WEB data from WEB pages and sensory data on a map
                about or associated with a retail establishment (e.g., a
                company’s bus stop, parking lot, or restaurant) (Ishida 28-
                30) and thus "invok[es] ... a display of the web page [for
                the retail establishment] on the display screen" as claim 28
                recites.
                (Appx54)

          However, “WEB data” collected from “WEB pages” and displayed within a
3D user interface (e.g., using “3DML” in Ishida) does not “invoke” the display of a
web page merely because the 3D environment is displayed by a web browser. For
example, a Portable Document Format (PDF) file may contain a report of
information collected from various “WEB pages.” However, displaying the PDF file
using a PDF plug-in does not make the PDF file or the information contained therein
a “web page.” Therefore, this portion of Ishida does not disclose the Web Page
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Limitations.
         The ‘025 Decision on Rehearing also states that “Additionally, Ishida
describes its digital city as ‘the Digital City Kyoto site . . .’ Ishida 31 (emphasis
added).” Ishida refers to a “web site” in various portions, in which case the “Digital
City Kyoto site” appears to refer to a web site that hosts the 3DML interface provided
by Ishida. However, Ishida does not disclose that any web pages of the “Digital City
Kyoto site” include a web page for a retail establishment.
         While the 3DML interface of Ishida may be executed by a 3DML plug-in that
is installed in a web browser, Ishida does not disclose that its 3DML interface itself
accesses a web page (“a document on the World Wide Web, consisting of a hypertext
file and any related files for scripts and graphics”) of a retail establishment and
invokes the display of that web page on a display device, and such appears contrary
to the integration of the data described in Ishida (see, e.g., Appx14138).
         Therefore, Ishida does not disclose the Web Page Limitations as recited in
claim 28 of the ‘025 patent and as recited in claim 21 of the ‘596 patent.
               4.    Claims requiring, inter alia, an “arbitrary address”
         Claim 20 of the ‘316 patent recites (emphasis added):
               20. The method of claim 1, wherein the first location
               specified by the first user input is an arbitrary address
               entered via the first user input, the entered arbitrary
               address specifying information selected from a group
               consisting of street name, city, state, and zip code.
               (Appx353 at 16:62-66)

         Vederi respectfully submits that the cited Yee, Lachinski, and Dykes
references do not disclose the limitations of claim 20 of the ‘316 patent.
         Page 35 of the ‘316 Decision on Appeal states:
               As for teaching the "arbitrary address" limitation, Yee
               discusses a "[s]treet address entry" (Yee 392), street name
               recording, and individually tagging addresses. See Yee
               391-92.
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               (Appx134)

         Regarding “street address entry,” cited page 392 of Yee states:
               Street address entry will retrieve house images as every
               house is individually tagged with its address.
               (Appx14109)

         Vederi respectfully submits that Yee is silent regarding how its system would
respond to the entry of street addresses that were not tagged (e.g., unassigned
addresses), and therefore this portion of Yee does not appear to disclose an “arbitrary
address.”
         Page 35 of the ‘316 Decision on Appeal also states:
               Yee also states that "[a] user can point at a road segment
               or specific location on a computerized map and instantly
               display the video image(s) for that selected segment." Id.;
               see also 3PR Reb. Br. 3 (citing Yee 391-92).
               (Appx134)

         However, pointing to a “road segment or specific location on a computerized
map” does not specify an arbitrary address, but instead specifies a geographic
location on the map, noting that claim 20 further limits the “first user input” to an
“arbitrary address” instead of, for example, geographic location coordinates.
         Vederi further submits that the addition of Lachinski would not supply these
deficiencies of Yee. For example, pages 20–21 of the ’316 Decision cite Lachinski
at 16:63–66 of Lachinski. For context, preceding lines are shown below:
               For any specific street address, only one possible position
               may exist in the database.
               Address parsing is possible using the database provided by
               the present invention. Address parsing converts a user
               supplied address to a standard address within the database
               by matching it to a real address range in the database.
               (Appx14129 at 16:60–66)

         These portions of Lachinski merely disclose converting a user supplied
address to a standard address that exists within the database of Lachinski. Lachinski
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is silent on how it would handle unassigned addresses and there are multiple possible
responses (for example, Lachinski could present an error message if the user
supplied address did not match any known address).
         Pages 20–21 of the ’316 Decision also cite Lachinski at 17:19–20. For context,
preceding lines are also shown:
               . . . For each address, there will therefore be a pair of
               coordinates and a parity for the true address position.
                      A video image can be recalled for any coordinate
               pair through the use of a coordinate-video image matching
               system. The video information is independent from the
               spatial position information and video frame calculations
               rely on the segment-video relationship discussed above.
               This process allows the retrieval of the nearest video
               image to a coordinate pair.
               (Appx14130 at 17:11–20)

         At best Lachinski merely appears to describe looking up an address in its
database of known addressees (e.g., tagged addresses) to obtain a “pair of
coordinates and a parity” and then use this coordinate pair to retrieve the
corresponding video image for the assigned address.
         Lachinski does not appear to describe how its system handles invalid
addresses such as unassigned addresses that do not exist in the database.
         Accordingly, the cited portions of the cited references do not appear to
disclose the limitations of claim 20 when construed under the Phillips standard and
Vederi respectfully requests that the new grounds of rejection of this claim be
withdrawn.
         Claims 21–24 depend from claim 20 and therefore are distinguishable over
the art of record for the same reasons as claim 20 and further distinguishable in view
of the further limitations recited therein. Therefore, Vederi respectfully requests that
the new grounds of rejection of claims 21–24 also be withdrawn.


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VII. CONCLUSION AND STATEMENT OF RELIEF SOUGHT
         The Board’s claim construction and findings of unpatentability of Vederi’s
claims should be reversed, adopting Vederi’s proposed claim constructions and
finding Vederi’s claims to be patentable.


DATED: August 1, 2022                    Respectfully submitted,
                                         LEWIS ROCA ROTHGERBER
                                         CHRISTIE LLP

                                    By            /s/ Shaun P. Lee
                                         Shaun P. Lee
                                         Attorneys for Appellant/Plaintiff/
                                         Counter-Defendant
                                         VEDERI, LLC




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                                ADDENDUM




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                                                                                                              EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                        CRAVER, CHARLES R
       POBOX29001
       Glendale, CA 91209-9001
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Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




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       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            GOOGLE INC.
                             Requester,

                                   V.

                        Patent of VEDERI, LLC.
                             Patent Owner


                         Appeal 2015-001495
                    Reexamination Control 95/000,681
                          Patent 7,805,025 B2
                        Technology Center 3900



Before DENISE M. POTHIER, ERIC B. CHEN, and IRVINE. BRANCH,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.



                        DECISION ON APPEAL




                               Appx2
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Appeal 2015-001495
Reexamination Control 95/000,681
Patent 7,805,025 B2

                           I. STATEMENT OF CASE
      This proceeding returns to us on remand from the Court of Appeals
for the Federal Circuit, vacating our previous decisions mailed June 26,
2015, February 29, 2016, and March 1, 2016. Vederi, LLC v. Google LLC,
813 F. App'x 499, 501, 505 (Fed. Cir. 2020).
      As background, Requester requested an inter partes reexamination of
U.S. Patent No. 7,805,025 B2 ("the '025 patent"). The '025 patent claims
priority to several United States patent applications, the earliest of which is
U.S. Application 09/758,717 (now U.S. Patent No. 6,895,126 B2), filed on
January 11, 2001. Id., code (60). Pursuant to 35 U.S.C. § 154(a)(2), the
term of the '025 patent ended twenty (20) years from the filing date (i.e.,
January 11, 2001) of the earliest application (i.e., U.S. Application No.
09/758,717) for which a benefit is claimed under 35 U.S.C. §§ 120 and 121.
See 35 U.S.C. § 154(a)(2) (2013); see also the Manual of Patent Examining
Procedure (MPEP) § 2701(1). Thus, the '025 patent expired on January 11,
2021. 1
      "No amendment may be proposed for entry in an expired patent." 37
C.F.R. § 1.530(j);see also 37 C.F.R. § 1.12 l(j) (referring to § 1.530). That
is, "[ a]!though the Office actions will treat proposed amendments [during a
reexamination proceeding] as though they have been entered, the proposed
amendments will not be effective until the reexamination certificate is issued


1
  The MPEP states the Office should "refuse to express to any person any
opinion as to ... the expiration date of any patent, except to the extent
necessary to carry out: ... (C) ... reexamination proceeding to reexamine
the patent." MPEP § 1701 (9th ed. rev. 10.2019 June 2020) (emphases
added).

                                       2



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Patent 7,805,025 B2

and published." 37 C.P.R. § l.530(k). Notably, "no amendment, other than
the cancellation of claims, will be incorporated into the patent by a
certificate issued after the expiration of the patent." 37 C.P.R. § 1.530(j).
      Accordingly, the reexamination proceeding will now be based on the
original patent claims of the '025 patent. Thus, Patent Owner submitted
proposed amendments (see the January 2013 Amendment) to the claims,
including new claims 75-88 (id. at 17-19), are improper at this time. See
MPEP § 2666.01. On the other hand, and even though the '025 patent has
expired, any proposed claim amendments to cancel claim (i.e., claims 1, 13,
21-23, 25, 27, 30-32, 43, 49, 55, and 61 (see the January 2013 Amendment
4, 6, 8-9, 11-14)) are permitted. See MPEP § 2666.01. Additionally,
claims 7, 11, 12, 19, 39, 40, 50, 62, 69, 73, and 74 are not subject to
reexamination. See RAN 1 (box 1b). 2 Based on the foregoing, the
reexamination proceeding will now be based on original patent claims 2-6,
8-10, 14-18,20,24,26,28,29,33-38,41,42,44-48,51-54,56-60,63-68,

2
  Throughout this Opinion, we refer to: (1) the Action Closing Prosecution
(ACP) mailed June 21, 2013, (2) the Right of Appeal Notice (RAN) mailed
September 24, 2013, (3) the Patent Owner's Appeal Brief (PO Appeal Br.)
filed December 24, 2013, (4) the Requester's Respondent Brief (3 PR Resp.
Br.) filed January 24, 2014, (5) the Patent Owner's Rebuttal Brief (PO Reb.
Br.) filed August 12, 2014, (6) the Requester's Appeal Brief (corrected)
(3PR Appeal Br.) filed January 24, 2014, (7) the Examiner's Answer (Ans.)
mailed July 9, 2014, (8) Requester's Request for Rehearing Under 37 CPR§
41.79 (3PR Rh'g Request) filed July 27, 2015, (9) Patent Owner's
Comments in Opposition to Requester's Request for Rehearing (Aug. 2015
PO Comments) filed August 26, 2015, (10) Patent Owner's Request for
Rehearing Under 37 CPR§§ 41.77(b)(2) and 41.79 (PO Rh'g Request) filed
July 28, 2015, and (11) Requester's Comments in Opposition to Patent
Owner's Request for Rehearing (Aug. 2015 3PR Comments) filed August
27, 2015.

                                       3



                                   Appx4
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Appeal 2015-001495
Reexamination Control 95/000,681
Patent 7,805,025 B2

and 70-72 of the '025 patent. The noted claims include those requested by
the Requester for reexamination and those examined sua sponte by the
Office. See Request for Inter Parte Reexamination Transmittal Form I (box
9); see also June 21, 2013 Action Closing Prosecution 3 (citing MPEP §
2640).
         Upon review, we REVERSE the rejection adopted by the Examiner
but present new rejections for claims 2-6, 8-10, 14-18, 20, 24, 26, 28, 29,
33-38, 41, 42, 44--48, 51-54, 56-60, 63-68, and 70-72 pursuant to 37
C.F.R. § 41.77(b).
                                  Related Matters
         The parties indicate the '025 patent is the subject of litigation, Vederi,
LLC v. Google Inc., Civil No. 2: 10-CV-07747 AK-CW (C.D. Cal.)3 and
Vederi, LLC v. Google Inc., Case No. CAFC-13-1057, and Vederi, LLC v.
Google Inc., Case No. CAFC-13-1296. 4 PO Appeal Br. 2; 3PRAppeal Br.
1, Related Proceedings App. Additionally, the parties indicate that this
appeal may be related to U.S. Patent Nos. 7,239,760 B2, 7,577,316 B2, and
7,813,596 B2, which are subject to inter partes reexamination having been
assigned Control Nos. 95/000,682, 95/000,683, and 95/000,684 respectively.
PO Appeal Br. 2; 3PR Resp. Br. 1. The opinions in these proceedings were
similarly vacated. Vederi, 813 F. App'x 501.




3
 This case was administratively closed on February 7, 2018.
4
 Cases Nos. 13-1057 and 13-1296 were merged and decided on March 14,
2014. Vederi, LLC v. Google Inc., 744 F.3d 1376 (Fed. Cir. 2014), reh 'gen
bane denied. A petition for writ of certiorari styled as Google, Inc. v.
Verderi, LLCwas filed on October 16, 2014, and denied on June 22, 2015.

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                               Parties Appeals
      Patent Owner appealed the decision in the RAN rejecting certain
claims (e.g., 2-6, 8-10, 14-18, 20, 33-36, 56-60, 63-68, and 70-72) of the
'025 patent. PO Appeal Br. 3; RAN 1. Requester responded, and Patent
Owner rebutted. See generally 3PR Resp. Br.; PO Reb. Br.
      Requester cross-appealed the Examiner's determination that certain
claims (e.g., 24, 26, 28, 29, 37, 38, 41, 42, 44--48, 51-54, and 63) are
patentable or confirmed. 3PR Appeal Br. 8, 40--41. Patent Owner did not
respond.
      The Examiner's Answer incorporated the RAN. Ans. 1.
      An oral hearing was conducted on May 13, 2015. The transcript of the
oral hearing has been made of record.
      Another panel 5 at the Patent Trial and Appeal Board affirmed (1) the
rejection of certain claims of the '025 patent based on Yee and Dykes and
(2) the non-adoption of rejections of other claims. June 26, 2015 Opinion
("2015 Opinion") 28 (vacated). Both Requester and Patent Owner requested
rehearing. See PO Rh'g Request; see also 3PR Rh'g Request. The panel
declined to change the original decision. February 2016 Rh'g Op. 2, 9
(vacated); March 2016 Rh'g Op. 2, 8 (vacated).
      The Federal Circuit vacated our decisions. Vederi, 813 F. App'x at
501. In its opinion, the court construed three phrases found in the claims of
the '025 patent. Vederi, 813 F. App'x at 501-505. These phrases are: (1)
"composite image" ( e.g., claims 34 and 35), (2) "moving" within the phrase


5
 The panel consisted of Administrative Patent Judges Pothier, Dillon, and
Branch.

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"image frames acquired by an image recording device moving along a
trajectory" (e.g., canceled claim 21 ), and (3) "web page for the retail
establishment" within the phrase "accessing a web page for the retail
establishment; and invoking by the computer system a display of the web
page on the display screen" (e.g., claim 28). Id. The court specifically
agreed with how the panel construed the phrase "composite image" (id. at
503), did not fully adopt how the panel construed the phrase "moving" (id. at
503-504), and disagreed with how the panel construed the phrase "web page
for the retail establishment" (id. at 504-505).
      Given the claim construction addressed in Vederi, we reevaluate (1)
the rejection of claims based on Yee and Dykes and (2) the non-adoption of
rejections based on (a) Ishida and Dykes and (b) Ishida, Dykes, and Yee.
                            Claimed Subject Matter
      Canceled claims 21 and patent claim 35 are reproduced below:
      Claim 21 (canceled) A method for enabling visual navigation
      of a geographic area via a computer system coupled to an image
      source, the computer system including one or more computer
      devices, at least one of the computer devices having a display
      screen, the method comprising:
             providing by the image source a plurality of images
      depicting views of objects in the geographic area, the views
      being substantially elevations of the objects in the geographic
      area, wherein the images are associated with image frames
      acquired by an image recording device moving along a
      trajectory;
             receiving by the computer system a first user input
      specifying a first location in the geographic area;
             retrieving by the computer system a first image
      associated with the first location, the first image being one of
      the plurality of images provided by the image source;



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               providing by the computer system the retrieved first
       image for displaying on a first display area of the display
       screen;
               invoking by the computer system a display of a direction
       identifier for indicating the viewing direction depicted in the
       first image;
               receiving by the computer system a second user input
       specifying a navigation direction relative to the first location in
       the geographic area;
               determining by the computer system a second location
       based on the user specified navigation direction;
               retrieving by the computer system a second image
       associated with the second location, the second image being
       one of the plurality of images provided by the image source;
       and
               providing by the computer system the retrieved second
       image for updating the first image with the second image.

       3 5. The method of claim 21, wherein the first and second
       images are each a composite image, wherein each composite
       image is created by processing pixel data of a plurality of the
       image frames.

The '025 patent 17:43-18:9 (emphasis added), 19:11-14 (same).
                             Prior Art Relied Upon
       The record relies on the following as evidence of unpatentability:


          Name                       Reference                     Date

    Lachinski 6                    us 5,633,946               May 27, 1997

6
  Requester indicates that Lachinski was cited in its comments to rebut
Patent Owner's response and to explain how Yee's four-view images are
created. 3PR Appeal Br. 19-20 (citing ACP 68; RAN 72); 3PR Resp. Br. 9-
10; February 2013 3PR Comments 23-24. Patent Owner does not rebut this
reliance on Lachinski to teach how Yee' s 4-view image is created.

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Frank Yee, GPS & Video Data Collection In Los Angeles County: A Status
Report, Position Location And Navigation Symposium, Proc. IEEE Position
Location and Navigation 388-393 (1994) ("Yee").

Tom Ishida et al., Digital City Kyoto: Towards A Social Information
Infrastructure, 1652 Lecture Notes in Artificial Int. from Int'l Workshop on
Cooperative Inf. Agents 23-35 (1999) ("Ishida").

J. Dykes, An Approach To Virtual Environments For Visualization Using
Linked Geo-referenced Panoramic Imagery, 24 Computers, Env't & Urb.
Sys. 127-152 (2000) ("Dykes").

                      Adopted and Withdrawn Rejections
      The Examiner maintains the following proposed rejection, for which
Patent Owner appeals:

        Reference( s)              Basis       Claims              RAN

                                               2-6, 8-10,
                                                14-18, 20,
   Yee and Dykes                 § 103(a)     33-36, 56-60,       15-61
                                               64-68,and
                                                  70-72

PO Appeal Br. 9.
      The Examiner withdrew or did not adopt the following proposed
rejections, for which Requester appeals:

        Reference( s)              Basis       Claims

                                                               3PRAppeal
                                                                Br. 11-18;
   Ishida and Dykes              § 103(a)      24,26,28,29    ACP 61-63,
                                                              66; RAN 62-
                                                                  64,67



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                                                 37, 38, 41, 42,   3PRAppeal
   Ishida, Dykes, and Yee          § 103(a)      44--48, 51-54,     Br. 19-32
                                                       63

3PRAppeal Br. 8, 11, 19.


                         II. MAIN ISSUES ON APPEAL
      We review the appealed rejections for error based upon the issues
identified by Patent Owner, and in light of the arguments and evidence
produced thereon. Cf Ex parte Frye, 94 USPQ2d 1072, 1075 (BPAI 2010)
(precedential) (citing In re Oetiker, 977 F.2d 1443, 1445 (Fed. Cir. 1992)).
"Any arguments or authorities not included in the brief permitted under this
section or [37 C.F.R.] §§ 41.68 and 41.71 will be refused consideration by the
Board, unless good cause is shown." 37 C.F.R. § 41.67(c)(l)(vii).
      Based on the record, the main issues on appeal are:
      (1) As the rejection is currently presented, did the Examiner err in
rejecting patent claims 2-6, 8-10, 14-18, 20, 33-36, 56-60, 64-68, and 70-
72 of the '025 patent under 35 U.S.C. § 103(a) based on Yee and Dykes; and
      (2) Did the Examiner err in withdrawing the proposed rejection of
patent claim 28 under 35 U.S.C. § 103(a) based on Ishida, Yee, and Dykes?


                                 III. ANALYSIS
      A. Claim Construction
      As previously noted, the '025 patent has expired. Because the '025
patent has expired, we give the claims' recitations "their ordinary and
customary meaning" as would have been understood by "a person of
ordinary skill in the art in question at the time of the invention." Phillips v.


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AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005); see also MPEP
§ 2258(I)(G) (citing Phillips, 415 F.3d at 1316; Ex parte Papst-Motoren, 1
USPQ2d 1655 (BPAI Dec. 23, 1986)). Additionally, "[c]laims 'must be
read in view of the specification, of which they are a part"' (Phillips, 415
F.3d at 1315 (quoting Markman v. Westview Instruments, Inc., 52 F.3d 967,
979 (Fed. Cir. 1995) (en bane))), and "the specification 'is always highly
relevant to the claim construction analysis"' (id. (quoting Vitronics Corp. v.
Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996))).
          1. "wherein the images are associated with image frames
          acquired by an image recording device moving along a trajectory"
          (the Image Frames Limitation 7) of canceled claims 1, 13, 21, 43,
          and 55

      All the claims on appeal depend from one of canceled claims 1, 13,
21, 43, and 55, each of which includes the Image Frames Limitation. The
Examiner found this phrase "merely requir[ es] on overall movement along a
trajectory, and capture of data either while in motion, or not while in motion,
or both, meets the claim term." RAN 6. Patent Owner did not discuss this
limitation in its appeal brief (see generally PO Appeal Br.) but in its rebuttal
brief, asserts that the phrase "moving" requires the image recording device
to be in motion when acquiring image frames. See PO Reb. Br. 4-5, 7-8. 8
Requester states that the Examiner properly construed the above recitation to
include taking images "when a device is both in motion and is not in motion


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  Requester refers to this limitation as "the 'Image Frames Limitation."'
3PR Appeal Br. 2.
8
  Notably, 37 C.F.R. § 41.67(c)(l)(vii) indicates that "[a]ny argument ... not
included in the brief permitted under this section or§§ 41.68 and 41.71 will
be refused consideration by the Board, unless good cause is shown."

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at the moment of image acquisition." 3PR Appeal Br. 9 (quoting RAN 6
(stating "capture of data either while in motion, or not while in motion, or
both, meets the claim term")).
      The court in Vederi construed the term "moving" within the phrase
"image frames acquired by an image recording device moving along a
trajectory" found in claim 21 of the '025 patent. Vederi, 813 F. App'x at
501, 503-504. The court found the term "cover[s] (1) image recording
devices that acquire images while moving; (2) image recording devices that
acquire images both while moving and while stationary," but not "(3) image
recording devices that acquire images only while stationary (although the
image recording device moves along a trajectory at other times)." Id. at 504.
      Notably, the Vederi court applied the "broadest reasonable
interpretation" when construing the term "moving" and not the "ordinary
and customary meaning as understood by an ordinarily skilled artisan"
standard set forth in Phillips. Id. at 504 (stating "[t]he broadest reasonable
interpretation requires that the claim construction be reasonable in light of
the specification"). Even so, the court considered the Specification in
arriving at its construction. Id. (citing the '025 patent 2:27-29, 3:47--49,
3:54-57, 4:50-53, 4:55-58, 5:18-19, 5:52-54, 6:58-61, Fig. 9). In
particular, the Specification states "an image recording device moves along a
path recording images of objects along the path" (the '025 patent 2:27-29),
"[ m]ovement to the camera 10 is provided by a base, platform, or motor
vehicle moving at an average speed of preferably about 20 miles/hour" (id.
at 4:55-57), and "the camera 10 moves along the path" (id. at 5:18). See
also id. at 4:52-53; 5:52-54, 6:58-61. The Vederi court also states "the



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[S]pecification contemplates that some photos may be taken while the
vehicle is stopped, for example, at an intersection." Vederi, 813 F. App'x at
504 (citing the '025 patent, Fig. 9).
      Upon consideration, we determine that the ordinary and customary
meaning of "moving" within the phrase "the images are associated with
image frames acquired by an image recording device moving along a
trajectory" in canceled claims 1, 13, 21, 43, and 55, when read in view of the
Specification and as understood by an ordinarily skilled artisan, includes an
image recording device that acquires images associated with image frames
(1) while moving and (2) both while moving and while stationary as long as
some images are associated with image frames acquired while the image
recording device is moving.
      Additionally, and not addressed by the court in Vederi, Requester
contends that the Examiner erred in construing the phrase, "moving along a
trajectory" in claims 1, 13, 21, 43, and 55 to require a specified or
predetermined trajectory. 3PR Appeal Br. 2, 8-9 (citing RAN 8, 63). In
particular, Requester argues that the Examiner failed to construe this phrase
using the broadest reasonable construction. Id. at 8-11. Patent Owner
agrees with the Examiner's construction of "trajectory," further arguing that
"'trajectory' by definition refers to the path of a moving object, not a
stationary object." PO Reb. Br. 6 (quoting RAN 8, 72-73). Patent Owner
provides two definitions to support its position. Id. at 5 (defining
"trajectory" as "[t]he path followed by a projectile flying or an object




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moving under the action of given forces" 9 and "[t]he path of a moving
particle or body, esp., such a path in three dimensions" 10).
       Concerning this dispute, the Examiner states the phrase, "'moving
along a trajectory' does not obviate the overall requirement that the image
acquisition device travel along the claimed trajectory" (RAN 8) and that "an
actual trajectory is clearly required by the claim" (RAN 72). We agree, in
essence, because claim 1 explicitly recites "an image recording device
moving along a trajectory." We also accept that a plain meaning of
"trajectory" includes a "path of a moving particle or body" (PO Reb. Br. 5
(citing The American Heritage Dictionary)). The disclosure of the '025
patent also supports that a trajectory is synonymous with a path. See the
'025 patent, 3:56 (stating "trajectory/path"). Thus, the ordinary and
customary meaning of "trajectory" in claims 1, 13, 21, 43, and 55 consistent
with the disclosure of the '025 patent, includes a path, course or route of a
moving object (i.e., the recited "image recording device").
      We, however, disagree with the Examiner that the recited trajectory is
"a determined path taken by the data gathering system." RAN 73 (emphasis
added); 3PR Appeal Br. 9 (quoting this passage in RAN). Specifically, we
agree with Requester that the claim fails to limit the trajectory to one that is
"determined" or "specified." 3PR Appeal Br. 9. The '025 patent provides
an "illustration of a trajectory" in Figure 9 where a camera is moved along a


9
  Trajectory, Oxford Dictionaries, available at
http://www.oxforddictionaries.com/us/definition/american_ english/trajector
y (defining "trajectory" (def. 1)). PO Reb. Br., Evidence App., Ex. C.
10
   Trajectory, The American Heritage Dictionary (2nd College ed. 1982)
1285 (defining "trajectory" (def. 1). PO Reb. Br., Evidence App., Ex. D.

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path (e.g., 110 including streets or blocks) making turns at intersections.
The '025 patent, 3:14-15, 7:58-60; Fig. 9. Arguably, this path of streets
(e.g., 110) was determined prior to recording. See id. Yet, even in this
example, we note that an ordinarily skilled artisan would have recognized
that unpredictability or randomness, such as lane shifting that deviate from
any purported, predetermined route, exists when moving along the path
shown in Figure 9. See 3PR Appeal Br. 10. Also, the above-noted example
in the Specification is just one example of a path found in the disclosure. 11
The claim 21 's scope however is not limited to this "illustration" of a
trajectory. See 3PR Appeal Br. 9; see also Phillips, 415 F.3d at 1323
("wam[ing] against confining the claims to th[ e specific] embodiments [in
the specification]").
      In summary, we find that the phrase "wherein the images are
associated with image frames acquired by an image recording device
moving along a trajectory" in claims 1, 13, 21, 43, and 55 requires the image
recording device moves along a path, course or route, but that the path need
not be predetermined or specified, and that the image recording device
acquires "the plurality of images" that "are associated with the image frames
acquired by an image recording device" (1) while moving and (2) both while
moving and while stationary as long as some image frames are acquired
while the image recording device is moving.

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  During a related litigation, Vederi, LLC v. Google, Inc., Case No. 2: 10-cv-
07747, of the '025 patent, Patent Owner similarly provided an example of
the phrase, "moving along a trajectory" in claim 21 of the '025 patent to
include moving "down a street" (see 3PR Appeal Br., Evidence App., Ex.
EA-01, p. 21) without qualifying that the trajectory must be specified. See
3PR Appeal Br. 10.

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          2. "wherein the first and second images are each a composite
          image" of claims 6, 18, 34, 35, and 68, and "wherein each
          composite image is created by processing pixel data of a plurality
          of the image frames" of claim 35

      Patent Owner and Requester discuss the "composite image"
limitations found in claims I and 7 (previously amended) of the '025 patent.
PO Appeal Br. 12-13; 3PR Resp. Br. 4. Currently, the patent claims on
appeal reciting the "composite image" are claims 6, 18, 34, 35, and 68. Just
like the Federal Circuit in Vederi, we select claims 34 and 35 as illustrative.
See Vederi, 813 F. App'x at 503 (citing the '025 patent, 19:6-14).
      Claims 34 and 35 depend from claim 21. Claim 34 recites "the first
and second images are each a composite image, wherein each composite
image is created based on a first one of the image frames acquired at a first
point in the trajectory and a second one of the image frames acquired at a
second point in the trajectory" (the '025 patent 19:6-10); claim 35 recites
"the first and second images are each a composite image, wherein each
composite image is created by processing pixel data of a plurality of the
image frames" (id. at 19:11-14).
      Patent Owner disputes the claim construction of the particular phrase,
"composite image," finding the Examiner's interpretation unreasonably
broad. PO Appeal Br. 12-19; PO Reb. Br. 11-12. Patent Owner argues that
      The composite image presents a single new view of the objects
      in the geographical area. The single new view is different from
      any of the views depicted in any one of the image frames from
      which the composite image is created, e.g., it can be a wider
      view. Moreover, the new view is from a single location as if
      the viewer was at that location.




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PO Appeal Br. 14. To support this position, Patent Owner cites to Figure 2
of the '025 patent and composite image 40. Id. at 15-16. Patent Owner
further contends that "[n ]othing in the '025 patent suggests that two or more
separate and independent images become a 'composite image' as the term is
used in the '025 patent simply because they are displayed simultaneously on
a screen." Id. at 17.
      The Examiner, on the other hand, finds the phrase, "composite
image," includes combining four images into a single image. See RAN 68.
Specifically, the Examiner incorporates the Requester's Comments on pages
20 through 24 of the response filed August 21, 2013 ("Aug. 2013 3PR
Comments"). Id. In these comments, Requester argues that Patent Owner is
reading limitations improperly into the recitation "composite image" and
that Yee (as further explained by Lachinski) combines four reduced images
into a single image to generate a 4-view composite image using pixel
processing. Aug. 2013 3PR Comments 20-23 (citing Yee 389; Lachinski
5:25-31, 13:40--46).
      Considering the disclosure, the '025 patent discusses creating
"composite images" by synthesizing images, image data, or image frames
but does not address how the images are synthesized or combined. The '025
patent, code (57), 2:22-24, 2:34-36, 3:46--49, 5:45--47. This disclosure also
states image data from each selected image frame 42 is extracted and
combined to form the composite image. Id. at 5:66-6: 1. Although the '025
patent provides a preference as to how to create a composite image (see id.
at 6: 1-15), we decline to import this particular preference into the recitation
"composite image," which fails to recite the image is created "on a column-



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by-column basis" (id. at 6:4) or any of the other features of this preferred
image creation process (see id. at 6: 1-15).
      Also, the plain and ordinary meaning of "composite" includes
"something that is made up of different parts." 12 A single image consisting
of data from four reduced image frames is something made from different
parts (e.g., a composite). An ordinary meaning of (1) "synthesize" 13
includes "to make (something) by combining different things" or "to
combine (things) in order to make something new," and (2) "combine," 14
includes "to unite into a single number or expression." Thus, the phrase
"composite image" consistent with the disclosure and its ordinary meaning
should be construed to mean a single image created by combining different
image data or by uniting image data.
      The Federal Circuit agreed with this claim construction in Vederi,
determining the term "composite image" in claims 34 and 35 should be
construed as "a single image created by combining different image data or
by uniting image data." Vederi, 813 F. App'x at 503 (citing the '025 patent,
19:6-14). The court further found the phrase "by processing pixel data of a
plurality of the image frames" found in claim 35 specifies "the image may
be achieved by combining or uniting image data, meaning at the level of
pixel data." Id. The court also stated "[w]e are not persuaded by Vederi's
argument" that limits the claimed "'composite image' to 'a new image ...

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   Composite (noun), Merriam-Webster's Online Dictionary (11th ed.),
available at http://www.merriam-webster.com/dictionary/composite.
13
   Synthesize, Merriam-Webster's Online Dictionary (11th ed.), available at
http://www.merriam-webster.com/dictionary/synthesize.
14
   Combine, Merriam-Webster's Online Dictionary (11th ed.), available at
http://www.merriam-webster.com/dictionary/combine (def. le).

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that depicts a single new view (from a single location) of the objects in the
geographical area that is different from any of the views depicted in any one
of the image frames from which the composite image is created."' Vederi,
813 F. App'x at 503 (quoting both the '025 patent, 5:66-6:1 and
Personalized Media Commc 'ns, LLC v. Apple Inc., 952 F.3d 1336, 1343
(Fed. Cir. 2020)).
      Accordingly, the recited "a composite image" in claims 34 and 35 do
not require the composite image to be an image having a single view from
one location, a new view, a different view, or a wider field of view than any
acquired image frame as argued by Patent Owner. Stated differently,
"although the specification often describes very specific embodiments of the
invention, [the Federal Circuit] ha[s] repeatedly warned against confining
the claims to those embodiments." Phillips, 415 F.3d at 1323 (citing
Nazomi Commc 'ns, Inc. v. ARM Holdings, PLC, 403 F.3d 1364, 1369 (Fed.
Cir. 2005); Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906-08
(Fed. Cir. 2004)). We thus will not confine the definition of the phrase,
"composite image" to the exact representations in the Specification.
      Regarding claim 35, Patent Owner also states "[a] person of ordinary
skill in the art would further understand" the phrase "composite image is
created 'by processing pixel data of a plurality of the image frames' ... to
mean 'an image formed by combining two or more image frames at the pixel
level."' PO Appeal Br. 14. For support, Patent Owner refers to a "Joint
Construction of Agreed Terms, Joint Exhibit C" 15 which is listed in its


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  This Joint Construction appears to be part of the district court proceeding,
Vederi, LLC v. Google Inc., Case No. 2: 10-CV-07747 (C.D. Cal.).

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Appeal Briefs Evidence Appendix as item "I" (id. at 40) and described as
"Exhibit A hereto" (id. at 14 n.1) However, the Joint Construction cannot be
located in the Evidence Appendix or in any other part of the briefing.
      In an event, Patent Owner asserts "Patent Owner and Requester
agreed that 'a composite image created by processing pixel data of a
plurality of the image frames' mean[s] 'an image formed by combining two
or more image frames at the pixel level."' Id. Patent Owner also argues "[a]
person of ordinary skill in the art would also understand that this requires
that the pixel values of the composite image are computed from pixel values
of the two or more image frames from which the composite image is
created." Id. at 15 (citing the '025 patent 5:67-6: 1). Patent Owner discusses
the '025 patent's Figure 2, as well as the '025 patent's Figure 16 and U.S.
Provisional Application 60/238,490's Figure 11, as a composite image
having "pixel values that are computed from pixel values of each of the
image frames from which the composite image is created." Id. at 16; id. at
17 (reproducing the '025 patent, Fig. 16 and U.S. Provisional Application
60/238,490, Fig. 11 ).
      Claim 3 5 requires "processing pixel data of a plurality of the image
frames." But, this recitation does not recite how the pixel data of the images
frames are processed, such that pixel values of the composite image are
computed from pixel values of two or more image frames. We stress that
the '025 patent states a preference for the composite image to be created by
extracting image data from each image frame on a column-by-column basis.
See the '025 patent, code (57), 6:1-15, Fig. 2. Consistent with Phillips, we
will not confine the claims to the specific embodiments described in the



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disclosure. See Phillips, 415 F.3d at 1323. When applying the plain
meaning of "processing" (e.g., "Computers To perform operations on
(data)") 16 as understood by an ordinarily skilled artisan, claim 35 requires no
more than "combining or uniting image data, meaning at the level of pixel
data." Vederi, 813 F. App'x at 503.
       Accordingly, the phrase "composite image" in claims 6, 18, 34, 35,
and 68 means a single image created by combining different image data or
by uniting image data and the further limitation of "each composite image is
created by processing pixel data of a plurality of the image frames" in claim
35 means a single image that may be created by combining or uniting image
data from a plurality of image frames at the level of pixel data.
          3. "accessing a web page for the retail establishment; and
          invoking by the computer system a display of the web page on the
          display screen" ("the Web Page Limitations " 17) of claim 28

       Claim 28 ultimately depends from claim 21 and recites, in pertinent
part, "accessing a web page for the retail establishment; and invoking by the
computer system a display of the web page on the display screen." The '025
patent, 18 :46--49.
       Patent Owner argues the proper construction for the "web page for the
retail establishment" consistent with the '025 patent's disclosure is one that
is "owned and controlled by a business establishment." Aug. 2015 PO
Comments 7; see id. at 5-9 (citing the '025 patent 12:17-19, 12:48-56, Fig.


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   Processing, The American Heritage Dictionary, available at
https://www.ahdictionary.com/word/search.html?q=process (def. 3 (tr. v.)).
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   Requester refers to this recitation as "the 'Web Page Limitations."' 3PR
Appeal Br. 2.

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16). Requester does not offer an explicit claim construction for this phrase
but contends that Ishida provides access to web information that allows user
to access indexed websites (e.g., determine restaurant table availability) and
thus teaches the Web Page Limitations. See 3PR Appeal Br. 3, 15-16.
      According to the court in Vederi, "[t]he Board limited a 'web page for
the retail establishment' to web pages belonging to, owned by, or operated
by the retail establishment." Vederi, 813 F. App'x at 504 (citing Google Inc.
v. Vederi, LLC, No. 95/000,681, 2016 WL 792285, at *2-3 (PTAB Feb. 26,
2016)). The court found this characterized interpretation as "unduly
narrow." Id. The court indicated "an online Yellow Pages directory may be
a web page for a retail establishment in that it shows particular information
about the retail establishment for the convenience of a consumer" (id. at
505) and further states "a web page, such as an online Yellow Pages
directory, may be associated with a particular retail establishment, but not
owned or controlled by that establishment" (id. (citing the '025 patent
12:53-56)).
      The Specification does not describe an online Yellow Pages directory
but does discuss "business establishments" (the '025 patent 12:48), stating
that "the establishment" can be "associated with a particular Web page" (id.
at 12:53-54). Consistent with the Specification, an ordinary meaning of the
recited "web page for the retail establishment" as understood by an
ordinarily skilled artisan at the time of the invention would have included a
web page in which a business or retail establishment is associated. See id.
This web page thus may include more than those belonging to, owned by, or




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operated by the retail establishment. See id.; see also Vederi, 813 F. App'x
at 504.
      Accordingly, although the court did not provide an explicit claim
construction for the phrase "web page for the retail establishment" found in
the Web Page Limitations, we understand the ordinary meaning of this
phrase to include a web page that (1) shows particular information about the
retail establishment or (2) is associated with a particular retail establishment.
      B. Yee and Dykes
      Claims 2-6, 8-10, 14-18, 20, 34, 36, 56-60, 64-68, and 70-72 are
rejected under 35 U.S.C. § 103(a) based on Yee and Dykes. RAN 15-61.
This rejection was presented on the claims as amended and prior to the '025
patent's expiry. We reverse this rejection given the particular circumstances
of this proceeding, which include that the dependencies of the claims have
changed since the '025 patent's expiry, the Federal Circuit provided
intervening claim construction for claim terms in the '025 patent, and the
claims are now construed under Phillips as opposed to the broadest
reasonable construction. Compare Phillips, 415 F.3d at 1312-13, with
Personalized Media Commc 'ns, 952 F.3d at 1340.
      However, we present a new ground of rejection for claims 2-6, 8-10,
14-18,20,24,26,29,33-38,41,42,44--48,51-54,56-60, 63-68,and 70-
72 under 35 U.S.C. § 103(a) based on Yee and Dykes pursuant to 37 C.F.R.
§ 41. 77 (b ). Each of the above claims ultimately depends from one of
canceled claims 1, 13, 21, 43, and 55 and thus, each claim includes the
limitations found in one of claims 1, 13, 21, 43, and 55. We start our
discussion by addressing claim 3 3, which depends from canceled claim 21.



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          1. Claim 33
      We adopt the findings and conclusions discussed in the Non-Final
Office Action and the Request. See Nov. 2012 Non-Final Act. 11-14 (citing
Yee 389-92, Fig. 1; Dykes 132, 136-42, 144--45, Fig. 6; Request 120-54,
Claim Chart CC-D); see also Request 120-32 (citing Yee 389-92; Dykes
137, 139--41, 145, Figs. 4, 6; Ex. CC-D; Ex. OTH-B, 61:23-25, 104:16-20,
121:1-3; Ex. OTH-D, 17:7-9), 152 (citing Dykes 132, 139--40), Ex. CC-D
1-11, 24-25 (citing Yee 389-92; Dykes 132, 137, 139--41, 145, Fig. 6; Exs.
OTH-B, 61:23-25, 104:16-20, OTH-D, 17:7-9). We emphasize that Yee
teaches a vehicle moves and acquires image frames by an image recording
device at a certain rate per second. Specifically, Yee teaches recording
images of streets, objects, and surroundings (e.g., streets and their names,
power poles, street lights, traffic signals, guard rails, houses, house
addresses, speed limits, and street signs) with cameras (Yee 3 89), not just at
the same point, but also at a rate of 30 frames per second as the Geo Van
travels along streets (id.). See also id. at 388-90. This illustrates that Yee's
van moves to different points in a path or route while acquiring images using
image recording devices (e.g., cameras) or its "images are associated with
image frames acquired by an image recording device moving along a
trajectory" as claim 21, from which claim 33 depends, recites. See id. Our
findings and conclusions are also consistent with how this limitation (i.e.,
the Image Frames Limitations) is construed in Section (III)(A)(l).
      Additionally, combining Dykes's teachings with Yee would have
provided "an excellent source of current micro-, meso- and micro-scale
information" (Dykes 132), provided "educational aims" (id. at 134), and



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been "useful ... when evaluating sites, buildings, and characteristics of the
neighbourhood surrounding them" (id.). As such, an ordinarily skilled
artisan would have been motivated to include Dykes' s teachings in Yee to
provide these noted benefits and to improve Yee's system that records
images of infrastructure (e.g., streets, power poles, street lights, houses,
house addresses, and street signs) (Yee 389) in all four directions (id. at
390). See also 3PR Resp. Br. 13-14 (discussing using a known technique to
improve similar devices in the same way).
      Also, combining Dykes' s teaching related to displaying symbols,
which include dots and arrows on a map (Dykes 139-41, Figs. 4, 6), with the
images of Yee's system would have predictably yielded "invoking ... a
display" that provides dots and arrows 18 ( e.g., "direction identifier for
indicating the viewing direction depicted in" an image) in Yee's visual
interface to help with orientation and would have improved Yee's visual
interface by permitting the user to navigate within the virtual space and
between recognized features. See Dykes 137, 139--41, Fig. 4; see also
Request 122 (stating the combination would have "provide[d] arrows in
Yee's visual interface system (VIS) to help user orientation"); 3PR Resp. Br.
13-14 (stating applying Dykes's teaching to improve on Yee's system by
displaying arrows to assist with navigating across the virtual space and
creating a real sense of space within the virtual environment).




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  The '025 patent describes "a direction identifier" to include "a dot or an
'X' to identify the side of the street being viewed" or "[ a]ltematively, an
arrow may be placed near the current location identifier 228 to identify the
current viewing direction." The '025 patent 13:6-9.

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      Regarding the recited "panoramic view of the objects" in claim 33,
Dykes teaches how its acquired image frames are used to form a panorama
that provides a view of objects within the location that the image is taken.
Dykes 134-35, Fig. 2. Specifically, Dykes teaches stitching images from
different points within a location together using an overlap feature to form a
panorama. Dykes 135, cited in 3PR Resp. Br. 15; see id. at 134-35. For
example, Dykes's Figure 2 teaches and shows nine image frames (upper left)
are taken and stitched together with overlap (upper right) to form "a
continuous panorama" (bottom). Id. at 135, Fig. 2. Thus, Dykes's process
of forming panoramas, when combined with Yee, teaches and suggests each
of its images can "provide a panoramic view of the objects at respectively"
its "locations" as claim 33 recites. See 3PR Resp. Br. 16-17 (discussing an
ordinarily skilled artisan would have been motivated to stitch Yee's acquired
images that overlap as Dykes teaches, to provide panoramic images of a
geographic area traveled by Yee's Geo Van or "a panoramic view of objects"
at locations as claim 33 recites).
      Based on Patent Owner's understanding of the term "moving" in
claim 21 as discussed in Section (III)(A)(l), Patent Owner argues "Dykes
does not teach 'image frames acquired by an image recording device moving
along a trajectory' as recited in claim 21" (and similarly recited in claims 1,
13, 43, and 55). PO Reb. Br. 13-14. This argument is unavailing because as
noted above, Yee teaches this feature. Yee 389-90, cited in Request 126.
That is, as emphasized above, Yee teaches a van (e.g., the noted "Geo Van")
moves along a street and acquires image frames along the street using
cameras as the van moves. See id. at 388-90. Dykes thus need not teach or



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suggest the disputed "moving" feature in claim 3 3, which depends from
canceled claim 21.
      In its request for rehearing, Patent Owner argues that Dykes does not
disclose "displaying a direction identifier" and "receiving a second user
input specifying a navigation direction relative to the first location" recited
in claim 21, from which claim 33 depends. PO Rh'g Request 4-6. Patent
Owner contends the word "arrow" in Dykes at best discusses a directional
view. Id. at 5-6 (citing Dykes 137, 141, Fig. 4). Patent Owner also argues
Yee and Dykes do not teach "determining a second location based on the
user specified navigation direction" as claim 21 recites. Id. at 6-7.
Specifically, Patent Owner argues dragging, navigating, and panning as
Dykes teaches does not disclose this feature but merely discloses changing a
view. Id. at 6-7 (discussing Dykes 136-37, 139--41, 145).
      We agree with Requester that these arguments are untimely raised.
See Aug. 2015 3PR Comments 5-6, 8. In any event, we adopt Requester's
remarks in this regard. Id. at 6-8 (citing Dykes 139-41, Fig. 4; Request 5-6;
RAN 17). Dykes discusses displaying arrows in portions of panoramic
image (e.g., arrows in "VFC panorama:htd-018" and "VFC panorama:mark
58" of Figure 4) in a viewer. Dykes 137, 141, Fig. 4. Dykes also explains a
user can select another section of the image (e.g., moving the cursor right or
left in the viewer around an arrow or "receiving ... a second user input
specifying a navigation direction relative to the first location in the
geographic area" as claim 21 recites) and based on this selection, Dykes
teaches processing a new image at another location according to the selected
section. See id. at 137-39, Fig. 3.



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      Patent Owner also argues that Yee and Dykes "are opposite in nature"
and have "cross-purposes." PO Appeal Br. 19-20. Patent Owner asserts
that combining Dykes with Yee would defeat the key purpose of Yee, which
is to relate images accurately and precisely with the geographic position
(e.g., photogrammetry). Id. at 20. Patent Owner even further contends that
the cost to combine these references would be prohibitive or at greater
expense for no apparent reason. Id. at 21. We are not persuaded.
      Although there are differences between Yee and Dykes, we disagree
that they are opposite, such that one skilled in the art would not combine the
teachings in these references. As Patent Owner acknowledges, "each [of
Yee and Dykes] teaches how to capture and visualize a geographic area."
PO Appeal Br. 19. Thus, the references are related to each other in this
regard, and an ordinarily skilled artisan would have looked at their
respective teachings concerning collecting, creating, and displaying images
in a geographic area. See 3PR Resp. Br. 12-13 (citing Yee 391-92,
Abstract; Dykes 127, 135, 146; RAN 11, 15) (discussing how both Yee and
Dykes relate to collecting images of a geographic area and displaying
images within an interface). Also and importantly, the rejection relies on
Yee-not Dykes -to teach the limitation of "providing by image source a
plurality of images depicting views of the objects in a geographic area ...
wherein the images are associated with image frames acquired by an image
recording device moving along a trajectory" recited in claim 21. See
Request, Evidence App., Ex. CC-D, pp. 2--4 (citing Yee 389-90, 392); see
also 3PR Resp. Br. 16 (indicating that the rejection does not propose
replacing Yee's image acquisition process with that of Dykes). Thus, any



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differences between how Yee and Dykes collects or acquires image data do
not correspond to how the teachings are combined in the rejection.
      Contrary to Patent Owner's assertions (PO Appeal Br. 19), one skilled
in the art would have recognized the above-noted references' similarities and
would not immediately have found the references have cross-purposes. For
example, Yee teaches creating a visual interface of a city, permitting a user
to point at specific locations within a map, and providing images of the
selected location. Yee 388, 391-92; see also Request 122 (discussing Yee
as "a system for creating a navigable digital city"); 3PR Resp. Br. 12-13
(stating "Yee discloses a Visual Interface System (VIS) that displays the
video images of the geographic area to the user" and "a user can point at a
street segment or specific location on a computerized map to display the
video images for that selected segment"); RAN 15-17 (noting the same
features). Dykes similarly teaches mapping views within a geographic area,
providing direction views (e.g., through its dots and arrows) within the area
to assist a user with orientation, and including interactive symbols at specific
locations that provide further images when selected. Dykes 137, 139--41,
146; see also Request 122; 3PR Resp. Br. 13 (stating "Dykes promotes
teachings that are analogous to those of Yee") (citing Dykes 127, 135, 146);
RAN 11 (stating "Dykes discloses a user terminal for visual navigation of a
geographic area via a computer system"), 17 (stating "Dykes discloses a user
input specifying a navigation direction relative to the first location" and "the
user may drag, navigate and pan the field of view"). Thus, as previously
discussed, combining Dykes' s teaching with Yee would have predictably
yielded a visual interface that provides arrows and symbols within Yee's



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visual interface to help with orientation and would have improved Yee's
visual interface by permitting the user to navigate within its space and
between recognized features. See Dykes 139; see also Request 122; 3PR
Resp. Br. 13-14.
      We further disagree with Patent Owner that there is a teaching away
from modifying Yee as proposed or that including Dykes' s teaching would
defeat Yee's key purpose. PO Appeal Br. 20-21. Patent Owner argues that
Yee's key purpose is to use photogrammetry to relate the images with their
geographic positions and to enable accurate surveying. Id. at 20. Patent
Owner contends that Yee performs photogrammetric analysis, which
requires an object to be seen in at least two image frames, each image taken
from different locations in space, and that replacing Yee's images with
Dykes' s panoramic images would make this photogrammetric process
impossible, because panoramic views lack parallax. Id. at 20-21; PO Reb.
Br. 16-18.
      Yee does not describe photogrammetry with the stereo option as one
of its key purpose. Yee 391-92, cited in 3PR Resp. Br. 14-15 (noting
photogrammetric software is optional). At one point, Yee states images "can
be processed by ... photogrammetric software to provide latitude and
longitude of selected image features in the camera's field of view." Yee
391. Contrary to Patent Owner's contention (PO Reb. Br. 16-17), Yee
describes a technique (i.e., "can be") for obtaining latitude and longitude, but
not require that the obtained latitude and longitude must be done in this
fashion. See Yee 391. Yee describes this software as having an optional
stereo feature that supplies the Virtual Interface System (VIS) with



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photogrammetric software to locate objects when supplied with a stereo
option and stereo viewing. Id. at 392; see also 3PR Resp. Br. 15 (noting the
same).
         We further see no discussion in Yee that "the dimensions and
locations of objects in the view are calculated from pixel information" in
photogrammetric analysis or that one would not be able to "compute
dimensions and locations from a panoramic view because of the lack of
parallax" as argued. PO Appeal Br. 20. In other words, Yee does not
discuss the need for parallax to compute dimensions and locations. See
generally Yee. Nor has Patent Owner provided sufficient evidence
demonstrating that these features in Yee are required to perform
photogrammetry. See 3PR Resp. Br. 14 (quoting portions of PO Appeal Br.
20). The record fails to support Patent Owner's contention adequately,
essentially relying on arguments of counsel.
         Assuming, without agreeing, that Yee requires parallax and its
photogrammetric analysis involves calculating objects' dimensions and
locations as Patent Owner purports, we agree with Requester that Dykes
expressly teaches capturing objects in multiple frames and that some of these
objects are located in two frames that overlap when the images are stitched
together into a panorama. Dykes 135, Fig. 2, cited in 3PR Resp. Br. 15.
Moreover, Dykes shows in Figure 2 an example where its stitching
technique involves some type of computation of the objects' locations and
dimension in order to combine and size the images together properly into the
resulting, continuous panorama as shown. See id., Fig. 2.




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       In the rebuttal brief, Patent Owner argues for the first time that Dykes
fails to acquire images that create the panoramic views at two different
locations, but rather pans the camera about a fixed point and thus fails to
have parallax. PO Reb. Br. 17 (citing Dykes 132 19). We are not persuaded.
As discussed above, Dykes is cited to teach how the acquired image frames
as taught by Yee are used to form "a panoramic view of the objects" as
recited. Dykes also teaches or at least suggests stitching images from
different points together using the overlap feature to form a continuous
panorama. Dykes 135, cited in 3PR Resp. Br. 15; see id. at 134-35. Thus,
when combined with Yee, which acquires image frames at different
locations as previously discussed, any purported parallax needed by Yee is
provided by the image frames that are acquired by Yee' s technique, and the
image frames are used to stitch images to form the continuous panorama as
taught by Dykes.
       Concerning Patent Owner's contention that modifying Yee would
amount to extra work and greater expense for no apparent reason (see PO
Appeal Br. 21-22), we disagree. Patent Owner's arguments are misplaced,
focusing on modifying Yee's image gathering approach with Dykes's image
acquisition technique, which is not how the rejection combines the teachings
of Dykes and Yee. See RAN 70 (stating "Yee teaches all of the claim with
the exception of a direction identifier and specifying a navigation direction
relative to the first location for determining the second location"); see also
3PR Resp. Br. 16 (noting "Yee and Dykes may be combined to arrive at the


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  Dyke discloses that the panoramic photos can show-not acquire-the
view from a chosen location through 360 degree. Dykes 132.

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claimed subject matter ... without replacing Yee's image acquisition
process with that of Dykes"). Additionally, as Requester indicates, the
arguments presented by Patent Owner related to greater expense and greater
work are essentially unsupported by evidence other than counsel's
assertions. See 3PR Resp. Br. 14-15. These kind of arguments cannot take
the place of evidence lacking in the record. See Estee Lauder Inc. v.
L'Oreal, S.A., 129 F.3d 588, 595 (Fed. Cir. 1997).
       We further adopt Requester's remarks related to Patent Owner failing
to provide persuasive evidence that Dykes cannot be combined with Yee.
See 3PR Resp. Br. 14-17. In particular, Dykes is cited to teach displaying
dots and arrows in a user interface (e.g., displaying a direction identifier) as
well as linked symbols, which permit the user to select an alternative
image/view (e.g., receiving an input specifying a navigation direction as
recited in the claims), and to include these features in Yee' s interface to
improve its system as previously discussed. See Dykes 134, 136-137, 139-
142, 145, cited in RAN 16-17 20 ; see also 3PR Resp. Br. 13-14. An
ordinarily skilled artisan would have recognized to include Dykes' s teaching
related to dots, arrows, and symbols in a display interface into Yee to
improve Yee's system by providing "the ability to navigate across the virtual
space" and provide "a real sense of spatiality and immersion that are the
essence of virtual environments." 3PR Resp. Br. 13 (citing Dykes 139).
Similarly, "Dykes explicitly and specifically explains how the user is
enabled to navigate locations by visualizing the location spatially as


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  The Examiner also cites to Request 120-54, the November 7, 2012 Non-
Final Act. 14, and Request, Exhibit CC-D. RAN 15, 19.

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represented by symbols (icons) on the map that link the map to images.
Dykes at 139-140." RAN 17, cited in 3PR Resp. Br. 13. In other words,
Dykes teaches a known technique for navigating and visualizing images of a
geographic area within an interface, and one skilled in the art would have
recognized that Dykes's teaching would have improved on Yee's system in
the same manner. See KSR Int 'l Co. v. Teleflex Inc., 550 U.S. 398, 417
(2007).
      In summary, the record provides an articulated reasoning with a
rational underpinning to combine the teachings of Yee and Dykes as
proposed and to justify the obviousness conclusion.
          2. Claims 17 and 67
      Claim 17 depends from canceled claim 13 but includes limitations
similar to those in claim 33; claim 67 depends from canceled claim 55 but
also includes limitations similar to those in claim 33. Like claim 33, we
adopt the findings and conclusions discussed in the Non-Final Office Action
and the Request for those limitations in claims 17 and 67 similar to canceled
claim 21 from which claim 33 depends. See Nov. 2012 Non-Final Act. 11-
14 (citing Yee 389-92, Fig. 1; Dykes 132, 136--42, 144--45, Fig. 6; Request
120-54, Claim Chart CC-D); see also Request 120-32 (citing Yee 389-92;
Dykes 137, 139--41, 145, Figs. 4, 6; Exs. CC-D, OTH-B, 61:23-25, 104:16-
20, 121:1-3, OTH-D, 17:7-9), 152 (citing Dykes 132, 139--40), Claim Chart
CC-D 1-11, 24-25 (citing Yee 389-92; Dykes 132, 137, 139--41, 145, Fig.
6; Exs. OTH-B, 61:23-25, 104:16-20, OTH-D, 17:7-9).
      We additionally adopt the Examiner's comments in the Action
Closing Prosecution directly related to claims 17 and 67. See ACP 34-36



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(addressing claim 17) (citing Yee 389-92, Fig. 1; Dykes 134-37, 139--42,
145, Figs. 2, 6; Request 122), 52-54 (citing the same) (addressing claim 67).
Lastly, claims 17 and 67 are rejected based on the additional findings and
conclusion presented above for claim 33 related to similar claim recitations.
      As for the arguments presented by Patent Owner, we are not
persuaded for the reasons discussed above when addressing claim 33.
          3. Claims 6, 18, 34, 35, and 68
      Claim 6 depends from canceled claim 1; claim 18 depends from
canceled claim 13; claims 34 and 3 5 depend from canceled claim 21 ; claim
68 depends from canceled claim 55. Like claim 33, we adopt the findings
and conclusions discussed in the Non-Final Office Action and the Request
for those limitations in claims 6, 18, 34, 35, and 68 similar to claim 21, from
which claim 33 depends, and claim 35. See Nov. 2012 Non-Final Act. 11-
14 (citing Yee 389-92, Fig. 1; Dykes 132, 136--42, 144--45, Fig. 6; Request
120-54, Claim Chart CC-D); see also Request 120-32 (citing Yee 389-92;
Dykes 137, 139--41, 145, Figs. 4, 6; Exs. CC-D, OTH-B, 61:23-25, 104:16-
20, 121:1-3, OTH-D, 17:7-9), 153-54 (citing Yee 389), Claim Chart CC-D
1-11, 25-26 (citing Yee 389-92; Dykes 137, 139-41, 145, Fig. 6; Exs.
OTH-B, 61:23-25, 104:16-20, OTH-D, 17:7-9).
      Each of claims 6, 18, 34, 35, and 68 recites "the first and second
images are each a composite image"; claims 6, 18, 34, and 68 further recite
"wherein each composite image is created based on a first one of the image
frames acquired at a first point in the trajectory and a second one of the
image frames acquired at a second point in the trajectory"; claim 35 further




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recites "wherein each composite image is created by processing pixel data of
a plurality of the image frames."
      As discussed in Section (III)(A)(2), the phrase "composite image" in
claims 6, 18, 34, 35, and 68 means a single image created by combining
different image data or by uniting image data and claim 35 requires a single
image that may be created by combining or uniting image data from a
plurality of image frames at the level of pixel data. As explained below, Yee
teaches or suggests these limitations under their ordinary and customary
meanings as well as the recitation "each composite image is created based
on a first one of the image frames acquired at a first point in the trajectory
and a second one of the image frames acquired at a second point in the
trajectory" found in claims 6, 18, 34, and 68.
      Yee addresses collected data made available with its product. Yee
389. The data includes provided various views, including "curbside view,
front and back," "street view, front and back," "real estate view left and
right," "real estate and addresss [sic] zoom, 4-view," and "composites of
them." Id. Yee explicitly discloses "composites" (id.; see RAN 71) and
"them" refers back to the other discussed views, including a front and back
curbside view, a front and back street view, and a left and right real estate
view. Thus, Yee teaches creating "composites" of these various views. For
example, a composite may combine or unite image data from (1) the
curbside view and the street view or (2) two different street views to produce
the disclosed "composite[] of them." Yee 389. Additionally, an ordinarily
skilled artisan would have recognized Yee's disclosed "composites" would
have involved combining or uniting the noted views at the level of pixel data



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in some manner so as to form the composites available to the user in Yee.
See id.
          Patent Owner contends that Yee does not teach the recited feature of
claim 6. PO Appeal Br. 23-24. More particularly, Patent Owner discusses
that each of the 4-views of Yee is taken from "the same point in the
trajectory" and therefore is not from a first and second point in the trajectory
as recited. PO Appeal Br. 24; see PO Rh'g Request 8 (arguing all the
images in Yee "are captured at the same time and from the same location"
when created the 4-view image). We are not persuaded.
          First, the "composite of them" is separate from the "4-view" in Yee.
Yee 389 (stating "real estate and addresss [sic] zoon, 4-view; and
composites of them" (emphasis added)). Second, Patent Owner has not
provided persuasive evidence that the 4-view example described in Yee
(e.g., "real estate and addresss [sic] zoom, 4-view" (Yee 389)) would include
only images at the same point in a trajectory. For example, one skilled in the
art would have recognized that (1) the real estate view would be taken at a
different point along a path than the address view, (2) a front view would be
taken at a different point along a path than left view, and (3) two different
street views would be taken at different points along a path. See id. Third,
Yee teaches acquiring images, not just at the same point, but also at a rate of
30 frames per second as the Geo Van travels as fast as 40-50 miles/hour. Id.
at 389-392; see also 3PR Resp. Br. 18 (citing Yee 389-90). Yee thus
illustrates that the van moves to different point along a trajectory (e.g., a
path along a street) while acquiring images and thus "each composite image"
can be "created based on ... image frames acquired at" different "points in



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the trajectory" as claims 6, 18, 34, and 68 recite. Fourth, Yee states "an
ideal transportation data collection system should be able to collect data
which will ... locate items hidden by trees or buildings, looking
comprehensively" (Yee 390 (underlining omitted)), further suggesting that
the multiple sequence images in Yee are taken at different vantage points in
order to obtain more information about hidden objects in a frame/view. See
also 3PR Resp. Br. 18 (quoting Yee 390).
       Turning to the specific discussion of the "4-view" example in Yee,
Patent Owner argues this is not "a composite image" as recited. PO Appeal
Br. 18 (referring to "Requester's remarks" submitted on August 21, 2013).
Patent Owner produces "[a]n example of a Yee's 4-view." Id. Yet, as
Requester notes, the example illustrated on page 18 of Patent Owner's brief
is "neither found in Yee nor Lachinski" 21 and has not been demonstrated to
be "an accurate portrayal of the four-view images disclosed in Yee." 3PR
Resp. Br. 10. We also cannot locate the produced 4-view example in either
Yee or Lachinski, which has been cited by Requester to illustrate how the
"4-view" discussed in Yee is created. 3PR Resp. Br. 9-10. Thus, the
example provided by Patent Owner fails to demonstrate sufficiently that the
images in all ofYee's 4-views would be "clearly delineated by blank
spaces" as argued. PO Appeal Br. 18-19.




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  Lachinski is a patent issued to GeoSpan Corporation on May 27, 1997.
"GeoSpan" and a "4-view" are discussed in Yee. Yee 388-89. Lachinski
was introduced in Requester's February 6, 2013 Comments 23 "to explain
Yee' s teachings and to rebut Patent Owner's mischaracterization of Yee,
which was permitted under§ 1.948(a)(2)." 3PR Resp. Br. 9.

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      Nevertheless, some similarities exist between what is shown in Patent
Owner's hypothetical example and what Yee and Lachinski disclose. Yee
discusses "images can be displaced as rolling video of four views in a frame
.... " Yee 392. Lachinski further states:
      The four-view generator 62 has four inputs 82, allowing signals
      from four of the video cameras 50 to be input simultaneously.
      The generator 62 reduces the image represented by each signal
      to one-fourth of its original size and then combines the reduced
      images to form a single video image by placing each of the
      reduced images into one of the four comers of an output image.

Lachinski 5:25-31, Fig. 3. This supports that the "4-view" discussed in Yee
(Yee 3 89) can include four images, one in each of four comers that is
reduced in size. See Lachinski 5:25-31, Fig. 3. Lachinski also states the
generator produces "a single video image" that includes four reduced size
images. Id.
      Yee teaches and suggests that data from the four images, which
includes its pixel data, are used to create the single image frame with
reduced-sized images. This "four views in a frame" in Yee (Yee 392) or the
"single video image" with four-views, each one-fourth of its original size
that form "reduced images," as explained in Lachinski (Lachinski 5:25-31 ),
is a single image frame that is made up of different parts or images (e.g.,
image data from multiple views) and unites pixel data from each of the
different view image frames (e.g., processes image data from image frames
at the level of pixel data) into a single image.
      Based on the foregoing discussions, Yee teaches or at least suggests
two examples (e.g., "composites of them" image and "4-view" image) of
"the first and second images are each a composite image, wherein each


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composite image is created by processing pixel data of a plurality of the
image frames" as claim 35 recites and "each composite image is created
based on a first one of the image frames acquired at a first point in the
trajectory and a second one of the image frames acquired at a second point
in the trajectory" as claims 6, 18, 34, and 68 recite.
      Moreover, Dykes teaches and suggests creating images that "are each
a composite image" because of the reasons similar to those previously
discussed when addressing claim 3 3. That is, Dykes teaches creating
panoramas, which are single images created by combining and uniting
different image data (e.g., the nine images in the upper left in Figure 2)
through a stitching technique. See Dykes 134-36, Fig. 2. Dykes thus
illustrates how images taken at different points can be stitched together to
yield a single, composite image. See RAN 25 (citing Dykes 134-35, Fig. 2);
see also 3PR Resp. Br. 18 (citing Dyke 135). Moreover, "Patent Owner
admits that the panoramas in Dykes are composite images." PO Appeal Br.
19 (stating "Patent Owner admits that the panoramas of Dykes are composite
images"). We refer to the previous discussion for more details related to
Dykes' s teachings for creating panoramas, for a motivation to combine this
teaching with Yee, and for Patent Owner's arguments in this regard (PO
Appeal Br. 23-24). The rejection therefore relies on both Yee and Dykes's
teachings collectively to arrive at the claimed "composite image" of claims
6, 18, 34, 35, and 68. See 3PR Resp. Br. 19 (noting Patent Owner attacks
Yee and Dykes individually).
      Patent Owner argues that Dykes does not teach that the series of
images combined to produce a panorama (e.g., a type of composite image)



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are acquired from multiple points in the trajectory. PO Appeal Br. 23. As
stated previously, the rejection does not rely on Dykes to teach the image
acquisition features of the claim or to replace Yee' s teaching in this regard.
See RAN 70; see also 3PR Resp. Br. 16. That is, the rejection relies on Yee
to acquire the image frames at different points in the trajectory. See RAN
24-25 (citing Yee 389-392; Fig. 1). The rejection turns to Dykes
specifically for its stitching feature to create the recited "each composite
image" that is based on different points in the trajectory as acquired by Yee.
See id. (citing Dykes 134-135; Fig. 2); see also 3PR Resp. Br. 18-20; Aug.
2015 3PR Comments 9 (noting the rejection relies on Yee and Dykes).
Thus, whether Dykes obtains images by panning or by any other argued
technique (PO Appeal Br. 23; PO Reb.Br. 17-18) is not pertinent to the
rejection as proposed, which relies on Yee to teach how the images are
acquired.
            4. Claims 8, 20, 36, and 70
      Claim 8 depends from canceled claim 1; claim 20 depends from
canceled claim 13; claim 3 6 depends from canceled claim 21; claim 70
depends from canceled claim 55. Like claim 33, we adopt the findings and
conclusions discussed in the Non-Final Office Action and the Request for
those limitations in claims 8, 20, 36, and 70 similar to claim 21, for which
claim 33 depends. See Nov. 2012 Non-Final Act. 11-14 (citing Yee 389-
92, Fig. 1; Dykes 132, 136-42, 144--45, Fig. 6; Request 120-54, Claim
Chart CC-D); see also Request 120-32 (citing Yee 389-92; Dykes 137,
139--41, 145, Figs. 4, 6; Exs. CC-D, OTH-B, 61:23-25, 104:16-20, 121:1-3,




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OTH-D, 17:7-9), Claim Chart CC-D 1-11 (citing Yee 389-92; Dykes 137,
139--41, 145, Fig. 6; Exs. OTH-B, 61:23-25, 104:16-20, OTH-D, 17:7-9).
      Each of claims 8, 20, 36, and 70 recites "wherein the first and second
images each depict a wider field of view than is depicted in any one of the
image frames." For the reasons similar to those discussed above when
addressing claims 17, 33, and 67, Dykes teaches it images each depict a
wider field of view (e.g., stitched panoramas, such as the one shown in
Figure 2) than any one image frame (e.g., frames shown in Figure 2). See
Dykes 135, Fig. 2. Moreover, Patent Owner admits Dykes discloses images
with "wider fields of view." PO Appeal Br. 23 (stating "Patent Owner does
not deny that Dykes discloses composite images depicting panoramic views
or wider fields of view."). We refer to the previous discussion for more
details related to Dykes' s teachings for creating panoramas, a motivation to
combine this teaching with Yee, and Patent Owner's arguments in this
regard (PO Appeal Br. 22-24).
         5. Claims 2-5, 9, 10, 14-16, 24, 26, 29, 37, 38, 41, 42, 44-48, 51-
             54, 56-60, 63-66, 71, and 72
      Claims 2-5, 9, and 10 ultimately depend from canceled claim 1;
claims 14-16 ultimately depend from canceled claim 13; Claims 24, 26, 29,
37, 38, 41, and 42 ultimately depend from canceled claim 21; claims 44--48
and 51-54 ultimately depend from canceled claim 43; claims 56-60, 63-66,
71, and 72 ultimately depend from canceled claim 55. Like claim 33, we
adopt the findings and conclusions discussed in the Non-Final Office Action
and the Request for those limitations in claims 2-5, 9, 10, 14-16, 37, 38, 41,
42, 46--48, 51-54, 56-60, 63-66, 71, and 72 similar to claim 21 from which



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claim 33 depends. See Nov. 2012 Non-Final Act. 11-14 (citing Yee 389-
92, Fig. 1; Dykes 132, 136--42, 144--45, Fig. 6; Request 120-54, Claim
Chart CC-D); see also Request 120-32 (citing Yee 389-92; Dykes 137,
139--41, 145, Figs. 4, 6; Exs. CC-D, OTH-B, 61:23-25, 104:16-20, 121:1-3,
OTH-D, 17:7-9),, Claim Chart CC-D 1-11 (citing Yee 389-92; Dykes 137,
139--41, 145, Fig. 6; Exs. OTH-B, 61:23-25, 104: 16-20, OTH-D, 17:7-9).
      Regarding claim 2, we further adopt the findings and conclusion
presented in the Action Closing Prosecution. See ACP 17-18 (citing Yee
389-92, Fig. 1; Dykes 136-37, 139--42, 145, 147). Regarding claims 3, 14,
44, and 56, we further adopt the findings and conclusions presented in (1)
the Non-Final Office Action and Request related to canceled claim 22 (Non-
Final Act. 13 (citing Dykes 137, 139--41, 144--45, Figs. 4, 6); Request 132-
35 (citing Dykes 137, 139--41, Figs. 4, 6; Ex. CC-D)), (2) the Action Closing
Prosecution for claims 3, 14, and 56 (ACP 19-20 (citing Yee 389-92, Fig. 1;
Dykes 134, 136-37, 139-42, 145, 147, Fig. 6), 29-31 (same), 41--43
(same)), and (3) Requester's cross appeal (3PR Appeal Br. 25-26 (citing
Dykes 137, Fig. 6)). Regarding claims 4, 15, 45, and 57, we further adopt
the findings and conclusions presented in (1) the Non-Final Office Action
and Request related to canceled claim 23 (Non-Final Act. 13 (citing Dykes
137--41); Request 135-38 (citing Dykes 137--41, 144--45, Fig. 4; Ex. CC-D,
OTH-B, 59:18-19)) (2) the Action Closing Prosecution for claims 4 and 57
(ACP 21 (citing Dykes 137--41), 31 (same), 43 (same)), and (3) Requester's
cross appeal (3PRAppeal Br. 26-27 (citing Dykes 137, 139, 144; Sections
VIII.B.2-3, and Subsection 2)). Regarding claims 5, 16, 24, 46, and 58, we
further adopt the findings and conclusions presented in ( 1) the Action



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Closing Prosecution for claim 5 (ACP 21-22 (citing Dykes 137, 139--42,
145), 32 (same), 43--45 (same)) and (2) Requester's cross appeal (3PR
Appeal Br. 16-17 (citing Dykes 137), 27 (citing Section VIII.B.2 for claim
24)). Moreover, Dykes shows "a direction identifier" as arrows in its
figures. See Dykes, Figs. 4, 6.
      Regarding claims 9, 37, and 71, we further adopt the findings and
conclusions presented in the Action Closing Prosecution (ACP 27-29 (citing
389-92, Fig. 1; Dykes 134, 137, 139--42, 145, Fig. 6; Request 122), 58-60
(same)) and by Requester in its cross-appeal (3PR Appeal Br. 22-23 (citing
Yee 389; Dykes 129, 144, 146)). Moreover, Yee discusses Global
Positioning System (GPS) and Geographic Information Systems working
with video technology (Yee 388), its system is capable of obtaining accurate
GPS positioning (id. at 390), and collecting and synchronizing images (id. at
391). Additionally, Dykes's Figure 2 and its stitching technique suggests
that the acquired image frames (e.g., the nine frames in the upper-left side)
are synchronized with some form of position information in order to create
the continuous panorama that is properly aligned as shown in Figure 2. See
Dykes 135, 137, Fig. 2. Combining Yee's GPS positioning/synchronizing
image approach with Dykes's technique to unite (e.g., synchronized) images
based on position would have assisted in and improved upon producing the
continuous image (e.g., a panorama) in Dykes by using the Yee's
positioning data. See KSR, 550 U.S. at 417
      Regarding claims 10, 38, and 72, we further adopt the findings and
conclusions presented in the Action Closing Prosecution (ACP 29 (referring




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to claim 9), 60 (referring to claim 71)) and by Requester in its cross-appeal
(3PRAppeal Br. 23-24 (citing Yee 392; Dykes 144)).
      Regarding claims 26, 48 and 60, we further adopt the Requester's
findings and conclusions. 3PR Appeal Br. 17 (citing Dykes 139), 28 (stating
"Dykes discloses this limitation for the same reasons discussed in Section
VIII.B.3 for Claim 26"). In particular, Dykes teaches hot-linked or
interactive symbols (e.g., "displaying a navigation button") that can be
clicked to display images (e.g., "receiving user selection of the navigation
button"). Dykes 137, 139, 141, Fig. 4. Dykes also teaches the symbols are
included "within panoramas that display the appropriate image when
clicked" (id. at 139), and "the map identif[ies] the locations of panoramas,
and reveal the view and angle of view when clicked" (id. at 140). Thus,
when a user clicks on the symbol at location as taught in Dykes to view a
panorama and then clicks on another symbol (e.g., an interactive symbol
near an arrow to the right or left of the first's location center) within the
panorama, Dykes teaches or suggests a symbol can show its direction
relative to its location using further arrows (see id. at 139, 141 (see arrows
within middle and bottom panoramas in Figure 4)) and further that a section
of a panoramic image can be viewed by moving left or right (see id. at 137-
39, Fig. 3) or "clockwise from [the] north" (id. at 139) (e.g., "a navigation
direction"). Dykes' teachings, when combined with Yee, thus teach and
suggest "receiving user selection of the navigation button" as claimed.
      Regarding claims 29, 51, and 63, we further adopt the findings and
conclusions presented by Requester in its cross-appeal (3PR Appeal Br. 18




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(citing Dykes 139), 28 (referring claim 29 and Section VIII.BA), 31-32
(same)).
         Regarding claim 41, we further adopt the findings and conclusions
presented by Requester in its cross-appeal (3PR Appeal Br. 24 (citing Dykes
145)). Moreover, Yee also teaches its system has a database containing
infrastructure, street details, and data. Yee 388. Using a database to
perform the process of claim 21, from which claim 41 depends, at least
suggests to an ordinarily skilled artisan that the recited "one or more
computer devices includes a server" consistent with the Specification. See
the '025 patent, 4:40 (discussing a "database server").
         As for claim 42, we refer to the discussion of limitations found in
canceled claims 1 and 13, both of which include recitations to "a user
terminal" similar to the "one or more computer devices includes a user
terminal" recited in claim 42. See, e.g., ACP 17 (discussing "a user
terminal") (citing Yee 391-92), 29-30 (same). We further adopt
Requester's discussion of claim 42. 3PR Appeal Br. 24-25 (citing Yee 391-
92).
         Regarding claims 47 and 59, we further adopt the Requester's
findings and conclusions related to Yee. 3PR Appeal Br. 27-28 (citing Yee
392) (referring to Subsections 4 and 7). Specifically, Yee teaches a user can
point to a road segment or specific location on a computerized map to view
an image and the user can provide a "[ s]treet address entry" to "retrieve
house images as every house is individually tagged with its address." Yee
392. As such, Yee teaches and suggests a "location specified by the first
user input is an address specifying information selected from the group



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consisting of street name, city, state, and zip code" as claims 47 and 59
recite.
          Regarding claims 52 and 64, these claims are similar in scope to
canceled claim 30. We thus further adopt the Examiner's findings and
conclusions in the Request and the Non-Final Office Action related to claim
30 and in the Action Closing Prosecution related to claim 64. See Request
175-78 (citing Dykes 137, 139--41, 144--45, Figs. 4, 6; Ex. OTH-B 61:23-
25); see also Non-Final Act. 13-14 (citing Dykes 137, 139--40, 144--45,
Figs. 4, 6; Ex. CC-D); ACP 49-51 (citing Yee 389-92; Dykes 134, 136-37,
139--41, 142, 145, Fig. 6; Request 122).
          Regarding claims 53, 54, 65, and 66, these claims are similar in scope
to one of canceled claims 31 or 32. We thus further adopt the Examiner's
findings and conclusions in the Request and the Non-Final Office Action
related to claim 32 and the Action Closing Prosecution related to claims 65
and 66 that Dykes teaches "displaying a map of at least a portion of the
geographic area, wherein the direction identifier is displayed on the map" as
recited. See Request 178-84 (citing Dykes 134, 139--41, 142, 144--45, Fig.
6; OTH-B 59:18-19, 61:23-25); see also Non-Final Act. 13-14 (citing
Dykes 137, 139--40, 144-45, Figs. 4, 6; Ex. CC-D); ACP 51-52 (citing
Dykes 137--41, 144--45, Fig. 6; Request 122). Moreover, as previously
noted, Dykes teaches displaying symbols, which include both dots (e.g., "a
location identifier" as claims 53 and 65 recite) and arrows (e.g., "a direction
identifier" as canceled claims 43 and 55 recited) on a map. Dykes 139-41,
145, Figs. 4, 6. Dykes also teaches multiple symbols can be located within a
map (see id. at 141, 145, Figs. 4, 6), further suggesting "displaying on the



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map a location identifier" on the displayed map as claims 53 and 65 recite
and "retrieving from the image source a third image associated with the
selected location on the map" and "displaying the third image on the display
screen" as claims 54 and 66 recite.
      For each of the above-discussed claims, we additionally refer to our
previous discussion addressing reasons to combine Yee and Dykes.
      In summary, pursuant to 37 C.F.R. § 41.77(b), claims 2-6, 8-10, 14-
18, 20, 24, 26, 29, 33-38, 41, 42, 44-48, 51-54, 56-60, 63-68, and 70-72
are rejected under 35 U.S.C. § 103(a) based on Yee and Dykes.


                       IV. REQUESTER'S CROSS APPEAL
      Requester appeals the Examiner's confirmation of claim 28 and the
ultimate conclusion that claims 24, 26, 28, 29, 37, 38, 41, 42, 44--48, 51-54,
and 63 are patentable. 3PR Appeal Br. 2; RAN 1. Requester argues that
claims 24, 26, 28, and 29 should be rejected based on Ishida and Dykes and
claims 37, 38, 41, 42, 44-48, 51-54, and 63 should be rejected based on
Ishida, Dykes, and Yee. 3PR Appeal Br. 11-32.
                           Ishida, Dykes, and Yee
      Pursuant to 37 C.F.R. § 41.77(b), we present a new ground of
rejection for claims 28, 29, 51, and 63 under 35 U.S.C. § 103(a) based on
Ishida, Dykes, and Yee. Each of claims 28 and 29 ultimately depends from
canceled claim 21; claim 51 ultimately depends from canceled claim 43;
claim 63 ultimately depends from canceled claim 55. Thus, each of claims
28 and 29 includes the limitations found in canceled claim 21; claim 51




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includes the limitations found in canceled claim 43; claim 63 includes the
limitations found in canceled claim 55.
            A. Claim 28
       Claim 28 recites "[t]he method of claim 27, wherein the particular one
of the objects is a retail establishment, the method further comprising:
accessing a web page for the retail establishment; and invoking by the
computer system a display of the web page on the display screen" (the Web
Page Limitations). Claim 27 has been canceled and depends from canceled
claim 21.
       We adopt Requester's discussion of claim 28 under 35 U.S.C. § 103
based on Ishida and Dykes in the Request, the August 2013 Comments, and
the Requester's Appeal Brief. Request 154-65 (citing Ishida 25-27, 34,
Figs. 1, 3; Dykes 137, 139--41, 145--46, Fig. 6; Ex. OTH-B 104:16-20,106;
Ex. CC-E), 171-174 (citing Ishida 30-31; Dykes 139, 144--45, Fig. 6; Ex.
OTH-B 59:18-19, 61:23-25, 106; Ex. OTH-D 17:7-9; Ex. CC-E); see also
Aug. 2013 3PR Comments 12-16 (citing Dykes 127, 137, 139--42, 146,
Abstract; Ishida 3, 6-8 22 ); 3PR Appeal Br. 11-16 (citing Request 156-65,
173, 174; Ishida 25, 29-30; Dykes 1237, 137, 139-42, 146, Abstract, Figs.
4, 6). We further rely on the additional teachings and conclusions of (1) Yee
and (2) Dykes as previously discussed when addressing canceled claim 21



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  Requester refers to the pages in Ishida differently in (a) its appeal brief
and August 2013 Comments and (b) the Request. Compare 3PR Appeal Br.
15 (citing Ishida 3), with Request 156-57 (quoting Ishida 25-27). We use
similar page numbering to the Request. For example, in the above citation,
pages 3 and 6-8 cited in the August 2013 Comments are pages 25, 28-30 in
the Request.

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under the rejection based on Yee and Dykes. See, e.g., Yee 3 89-92, Fig. I;
see also Dykes 141, Fig. 4.
      The Examiner initially adopted, but later withdrew, this rejection.
ACP 61-63, 66; RAN 62-64, 67.
      Concerning the Web Page Limitations (see Section (III)(A)(3)),
Requester contends that Ishida provides web information "as part of the
virtual tourist experience that allows users to access the geographically
indexed websites, such as to determine the availability of restaurant tables
available for dining." 3PR Appeal Br. 15; see id. at 3 (stating "Ishida
teaches enabling user access to store websites, such as to determine the
availability of restaurant tables available for dining"). Requester states,
under the proposed construction, Ishida's website access teaches the Web
Page Limitations. See id. at 15-16. Requester argues that Ishida teaches
registering web pages, dynamically integrating WEB archives from various
companies (e.g., parking lot availability or restaurant table availability), and
retrieving WEB retrieval of real-time data. See id.; see also 3PR Rh'g
Request 3-12. Requester further contends Ishida teaches web retrieval of
data and displaying them to the user and that "[i]t is common knowledge that
web pages are retrieved and displayed to users on a computer system's
screen." 3PR Appeal Br. 16. Requester concludes that an ordinarily skilled
artisan would have understood that Ishida teaches the recitation, "invoking
by the computer system a display of the web page on the display screen" as
claim 28 recites. Id.
      Patent Owner argues Ishida does not disclose the Web Page
Limitations. Aug. 2015 PO Comments 9-16. Specifically, Patent Owner



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argues that Ishida does not indicate clearly whether it "displays the actual
web pages registered by its users" (id. at 11) or the retail establishment's
web page, but rather obtains information from a web page to present in a
map. See id. at 11-13.
      As discussed above in Section (III)(A)(3), we understand the phrase
"web page for the retail establishment" to include a web page (1) that shows
particular information about the retail establishment (e.g., online Yellow
Pages directory) or (2) associated with a particular retail establishment. See
Vederi, 813 F. App'x at 505. Ishida teaches a social information
infrastructure for a city (e.g., Kyoto) that includes shopping, business,
transportation, education, and other information. See Ishida 23-24,
Abstract. This structure integrates both World Wide Web archives and real-
time information related to the city into WEB and ftp interface (e.g., the
interface or second layer) on the Internet. See id. at 23-25, 28; see 3PR
Rh'g Request 8-9 (discussing Ishida's three-layer model) (citing Ishida 24-
25, Fig. 1).
       Specifically, Ishida's Section 4 indicates the digital city integrates
WEB and sensory data on a map, which involves registering WEB pages
with the digital city, determining the XY coordinate of each WEB page, and
retrieving WEB pages. Ishida 28-30; see 3PR Appeal Br. 15 (quoting Ishida
25). As an example, sensors in Kyoto gather traffic data from buses that
send location and route data to the live digital city, and WEB pages for bus
stops are retrieved and displayed so that real-time bus data is displayed on
the map of Kyoto. See Ishida 29-30, Fig. 5(b ); see 3PR Rh'g Request 11
(reproducing Ishida, Figs 5(a)-(b)). As such, each of these web pages in



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Ishida (e.g., WEB and ftp interface) shows particular information (e.g., bus
data) about or associated with a retail establishment (e.g., a transportation
company having a bus stop).
       Ishida therefore teaches or suggests "the particular one of the objects
is a retail establishment" (e.g., a bus stop in geographic area, 23 like Kyoto),
"accessing a web page for the retail establishment" (e.g., Kyoto's or the
digital city's WEB/ftp interface that contains web page information for the
transportation company's bus stop) and "invoking by the computer system a
display of the web page on the display screen" (e.g., displaying the Kyoto
bus stop's real-time information using the WEB/ftp interface) as claim 28
recites. To the extent that a transportation company's bus stop is not viewed
as "a retail establishment," Ishida also teaches its interface retrieves data
related to traffic, weather, parking, shopping, and sightseeing (id. at 24),
which include information concerning parking lots (e.g., the nearest parking
lot), restaurant tables (e.g., whether one can reserve a table at a restaurant),
and shopping (e.g., what is on sale at a department store). See id. at 24, 30;
see 3PR Appeal Br. 15-16 (citing Ishida). Although Ishida further notes that
information related to parking lots and restaurants are expected in the future
(id. at 30), these teachings in Ishida at a minimum suggest "a web page for
the retail establishment" recitations in claim 28 as construed in Section
(III)(A)(3).
       Requester further relies on common knowledge in concluding that
"web pages are retrieved and displayed to users on a computer system's

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  Claim 21, from which claim 28 depends, recites "a plurality of images
depicting views of objects in the geographic area." The '025 patent, 17:48-
49.

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screen." 3PR Appeal Br. 16. Based on this common knowledge, Requester
argues, and we adopt, that an ordinarily skilled artisan would have
understood Ishida's discussions of "'WEB retrieval' of 'real-time data' and
displaying them to the users" (id. (quoting Ishida 30)) teaches the recited
"invoking by the computer system a display of the web page on the display
screen" as claim 28 recites. Id.; see also 3PR Rh'g Request 11-12.
      Patent Owner argues Ishida does not disclose "accessing a web page
for the retail establishment; and invoking by the computer system a display
of the web page on the display screen" as recited because Ishida merely
updates photos on buildings using a WEB and ftp interface. PO Rh'g
Request 10 (quoting Ishida 27-28); see Aug. 2015 PO Comments 9-10, 14.
Patent Owner further argues Ishida does not teach the above limitation even
if the language includes "displaying information relating to the retailer."
Aug. 2015 PO Comments 13-14. For the above reasons, we are not
persuaded.
      Patent Owner also contends that Ishida does not clearly teach
"display[ing] the actual web pages registered by the users" but rather merely
obtaining information from a web page and presenting the information
within a map. Id. at 11 (quoting Ishida 28); see id. at 11-14. This argument
is not persuasive. Based on the court's construction of "web page for a retail
establishment," the actual web page registered by the user need not be
displayed when "invoking ... a display of the web page on the display
screen" as recited. That is, the recited "web page for the retail
establishment" in claim 28 is not limited to "one that is owned or operated
by the retail establishment" (Vederi, 813 F. App'x at 504-505) but rather



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includes a web page that either shows particular information about the retail
establishment or is associated with a particular retail establishment. Id. at
505. As previously explained, Ishida's WEB interface generates a digital
city (e.g., a web page) that integrates WEB data from WEB pages and
sensory data on a map about or associated with a retail establishment (e.g., a
company's bus stop, parking lot, or restaurant) (Ishida 28-30) and thus
"invok[ es] ... a display of the web page [for the retail establishment] on the
display screen" as claim 28 recites.
      Patent Owner notes Ishida states "WEB retrieval under the constraint
of sensory data is definitely an interesting research issue" (Ishida 30). Aug.
2015 PO Comments 13. For this reason, Patent Owner argues the cited
portion of Ishida "is speculative." Id. We are not persuaded. As noted
above, Ishida explicitly teaches and shows retrieving data from web pages
and sensory data. Ishida 29, Figs. 5(a)-(b). As such, Ishida does not just
speculate or propose retrieving data as a research topic but rather actually
shows an example of retrieving web and sensory data within a web interface.
See id. at 23, 25-26, 28.
      Regarding the Image Frames Limitations (see Section (II)(A)(l )) in
claim 21, from which claim 2 8 ultimately depends, Requester states that
Dykes teaches "the images ... may be taken by students as they travel from
one location to another." Request 159 (quoting Dykes 146); see id. at 160
(same); 3PR Appeal Br. 14 (citing Dykes 146). For the first time in its
rebuttal brief, Patent Owner asserts Dykes does not appear to disclose the
images are captured while its image recording device is in motion. PO Reb.
Br. 13-14 (quoting Dykes 134), 19. Patent Owner further states Ishida does



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not teach the Image Frames Limitations because "Ishida merely appears to
disclose developing a three-dimensional model of a city (see, e.g., p. 27 of
Ishida)." Id. at 19.
      In Section (III)(A)(l ), we found the Image Frames Limitation requires
the image recording device moves along a path, course or route and that the
image recording device acquires images associated with image frames (I)
while moving or (2) both while moving and while stationary as long as some
images are associated with image frames acquired while the image recording
device is moving. Requester cites to Ishida and Dykes to teach "providing
by the image source a plurality of images depicting views of objects in the
geographic area" and "wherein the images are associated with image frames
acquired by an image recording device moving along a trajectory"
limitations respectively. Request 157-58 (citing Ishida 27), 159-60 (citing
Dykes 146).
      Ishida's digital city (e.g., Kyoto) interface can be built from 3D Web
technology that integrates photos mapped onto 3D blocks and 2D planes to
create a realistic 3DML (three-dimensional modeling language) space.
Ishida 26-27, cited in Request 157. Ishida is silent regarding how its photos
are obtained. Dykes provides a little more detail about how its images are
obtained. Dykes 146, cited in Request 159-60. Specifically, Dykes teaches
students record images using a digital camera and obtain images at selected
locations along a footpath's slope. Id.; see id. at 134 (discussing digital
cameras capturing images). Yet, Dykes also does not disclose whether or
not these images can be obtained by the digital camera (e.g., an image




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recording device) (1) while moving or (2) both while moving and while
stationary.
       As previously discussed, Yee teaches a known technique for obtaining
image frames using cameras located on a van that moves along a road (e.g.,
image frames acquired by an image recording device moving along a
trajectory) to ensure no object is lost behind an obstruction for example. See
Yee 3 88-90. Given Ishida' s interest to obtain images of a city realistically
and to diminish modeling problems (Ishida 26-27), Yee provides a solution
that collects images completely and accurately for Ishida's digital city
interface. Yee further discusses its system has accurate GPS three-
dimensional positioning to ensure accuracy and completeness of the data
collected. Yee 390. This teaching in Yee further assists Ishida's process of
determining coordinates for images associated with WEB pages that are part
of Ishida' digital city interface. See Ishida 29.
       Patent Owner also argues Ishida when combined with Dykes and
Y ee 24 does not disclose "a user selection associated with a particular one of
the objects depicted in the first image" as claim 28 recites due to its
dependency on claim 27 (not reexamined). Aug. 2015 PO Comments 15.
We disagree. The Request proposed that Dykes teaches this feature when a
user clicks on hot-linked symbols representing spots or locations (e.g.,
objects) within an image (e.g., a panorama), and an appropriate image is
displayed. Request 171-73 (citing Dykes 139, 144); see Dykes 141, 145,
Figs. 4, 6. Moreover, as explained above, "one of the object" as recited in


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 Patent Owner mistakenly refers to "Yes" instead of Yee. Aug. 2015 PO
Comments 15.

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claim 27 and "the particular one of the objects" recited in claim 28 can be a
company's bus stop, parking lot, or restaurant as taught or suggested by
Ishida. When combined, Ishida and Dykes teach or suggest a user selection
can be associated with a particular one of the objects depicted in the first
image. Also, as discussed above, Yee also teaches its interface allows a user
to point at a road segment or specific location on a map and then display
images related to the segment or location. See Yee 391-92. Thus, when
combined, Ishida, Dykes, and Yee teach or suggest a user selection can be
"associated with a particular one of the objects depicted in the first image"
as claim 28 recites due to its dependency on claim 27.
      Upon review of the record, we adopt Requester's finding and
conclusions related to claim 28 as our own.
          B. Claims 29, 51, and 63
      Claim 29 ultimately depends from canceled claim 21 and recites
"invoking by the computer system a display of an icon in association with
the particular one of the objects, wherein the user selection is actuation of
the icon." Claims 51 ultimately depends from canceled claim 43; claim 63
ultimately depends from canceled claim 55. Claims 51 and 63 recite similar
limitations to claim 29.
      For each of these claims, we adopt Requester's findings and
conclusions how Ishida, Dykes, and Yee teach or suggest the recitations in
these claims. 3PR Appeal Br. 18 (citing Dykes 139), 20 (citing "Section
VIII.B.l of the August Comments"; Request 154-156; Lachinski 2:47-50,
3:32-37, 9:42--46, 12:52-65, 13:56-63, 16:40-50), 28 (referring to claim 29,
Section VIII.BA, and Subsection 7). Claim 63 ultimately depends from



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canceled claim 55. We adopt Requester's findings and conclusions how
Ishida, Dykes, and Yee teach or suggest the recitations in these claims. 3PR
Appeal Br. 31-32 (referring to claims 55 and 61) (citing Request 122-32,
148--49; Sections VIII.B.l and Section VIII.B.4).
      Also, Ishida teaches including moving objects, such as cars, buses,
and trains (e.g., "display of an icon in association with the particular one of
the objects" depicted in an image), within its interface layer having 2D maps
and 3D virtual spaces and that these objects can be clicked to communicate
with it (e.g., "the user selection is actuation of the icon"). Ishida 25. When
combined with Dykes teachings to display symbols associated with objects
in the geographic area, the combined method would have predictably yielded
the step of "invoking by the computer system a display of an icon in
association with the particular one of the objects, wherein the user selection
is actuation of the icon" as claims 29, 51, and 63 recite.
      Patent Owner did not file a respondent brief to address Requester's
appeal and the proposed rejection. Other than discussing claim 28, Patent
Owner does not discuss the above claims in its comments to Requester's
rehearing request. See generally Aug. 2015 PO Comments (addressing the
Web Page Limitations).
      Upon review of the record, we adopt Requester's finding and
conclusions related to claims 29, 51, and 63 as our own.
          C. Remaining Claims Appealed
      Above, we rejected patent claims 24, 26, 37, 38, 41, 42, 44--48, and
52-54 based on Yee and Dykes. Thus, the above discussions address all the
claims on appeal and are dispositive, rendering it unnecessary to reach the



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propriety of any remaining contentions. See Beloit Corp. v. Valmet Oy, 742
F.2d 1421, 1423 (Fed. Cir. 1984); see also Vivid Techs., Inc. v. Am. Sci. &
Eng'g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).


                              V.    CONCLUSION
      We have reviewed the entire record, including submissions by Patent
Owner and Requester and the decision in Vederi. Concerning the claims
rejected by the Examiner, we determine:



 2-6, 8-10,   103(a)       Yee, Dykes                 2-6, 8-10,   2-6, 8-10,
 14-18, 20,                                           14-18, 20,   14-18, 20,
 33-36,                                               33-36,       33-36,
 56-60,                                               56-60,       56-60,
 64-68,                                               64-68,       64-68,
 70-72                                                70-72        70-72


      Concerning the claims the Examiner either confirmed or found
patentable, we conclude:




 24, 26,                                                24, 26,
 28, 29,                                                28, 29,
 37, 38,                                                37, 38,
 41, 42,                                                41, 42,
 44--48,                                                44--48,
 51-54,                                                 51-54,63
 63
 24, 26,      103(a)   Yee, Dykes                                   24, 26,
 29, 37,                                                            28, 37,


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 38, 41,                                                             38, 41,
 42,44-                                                              42,44-
 48,51-                                                              48,51-
 54,63                                                               54,63
 28, 29,     I 03(a)    Ishida, Dykes, Yee                           28, 29,
 51,63                                                               51,63
 Overall                                                             2-6, 8-
 Outcome                                                             10, 14-
                                                                     18, 20,
                                                                     24, 26,
                                                                     28, 29,
                                                                     33-38,
                                                                     41, 42,
                                                                     44--48,
                                                                     51-54,
                                                                     56-60,
                                                                     63-68,
                                                                     70-72



                  VI.     TIME PERIOD FOR RESPONSE
      This decision contains a new ground of rejection pursuant to
37 C.F.R. § 41.77(b). Section 41.77(b) provides "a new ground of rejection
pursuant to this paragraph shall not be considered final for judicial review."
      Section 41.77(b) also provides that Patent Owner, within one month
from the date of the decision, must exercise one of the following two options
with respect to the new ground of rejection to avoid termination of the
appeal proceeding as to the rejected claims:
      (1) Reopen prosecution. The owner may file a response
      requesting reopening of prosecution before the examiner. Such
      a response must be either an amendment of the claims so
      rejected or new evidence relating to the claims so rejected, or
      both.


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      (2) Request rehearing. The owner may request that the
      proceeding be reheard under § 41. 79 by the Board upon the
      same record. The request for rehearing must address any new
      ground of rejection and state with particularity the points
      believed to have been misapprehended or overlooked in
      entering the new ground of rejection and also state all other
      grounds upon which rehearing is sought.

      In accordance with 37 C.F.R. § 41.79(a)(l), the "[p]arties to the
appeal may file a request for rehearing of the decision within one month of
the date of: ... [t]he original decision of the Board under§ 41.77(a)." A
request for rehearing must be in compliance with 37 C.F.R. § 41.79(b).
Comments in opposition to the request and additional requests for rehearing
must be in accordance with 37 C.F.R. § 41.79(c)-(d), respectively. Under
37 C.F.R. § 41.79(e), "[t]he times for requesting rehearing under paragraph
(a) of this section, for requesting further rehearing under paragraph (c) of
this section, and for submitting comments under paragraph (b) of this section
may not be extended."
      An appeal to the United States Court of Appeals for the Federal
Circuit under 35 U.S.C. §§ 141-144 and 315 and 37 C.F.R. § 1.983 for an
inter partes reexamination proceeding "commenced" on or after November
2, 2002 may not be taken "until all parties' rights to request rehearing have
been exhausted, at which time the decision of the Board is final and
appealable by any party to the appeal to the Board." 37 C.F.R. § 41.81; see
also MPEP §§ 2682, 2683.
      No time period for taking any subsequent action in connection with
this appeal may be extended under 37 C.F.R. § 1.136(a).


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      Requests for extensions of time in this proceeding are governed by
37 C.F.R. §§ 1.956 and 41.79(e).
      In the event neither party files a request for rehearing within the time
provided in 37 C.F.R. § 41.79, and this decision becomes final and
appealable under 37 C.F .R. § 41. 81, a party seeking judicial review must
timely serve notice on the Director of the United States Patent and
Trademark Office. See 37 C.F.R. §§ 90.1 and 1.983.


                                REVERSED
                              37 C.F.R. § 41.77


FOR PATENT OWNER:

CHRISTIE, PARKER & HALE, LLP
POBOX29001
GLENDALE, CA 91209-9001


FOR THIRD-PARTY REQUESTER:

O'MELEVENY & MYERS LLP
IP&T CALENDAR DEPARTMENT
400 SOUTH HOPE STREET
LOS ANGELES, CA 90071-2899




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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       95/000,682              08/17/2012                 7,239,760 B2                13557-105153.R4                        8518

       23363            7590            06/01/2021
                                                                                                           EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                     CRAVER, CHARLES R
       P0B0X29001
       Glendale, CA 91209-9001
                                                                                          ART UNIT                      PAPER NUMBER

                                                                                              3992


                                                                                         MAIL DATE                      DELNERYMODE

                                                                                          06/01/2021                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




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        UNITED STATES PATENT AND TRADEMARK OFFICE


         BEFORE THE PATENT TRIAL AND APPEAL BOARD


                               GOOGLE INC.
                                Requester,

                                       V.

                           Patent ofVEDERI, LLC
                                Patent Owner


                          Appeal 2016-006116
                     Reexamination Control 95/000,682
                           Patent 7,239,760 B2
                         Technology Center 3900


Before DENISE M. POTHIER, ERIC B. CHEN, and IRVINE. BRANCH,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.



                          DECISION ON APPEAL
                          I. STATEMENT OF CASE
      This proceeding returns to us on remand from the Court of Appeals
for the Federal Circuit ("Federal Circuit"), vacating our previous decisions
for this proceeding mailed June 26, 2015, 1 July 16, 2015 ("Errata" 2 ), and


1
  At the time of this decision, the Appeal Number was 2015-004309.
2
  The Board supplemented the original Opinion, clarifying that "[ w ]e reverse
the Examiner's decision to confirm claim 8 and conclude claims 2, 3, 12-18,




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September 27, 2016. See Vederi, LLC v. Google LLC, 813 F. App'x 499,
501 (Fed. Cir. 2020).
      As background, Requester requested an inter partes reexamination of
U.S. Patent No. 7,239,760 B2 ("the '760 patent"). The '760 patent claims
priority to U.S. Application 09/758,717 (now U.S. Patent No. 6,895,126
B2), filed on January 11, 2001. Id., code (62). Pursuant to 35 U.S.C.
§ 154(a)(2), the term of the '760 patent ended twenty (20) years from the
filing date (i.e., January 11, 2001) of the earliest application (i.e., U.S.
Application No. 09/758,717) for which a benefit is claimed under 35 U.S.C.
§§ 120 and 121. See 35 U.S.C. § 154(a)(2) (2013); see also the Manual of
Patent Examining Procedure (MPEP) § 2701(1). Thus, the '760 patent
expired on January 11, 2021. 3
      "No amendment may be proposed for entry in an expired patent."
37 C.F.R. § 1.530(j); see also 37 C.F.R. § 1.12 l(j) (referring to § 1.530).
That is, "[ a]!though the Office actions will treat proposed amendments
[during a reexamination proceeding] as though they have been entered, the
proposed amendments will not be effective until the reexamination
certificate is issued and published." 37 C.F.R. § 1.530(k). Notably, "no
amendment, other than the cancellation of claims, will be incorporated into
the patent by a certificate issued after the expiration of the patent." 37


21-26, 29, 32-37, 39-44, and 46-50 are unpatentable based on Shiffer and
Yee." Errata 2.
3
  The MPEP states the Office should "refuse to express to any person any
opinion as to ... the expiration date of any patent, except to the extent
necessary to carry out: ... (C) a ... reexamination proceeding to reexamine
the patent." MPEP § 1701 (9th ed. rev. 10.2019 June 2020) (emphases
added).

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C.F.R. § l.530(j).
      Accordingly, the reexamination proceeding will now be based on the
original patent claims of the '760 patent. Although Patent Owner submitted
proposed amendments (see, e.g., the January 8, 2013 Amendment ("Jan.
2013 Amendment") to the claims during this reexamination proceeding,
these proposed amendments, including new claims 39-50 (id. at 10-12), are
improper at this time. See MPEP § 2666.01. On the other hand and even
though the '760 patent has expired, Patent Owner's proposed claim
amendments to cancel claim (i.e., claims 1, 4, 5, 7, 20, and 38 (see the Jan.
2013 Amendment 4, 7, 10)) are permitted. See MPEP § 2666.01; 37 C.F.R.
§ l.530(j). Additionally, claims 6, 9-11, 19, 27, 28, 30, and 31 are not
subject to reexamination. See RAN 1 (box 1b ). 4 Based on the foregoing, the
reexamination proceeding will be based on original patent claims 2, 3, 8, 12-
18, 21-26, 29, and 32-37.


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  Throughout this Opinion, we refer to: (1) Requester's Appeal Brief
(Appeal Br.) filed December 23, 2013, (2) the Examiner's Answer (Ans.)
mailed July 9, 2014, (3) Patent Owner's Request to Reopen Prosecution
Under 37 C.F.R. § 41.77(b)(l) (PO Reopen Request) filed July 27, 2015, (4)
Requester's Comments in Opposition to Patent Owner's Request to Reopen
Prosecution (Aug. 2015 3PR Comments) filed August 27, 2015, (5) the
Examiner's Determination (Ex. Deter.) mailed January 8, 2016, (6) Patent
Owner's Comments Under 37 C.F.R. § 41.77(d) (PO Comments) filed
February 8, 2016, (7) Requester's Comments Under 37 C.F.R. § 41.77(e)
(Feb. 2016 3PR Comments) filed February 8, 2016, (8) Patent Owner's
Reply Under 37 C.F.R. § 41.77(e) to Requester's Comments (PO Reply)
filed March 8, 2016, (9) Requester's Reply Under 37 C.F.R. § 41.77(e) to
Patent Owner's Comments (3PR Reply) filed March 8, 2016, (10) the Action
Closing Prosecution (ACP) mailed June 21, 2013, and (11) the Right of
Notice Appeal (RAN) mailed September 24, 2013.


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      Upon review, we REVERSE the Examiner's decision not to reject
patent claims 2, 3, 8, 12-18, 21-26, 29, and 32-37 and present new grounds
of rejection for these claims pursuant to 37 C.F.R. § 41.77(b).
                               Related Matters
      Requester indicates that the '760 patent is the subject to the following
litigation: Vederi, LLC v. Google Inc., Civil No. 2: 1O-CV-07747 AK-CW
(C.D. Cal.), Vederi, LLC v. Google Inc., Case No. 13-1057 (Fed. Cir.), and
Vederi, LLC v. Google Inc., Case No. 13-1296 (Fed. Cir.). 5 Appeal Br. 1, 47
(Related Proceedings App.). Additionally, Requester indicates that this
appeal may be related to U.S. Patent No. 7,805,025 B2 ("the '025 patent"),
which is the subject of inter partes reexamination assigned Control No.
95/000,681 and which is a continuation of the '760 patent. Id. at 1. The
opinions in the proceeding for Control No. 95/000,681 were similarly
vacated in Vederi. Vederi, 813 F. App'x at 501.
                               Parties Appeals
      Requester appealed the decision in the Right of Appeal Notice
confirming or finding claims 2, 3, 8, 12-18, 21-26, 29, and 32-37
patentable. Appeal Br. 1, 4.




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  Cases Nos. 13-1057 and 13-1296 were decided on March 14, 2014 and
concerned U.S. Patent Nos. 7,239,760, 7,577,316, 7,805,025, and 7,813,596.
Vederi, LLC v. Google Inc., 744 F.3d 1376 (Fed. Cir. 2014), rh 'gen bane
denied. The Federal Circuit reversed the claim construction of the district
court, vacated the judgement, and remanded for further proceedings. See id.
at 1384. The disputed claim language in the noted opinion differs from the
instant appeal.


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      The Examiner's Answer relied on the RAN, incorporating it by
reference. See Ans. 1.
      An oral hearing was conducted on May 13, 2015. The transcript of
the hearing has been made of record.
      Another panel 6 at the Patent Trial and Appeal Board reversed
Examiner's decision not to reject claims 2, 3, 8, 12-18, 21-26, 29, and 32-
37. June 2015 Opinion 16 (vacated); Errata 2 (vacated). The panel
presented new grounds of rejection for these claims. Id.
      Patent Owner requested the proceeding be reopened. See generally
PO Reopen Request ("the Request"). The proceeding was remanded to the
Examiner for consideration of claims now considered improper. See
November 2015 Order 5 (remanding to consider claims 39-44 and 46-51);
see also Ex. Deter. 6 (noting "only claims 39--44 and 46-51 are being
considered here."). Under 37 C.F.R. § 41.77(±), we maintained our decision
to reject claims 2, 3, 8, 12-18, 21-26, 29, and 32-37. Sept. 2016 Opinion
26 (vacated).
      Our decisions were vacated. Vederi, 813 F. App'x at 501. Here, we
reevaluate claims 2, 3, 8, 12-18, 21-26, 29, and 32-37 and the non-adoption
of the proposed rejections of these claims based on the claim construction
discussed in Vederi. Appeal Br. 7-34. In reaching our decision, we
consider the record as a whole.




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 The panel consisted of Administrative Patent Judges Pothier, Dillon, and
Branch.

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                           Claimed Subject Matter
      Canceled claim I and claim 8 are relevant to this appeal and are
reproduced below:

      1. (Canceled) In a system including an image source and a user
     terminal having a screen and an input device, a method for
     enabling visual navigation of a geographic area from the user
     terminal, the method comprising:
            receiving a first user input specifying a first location in
     the geographic area;
            retrieving from the image source a first image associated
     with the first location, the image source providing a plurality of
     images depicting views of objects in the geographic area, the
     views being substantially elevations of the objects in the
     geographic area, wherein the images are associated with image
     frames acquired by an image recording device moving along a
     trajectory;
            receiving a second user input specifying a navigation
     direction relative to the first location in the geographic area;
            determining a second location based on the user specified
     navigation direction; and
            retrieving from the image source a second image
      associated with the second location.

      8. The method of claim 1, wherein the retrieving of the image
      corresponding to the first or second location comprises:
             identifying a street segment including the first or second
      location;
             identifying a position on the street segment
      corresponding to the first or second location; and
             identifying an image associated with said position.

The '760 patent, 15:57-16:9, 16:38-45 (emphasis added).




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                             Prior Art Relied Upon
       Prior to withdrawing the rejections, the Examiner relied on the
following as evidence ofunpatentability:


          Name                     Reference                        Date

    Lachinski 7                   us 5,633,946                 May 27, 1997

Michael J. Shiffer, Augmenting Geographic Information with Collaborative
Multimedia Technologies, 11 Proc. Auto Carto. 367-376 (1993) ("Shiffer").

Frank Yee, GPS & Video Data Collection in Los Angeles County: A Status
Report, Position Location and Navigation Symposium, Proc. IEEE Position
Location and Navigation 388-393 (1994) ("Yee").

Kheir Al-Kodmany, Using Web Based Technologies and Geographic
Information Systems in Community Planning, 7 J. Urb. Tech. 1-30 (2000)
("Al-Kodmany").

                            Withdrawn Re} ections
       The Examiner withdrew the following proposed rejections, for which
Requester appeals:

         Reference( s)             Basis         Claim(s)

                                                                   RAN 11-12
    Al-Kodmany                   § 102(a) 8             8
                                                                   (referring to

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  Requester indicates that Lachinski was cited in its February 6, 2013
Comments to explain how Yee's four-view images are created and is proper
under 37 C.F.R. § l.948(a)(2). Appeal Br. 34.
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  The Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284
(2011) ("AIA"), amended 35 U.S.C. §§ 112, 102, 103, and 305. Changes to
§§ 102 and 103 apply to applications filed on or after March 16, 2013.


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                                                                ACP 10-11);
                                                                 Appeal Br.
                                                                     7-9
                                                                RAN 13-15
                                                2, 3, 8, 12-18, (referring to
   Shiffer, Yee                    § 103(a)       21-26, 29,    ACP 12-14);
                                                     32-37       Appeal Br.
                                                                    9-34

Appeal Br. 2-3.


                       II. MAIN ISSUES ON APPEAL
        We review the appealed rejections for error based upon the issues
identified by Patent Owner, and in light of the arguments and evidence
produced thereon. Cf Ex parte Frye, 94 USPQ2d 1072, 1075 (BPAI 2010)
(precedential) (citing In re Oetiker, 977 F.2d 1443, 1445 (Fed. Cir. 1992)).
"Any arguments or authorities not included in the brief permitted under this
section or [37 C.F.R.] §§ 41.68 and 41.71 will be refused consideration by the
Board, unless good cause is shown." 37 C.F.R. § 41.67(c)(l)(vii).
        Based on the record, the main issues on appeal are:
        (A) Did the Examiner err by failing to construe properly the recitation,
"wherein the images are associated with image frames acquired by an image
recording device moving along a trajectory" found in all the claims on appeal;
and
        (B) Did the Examiner err in withdrawing the rejection of patent claim 8
based on Shiffer and Yee?


Because the '760 patent has an effective filing date before March 16, 2013,
we refer to the pre-AIA versions of§§ 102 and 103.

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                                 III. ANALYSIS
       A. Claim Construction
       As noted above, the '760 patent has expired. We generally give
claims' recitations in expired patents their ordinary and customary meaning
as would have been understood by "a person of ordinary skill in the art in
question at the time of the invention." See Phillips v. AWH, Corp., 415 F.3d
1303, 1312-13 (Fed. Cir. 2005); see also MPEP § 2258(I)(G) (citing
Phillips, 415 F.3d at 1316; Ex parte Papst-Motoren, I USPQ2d 1655 (BPAI
Dec. 23, 1986)). Additionally, "[c]laims 'must be read in view of the
specification, of which they are a part"' (Phillips, 415 F.3d at 1315 (quoting
Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995)
(en bane))), and "the specification 'is always highly relevant to the claim
construction analysis"' (id. (quoting Vitronics Corp. v. Conceptronic, Inc.,
90 F.3d 1576, 1582 (Fed. Cir. 1996))).
       Requester discusses the limitation of canceled claims I and 20 of the
'760 patent in its appeal brief. Although these claims are canceled (see the
Jan. 2013 Amendment), claims 2, 3, 8, and 12-18 of the '760 patent
ultimately depends from canceled claim 1, and claims 21-26, 29, and 32-37
of the '760 patent ultimately depend from canceled claim 20. Thus, each
appealed claim includes either canceled claim l's or canceled claim 20's
recitations.
          The Image Frames Limitation of canceled claims 1 and 20
       All the claims on appeal ultimately depend from one of canceled
claims I and 20 as noted above, and recite "wherein the images are




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associated with image frames acquired by an image recording device
moving along a trajectory" (the Image Frames Limitation 9).
      Although noting the phrase, "'moving along a trajectory' does not
obviate the overall requirement that the image acquisition device travel[ s]
along the claimed trajectory" (RAN 7), the Examiner states that one skilled
in the art would have understood the image recording device will stop, such
as lights or stop signs, during its movement along a trajectory and that
images can be acquired while the device is not in motion. See id. (citing the
'760 patent 5:55-6:27); see id. at 7-8. We do not disagree with the
Examiner, for the Federal Circuit's construction of the phrase "image frames
acquired by an image recording device moving along a trajectory in canceled
claims 1 and 20 includes an image recording device that acquires images
both while moving and while stationary. See Vederi, 813 F. App'x at 504.
We disagree, however, to the extent the Examiner has determined (see RAN
6-8) that the Image Frames Limitation should be construed to include
"image recording devices that acquire images only while stationary
(although the image recording device moves along a trajectory at other
times)." Vederi, 813 F. App'x at 504.
      The court in Vederi construed the term "moving" within the phrase
"image frames acquired by an image recording device moving along a
trajectory" found in claim 21 of the '025 patent. Vederi, 813 F. App'x at
501, 503-504. The court found "the claims to cover (1) image recording
devices that acquire images while moving; (2) image recording devices that


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 Requester refers to the quoted limitation as "the 'Image Frames
Limitation."' Appeal Br. 2.

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acquire images both while moving and while stationary," but not "(3) image
recording devices that acquire images only while stationary (although the
image recording device moves along a trajectory at other times)." Id. at 504.
Canceled claims 1 and 20 of the '760 patent include the same recitation as
claim 21 of the '025 patent addressed by the court in Vederi. Compare the
'025 patent 17:51-53, with the '760 patent, 15:67-16:2, 17:41--43. As
explained below, we apply a similar claim construction for the Image
Frames Limitation in canceled claims 1 and 20 of the '760 patent.
      The Vederi court applied the "broadest reasonable interpretation" to
the claims and not an ordinary and customary meaning as understood by an
ordinarily skilled artisan as set forth in Phillips. Vederi, 813 F. App'x at 504
(stating "[t]he broadest reasonable interpretation requires that the claim
construction be reasonable in light of the specification"). Even so, the court
considered the disclosure of the '025 patent in arriving at its construction.
Id. (citing the '025 patent 2:27-29, 3:47-49, 3:54-57, 4:50-53, 4:55-58,
5:18-19, 5:52-54, 6:58-61, Fig. 9). Similar discussions to those cited by the
court in the '025 patent are found in the Specification of the '760 patent.
      In particular, the Specification states "an image recording device
moves along a path recording images of objects along the path" (the '760
patent 2:26-28), "[m]ovement to the camera 10 is provided by a base,
platform, or motor vehicle moving at an average speed of preferably about
20 miles/hour" (id. at 4:58-60), and "the camera 10 moves along the path"
(id. at 5:20). See also id. at 4:54-55 (discussing a camera moving along a
path); 5:56-57 (same), 6:66-7:2 (same). The Vederi court also states "the
[S]pecification contemplates that some photos may be taken while the



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vehicle is stopped, for example, at an intersection." Vederi, 813 F. App'x at
504 (citing the '025 patent, Fig. 9); see also the '760 patent, Fig. 9.
      When read in view of the Specification of the '760 patent, we
determine that the ordinary and customary meaning of "moving" within the
phrase "the images are associated with image frames acquired by an image
recording device moving along a trajectory" in canceled claims 1 and 20 as
understood by an ordinarily skilled artisan includes an image recording
device that acquires images associated with image frames ( 1) while moving
and (2) both while moving and while stationary as long as some images are
associated with image frames acquired while the image recording device is
movmg.
      Additionally, although not addressed by the court in Vederi, the
Examiner states one cited reference (e.g., Al-Kodmany) "does not describe
any specific 'trajectory' along which these images are acquired." RAN 12.
The Examiner further states "that pictures at locations are taken, with no
description of the process or timing or path (trajectory) that the image
acquiring device takes." Id. In other words, the Examiner concluded that
the recited "trajectory" in the Image Frames Limitation of claim 1 requires
the image recording device to move along a specified path or has a specific
process or timing. See id. Requester disagrees (Appeal Br. 4-7), arguing
that the Examiner erred in requiring that the recited trajectory be "a specified
trajectory[.]" Id. at 4 (underlining omitted) (citing RAN 8); see id. at 6.
      We agree with Requester that claims 1 and 20 do not recite moving
along a specified trajectory. The '760 patent describes a trajectory to be
synonymous with a path. The '760 patent 3:57 (describing cameras



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"moving along a trajectory/path."). The '760 patent also provides an
"illustration of a trajectory" in Figure 9 where a camera is moved along a
path (e.g., 110 including streets or blocks) making turns at intersections and
circling around streets. Id. at 3:14-15, 7:66-8:5, Fig. 9. Although this path
of streets (e.g., 110) may have been determined prior to recording in this
example, we note that, when driving down a street, there exist a level of
unpredictability or randomness, such as lane shifting, which deviates from
any purported, specified path. See Appeal Br. 6 (stating "[a] POSITA would
understand that 'down a street' does not require a 'specified' trajectory or a
'description of the path,' as movement down a street frequently requires
changes in route due to detours, accidents, heavy traffic, and other issues.")
Furthermore, the Figure 9 example in the disclosure is described as "an
illustration" of a trajectory, whereas the claim's scope is not limited to this
illustration. Compare the '760 patent 15:67-16:2, with id. at 3:14-15
(stating "FIG. 9 is an illustration of a trajectory"); see also id. at 7:66-8:5
(describing Figure 9).
      In summary, we find that the phrase "wherein the images are
associated with image frames acquired by an image recording device
moving along a trajectory" in canceled claims 1 and 20 requires that the
image recording device moves along a path, course or route, but that the path
need not be predetermined or specified, and that the image recording device
acquires the "plurality of images" that "are associated with the image frames
acquired by an image recording device" (1) while moving and (2) both while
moving and while stationary as long as some image frames are acquired
while the image recording device is moving.



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       B. Proposed Rejections
       Requester appeals the Examiner's decision finding claims 2, 3, 8, 12-
18, 21-26, 29, and 32-37 patentable or confirmed. Appeal Br. 1. Patent
Owner did not submit a respondent brief. As explained below, we present a
new ground of rejection for patent claims 2, 3, 8, 12-18, 21-26, 29, and
32-37 pursuant to 37 C.F.R. § 41.77(b).
          1. Shiffer and Yee
       a. All Claims
       Claims 2, 3, 8, and 12-18 ultimately depend from canceled claim 1;
claims 21-26, 29, and 32-37 ultimately depend from canceled claim 20. For
each of claims 2, 3, 8, 12-18, 21-26, 29, and 32-37, we adopt the following
Requester's and Examiner's findings and conclusions related to canceled
claims 1 and 20 as our own. See Appeal Br. 9-14 (addressing the
Navigation Direction Limitation 10 found in canceled claims 1 and 20) (citing
Request 123-134); see also Request for Inter Partes Reexamination 121-
134 (addressing canceled claim 1) (citing Shiffer 369-73, Fig. 3; Yee 389-
90; Ex. CC-F; OTH-B 104:16-20, 121:1-3; OTH-D 17:7-9); Ex. CC-F 1-
10 (citing Shiffer 369-73, Fig. 3; Yee 389-90; OTH-B 104:16-20; OTH-D
17:7-9); Nov. 2012 Non-Final Act. 9-11 (addressing canceled claim 1)
(citing Shiffer 369-73, Fig. 3; Yee 389-90, Fig. 1; Request 121-23); Aug.
2015 3PR Comments 9-13 (addressing Shiffer, Yee, and the Navigational



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  Requester refers to the recitation "receiving a second user input
specifying a navigation direction relative to the first location in the
geographic area" found in canceled claim 1 and 20 (the '760 patent 16:3-5,
17:48-50) as the "Navigation Direction Limitation." Appeal Br. 2.

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Direction Limitation found in canceled claims I and 20) (citing Shiffer 372-
73, Figs. 2-3).
       In withdrawing the rejection of amended claim 8 11 (now improper),
which depended from canceled claim 1, based on Shiffer and Yee, the
Examiner states:
       Clicking on one arrow [in Figure 3 of Shiffer] may provide a
       pannable rendering (which is not an image obtained by a
       recording device in motion but appears to be computer-
       generated) or a video obtained at a specific location (again, not
       obtained by a recording device in motion, Shiffer at 371 noting
       "fixed-position shots"), but in either case selecting another
       arrow for a second video or rendering is not read as a step of
       providing input of a direction relative to the first, rather it is
       merely clicking locations on map, only wherein the locations
       are shown as arrows that show the camera angle of a new image
       do not specify a navigation direction relative to the first. Yee
       fails to disclose the second selection as noted above; rather Yee
       discloses selecting various locations on a map, without
       providing a navigation direction relative to a first.
           Thus Shiffer in view of Yee fails to disclose receiving a
       second user input specifying a navigation direction relative to
       the first location in the geographic area and the rejection was
       withdrawn.

RAN 15 (reproducing Shiffer, Fig. 3) (emphasis omitted).
       The Examiner thus stated two reasons for withdrawing the rejection
based on Shiffer and Yee. First, the Examiner found that Shiffer does not
teach obtaining images by a recording device in motion. Id. Second, the
Examiner determined that neither Shiffer nor Yee teaches the step of
"receiving a second user input specifying a navigation direction relative to

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   At the time of withdrawal, claim 8 depended from claim 1, and claims 2,
3, and 12-18 ultimately depended from claim 8.

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the first location in the geographic area" as recited in canceled claims I and
20 (the Navigation Direction Limitation). RAN 15.
         We address the Navigational Direction Limitation first. In disputing
the Examiner's conclusion, Requester argues that "[ t ]he Examiner is
incorrect because Shiffer teaches receiving successive user selection of
locations on a map to display images of the those [sic] locations. A
POSITA[ 12J would understand that Shiffer teaches the Navigation Direction
Limitation." Appeal Br. 11. More specifically, Requester focuses on the
discussion in Shiffer of "providing navigation images." Id. (citing Shiffer
371-72). Shiffer discusses "three main shot types," including "fixed
position," "360 degree axial view," and "navigation." Shiffer 371.
         Fixed shots are described as allowing a user to view a video clip
"from a fixed camera angle. They are symbolized on the visual quality map
as arrows that match the direction of the camera angle." Shiffer 3 71-72,
cited in Appeal Br. 11. In contrast and separate from the fixed position and
360 degree axial view shots in Shiffer, navigation shots or images are
disclosed as:
         [A ]llow[ing] users to drive or fly through the study area. They
         are designed to aid visual navigation by enabling the user to
         view a geographic area from a moving perspective such as that
         experienced when traveling through a region. Navigation
         images are represented on the map as linear symbols that
         represent the routes available to the user. They are illustrated as
         large arrows in the lower right window of Figure 2.

Id. at 372.



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     Person of Ordinary Skill In The Art.

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      Shiffer further states:
      The controller at the left edge of the "Aerial Views" window,
      (the upper left window), allows the user to control the direction
      of flight (forward or reverse), as well as the speed of flight, by
      sliding the pointer towards either end of the controller. The
      user can determine the camera angle by selecting one of the
      iconic buttons at the right side of the "Aerial Views" window.
      The arrows on the icons represent the direction the camera was
      pointing with respect to the subject (in this case, the subject is
      the street). The user can determine the camera angle by
      selecting one of the iconic buttons at the right side of the
      "Aerial Views" window. The arrows on the icons represent the
      direction the camera was pointing with respect to the subject (in
      this case, the subject is the street).

Id. at 372-73.
         To illustrate visually, Figure 2 is reproduced below:




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Above, Figure 2 of Shiffer discloses a "Visual Analysis using Aerial
Images" that contains an "Aerial Views" window (upper left) and a
"Neighborhood" window (lower right). Id. at 372, Fig. 2. The
"Neighborhood" window has a map of a geographic area containing
linear symbols shown as large arrows representing the routes available
to the user. The "Aerial Views" window also has a map of a
geographic area, but this window contains (1) a controller bar (left
edge) with up and down arrows used to control the forward/reverse
directions within the area by sliding the pointer toward either end of
the controller and (2) iconic buttons (right edge) used to select a
camera angle within the area. Id. at 372-73.
      Additionally, when addressing Figure 3, Shiffer teaches "users
[can] inspect the proposed site," including "by selecting appropriate
arrows linked to the map." Id. at 373, Fig. 3. Thus, similar to Figure
3, the above discussions in Shiffer related to Figure 2 teach or suggest
that a user can first select a particular linear symbol (shown as a long
arrow) found in Figure 2's "Neighborhood" window, which are placed
at various locations within the window's map (see id. at 372-33) (e.g.,
"receiving a first user input specifying a first location in the
geographic area" as recited in canceled claims I and 20), and then
sliding the pointer towards a controller's end found in "Aerial Views"
window in Figure 2 to either forward or reverse direction (e.g., a
navigation direction) from the originally selected location (e.g., the
first location) (e.g., "receiving a second user input specifying a




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navigation direction relative to the first location in the geographic
area").
       Shiffer further teaches by sliding the controller's pointer (shown in
Figure 2 above) in a forward or reverse direction, a user can "drive or fly
through the study area." Id. at 372-73. Shiffer thus further teaches or
suggests controlling the direction of movement or flight through a
geographic area (e.g., the geographic area identified by the large arrows in
the "Neighborhood" window in Figure 2) from one location (e.g., the
originally selected location) to another location by sliding the controller's
pointer in a forward or reverse direction (e.g., a location forward or reverse
from the original spot using controller's sliding function shown in Figure 2's
"Aerial Views" window (left)). See id.; see also Aug. 2015 3PR Comments
9-10 (quoting Shiffer 372-73); Feb. 2016 3PR Comments 3--4 (citing Ex.
Deter. 12-13; Shiffer 372-373); 3PR Reply 5 (citing Shiffer 372-73). As
such, Shiffer teaches or suggests "determining a second location based on
the user specified navigation direction," which is "relative to the first
location in the geographic area" as canceled claims 1 and 20 recite.
      As another example, a user can select a first location by sliding the
controller's pointer in forward direction in Shiffer's Figure 2 (e.g.,
"receiving a first user input specifying a first location in the geographic
area") and then, the user can specify a navigation direction (e.g., forward)
relative to this first location by further sliding the controller's pointer in the
forward direction in Shiffer' s Figure 2 to control the flight direction through
a region. See Shiffer 372-73, Fig. 2; see also Ex. Deter. 11-12 (quoting
from vacating decision that discusses Shiffer 372-73 and sliding the pointer



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in Figure 3). These above teachings in Shiffer suggest to one skilled in the
art that a user can specify a navigation direction relative to a location and
suggest the Navigational Direction Limitation found in canceled claims 1
and 20.
      We thus, disagree with the Examiner that Shiffer teaches merely
selecting locations on a map that have "arrows that show the camera angle of
a new image." RAN 15. Additionally, as explained above, we disagree with
Patent Owner that sliding the controller forward or reverse "merely controls
the playback of a video" (PO Comments 7; PO Reply 5) and does not
involve receiving a second user input specifying a navigation direction
relative to a first location in a geographic area as argued (see PO Comment
4, 6-7). In fact, Patent Owner states that the pointer movement is
"constrained by the currently selected route" (PO Comments 7), which
implies that sliding the controller forward or reverse would limit the selected
locations along the controller ends to those that are relative to each other and
based on each other (e.g., based on the selected route). Because Shiffer
teaches or suggests the Navigation Direction Limitation and the recited
"determining a second location based on the user specified navigation
direction" in canceled claims 1 and 20 for previously explained reasons, any
arguments related to this claimed feature and that one skilled in the art
"would not have combined the teachings of Shiffer and Yee to arrive at
claim" 1 and 20 are unavailing. PO Comments 5 (bolding and underlining
omitted); see also at 5-7; PO Reopen Request 22-23.
      As for Shiffer's "navigation shots," Patent Owner contends its "iconic
button" determines a camera angle from the same location and thus does not



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disclose the Navigation Direction Limitation. See PO Reopen Request 24
(citing Shiffer 371-73; June 2015 Op. 12-13). But, as discussed above, this
argument is unavailing because the rejection relies on Shiffer's controller
and its sliding function, not the "iconic buttons," found in Figure 2 to teach
and suggest the Navigation Direction Limitation. See Aug. 2015 3PR
Comments 10 (noting "the 'iconic buttons' are an extra feature in Shiffer,
separate and apart from the navigation images"); see also id. at 10-11.
      Regarding Shiffer's Figure 3, Patent Owner argues selecting arrows
on its map access images associated with arrows and are unaffected by or
without consideration of a previous selected location and thus do not
disclose the Navigation Direction Limitation in canceled claim 1. PO
Reopen Request 25-26 (citing Shiffer 371-73, Fig. 3; June 2015 Op. 13
(vacated)); see also PO Comments 4 (arguing Shiffer teaches arrows at
different locations on a map in Figure 3 point in the direction of viewing
"without regard to the previously selected 'first location"' and "the new
selection [in Shiffer] is not selected 'based on the user specified navigation
direction"'); PO Reply 4. We are not persuaded.
      As discussed above, the rejection mainly relies on Shiffer's Figure 2,
not Figure 3 and its arrows, to teach and suggest the Navigation Direction
Limitation disputed by Patent Owner. Thus, some of Patent Owner's
arguments addressing Figure 3 's features do not consider fully the scenarios
discussed and explained above in more detail. Also, concerning Shiffer' s
Figure 3, we do not agree entirely with Requester that one skilled in the art
would have understood that selecting various arrows on the map this figure,
which indicate the camera angle direction, would necessarily "specif[y] a



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navigation direction relative to the first location in the geographic area" as
recited. Appeal Br. 13. For example, a first camera angle directional arrow
for a first location received by a first user input may point easterly (e.g., one
of the left arrows in zoomed-in box of the "Neighborhood" window in
Figure 3), and a second camera angle directional arrow for a second location
received by a second user input may point north westerly (e.g., one of the
right arrows in the zoomed-in box of the "Neighborhood" window in Figure
3). Shiffer 373, Fig. 3. In this scenario, one having ordinary skill in the art
would have understood that the second user input (e.g., selecting the north
westerly arrow after selecting the easterly arrow) does not necessarily
specify a navigation direction relative the first location as recited.
      On the hand, Shiffer describes various options in Figure 3 to inspect a
site, including: (1) the user 'can view the proposal from various perspectives
around the site by selecting appropriate arrows linked to the map" (id.) and
(2) the user "can navigate around a specific rendering by zooming and
panning with on-screen controls" (id.). The former option teaches or
suggests "receiving a first user input specifying a first location in the
geographic area" as recited in canceled claims 1 and 20, such as by selecting
an arrow in Shiffer's Figure 3 in its "Neighborhood" window. The latter
option suggests that "a second user input" can "specif[y] a navigation
direction relative to the first location" by navigating around an image using
"on-screen controls" to zoom or pan the image. See id.; see also Aug. 2015
3PR Comments 13 (quoting Shiffer 373) (noting these options). Thus,
Shiffer' s Figure 3 teaches and suggests yet another example of the
Navigation Direction Limitation, recited in canceled claims 1 and 20.



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       Patent Owner contends one skilled in the art would not "equate"
Shiffer' s zooming and panning feature to "specifying a navigation direction"
because the zooming feature "merely magnifies that portion of the image
without changing locations" and "does not move the viewer any closer to the
landmark." PO Reopen Request 27 (citing June 2015 Op. 14 (vacated)).
We are not persuaded. Notably, canceled claims 1 and 20 recite
"determining a second location," not changing or moving locations. In any
event, Patent Owner provides no evidence that zooming magnifies an image
without changing its location. See id. An ordinary understanding of
zooming, as Shiffer teaches, includes simulating movement away from or
towards a location 13 and thus, an artisan of ordinary skill would have
understood Shiffer' s zooming feature would specify a "navigation direction"
relative to the original location (e.g., moves towards another location within
the area as well as away from the original location).
       Additionally, Patent Owner disputes Shiffer's zooming feature but
does not dispute its panning feature fails to specify "a navigation direction"
as recited. See id.; see also Aug. 2015 3PR Comments 12 (noting Patent
Owner's argument "ignores the 'panning' feature of Shiffer, as shown in
Figure 3 and described on page 373"). Furthermore, claim 15, which
ultimately depends from claim 1, additionally recites that "a navigation
button" (claims 12 and 14) "upon actuation" "retriev[ es] the image
associated with the second location" (claim 12) and "indicates direction of


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  Zoom, The American Heritage Dictionary, available at
https://www.ahdictionary.com/word/search.html?q=zoom (def. 5) ("To
simulate movement rapidly away from or toward a subject using a zoom lens
or other optical device") (last visited April 16, 2021 ).

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motion" (claim 14), "includ[ing] ... panning left or right" (claim 15). As
such, consistent with the Specification of the '760 patent, Shiffer's panning
feature suggests a navigation and moving direction or can "specify[] a
navigation direction" as recited.
      In the event that selecting to zoom or pan an image as taught by
Shiffer is not considered "receiving second user input specifying a
navigation direction relative to the first location" as canceled claims 1 and
20 recite (for which we disagree), Shiffer's Figure 2 and its discussed
features as previously explained teach and suggest the Navigation Direction
Limitation.
      Regarding the Examiner's second reason for withdrawing the
rejection based on Shiffer and Yee, Requester argues that Shiffer's images
are obtained by a recording device and are not computer generated. Appeal
Br. 14 (citing Shiffer 373). The Examiner states that Shiffer's images
"appear[] to be computer-generated" and additionally, that Shiffer does not
teach obtaining images by recording device in motion. RAN 15. We agree
with Requester that Shiffer teaches and suggests to one skilled in the art that
the images are acquired by image recording device. For example, Shiffer
teaches "the direction of the camera's angle" (Shiffer 372) and "the direction
of the camera was pointing with respect to the subject (in this case, the
subject is the street)" (id. at 373). One skilled in the art would have
recognized that Shiffer' s teaching of the direction the camera was pointing
teaches that a camera (e.g., an image recording device) was used to acquire
images. See id.




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      On the other hand, we agree with the Examiner that Shiffer does not
disclose explicitly obtaining images by an image recording device in motion.
RAN 15. Shiffer discusses shot types in the context of how the user is to
view images (Shiffer 371-72) but is silent about whether these shots were
acquired while in motion. See generally Shiffer. But, the prior art
references must be considered in combination and in their entirety. See W.L.
Gore & Associates, Inc. v. Garlock, Inc., 721 F.2d 1540, 1552 (1983), cited
in Appeal Br. 13. Yee, which is part of the rejection, teaches a technique of
acquiring images frames using an image recording device moving along a
path. Yee 3 89 (stating "[ t]he function of the van is to dynamically collect
the real locations of streets and objects as it travels.") (second emphasis
added), 390 (stating "the Geo Van, meeting the above conditions, can gather
all that data in one drive over the project area. Globally, the ten cameras see
everything ... while moving down the road"), 392 (discussing "the Geo Van
on the road" and "this 'driving the road" technique of data collection"); see
also Appeal Br. 29 (quoting from Yee 389,391). When combining Yee's
image acquisition technique with Shiffer (see Request 122-23 (addressing
reasons to combine, including that Yee "facilitates collecting images of a
large geographic area in an efficient manner")), we determine that the
Shiffer/Yee system teaches and suggests "the images are associated with
image frames acquired by an image recording device moving along a
trajectory" as canceled claims 1 and 20 recite and as this recitation (the
Image Frames Limitation) is construed in Section (III)(A).
      For the above reasons, we determine that Shiffer and Yee teach or
suggest canceled claim 1, for which each of claims 2, 3, 8, and 12-18



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depends, and canceled claim 20, for which each of claims 21-26, 29, and
32-37 depends.
             b. Claims 2, 3, 12-18, 21-26, 29, and 32-37
      Along with the above discussion adopting the noted findings and
conclusions related canceled claims I and 20 (see, e.g., Appeal Br. 9-14 ),
we further adopt Requester's additional findings and conclusions for claims
2, 3, 12-18, 21-26, 29, and 32-37. See id. at 14-34 (citing Request 123-
134; Shiffer 369-73, Fig. 3; Yee 389, 391-92). As previously stated, Patent
Owner did not submit a respondent brief and thus did not respond to the
findings and conclusions of these claims presented by Requester. Other than
its continual disagreement with the claim construction of canceled claims 1
and 20 and the above-addressed arguments, Requester presents no specific
arguments for these claims. See PO Reopen Request 22-27; see also PO
Comments 3-7; PO Reply 3-5.
      In summary, claims 2, 3, 12-18, 21-26, 29, and 32-37 are newly
rejected under 35 U.S.C. § 103(a) based on Shiffer and Yee pursuant to
37 C.F.R. § 41.77(b).
             c. Claim 8 - Additional Findings and Conclusions
      Claim 8 depends from claim 1 and adds "wherein the retrieving of the
image corresponding to the first or second location comprises: identifying a
street segment including the first or second location; identifying a position
on the street segment corresponding to the first or second location; and
identifying an image associated with said position." The '760 patent 16:38-
45. We further adopt Requester's findings and conclusions related to claim
8 as our own. See Appeal Br. 10-14 (citing Request 123-134, 141-144;



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Shiffer 371-73, Fig. 3); see also Request for Inter Partes Reexamination
141-144 (citing Shiffer 371,373; Ex. CC-F); Ex. CC-F 16-18 (addressing
claim 8) (citing Shiffer 371,373); see also February 2013 3PR Comments
18-22 (citing Shiffer 369-71, 373; Yee 391-92, Abstract; Lachinski 3:32-
37, 5:25-31, 9:42--46, 12:52-13:2, 13:40--46, 13:56-63, 14:41-53
(explaining Yee/GEOSPAN's mobile mapping system)).
      Additionally, when discussing an "Automobile Traffic Analysis"
shown in Figure 1, Shiffer teaches accessing data "by pointing to an
associated street link on the interactive map." Shiffer 371. This at least
suggests Shiffer accesses data related to a location involves "identifying a
street segment including the first or second location" (e.g., a particular street
on a map) and "identifying a position on [a] street segment corresponding to
the first or second location" (e.g., the associated street link associated with
the particular street) as claim 8 recites. Shiffer teaches, when addressing
Figure 3, that "users can sequentially move through a series of site images
while an associated arrow highlights on the map as each image is displayed"
(id. at 373), also suggesting that this moving technique involves identifying
street segments and positions related to a location and identifying an image
associated with the position when retrieving an image corresponding to a
location as the user moves through the images. See id. By applying these
teachings to Shiffer' s Figure 2' s map and navigation images that allow a
user to drive or fly through a study area (id. at 372, Fig. 2), an ordinary
skilled artisan would have recognized that Shiffer suggests further
"identifying an image associated with said position [on a street segment
including a first or second location]" as claim 8 recites.



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       Additionally, Yee discloses GeoSpan has developed a mobile
mapping system, entitled Geo Van, that processes data for integration into a
Geographic Information System (GIS). Yee 388. More specifically, Yee
teaches data gathered by the Geo Van (e.g., images, locations, and selected
information items) are processed by Geo Van software and loaded into GIS
systems. Id. at 389, 391. Yee further teaches a Visual Interface System that
stores, locates, and retrieves video images. Id. at 391. In particular, Yee
discloses a user can point at a road segment or specific location on a map
and then display an image for that segment. Id. at 391-92. Yee also teaches
using a GPS receiver with the Geo Van "for image reference location." Id. at
390.
       Thus, to the extent that Shiffer does not teach claim 8 's limitations,
Yee's teachings, when combined with Shiffer, further suggest a known
process of"retrieving from an image source" (e.g., Geo Van's mobile
mapping system and GIS systems) an "image associated with [a] first" or
"second location" (e.g., images related to a road segment or specific
location) involving claim 8's steps. See id. at 389, 391-92. Yee suggests its
technique, when combined with Shiffer, such as its Figure 2 "Visual
Analysis," includes "identifying a street segment" (e.g., identifying a road
segment) associated with a location (e.g., a specific location associated with
a road segment), "identifying a position on the street segment" (e.g., using a
GPS receiver's stored data) related to a location, and "identifying an image
associated with said position" (e.g., displaying an image for a road segment
involves identifying the image associated with the relevant street segment's
position). See id. at 390-92.



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      This resulting Shiffer/Yee system is a combination of familiar
elements according to methods known to an ordinarily skilled artisan of
"retrieving of the image" from an image source that include the steps recited
in claim 8 and yields no more than the predictable result of obtaining a
location's image by identifying its street segment, a position on the segment,
and the image associated with the segment's location to permit a user to
drive or fly through a study area as Shiffer provides. See KSR Int 'l Co. v.
Teleflex Inc., 550 U.S. 398,416 (2007). Also, to the extent Shiffer and
Yee's image retrieving techniques differ, the proposed combination is also
merely a substitution of one known element (e.g., Yee's image retrieving
technique) for another known in the field (e.g., Shiffer's technique) and
yields no more than predictable result of obtaining an image associated with
an location specified by the user. See id.
      Yee further teaches GeoSpan uses TIGER (Topological Integrated
Geographic and Referencing) file format to record its data (e.g., images) that
are loaded into the GIS systems. Id. at 391. Lachinski explains the TIGER
file format improves the accuracy of coordinates (e.g., identify position data)
within the files and adds information (e.g., missing street and address
information), which can assist in (1) identifying street segments related to a
location and position and (2) creating relationships between the segments
and images for a variety ofGIS applications. Lachinski 1:15-23, 2:16-20,
3:32-37, 9:36--45, 11 :55-12:62, 13:56-63, 14:41-58, 16:33-17:38, Figs. 9-
10. Lachinski also discusses its street segment database can store large
amounts of image sets that can be manipulated and managed using an
indexing method. Id. at 13:51-55. Thus, as further evidenced by Lachinski,



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Yee's TIGER file format includes a process of retrieving images
corresponding a location by "identifying a street segment including the ...
location" (e.g., disclosed street segment related to a location), "identifying a
position on the street segment" corresponding to a location (e.g., the
identified position data), and "identifying an image associated with said
position" (e.g., the disclosed relationship between the street segments and
images) as claim 8 recites. One skilled in the art would have recognized that
including Lachinski' s process in the Shiffer/Yee system would have
improved coordinate accuracy with its system, and would have permitted a
large amount of images to be stored and managed.
      As previously stated, Patent Owner did not submit a respondent brief
and thus did not respond to the findings and conclusions of these claims
presented by Requester related to claim 8. Other than its continual
disagreement with the claim construction of canceled claims I and 20 and
the above-addressed arguments, Requester presents no specific arguments
for this claim.
       Given the above discussion, we newly reject claim 8 under 35 U.S.C.
§ 103(a) based on Shiffer, Yee, and Lachinski pursuant to 37 C.F.R.
§ 41.77(b).
      2. Other Proposed Ground for Claim 8
      Requester further argues claim 8 should be rejected under 35 U.S.C.
§ 102(a) based on Al-Kodmany. Appeal Br. 7-9 (citing Request 76-85, 91,
and 92). Requester argues that Al-Kodmany discloses the Image Frames
Limitation found in canceled claims I and 20. Id. at 8-9. Requester further
contends that even applying the Examiner's improper narrow construction,



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Al-Kodmany discloses that images are acquired by identifying street
locations and then traveling along the street to the identified locations. Id. at
8 (citing Al-Kodmany 16).
      The Examiner initially adopted the proposed rejection of Al-Kodmany
(November 7, 2012 Non-Final Act. 7-8 (citing Al-Kodmany 10, 16, 21,
Figs. 5, 13) (referring to Exhibit CC-C)), but later withdrew the rejection
(ACP 10-11). See also RAN 11-12.
      Al-Kodmany discusses how to create 360-degree panoramic movies.
Specifically, Al-Kodmany states:
      For visualization of major nodes along 18 th Street, we first
      identified points of interest such as major intersections, areas
      with a high level of activity, and significant architectural points.
      Then we took digital images of these nodes with a wide-angle
      lens and a tripod and created panoramic movies. The panoramic
      movie files were constructed with Apple's Quicktime VR
      Authoring Studio. A total of 12 images per node were taken
      with a difference of 30 degrees. To encompass the whole area
      (360 degrees), the images were imported into the computer,
      retouched with Adobe Photoshop, and sewn together with
      Quicktime. On the map, the user saw a red circle icon, which
      indicated that there was a movie of this location available for
      v1ewmg.

Al-Kodmany 16. Al-Kodmany teaches identifying points of interest along a
street (i.e., 18th Street) and, after identification, taking images at the nodes.
See id. Al-Kodmany therefore discloses a trajectory or path formed by the
points of interest (e.g., major nodes along 18th Street).
      Although Al-Kodmany discusses "visualization of major nodes along
18 th Street," this sentence in Al-Kodmany does not address movement of a
camera along 18th Street. Id. (emphasis added). Al-Kodmany further states


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"we took digital images of these nodes with a wide-angle lens and a tripod."
Id. By stating a wide-angle lens and a tripod are used to take the images "of
these nodes," this passage implies that the same lens and tripod (e.g., image
recording device) was used to take the images at the different nodes (e.g.,
locations), and as such, discusses the camera moves from one node to
another along 18th Street (e.g., a trajectory). Id. However, Al-Kodmany is
silent regarding whether the camera acquires images while moving or both
while moving and stationary as we construed the phrase "image frames
acquired by an image recording device moving along a trajectory" found in
canceled claim 1 and as discussed previously in Section (III)(A). In fact, Al-
Kodmany discusses using a tripod to capture the images at the "nodes" (e.g.,
locations along 18 th Street), which suggests to an ordinarily skilled artisan
that the camera acquires images only while stationary rather than ( 1) while
the camera (e.g., an image recording device) is moving or (2) both while the
camera is moving and while stationary.
      Because Al-Kodmany does not disclose an image recording device
acquiring images while moving or both while moving and stationary, Al-
Kodmany does not disclose the Image Frames Limitations under 35 U.S.C.
§ 102 as proposed. We thus agree with the Examiner's ultimate
determination not to adopt the rejection of claim 8 under 35 U.S.C. § 102(a)
based on Al-Kodmany.


                             IV. CONCLUSIONS
      We have reviewed the entire record, including submissions by Patent
Owner and Requester and the decision in Vederi. We conclude:



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 8           102(a) Al-Kodmany                 8
 2, 3, 8, 103(a)      Shiffer, Yee                       2, 3, 8,     2,3, 12-
 12-18,                                                  12-18,       18,21-
 21-26,                                                  21-26,       26, 29,
 29,32-37                                                29,32-37     32-37
 8        103(a)      Shiffer, Yee,                                   8
                      Lachinski
 Overall                                                              2, 3, 8,
 Outcome                                                              12-18,
                                                                      21-26,
                                                                      29,32-
                                                                      37


                     V. TIME PERIOD FOR RESPONSE
       This decision contains a new ground of rejection pursuant to
37 C.F.R. § 41.77(b). Section 41.77(b) provides "a new ground of rejection
pursuant to this paragraph shall not be considered final for judicial review."
       Section 41.77(b) also provides that Patent Owner, within one month
form the date of the decision, must exercise one of the following two options
with respect to the new grounds of rejection to avoid termination of the
appeal proceeding as to the rejected claims:
           (1) Reopen prosecution. The owner may file a response
           requesting reopening of prosecution before the examiner. Such a
           response must be either an amendment of the claims so rejected
           or new evidence relating to the claims so rejected, or both.




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           (2) Request rehearing. The owner may request that
           the proceeding be reheard under § 41. 79 by the Board
           upon the same record. The request for rehearing must
           address any new ground of rejection and state with
           particularity the points believed to have been
           misapprehended or overlooked in entering the new
           ground of rejection and also state all other grounds
           upon which rehearing is sought.

      In accordance with 37 C.F.R. § 41.79(a)(l), the "[p]arties to the
appeal may file a request for rehearing of the decision within one month of
the date of: ... [t]he original decision of the Board under§ 41.77(a)." A
request for rehearing must be in compliance with 37 C.F.R. § 41.79(b).
Comments in opposition to the request and additional requests for rehearing
must be in accordance with 37 C.F.R. § 41.79(c)-(d), respectively. Under
37 C.F.R. § 41.79(e), the times for requesting rehearing under paragraph (a)
of this section, for requesting further rehearing under paragraph (c) of this
section, and for submitting comments under paragraph (b) of this section
may not be extended.
      An appeal to the United States Court of Appeals for the Federal
Circuit under 35 U.S.C. §§ 141-144 and 315 and 37 C.F.R. § 1.983 for an
inter partes reexamination proceeding "commenced" on or after November
2, 2002 may not be taken "until all parties' rights to request rehearing have
been exhausted, at which time the decision of the Board is final and
appealable by any party to the appeal to the Board." 37 C.F .R. § 41. 81. See
also MPEP § 2682.
      No time period for taking any subsequent action in connection with
this appeal may be extended under 37 C.F.R. § 1.136(a)(l )(iv).


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Appeal 2016-006116
Reexamination Control 95/000,682
Patent 7,239,760 B2

      Requests for extensions of time in this proceeding are governed by
37 C.F.R. §§ 1.956 and 41.79(e).
      In the event neither party files a request for rehearing within the time
provided in 37 C.F.R. § 41.79, and this decision becomes final and
appealable under 37 C.F .R. § 41. 81, a party seeking judicial review must
timely serve notice on the Director of the United States Patent and
Trademark Office. See 37 C.F.R. §§ 90.1 and 1.983.


                                REVERSED
                              37 C.F.R. § 41.77


FOR PATENT OWNER:

LEWIS ROCA ROTHGERBER CHRISTIE LLP
PO BOX29001
GLENDALE, CA 91209-9001


FOR THIRD-PARTY REQUESTER:

O'MEL VENY & MYERS LLP
IP&T CALENDAR DEPARTMENT LA-1005D
400 SOUTH HOPE STREET
LOS ANGELES, CA 90071-2899




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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       95/000,683              08/17/2012                 7,577,316 B2                13557-105153.R2                        1052

       23363            7590            06/01/2021
                                                                                                           EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                     FOSTER, ROLAND G
       POBOX29001
       Glendale, CA 91209-9001
                                                                                          ART UNIT                      PAPER NUMBER

                                                                                              3992


                                                                                         MAIL DATE                      DELNERYMODE

                                                                                          06/01/2021                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




                                                       Appx99
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       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           GOOGLE INC.
                             Requester

                                  V.

                       Patent of VEDERI, LLC.
                            Patent Owner


                        Appeal 2018-007271
                   Reexamination Control 95/000,683
                         Patent 7,577,316 B2
                       Technology Center 3900


Before DENISE M. POTHIER, ERIC B. CHEN, and IRVINE. BRANCH,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.


                       DECISION ON APPEAL




                             Appx100
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Appeal 2018-007271
Control 95/000,683
Patent 7,577,316 B2

                          I. STATEMENT OF CASE
      This proceeding returns to us on remand from the Federal Circuit,
vacating our previous decisions for this proceeding mailed August 15, 2016
and September 28, 2018. See Vederi, LLC v. Google LLC, 813 F. App 'x
499, 501, 505 (Fed. Cir. 2020).
      As background, Requester requested an inter partes reexamination
("the Request") of U.S. Patent No. 7,577,316 B2 ("the '316 patent"). The
'316 patent claims priority to U.S. Applications: (1) 11/130,004 (now U.S.
Patent No. 7,239,760 B2), filed May 16, 2005, and (2) 09/758,717 (now
U.S. Patent No. 6,895,126 B2), filed on January 11, 2001. The '316 patent,
code (60). Pursuant to 35 U.S.C. § 154(a)(2), the term of the '316 patent
ended twenty (20) years from the filing date (i.e., January 11, 2001) of the
earliest application (i.e., U.S. Application No. 09/758,717) for which a
benefit is claimed under 35 U.S.C. §§ 120 and 121. See 35 U.S.C.
§ 154(a)(2) (2013); see also the Manual of Patent Examining Procedure
(MPEP) § 2701(1). Thus, the '316 patent expired on January 11, 2021. 1
      "No amendment may be proposed for entry in an expired patent." 37
C.F.R. § 1.530(j); see also 37 C.F.R. § 1.121(j) (referring to§ 1.530). That
is, "[ a]!though the Office actions will treat proposed amendments [during a
reexamination proceeding] as though they have been entered, the proposed
amendments will not be effective until the reexamination certificate is issued


1
  The MPEP states the Office should "refuse to express to any person any
opinion as to ... the expiration date of any patent, except to the extent
necessary to carry out: ... (C) a ... reexamination proceeding to reexamine
the patent." MPEP § 1701 (9th ed. rev. 10.2019 June 2020) (emphases
added).

                                      2



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and published." 37 C.F.R. § 1.530(k). Notably, "no amendment, other than
the cancellation of claims, will be incorporated into the patent by a
certificate issued after the expiration of the patent." 37 C.F.R. § 1.530(j).
      Accordingly, the reexamination proceeding will now be based on the
original patent claims of the '3 16 patent. Thus, Patent Owner proposed
amendments (see, e.g., the April 22, 2013 Amendment ("Apr. 2013
Amendment")) to the claims, including new claims 36-43 (Apr. 2013
Amendment 9-10), are improper at this time. See MPEP § 2666.01. On the
other hand and even though the '316 patent has expired, Patent Owner's
proposed claim amendments to cancel claim (i.e., claims 1, 6-10, 16, 17, 26,
and 29 (see Apr. 2013 Amendment 4-8)) are permitted. See MPEP
§ 2666.01. Additionally, claims 2-5, 11, 12, 14, 15, 25, 27, 28, and 30-35
are not subject to reexamination. See RAN 1 (box 1b ). 2 Based on the
foregoing, the reexamination proceeding will be based on original patent
claims 13 and 18-24.




2
  Throughout this Opinion, we refer to: (1) the Action Closing Prosecution
(ACP) mailed September 24, 2013, (2) the Right of Appeal Notice (RAN)
mailed June 4, 2014, (3) Patent Owner's Appeal Brief (PO Appeal Br.) filed
September 3, 2014, (4) Requester's Respondent Brief (3 PR Resp. Br.) filed
October 2, 2014, (5) Patent Owner's Rebuttal Brief (PO Reb. Br.) filed May
22, 2015, (6) Requester's Appeal Brief (3PR Appeal Br.) filed September 8,
2014, (7) Patent Owner's Respondent Brief (PO Resp. Br.) filed October 9,
2014, (8) Requester's Rebuttal Brief (3PR Reb. Br.) filed May 21, 2015, (9)
the Examiner's Answer (Ans.) mailed April 21, 2015, (10) Patent Owner's
Request to Reopen Prosecution Under 37 C.F.R. 41.77(b)(l) (PO Reopen
Request) filed September 16, 2016, and (11) the Examiner's Determination
(Ex. Deter.) mailed February 8, 2018.


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      Upon review, we REVERSE the rejections adopted by the Examiner
but present a new ground of rejection for patent claims 13 and 18-24
pursuant to 37 C.F.R. § 41.77(b).
                               Related Matters
      The parties indicate that the '316 patent was the subject of the
following litigation: Vederi, LLC v. Google Inc., Case No. 2: 10-CV-07747
(C.D. Cal.), Vederi, LLC v. Google Inc., Case No. 13-1057 (Fed. Cir.), and
Vederi, LLC v. Google Inc., Case No. 13-1296 (Fed. Cir.). 3 PO Appeal Br. 2;
3PR Appeal Br. 1, 22 (Related Proceedings App.). Additionally, the parties
indicate that this appeal may be related to: (1) U.S. Patent No. 7,805,025 B2
("the '025 patent"), which is the subject of inter partes reexamination
assigned Control No. 95/000,681, (2) U.S. Patent No. 7,239,760 B2 ("the
'760 patent"), which is the subject of inter partes reexamination assigned
Control No. 95/000,682, and (3) U.S. Patent No. 7,813,596 B2, which is the
subject of inter partes reexamination assigned Control No. 95/000,684. 4 PO
Appeal Br. 2; 3PR Resp. Br. 1. The opinions in these proceedings were
similarly vacated. Vederi, 813 F. App'x 501.

3
  Cases Nos. 13-1057 and 13-1296 were decided on March 14, 2014, and
concerned U.S. Patent Nos. 7,239,760, 7,577,316, 7,805,025, and 7,813,596.
Vederi, LLC v. Google Inc., 744 F.3d 1376 (Fed. Cir. 2014), rh 'gen bane
and cert denied. The Federal Circuit reversed the claim construction of the
district court, vacated the judgement, and remanded for further proceedings.
See id. at 1384; see also PO Appeal Br. 2. The disputed claim language
addressed by the Federal Circuit differs from the instant appeal.
4
  The court also discussed the phrase "web page for the retail establishment"
within the phrase "accessing a web page for the retail establishment; and
invoking by the computer system a display of the web page on the display
screen." Id. at 504-505. This phrase is not found in the claims of the '316
patent being reexamined in this proceeding.

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Patent 7,577,316 B2

                              Parties Appeals
      Patent Owner appealed the decision in the RAN rejecting claims 13
and 18-24 of the '316 patent. PO Appeal Br. 3. Requester responded, and
Patent Owner rebutted. See generally 3PR Resp. Br.; PO Reb. Br.
      Requester cross-appealed the decision in the RAN determining a
now-improper claim (i.e., claim 42) of the '316 patent is patentable. 3PR
Appeal Br. 2. Patent Owner responded, and Requester rebutted. See
generally PO Resp. Br.; 3PR Reb. Br.
      The Examiner's Answer incorporates the RAN by reference (Ans. 1),
which rejected claims 13 and 18-24.
      An oral hearing was conducted on April 27, 2016. The transcript of
the oral hearing has been made of record.
      After the August 2016 Decision, Patent Owner requested reopening
prosecution. See PO Reopen Request 9. We granted this request and
remanded to the Examiner for consideration of a now-improper claim. May
23, 2017 Order 3--4. The Examiner determined that the rejection of the
now-improper claim was not overcome. Ex. Deter. 2. We subsequently
rendered a second opinion on September 28, 2018.
      The Federal Circuit vacated our decisions. Vederi, 813 F. App'x at
501. The court in Vederi construed two phrases found in the claims of the
'025 patent. Vederi, 813 F. App'x at 501-504. These disputed phrases are:
( 1) "composite image" and (2) "moving" within the phrase "image frames
acquired by an image recording device moving along a trajectory."
Specifically, the court agreed with how the panel construed the phrase
"composite image" (Vederi, 813 F. App'x at 503) but did not fully adopt



                                       5



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how the panel construed the phrase "moving" (id. at 503-504). 5
      Given the claim construction addressed in Vederi, we reevaluate the
rejections of claims 13 and 18-24 of the '316 patent. In reaching our
decision, we consider the record as a whole.


                           Claimed Subject Matter
      Canceled claim 1 and dependent claim 13 are reproduced below:
       1. (Canceled) In a system including an image source and a user
      terminal having a screen and an input device, a method for
      enabling visual navigation of a geographic area from the user
      terminal, the method comprising:
           receiving a first user input specifying a first location in the
      geographic area;
           retrieving from the image source a first image associated
      with the first location, the image source providing a plurality of
      images depicting views of objects in the geographic area, the
      views being substantially elevations of the objects in the
      geographic area, wherein the images are associated with image
      frames acquired by an image recording device moving along a
      trajectory;
           displaying an icon associated with an object in the
      geographic area;
           receiving a user selection of the icon; and
           identifying a second location based on the user selection.




5
 The court also discussed the phrase "web page for the retail establishment"
within the phrase "accessing a web page for the retail establishment; and
invoking by the computer system a display of the web page on the display
screen." Id. at 504-505. This phrase is not found in the claims of the '316
patent being reexamined in this proceeding.

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      13. The method of claim 1,
            wherein the first image is a composite image created by
      processing pixel data of a plurality of the image frames.

The '316 patent 15:41-57, 16:37-39 (emphases added).


                            Prior Art Relied Upon
      The record relies on the following as evidence of unpatentability:


                           us 5,633,946
                           US 6,282,362 Bl

Michael J. Shiffer, Augmenting Geographic Information with Collaborative
Multimedia Technologies, 11 Proc. Auto Carto. 367-376 (1993) ("Shiffer").

Frank Yee, GPS & Video Data Collection In Los Angeles County: A Status
Report, Position Location And Navigation Symposium, Proc. IEEE Position
Location and Navigation 388-393 (1994) ("Yee").

J. Dykes, An Approach To Virtual Environments For Visualization Using
Linked Geo-referenced Panoramic Imagery, 24 Computers, Env't & Urb.
Sys. 127-152 (2000) ("Dykes").

Kheir Al-Kodmany, Using Web-Based Technologies and Geographic
Information Systems in Community Planning, 7 J. Urb. Tech. 1-31 (2000)
("Al-Kodmany").




6
 Requester indicates that Lachinski was cited in its comments to rebut
Patent Owner's response and explain how Yee's four-view images are
created. 3PR Resp. Br. 21-22; May 22, 2013 3PR Comments 27-28.
Although not relying on Lachinski in the rejection, the Examiner discusses
Lachinski, indicating the reference was properly cited under 37 C.F.R.
§ 1.948(a)(2). See RAN 20.

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Nada Bates-Brkljac & John Counsell, Issues in Participative Use of an
Historic City Millennial Web Site, IEEE Proc. Int'l Conf. Info. Visualization
119-125 (2000) ("Bates").

                             Current Rejections
       The Examiner maintained the following proposed rejection, for which
Patent Owner appeals:

         Reference( s)            Basis 7        Claims                 RAN

    Dykes                        § 102(a)               13              6-8
    Al-Kodmany                   § 102(a)               13              8-10
    Bates                        § 102(a)               13             10-12
    Yee, Dykes                   § 103(a)         13, 18-24            12-15
    Murphy, Yee                  § 103(a)         13, 18 8-24          16-17
    Shiffer, Yee                 § 103(a)         13, 18-24            18-19
PO Appeal Br. 5.


                         II. MAIN ISSUE ON APPEAL
       We review the appealed rejections for error based upon the issues
identified by Patent Owner, and in light of the arguments and evidence



7
  The Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284
(2011) ("AIA"), amended 35 U.S.C. §§ 112, 102, 103, and 305. Changes to
§ § 102 and 103 apply to applications filed on or after March 16, 2013.
Because this application has an effective filing date before March 16, 2013,
we refer to the pre-AIA versions of§§ 102 and 103.
8
  Both the Examiner and Patent Owner include claims 16 and 17 in this
rejection as well as the rejection based on Shiffer and Yee. PO Appeal Br.
5; RAN 16, 18. Because claims 16 and 17 have been canceled, we presume
these inclusions are typographical errors and render the errors harmless.

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produced thereon. Cf Ex parte Frye, 94 USPQ2d 1072, 1075 (BPAI 2010)
(precedential) (citing In re Oetiker, 977 F.2d 1443, 1445 (Fed. Cir. 1992)).
"Any arguments or authorities not included in the brief permitted under this
section or [37 C.F.R.] §§ 41.68 and 41.71 will be refused consideration by
the Board, unless good cause is shown." 37 C.F.R. § 41.67(c)(l)(vii).
      Based on the disputed errors presented by the parties, the main issue on
appeal is, as currently presented, did the Examiner err in rejecting patent
claims 13 and 18-24?


                               III. ANALYSIS
                           A. Claim Construction
      As noted above, the '3 16 patent has expired. Because the '316 patent
has expired, we give its claims' recitations "their ordinary and customary
meaning" as would have been understood by "a person of ordinary skill in
the art in question at the time of the invention." Phillips v. A WH Corp., 415
F.3d 1303, 1312-13 (Fed. Cir. 2005); see also MPEP § 2258(I)(G) (citing
Phillips, 415 F.3d at 1316; Ex parte Papst-Motoren, 1 USPQ2d 1655 (BPAI
Dec. 23, 1986)). Additionally, "[c]laims 'must be read in view of the
specification, of which they are a part"' (Phillips, 415 F.3d at 1315 (quoting
Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995)
(en bane))), and "the specification 'is always highly relevant to the claim
construction analysis"' (id. (quoting Vitronics Corp. v. Conceptronic, Inc.,
90 F.3d 1576, 1582 (Fed. Cir. 1996))).
      The parties discuss limitations of canceled claim 1 and claims 13, 18,
20, and 23 of the '316 patent in their respective briefings. PO Appeal Br.



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5-23; see 3PR Appeal Br. 18-20. Although claim 1 is canceled (see the
Apr. 2013 Amendment 4), claims 13 and 18-24 of the '316 patent ultimately
depend from canceled claim 1. Thus, each appealed claim includes canceled
claim 1's recitations.
            1. The Image Frames Limitation of Canceled Claim 1
      All the claims on appeal ultimately depend from canceled claim 1 and
recite "wherein the images are associated with image frames acquired by an
image recording device moving along a trajectory" ("the Image Frames
Limitation" 9). The Examiner finds this phrase is not limited to the
embodiment in the '316 patent and includes "a video recorder or still camera
that records image frames." RAN 23; see id. at 22-27 (citing the '316 patent
3:58-60, 4:12-15, 5:9-12, 5:52-6:23, Figs. 2, 9). Requester agrees,
contending that the Examiner correctly construed the Image Frames
Limitation. 3PR Appeal Br. 18; see also 3PR Resp. Br. 3-7.
      Patent Owner argues that the Examiner unreasonably construed the
term "moving" within the Image Frames Limitation to mean "in motion or
not in motion." PO Appeal Br. 7, 12-16 (citing RAN 23-24, 26, 28; the
'316 patent 3:36-60, 5:55--46). Patent Owner contends the phrase "image
frames are acquired by an image recording device moving along a
trajectory" to mean "that the image frames are acquired by an image
recording device that is in motion along the trajectory at the time of the
acquisition." Id. at 9; see id. at 8-9 (citing Oxford Dictionaries; Webster's
Third New International Dictionary (defining "moving"); Exs. A-B). Patent


9
 Requester refers to the quoted limitation as "the 'Image Frames
Limitation."' 3PR Appeal Br. 18.

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Owner contends the Specification of the '316 patent confirms its
understanding. Id. at 9-12 (citing the '316 patent 2:26-30, 3 :46-57, 4:50-
62, 5:18-22, 5:52-54, 6:56-62, 7:58-64, code (57)).
      The court in Vederi construed the term "moving" within the phrase
"image frames acquired by an image recording device moving along a
trajectory" found in claim 21 of the '025 patent. Vederi, 813 F. App'x at
501, 503-504. The court found "the claims to cover (1) image recording
devices that acquire images while moving; (2) image recording devices that
acquire images both while moving and while stationary," but not "(3) image
recording devices that acquire images only while stationary (although the
image recording device moves along a trajectory at other times)." Id. at 504.
Canceled claim 1 of the '316 patent includes the same recitation as claim 21
of the '025 patent addressed by the court in Vederi. Compare the '025
patent 17:51-53, with the '316 patent 15:51-53. As explained below, we
apply a similar claim construction for the Image Frames Limitation in
canceled claim 1 of the '3 16 patent.
      The Vederi court applied the "broadest reasonable interpretation" to
the claims and not the ordinary and customary meaning as understood by an
ordinarily skilled artisan as set forth in Phillips. Vederi, 813 F. App'x at 504
(stating "[t]he broadest reasonable interpretation requires that the claim
construction be reasonable in light of the specification"). Even so, the court
considered the disclosure of the '025 patent in arriving at its construction.
Id. (citing the '025 patent 2:27-29, 3:47-49, 3:54-57, 4:50-53, 4:55-58,
5:18-19, 5:52-54, 6:58-61, Fig. 9). Similar passages to those cited by the
court in the '025 patent are found in the Specification of the '316 patent.



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      In particular, the Specification states "an image recording device
moves along a path recording images of objects along the path" (the '316
patent 2:26-28), "[ m]ovement to the camera 10 is provided by a base,
platform, or motor vehicle moving at an average speed of preferably about
20 miles/hour" (id. at 4:55-57), and "the camera 10 moves along the path"
(id. at 5:18). See also id. at 4:51-53 (discussing a camera moving along a
path); 5:53-54 (same), 6:59-61 (same). The Vederi court also states "the
[S]pecification contemplates that some photos may be taken while the
vehicle is stopped, for example, at an intersection." Vederi, 813 F. App'x at
504 (citing the '025 patent, Fig. 9); see also the '760 patent, Fig. 9.
      When read in view of the Specification of the '316 patent, we
determine that the ordinary and customary meaning of "moving" within the
phrase "the images are associated with image frames acquired by an image
recording device moving along a trajectory" in canceled claim 1, as
understood by an ordinarily skilled artisan at the time of the invention,
includes an image recording device that acquires images associated with
image frames (1) while moving and (2) both while moving and while
stationary as long as some images are associated with image frames acquired
while the image recording device is moving.
      Additionally, although not addressed by the court in Vederi, the
Examiner construed the phrase "moving along a trajectory" in the Image
Frames Limitation to include "moving along some path that is not known
beforehand." RAN 27 (citing Merriam Webster's Collegiate Dictionary
1252 (10th ed. 1997); the '316 patent, Fig. 9). The Examiner states




                                       12



                                 Appx111
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"[t]rajectory means a path, progression, or line of development ... There is
no requirement for the trajectory to be a known or preplanned path." Id.
       Requester finds that the Examiner correctly construed the term
"trajectory." 3PR Appeal Br. 18 (citing RAN 23); id. at 18-20. 10 "Patent
Owner [also] agrees that the 'trajectory' need not be preplanned." PO
Appeal Br. 17. We agree with both parties and the Examiner that the recited
"trajectory" in canceled claim 1 need not be preplanned.
       Although agreeing that the "trajectory" is not preplanned, Patent
Owner contends "the trajectories of the image acquisition device are
known." PO Appeal Br. 17. Requester disagrees. 3PR Resp. Br. 18.
Focusing on the term "moving" within the phrase "moving along a
trajectory," Patent Owner also argues "'trajectory' refers to the path of a
moving object. A stationary object has no trajectory." Id. at 16 (citing
Merriam Webster's Collegiate Dictionary 1252 (10th ed. 1997)).
       We agree with Requester that canceled claim 1 does not recite moving
along a known trajectory. See 3PR Resp. Br. 18. Also, the '316 patent
describes a trajectory to be synonymous with a path. The '316 patent 3 :56
(describing cameras "moving along a trajectory/path."). The '316 patent
further provides an "illustration of a trajectory" in Figure 9 where a camera
is moved along a path (e.g., 110 including streets or blocks) making turns at
intersections and circling around streets. Id. at 3:14-15, 7:58-64, Fig. 9.


10
   Requester notes that the Examiner took a contrary position in Control Nos.
95/000,681 and 95/000,682, where the Examiner found the Image Frames
Limitation "require an image recording device to move a long a specified
trajectory, i.e., a trajectory that is known or preplanned." 3PR Appeal Br.
19 (bolding omitted).

                                      13



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Although the path of streets in this example (e.g., 110 in Figure 9) may have
been determined prior to recording, we note that, when driving down a
street, there exists a level of randomness, such as lane shifting, which
deviates from any purported, known path. Furthermore, the Figure 9
example in the disclosure is described as "an illustration" of a trajectory,
whereas the claim's scope is not limited to this illustration. Compare the
'316 patent 15:51-53, with id. at 3:14-15 (stating "FIG. 9 is an illustration
of a trajectory"), 7:58-64 (describing Figure 9).
      In summary, the phrase "wherein the images are associated with
image frames acquired by an image recording device moving along a
trajectory" in canceled claim 1 requires that the image recording device
moves along a path, course or route, but that the path need not be known or
preplanned, and that the image recording device acquires "[the] plurality of
images" that "are associated with image frames acquired by an image
recording device" ( 1) while moving and (2) both while moving and while
stationary, as long as some image frames are acquired while the image
recording device is moving.
                2. Composite Image of Claims 13, 18, and 23
      Claim 13 depends from claim 1 and recites "a composite image
created by processing pixel data of a plurality of the image frames." The
'316 patent 16:37-39. Claims 18 and 23 indirectly depend from claim 1 and
recite similar limitations to claim 13. Id. at 16:56-58, 17: 14-17.
      The Examiner finds the phrase, "composite image," includes
combining four images into a single image. See RAN 29-30 (incorporating
Requester's November 25, 2013 Comments ("3PR Nov. 2013 Comments")



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on pages 17 through 19). In the incorporated comments, Requester states
that (1) Yee's four-view images are composite images under the broadest
reasonable interpretation standard; (2) Yee does not use "composites" to
refer to "side-by-side views" but rather composites of any of a "street view"
or "curbside view" for example; and (3) the recited "composite image" does
not require a single, new view. See 3PR Nov. 2013 Comments 17-19 (citing
Yee 3 89); see also 3PR Resp. Br. 8-9.
        Patent Owner disputes how for the recited "composite image" is
construed. PO Appeal Br. 17-21; PO Reb. Br. 7-10. Patent Owner argues
that:
        The composite image depicts a single new view of the objects
        in the geographical area. The single new view is different from
        any of the views depicted in any one of the image frames from
        which the composite image is created, e.g., it can be a wider
        view. Moreover, the new view is from a single location as if
        the viewer was at that location.
PO Appeal Br. 17; see also id. at 19; PO Reb. Br. 7-8. Patent Owner cites
to Figure 2 of the '316 patent and composite image 40 to support its
position. PO Appeal Br. 17-18. Patent Owner also contends that "[n]othing
in the '316 patent suggests that two or more ... images depicting separate
and distinct views of different objects is a 'composite image' as used in the
'316 patent simply because they are displayed simultaneously on a screen."
Id. at 21.
        When considering the disclosure, the '316 patent discusses creating
"composite images" by synthesizing images, image data, or image frames
but does not address how the images are synthesized or combined. See the
'316 patent, code (57), 2:20-22, 2:33-35, 3:46--49, 5:45--47. This disclosure


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also states image data from each selected image frame 42 is extracted and
combined to form the composite image. Id. at 5:66-6: 1. Although the '316
patent provides a preference as to how to create a composite image (see id.
at 6: 1-6), we decline to import this particular preference into the recitation
"composite image," which fails to recite the image is created "on a column-
by-column basis" (id. at 6:4) or any of the other features of this preferred
image creation process (see id. at 6: 1-15).
       Also, the plain and ordinary meaning of "composite" includes
"something that is made up of different parts." 11 A single image consisting
of data from four reduced image frames is something made from different
parts (e.g., a composite). An ordinary meaning of (1) "synthesize" 12
includes "to make (something) by combining different things" or "to
combine (things) in order to make something new," and (2) "combine," 13
includes "to unite into a single number or expression." Thus, the phrase
"composite image," consistent with the disclosure and its ordinary meaning,
should be construed to mean a single image created by combining different
image data or by uniting image data.
       The Federal Circuit agreed with this claim construction in Vederi,
determining the term "composite image," similar to that found in claims 13,


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   Composite (noun), Merriam-Webster's Online Dictionary, available at
http://www.merriam-webster.com/dictionary/composite.
12
   Synthesize, Merriam-Webster's Online Dictionary, available at
http://www.merriam-webster.com/dictionary/synthesize.
13
   Combine, Merriam-Webster's Online Dictionary, available at
http://www.merriam-webster.com/dictionary/combine (def. 1c).




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18, and 23 of the '316 patent, can reasonably be construed to include "a
single image created by combining different image data or by uniting image
data." Vederi, 813 F. App'x at 503 (citing the '025 patent, 5:66-6: 1). The
court also stated "[w]e are not persuaded by Vederi's argument" that limits
the claimed "'composite image' to 'a new image ... that depicts a single
new view (from a single location) of the objects in the geographical area that
is different from any of the views depicted in any one of the image frames
from which the composite image is created."' Vederi, 813 F. App'x at 503
(quoting both the '025 patent, 5 :66-6: 1 and Personalized Media Commc 'ns,
LLC v. Apple Inc., 952 F.3d 1336, 1343 (Fed. Cir. 2020)).
      Accordingly, the recited "a composite image" in claims 13, 18, and 23
does not require the composite image to be an image having a single view
from one location, a new view, a different view, or a wider field of view
than any acquired image frame as argued by Patent Owner. Stated
differently, "although the specification often describes very specific
embodiments of the invention, [the Federal Circuit] ha[s] repeatedly warned
against confining the claims to those embodiments." Phillips, 415 F.3d at
1323 (citing Nazomi Commc 'ns, Inc. v. ARM Holdings, PLC, 403 F.3d 1364,
1369 (Fed. Cir. 2005); Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898,
906-08 (Fed. Cir. 2004)). We thus will not confine our understanding of the
phrase, "composite image" found in claims 13, 18, and 23, to the exact
representations in the Specification.
      Patent Owner also discusses the '316 patent's Figure 2 as a composite
image having "pixel values that are computed from pixel values of each of
the image frames from which the composite image is created." PO Appeal



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Br. 18. Patent Owner further refers to the district court proceeding, Vederi,
LLC v. Google Inc., Case No. 2: 10-CV-07747 (C.D. Cal.). Id. at 17 n.1.
According to Patent Owner, Patent Owner and Requester in that proceeding
agreed that a "a composite image created by processing pixel data of a
plurality of the image frames" means "an image formed by combining two
or more image frames at the pixel level." Id.; see id. at 18-19 (discussing
the '316 patent, Fig. 2 computes its pixel values "from pixel values of each
of the image frames").
      The court in Vederi found the phrase "by processing pixel data of a
plurality of the image frames," similar to that found in claims 13, 18, and 23
of the '316 patent, specifies "the image may be achieved by combining or
uniting image data, meaning at the level of pixel data." Vederi, 813 F.
App'x at 503 (citing the '025 patent, 19:6-14). But, this recitation does not
recite how the pixel data of the images frames are processed, such that pixel
values of the composite image are computed from pixel values of two or
more image frames. We stress that the '316 patent states a preference for
the composite image to be created by extracting image data from each image
frame on a column-by-column basis. See the '316 patent, code (57), 6:1-15,
Fig. 2. But, applying the ordinary meaning of "processing," claim 13
requires no more than "combining or uniting image data, meaning at the
level of pixel data." Vederi, 813 F. App'x at 503.
      Accordingly, the limitation of "a composite image created by
processing pixel data of a plurality of the image frames" in claim 13, and
similarly recited in claims 18 and 23, means a single image that may be




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created by combing or uniting image data from a plurality of image frames
at the level of pixel data.
                  3. Arbitrary Address Limitation of Claim 20
       Claim 20 depends from claim 1 and further recites "the first location
specified by the first user input is an arbitrary address entered via the first
user input, the entered arbitrary address specifying information selected
from a group consisting of street name, city, state, and zip code" ("the
Arbitrary Address Limitation"). The '316 patent 16:62-66. The Examiner
determines that an "arbitrary address" does not require a database having
images of both assigned and unassigned addresses, but "means arbitrary to
someone's perspective and that perspective may broadly and reasonably
belong to a user." RAN 30. Requester further asserts that an "arbitrary
address" includes "an address selected from a group of addresses." 3PR
Resp. Br. 9 (citing ACP 24); see also 3PR Reb. Br. 2-3.
       Patent Owner, on the other hand, argues that the recited "arbitrary
address" means "any potential addresses (assigned and unassigned) in the
geographic area, not preselected or constrained by the system." PO Appeal
Br. 21. Patent Owner argues that the ordinary meaning and the '316 patent's
disclosure support this understanding. Id. at 22-23 (citing the '316 patent
2:45--49, 6:37--47, 7:15-20, 13:21-14:14). We disagree with Patent Owner.
       First, cited column 7 of the '316 patent does not discuss arbitrary
addresses but rather "an arbitrary value" for a time phase. The '316 patent
7:15-20, cited at PO Appeal Br. 22. When discussing entering and
specifying an address, the Specification of the '316 patent does not mention
that the address is arbitrary or unassigned by the system (see the '316 patent



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11 :45--46) as Patent Owner contends. See PO Resp. Br. 6-7. Rather, the
'316 patent discusses entering "an address of the location"- not some
random address-and returning a map corresponding to the address. The
'316 patent 11:45-46, 12:20-22, 12:32-35, 13:23, 13:28-29. Column 2,
lines 45 through 49 cited by Patent Owner also does not describe selecting a
potential address without one-to-one correspondence as argued. See PO
Appeal Br. 22 (citing the '316 patent 2:45--49). Cited portions (column 13,
line 21 through column 14, line 14) by Patent Owner similarly do not
describe a user entering an address "regardless of whether that address
actually exists." See id. at 23 (citing the '316 patent 13:21-14:14).
Furthermore, the cited passage in column 6 by Patent Owner does not
address the recited "arbitrary address," but rather discusses segmenting a
trajectory taken by a recording camera and generating images depicting
portions of the segment. See id. (citing the '316 patent 6:37--47).
       Second, one ordinary meaning of "arbitrary" 14 includes those based on
the user's preference or convenience. Thus, an ordinary understanding of
"arbitrary address" includes an address selected by users based on their
preferences or convenience. Also, although Patent Owner provides an
alternative ordinary meaning of "arbitrary something" to "refer[] to any
member of a set of potential or possible 'somethings"' (PO Appeal Br. 22),
Patent Owner provides no supporting evidence of this understanding,


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 Arbitrary, Merriam-Webster Online Dictionary, available at
https://www.merriam-webster.com/dictionary/arbitrary (def. 1b) (defining
"arbitrary" as "based on or determined by individual preference or
convenience rather than by necessity or the intrinsic nature of
something").

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amounting to no more than attorney argument. See In re Geisler, 116 F .3d
1465, 1470 (Fed. Cir. 1997); see also In re Pearson, 494 F.2d 1399, 1405
(CCPA 1974) (attorney argument is not evidence). Likewise, Patent Owner
asserts that the district court construed the term "arbitrary" to mean
"assigned and unassigned addresses" without supporting evidence. See PO
Appeal Br. 21-22. Moreover, claim 20 does not recite showing an image of
the location along a street where the address would be located "[i]f the
selected address does not correspond to an address assigned to an actual
building" as argued. Id. at 22.
      Based on the record, we agree that the recited "arbitrary address" in
claim 20 does not "exclude pre-selected or assigned addresses" (3PR Reb.
Br. 3) and can include "one from the group of tagged images" (RAN 30).
We disagree that the phrase "arbitrary address" in claim 20 must be any
potential addresses (assigned and unassigned) in the geographic area, which
is not constrained by the system as Patent Owner argues. See PO Appeal Br.
22-23. Accordingly, we determine "an arbitrary address entered via the first
user input," as claim 20 recites, can be various addresses, including an
assigned address and an address selected from a group associated with
tagged images.
                            B. Pending Rejections
      Claim 13 is rejected under 35 U.S.C. § 102(a) based on (1) Dykes, (2)
Al-Kodmany, and (3) Bates. RAN 6-12. Claims 13 and 18-24 are rejected
under 35 U.S.C. § 103(a) based on: (4) Yee and Dykes, (5) Murphy and Yee,
and (6) Shiffer and Yee. RAN 12-19. These rejection were presented on
the claims as amended and prior to the '316 patent's expiry. We reverse the



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rejections given the particular circumstances of this proceeding, which
include that the dependencies of the claims have changed since the '316
patent's expiry, the Federal Circuit provided intervening claim construction
for claim terms in the '025 patent, and the claims are now construed under
Phillips as opposed to the broadest reasonable construction. Compare
Phillips, 415 F.3d at 1312-13, with Personalized Media Commc 'ns, 952
F.3d at 1340.
                         C. New Ground of Rejection
      Pursuant to 37 C.F.R. § 41.77(b), we present a new ground of
rejection for claims 13 and 18-24 under 35 U.S.C. § 103(a) based on Yee,
Lachinski, and Dykes.
      We note that Patent Owner argues that the citation to Lachinski by
Requester is improper and should be excluded from consideration because
Lachinski was "introduced ... for what Lachinski discloses in itself; it is not
explaining another reference." PO Appeal Br. 30; see also id. at 30-31; PO
Reb. Br. 10-11. Requester contends that its reliance on and discussion of
Lachinski is proper under 37 C.F.R. § 1.948(a)(2). See 3PR Resp. Br. 21-22
(contending Lachinski was cited to explain Yee' s teachings, including its
mobile mapping system) (citing May 22, 2013 3PR Comments 27); see also
RAN 20. But, the propriety of whether a reference was properly submitted
under § 1.948 is a petitionable matter. Because this issue is not appealable,
the Board lacks jurisdiction to decide this issue. See MPEP §§ 1002 and
1201; see also In re Hengehold, 440 F.2d 1395, 1403 (CCPA 1971) (stating
that there are many kinds of decisions made by examiners, "which have not
been and are not now appealable to the board or to this court when they are



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not directly connected with the merits of issues involving rejections of
claims, but traditionally have been settled by petition to the Commissioner").
      Nonetheless, we underscore here that "should the Board have
knowledge of any grounds not raised in the appeal for rejecting any pending
claim, it may include in its opinion a statement to that effect with its reasons
for so holding, which statement shall constitute a new ground of rejection of
the claim." 37 C.F.R. § 41.77(b).
          1. All Claims (Claims 13 and 18-24)
      Because claims 13 and 18-24 ultimately depend from canceled
claim 1, and thus, each of these claims includes the limitations found in
canceled claim 1, we adopt the findings and conclusions related to claim 1 in
the Request and by the Examiner for claims 13 and 18-24. See Request 98-
107 (citing Yee 389-92; Dykes 136-37, 139--41, 144, Fig. 4; Ex. CC-D; Ex.
OTH-B 59:18-19, 104:16-20; Ex. OTH-D 17:7-9), Ex. CC-D 1-8 (citing
Yee 389-92; Dykes 136-37, 139--41, 144, Fig. 4; Ex. OTH-B 59:18-19,
104:16-20; Ex. OTH-D 17:7-9); see also RAN 12-15 (citing Yee 389, 391-
92, Fig. 1; Dykes 139--40) (incorporating and adopting Request 98-128 and
Exhibit CC-D).
      Patent Owner does not dispute that Yee discloses the recitation the
Image Frames Limitation found in canceled claim 1. See PO Appeal Br. 31-
34; see also 3PR Resp. Br. 2 (referring to the "Image Frames Limitation").
We emphasize for completeness, that Yee discloses image frames captured
while an image recording device moves along a trajectory. Yee 389-91
(discussing a van collecting street and object data while the van moves down




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the road); see also 3PR Resp. Br. 13 (citing Yee 3 8 8-89) ( stating Yee' s
Geo Van records as the van "is driven on streets").
          2. Claims 13, 18, and 23 - a Composite Image
       Claim 13 depends from claim 1 and adds "the first image is a
composite image created by processing pixel data of a plurality of the image
frames" (the '316 patent 16:37-39), which we have construed to mean a
single image that may be created by combining or uniting image data from a
plurality of image frames at the level of pixel data. Claims 18 and 23 recite
similar recitations. The '316patent 16:56-58, 17:14-16. Along with the
above discussion adopting the noted findings and conclusions related
canceled claim 1, we further adopt the findings and conclusions presented by
Requester when addressing claims 13, 18, and 23. Request 112-13 (citing
Yee 389; Ex. CC-D), 117-19 (citing Yee 389; Dykes 134-35, Fig. 2), 126-
27 (citing Yee 389); see also Ex. CC-D 12 (citing Yee 389), 16-17 (citing
Yee 389; Dykes 134-35, Fig. 2), 24 (citing Yee 389); 3PR Resp. Br. 11-12
(addressing the "composite image" limitation) (citing Dykes 140, 146), 13-
15 (further citing Yee 388-89, 391-92; Lachinski 5:25--40, 10:37-11:34;
ACP 12-13, 23-24; Request 98-99).
       Patent Owner argues that the Examiner has relied upon Yee to define
the term "composites" and change the meaning of this term. PO Appeal
Br. 19-20; PO Reb. Br. 8-9. Specifically, Patent Owner contends that Yee
uses the term "composite" improperly to include side-by-side views and 4-
views. PO Appeal Br. 20 n.2 (citing a GeoSpan brochure 15 ); see also id. at

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   Patent Owner refers to "the Geospan Brochure" as Exhibit C filed January
2, 2013. However, our records indicate Exhibit C was filed January 8, 2013


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20-21. Patent Owner asserts that the '316 patent requires the composite
image be a single view and not "two or more separate and independent
images depicting separate and distinct views of different objects." Id. at 21;
see also id. at 32; PO Reb. Br. 13-14.
      We find these arguments unavailing. As discussed above in Section
(III)(A)(2), the court in Vederi agreed with our construction of the phrase
"composite image" to mean a single image created by combining different
image data or by uniting image data. See Vederi, 813 F. App 'x at 503. This
construction does not require a single, new view as argued (PO Appeal
Br. 17). See 3PR Resp. Br. 14. Moreover, as for the remaining phrase that
the "image [is] created by processing pixel data of a plurality of the image
frames," we determined that the recitation does not recite how the pixel data
of the images frames are processed, such that pixel values of the composite
image are computed from pixel values of two or more image frames.
Rather, claim 13 requires only combining or uniting image data from a
plurality of image frames at the level of pixel data to create the recited
"composite image."
      Based on this understanding, Yee teaches or suggests the recited
"composite image" limitation in claims 13, 18, and 23. Yee addresses
collected data made available with its product. Yee 389. The data includes
provided various views, including "curbside view, front and back," "street
view, front and back," "real estate view left and right," "real estate and
addresss [sic] zoom, 4-view," and"composites of them." Id. Yee explicitly

as part of an Amendment submitted by Patent Owner and is entitled "Drive
around town on your PC with GEOVISTA- Visual Geographic
Information" ("GeoSpan brochure").

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discloses "composites" (id.); and "them" refers back to the other discussed
views, including a curbside view, a street view, and a real estate view. Thus,
Yee teaches creating "composites" of these various views. For example, a
composite in Yee may combine or unite image data from (1) the curbside
view and the street view or (2) two different street views to produce the
disclosed "composite[] of them." Id.; see also RAN 30 (discussing
synthesizing a curbside view with a front and back view). Additionally, an
ordinarily skilled artisan would have recognized Yee's disclosed
"composites" (see Yee 3 89) would have involved combining or uniting the
noted views at the level of pixel data in some manner so as to form the
composites available to the user in Yee.
       Patent Owner argues that Yee's "composite" would be a side-by-side
view or "a 4-view display" (PO Appeal Br. 20 n.2 (citing January 8, 2013
Reply, Ex. C 16)) and not "a single view of objects ... where the composite
image is synthesized from multiple images" (id. at 21 ). See also id. at 20-
21; PO Reb. Br. 13-14. We are not persuaded because the language
"composite of them" in Yee is separate from the "4-view." Yee 389
(discussing a "real estate and address[] zoom, 4-view" separate from
"composites of them").
       As for the "4-view" example in Yee, Yee does not provide details
concerning how the view is formed. Id. Even so, Patent Owner presumes
the example from "the GeoSpan Brochure" is the only "4-view" that Yee
envisions and argues this is not "a 'composite image created by processing


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  This exhibit, referred to as "the GeoSpan Brochure" (id. at 20 n.2), was
not included with Patent Owner's Appeal Brief.

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pixel data of a plurality of image frames."' PO Appeal Br. 20-21, 32.
Patent Owner further relies on an example in Lachinski 17 when arguing that
Yee's "4-view" is not a composite image as recited. Id. at 32.
       We are not persuaded. The view in the described GeoSpan Brochure
is just one image example of data acquired by Geo Span Corporation
discussed in Yee. See, e.g., Yee 389 (describing that data collected). As
noted above, Yee separately teaches the collected data includes composites
of different views, which refer back to the various described views (e.g.,
curbside, street, and real estate views) (Yee 3 89), which at least suggest to
an ordinarily skilled artisan that each of Yee' s "composites of them" is a
single image that may be created by combining or uniting image data from a
plurality of image frames (e.g., street and curbside views) at the level of
pixel data, as we construed the phrase "composite image" in Section
(III)(A)(2).
       Nonetheless, some similarities exist between what is shown in Patent
Owner's example ofYee's 4-view (PO Appeal Br. 20) and what Yee and
Lachinski disclose. Yee discusses "images can be displayed as rolling video
of four views in a frame." Yee 392. Lachinski further states:
              The four-view generator 62 has four inputs 82, allowing
       signals from four of the video cameras 50 to be input
       simultaneously. The generator 62 reduces the image represented
       by each signal to one-fourth of its original size and then
       combines the reduced images to form a single video image by
       placing each of the reduced images into one of the four comers
       of an output image.


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   Notably, Patent Owner disputes whether Lachinski should be considered.
Id. at 30-31.

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Lachinski 5:25-31 (emphasis added), cited in 3PR Resp. Br. 13; Fig. 3. This
supports that the "4-view" discussed in Yee (Yee 389) is produced as a
single image that combines four reduced images, one in each of four comers
that is reduced in size. Lachinski 5 :25-31; Fig. 3. As such, combining
Lachinski's teaching with Yee, Yee's 4-view image yields a single image
that combines image data from a plurality of image frames (e.g., four
reduced images).
      Moreover, Yee teaches that data from the four images, which include
their pixel data, are used to create the reduced-sized images. Each of the
"four views in a frame" discussed in Yee (Yee 392) or the "single video
image" with four-views, each one-fourth of its original size that form
"reduced images," as further explained in Lachinski (Lachinski 5:25-31 ), is
a single image that is made up of different parts or image frames (e.g., image
data from multiple views) and combines pixel image data from each of the
different view image frames collectively to create the taught single 4-view
image. Yee, as evidenced by Lachinski, teaches yet another example of "a
composite image" as claims 13, 18, and 23 recite and as we construed this
phrase in Section (III)(A)(2).
      Patent Owner further argues that Yee's composite "teaches away from
creating composite images with its process." PO Appeal Br. 32-33. This
argument contrasts with Yee's explicit disclosure of a process that creates
"composites" from collected data. Yee 389. Also, Patent Owner contends
that Yee, including its Geo Span system, would involve "manually
review[ing] the raw image frames," "select[ing] the most appropriate
image," and "add[ing] the step of creating composite images," which would



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amount to "multipl[ying] the manual labor costs, greatly slow[ing] the
process, and add[ing] another level of complexity." PO Appeal Br. 33; see
also id. at 32-34 18 ; PO Reb. Br. 14-15. There is insufficient evidence in the
record for these assertions. In any event, the limitation "a composite image
created by processing pixel data of a plurality of the image frames" in
claim 13 does not exclude inputting some data manually, and many of the
disputed features (e.g., slow, cost, precision, complexity) (PO Appeal
Br. 32-33) are not commensurate in scope with claims 13, 18, and 23. Also,
Lachinski, which addresses a GeoSpan system having similarities to Yee,
discusses that a manual process is not used to generate composites.
Lachinski 5:25--40 (discussing using generator 62 to form a single video
image), cited in 3PR Resp. Br. 14.
       Patent Owner further argues that Requester did not provide a
motivation to combine Yee with Dykes (PO Appeal Br. 31) and one skilled
in the art would not have combined Dykes with Yee to arrive at claim 13 's
invention (id. at 32, 34). See also PO Reb. Br. 14. Patent Owner asserts
Dykes concerns 3 60 degree panoramas and thus does not teach "the
desirability of acquiring image frames for creating composite images 'by an
image recording device moving along a trajectory."' PO Appeal Br. 32.
Patent Owner contends that Dykes does not cure the deficiencies of Yee and
"there is no rational reason why a person of skill in the art would have

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   Patent Owner footnotes a reference entitled "GEN-2 City Tour BBC &
CNBC 1995, January 1, 2004" and states the reference was submitted
January 7, 2013. We are not able to locate this reference but did locate a
reference entitled "City Tour- User Guide and Tutorial," submitted January
8, 2013, copyrighted 1996 by GEOSPAN Corporation. However, this
evidence was not part of Patent Owner's Appeal Brief.

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combined Yee and Dykes to arrive at the embodiment of claim[] 13." PO
Appeal Br. 34.
      As for motivation, the Request explains "Yee discloses a mobile
mapping system for recording images of a geographic area a visual interface
system (VIS) for an end user to locate and retrieve the collected video
images," "Dykes discloses plotting symbols on a map to represent the
locations where panoramic images are available," and "Dykes' teachings
provide a spatial interface for an end user to locate and retrieve panoramic
images." Request 99. Based on these teachings, the Request explains one
skilled in the art would have been "motivated to combine the teachings put
forward by Yee and Dykes to provide a system and method that enables a
user to navigate locations by visualizing the locations spatially as presented
by symbols on a map." Id. at 99-100; see also RAN 13-15 (citing Request
98-100; Dykes 139--40); 3PR Resp. Br. 14-15 (citing Request 98-99; Yee
391-92; Dykes 139--40; ACP 12-13, 24). We thus disagree that Requester
did not provide a reason with a rational underpinning to combine Yee with
Dykes.
      Also, contrary to Patent Owner's assertion, Yee is not deficient in
teaching "a composite image" as claims 13, 18, and 23 recite. Nonetheless,
presuming, without agreeing, that Yee and Lachinski do not teach the recited
"composite image," Dykes teaches another known technique for creating
"composites" by combining and uniting images (e.g., stitching) to produce a
panoramic image. Dykes 132-36, Fig. 2. When substituting one known
element for another known in the art (e.g., Yee's composite technique for
Dykes' panoramic technique of forming a composite), "the combination



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must do more than yield a predictable result." KSR Int'l Co. v. Teleflex Inc.,
550 U.S. 398,416 (2007). Additionally, Dykes teaches panoramic imagery
(1) can assist "with educational aims," including making more sense of maps
when looking at panoramic landscape views, or with the urban planning
(Dykes 134 (quoting Shiffer 365)), (2) can evoke a visual experience in an
engaging virtual environment (id. at 136), (3) provides an ability to
navigator across the virtual space and between recognized features (id. at
139), and (4) permits panning around the landscape and touring across its
virtual environment configuration (id. at 140). Also, as noted above, both
the Examiner and Requester have provided reasons with some rational
underpinning to combine Dykes with Yee to arrive at claim 13 's invention,
including creating an environment in Yee' s system that is easy to set up due
to minimal data and metadata used. See also RAN 13-15 (citing Request
98-100; Dykes 139--40); 3PRResp. Br. 14-15 (citing Request 98-99; Yee
391-92; Dykes 139--40).
      Accordingly, Yee, Lachinski, and Dykes teach or suggest the
"composite image" limitations in claim 13, 18, and 23.
          3. Claims 18 and 19
      Claims 18 and 19 ultimately depend from canceled claim 1 and add
"The method of claim 17, wherein the first image is a composite image
created by processing pixel data of a plurality of the synchronized image
frames" and "The method of claim 18, wherein the composite image depicts
a wider field of view than is depicted in any one of the plurality of the
synchronized image frames" respectively. Along with the above discussion
adopting the noted findings and conclusions related to canceled claim 1, we



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further adopt the findings and conclusions in the Request when addressing
claims 18 and 19. Request 117-21 (citing Yee 389; Dykes 134-35, Fig. 2;
Ex. CC-D); see also Ex. CC-D 16-19 (citing Yee 389; Dykes 134-35,
Fig. 2).
       Additionally, Yee discusses Global Positioning System (GPS) and
Geographic Information Systems working with video technology (Yee 388),
its system is capable of obtaining accurate GPS positioning (id. at 390), and
collecting and synchronizing images (id. at 391). Additionally, Dykes's
Figure 2 and its stitching technique suggest that the acquired image frames
(e.g., the nine frames in the upper-left side) are synchronized with some type
of position information in order to create the continuous panorama that is
properly aligned as shown in Figure 2. See Dykes 135, 137, Fig. 2.
Combining Yee's GPS positioning/synchronizing image approach with
Dykes's technique to unite (e.g., synchronized) images based on position
would have assisted in and improved upon producing the continuous image
(e.g., a panorama) in Dykes by using Yee's positioning data. See KSR, 550
U.S. at 417.
       Other than the arguments discussed above related to "a composite
image" found in claim 18, Patent Owner does not separately argue
Requester's findings and conclusion related to claims 18 and 19.
Accordingly, we determine Yee, Lachinski, and Dykes teach and suggest the
recitations in claims 18 and 19.
           4. Claim 20 - The Arbitrary Address Limitation
       Claim 20 depends from claim 1 and adds "wherein the first location
specified by the first user input is an arbitrary address entered via the first



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user input, the entered arbitrary address specifying information selected
from a group consisting of street name, city, state, and zip code." The '316
patent 16:62-66. For this claim, we further adopt the findings and
conclusions presented by Requester when addressing claim 20. Request
121-22 (citing Yee 391-92; Ex. CC-D); see also Ex. CC-D 19-20 (citing
Yee 391-92); 3PR Resp. Br. 15-16 (citing Yee 391-92; Lachinski 13: 10-
24; 14:49-58, 16:64-66, 17:14-20; ACP 24); 3PR Appeal Br. 10-11 (citing
Yee 391-92, Abstract; Lachinski 16:64-66, 17:19-20; ACP 24); 3PRReb.
Br. 3--4 (citing Yee 391-92; Lachinski 16:64-66, 17:19-20).
      Based on Patent Owner's argued claim construction of "arbitrary
address" addressed in Section (III)(A)(3), Patent Owner argues Yee fails to
disclose the recitations of claim 20. PO Appeal Br. 34-36. Specifically,
Patent Owner argues that "Yee teaches only the retrieval of pre-selected
addresses" or "those that have already been assigned and which have been
correlated with a specific image." Id. at 35; see also id. at 34-35 (citing Yee
392); PO Reb. Br. 15; PO Resp. Br. 6. Patent Owner further argues that the
Geo Span system described in Yee involves a user selected from a list of
assigned (not unassigned) addresses tagged to an image. PO Appeal Br. 35;
see also PO Resp. Br. 6-7. Patent Owner also argues that the
Yee/Lachinski's address parsing differs from the recited "arbitrary address"
in claim 20 because the address parsing only involves a user-supplied
address converted to a standard address by matching the address to a real
address and cannot return a location corresponding to an unassigned address.
Id. at 35-36 (citing Lachinski 16:33-17:50; ACP 21); see also PO Reb. Br.




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15 (citing Lachinski 17:19-20) (discussing a "coordinate pair"); PO Resp.
Br. 7 (citing Lachinski 16:33-17:50).
      We are not persuaded. As explained above in Section (III)(A)(3), we
disagree that the recited "arbitrary address" must exclude assigned addresses
and include only unassigned addresses. See 3PR Reb. Br. 3 (noting "there is
no support for limiting 'arbitrary' to exclude pre-selected or assigned
addresses"). Unlike Patent Owner's assertions (see PO Resp. Br. 6-8), the
'316 patent does not discuss that the address is arbitrary or unassigned when
discussing entering an address or location into the system. For example, the
'316 patent describes a user can input a particular address (e.g., location or
geographic coordinates), and this address is not described as an unassigned
address in the system. See the '316 patent 11 :45-46, 12:20-26, 12:32-35,
13:21-24, 13:27-29.
      Additionally, claim 20 does not recite an image database or the
retrieval of an arbitrary address; thus, Yee need not disclose "the retrieval of
an arbitrary address" as argued. PO Appeal Br. 35. However, canceled
claim 1, from which claim 20 ultimately depends, does recite "retrieving
from the image source a first image associated with the first location" that "a
first user input specif1ies]." The '316 patent 15:45, 16:47--48. As
previously discussed, Yee teaches this feature. See Request 102 (citing Yee
3 91-92; Ex. CC-D) (addressing Yee' s Visual Interface System that retrieves
images and a user can enter a street address and retrieve images related to
the address); see also Ex. CC-D 2-3 (citing Yee 391-92). We thus
determine that Patent Owner's contentions concerning the Yee system and




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related documents fail to demonstrate that a user of the Yee system cannot
enter an "arbitrary address" as claim 20 recites.
       As for teaching the "arbitrary address" limitation, Yee discusses a
"[ s]treet address entry" (Yee 392), street name recording, and individually
tagging addresses. See Yee 391-92. Yee also states that "[a] user can point
at a road segment or specific location on a computerized map and instantly
display the video image(s) for that selected segment." Id.; see also 3PR
Reb. Br. 3 (citing Yee 391-92). Using the ordinary understanding of
"arbitrary" discussed in Section (III)(A)(3), Yee's entered address is an
arbitrary address because the address is based on the user's preference and
convenience to enter a street address. See Yee 391-92. Additionally, Yee's
teachings, whether the user enters the address or points to a specific location
on the map, do not specify the entered address is assigned. See id.
       Patent Owner further argues Lachinski and Dykes do not cure the
purported deficiency of Yee. PO Appeal Br. 35-36. This argument is
unavailing. As explained above, Yee does not have the alleged deficiency,
and Dykes was not relied upon to teach the "arbitrary address" feature.
Request 121-22; Ex. CC-D 19-20. However, to the extent that Requester
relies on Lachinski to demonstrate claim 20's "arbitrary address" limitation
(see 3PR Resp. Br. 15-16; see 3PR Reb. Br. 3--4), we agree that Lachinski
further teaches a process for permitting entry of both assigned (and
unassigned addresses) and thus, provides another example of "the first user
input is an arbitrary address entered via the first user input" as claim 20
recites.




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      Specifically, Lachinski teaches a user can supply an address, and this
address is converted into a standard address within its database for matching
"to a real address range in the database." Lachinski 16:66; id. at 16:63-66.
Lachinski further teaches to recall an image for "any coordinate pair" the
"process allows the retrieval of the nearest video image to a coordinate pair."
Id. at 17:19-20; id. at 17:15-21. When including this teaching with Yee, the
Y ee/Lachinski system permits a user to enter an address near or close to an
address in the system (e.g., "an arbitrary address entered via the first user
input") and still retrieve an image associated with the location as canceled
claims 1 and dependent claim 20 collectively recite. We thus disagree with
Patent Owner that Y ee/Lachinski' s address parsing process fails to teach or
at least suggest the recited "arbitrary address" in claim 20.
      Accordingly, Yee, Lachinski, and Dykes teach or suggest claim 20
"arbitrary address" limitations.
          5. Claims 21-24
      Claim 21 depends from claim 20 and adds:
         segmenting the trajectory on which the image recording
      devices move, into a plurality of segments;
         correlating the plurality of segments to a plurality of street
      segments in a geographic information database;
         identifying one of the plurality of street segments based on
      the arbitrary address;
         retrieving the first image based on the identified one of the
      plurality of street segments; and
         outputting the first image onto an image display device.
The '316 patent 16:67-17:9; Certificate of Correction 1. For claim 21, we
further adopt the findings and conclusions presented by Requester and the
Examiner when addressing claim 21. Request 123-25 (citing Yee 388-89,



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391-92; Ex. CC-D); see also Ex. CC-D 20-22 (citing Yee 388-89, 391-92);
3PR Resp. Br. 16-18 (citing Yee 389; Lachinski 2:47-50, 3:32-37, 9:42-46,
12:52-13:2, 13:56-63, 14:46-53, 16:40--47; ACP 24-25); ACP 24-25
(citing Yee 391-392 and "Lachinski evidence"); 3PR Nov. 2013 Comments
39--42 (citing Yee, Abstract, 388-89; Lachinski 2:47-50, 3:32-37, 9:42-46,
12:52-13:2, 13:56-63, 14:46-53, 16:40--47).
      Patent Owner asserts that claim 21 "describes a method whereby the
houses and other structures do [ not] need to be individually tagged to an
image." PO Appeal Br. 37. Yet, claim 21 does not include a limitation that
excludes tagging images. Also, we are not persuaded with this argument, as
previously discussed, to the extent that the assertions concern the argument
addressed above for claim 20 related to the recited "arbitrary address"
limitation purportedly excluding tagging. See, e.g., PO Appeal Br. 35-36.
      By reciting "identifying one of the plurality of street segments based
on the arbitrary address," Patent Owner also contends that claim 21 's
process associates first and second locations with a street segment and not a
specific image. Id. at 3 7. Patent Owner contends Yee is deficient, and
Lachinski does not disclose this step. Id. We disagree Yee is deficient and
refer to the Examiner's and Requester's explanations. RAN 15
(incorporating and adopting the rejection in Request 123-25 (citing Yee
388-89, 391-92)); see also 3PR Resp. Br. 16-18 (citing Yee 389; Lachinski
2:47-50, 3:32-37, 9:42--46, 12:52-13:2, 13:56-63, 14:46-53, 16:40--47;
ACP 24-25); ACP 24-25 (citing Yee 391-92). Yee explicitly discusses a
user can point to a road segment or specific location on a map and image(s)
are displayed for that selected segment. Yee 391-92.



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        Patent Owner also argues that Yee, even when supplemented by
Lachinski, does not disclose "the three step retrieval process of claim 21."
PO Appeal Br. 37. We find this argument unavailing given that claim 21
recites five steps and only one recited "retrieving." We are not clear as to
what portion of claim 21 is the described "three step retrieval process."
Other than the previously discussed argument concerning the "identifying"
step and Lachinski, Patent Owner does not articulate clearly any step in
claim 21 that the cited art fails to teach. See id. at 36-37.
        In any event, we emphasized that Yee discloses images and locations
are processed by Geo Van software and loaded into its Geographic
Information System (GIS) systems because GeoSpan uses TIGER
(Topological Integrated Geographic and Referencing) file format to record
its data (e.g., images). Yee 390 (addressing using a GPS receiver for "image
reference location"), 391 (addressing TIGER file format). Lachinski further
explains the TIGER file format, indicating this format improves the accuracy
of coordinates (e.g., identify position data) within the files and adds
information (e.g., missing street and address information), which can assist
in ( 1) identifying and updating street segments related to a location and
position and (2) creating indirect relationships between the segments and
images for a variety of GIS applications. Lachinski 1:15-23, 2:16-20, 2:47-
50, 3:32-37, 9:36--45, 11:55-12:62, 13:56-63, 14:41-58, 16:33-17:38, Figs.
9-10.
        Yee also teaches a user can point at a road segment or specific
location on a map and then display an image for that segment. Yee 3 91-92.
Lachinski discusses its street segment database can store large amounts of



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image sets that can be manipulated and managed using an indexing method.
Lachinski 13:51-55. Lachinski also describes a segment position "can be
expressed as an absolute position in terms of video images" (id. at 14:46-
49), making it "possible to determine the closest video image to any given
segment position" (id. at 14:50-51). One skilled in the art would have
recognized that including Lachinski's process in the Yee's system would
have improved coordinate accuracy with its system, and would have
permitted a large amount of images, which are associated with street
segments related to locations and positions, to be stored and managed. See
KSR Int 'l Co. v. Teleflex Inc., 550 U.S. 398, 416 (2007).
      Thus, as evidenced by Lachinski above and when combined with the
Yee/Dykes system, the resulting TIGER file format would have yielded a
process of "segmenting the trajectory on which the image recording devices
move, into a plurality of segments," "correlating the plurality of segments to
a plurality of street segments in a geographic information database,"
"identifying one of the plurality of street segments based on the arbitrary
address," "retrieving the first image based on the identified one of the
plurality of street segments," and "outputting the first image onto an image
display device," as claim 21 recites.
      Accordingly, Yee, Lachinski, and Dykes teach or suggest claim 21
limitations.
      As for claims 22-24, we further adopt the findings and conclusions in
the Request when addressing claims 22-24. Request 125-28 (citing Yee
389, 391-92; Ex. CC-D); see also Ex. CC-D 23-24 (citing Yee 389, 391-
92). Other than the arguments discussed above related to claims 20 and 21,



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for which claims 21-24 ultimately depend, Patent Owner does not separately
argue Requester's findings and conclusion related to claims 22-24.
       Accordingly, we determine Yee, Lachinski, and Dykes teach and
suggest the recitations in claims 22-24.
       In sum, we newly reject claims 13 and 18-24 under 35 U.S.C.
§ 103(a) based on Yee, Lachinski, and Dykes.
           D. Requester's Cross Appeal
       Requester appeals the Examiner's decision not to adopt a proposed
rejection 19 of a now improper claim (i.e., claim 42) based on Yee and Dykes.
3PR Appeal Br. 4; see also RAN 4. Because the appealed claim is presently
improper, Requester's cross-appeal has been rendered moot.


                             IV. CONCLUSION
       We have reviewed the entire record, including submissions by Patent
Owner and Requester, and the decision in Vederi.
       Concerning the claims rejected by the Examiner or newly proposed
grounds, we determine:




 13           102(a)   Dykes                           13
 13           102(a)   Al-Kodman                       13
 13           102(a)   Bates                           13
 13, 18-      103(a)   Yee, Dykes                      13, 18-
 24                                                    24,



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 This rejection was proposed by Requester in comments after ACP on
November 25, 2013. 3PR Nov. 2013 Comments 49.

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 13, 18- 103(a)        Murphy, Yee                        13, 18-
 24                                                       24,
 13, 18- 103(a)        Shiffer, Yee                       13, 18-24
 24
 13, 18- 103(a)        Yee, Lachinski,                              13, 18-
 24                    Dykes                                        24
 Overall                                                  13, 18-24 13, 18-
 Outcome                                                            24



                      V. TIME PERIOD FOR RESPONSE
      This decision contains a new ground of rejection pursuant to
37 C.F.R. § 41.77(b). Section 41.77(b) provides that "[a] new ground of
rejection ... shall not be considered final for judicial review."
      Section 41.77(b) also provides that Patent Owner, within one month
from the date of the decision, must exercise one of the following two options
with respect to the new grounds of rejection to avoid termination of the
appeal proceeding as to the rejected claims:
      (1) Reopen prosecution. The owner may file a response
      requesting reopening of prosecution before the examiner. Such
      a response must be either an amendment of the claims so
      rejected or new evidence relating to the claims so rejected, or
      both.

      (2) Request rehearing. The owner may request that the
      proceeding be reheard under § 41. 79 by the Board upon the
      same record. The request for rehearing must address any new
      ground of rejection and state with particularity the points
      believed to have been misapprehended or overlooked in
      entering the new ground of rejection and also state all other
      grounds upon which rehearing is sought.




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      In accordance with 37 C.F.R. § 41.79(a)(l), the "[p]arties to the
appeal may file a request for rehearing of the decision within one month of
the date of: ... [t]he original decision of the Board under§ 41.77(a)." A
request for rehearing must be in compliance with 37 C.F.R. § 41.79(b).
Comments in opposition to the request and additional requests for rehearing
must be in accordance with 37 C.F.R. § 41.79(c)-(d), respectively. Under 37
C.F .R. § 41. 79(e), the times for requesting rehearing under paragraph (a) of
this section, for requesting further rehearing under paragraph (c) of this
section, and for submitting comments under paragraph (b) of this section
may not be extended.
      An appeal to the United States Court of Appeals for the Federal
Circuit under 35 U.S.C. §§ 141-144 and 315 and 37 C.F.R. § 1.983 for an
inter partes reexamination proceeding "commenced" on or after November
2, 2002 may not be taken "until all parties' rights to request rehearing have
been exhausted, at which time the decision of the Board is final and
appealable by any party to the appeal to the Board." 37 C.F .R. § 41. 81. See
also MPEP § 2682.
      No time period for taking any subsequent action in connection with
this appeal may be extended under 37 C.F.R. § 1.136(a)(l )(iv).
      Requests for extensions of time in this proceeding are governed by 37
C.F.R. §§ 1.956 and 41.79(e).
      In the event neither party files a request for rehearing within the time
provided in 37 C.F.R. § 41.79, and this decision becomes final and
appealable under 37 C.F .R. § 41. 81, a party seeking judicial review must




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timely serve notice on the Director of the United States Patent and
Trademark Office. See 37 C.F.R. §§ 90.1 and 1.983.


                                REVERSED
                              37 C.F.R. § 41.77



FOR PATENT OWNER:

LEWIS ROCA ROTHGERBER CHRISTIE LLP
POBOX29001
GLENDALE, CA 91209-9001


FOR THIRD-PARTY REQUESTERS:

O'MEL VENY & MYERS LLP
IP&T CALENDAR DEPT LA-1005D
400 SOUTH HOPE STREET, 18TH FLOOR
LOS ANGELES, CA 90071-2899




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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       95/000,684              08/17/2012                 7,813,596 B2                                                       7571

       23363            7590            06/01/2021
                                                                                                           EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                     FOSTER, ROLAND G
       POBOX29001
       Glendale, CA 91209-9001
                                                                                          ART UNIT                      PAPER NUMBER

                                                                                              3992


                                                                                         MAIL DATE                      DELNERYMODE

                                                                                          06/01/2021                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




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           UNITED STATES PATENT AND TRADEMARK OFFICE


            BEFORE THE PATENT TRIAL AND APPEAL BOARD


                                   GOOGLE INC.
                                    Requester,

                                         V.

                               Patent of VEDERI, LLC.
                                    Patent Owner


                             Appeal 2018-007745
                        Reexamination Control 95/000,684
                              Patent 7,813,596 B2
                            Technology Center 3900


Before DENISE M. POTHIER, ERIC B. CHEN, and IRVINE. BRANCH,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.



                               DECISION ON APPEAL
                              I. STATEMENT OF CASE
      This proceeding returns to us on remand from the Federal Circuit, vacating
our previous decisions for this proceeding mailed August 15, 2016, September 28,
2018, and February 1, 2019. See Vederi, LLC v. Google LLC, 813 F. App'x 499,
501, 505 (Fed. Cir. 2020).
      As background, Requester requested an inter partes reexamination ("the
Request") of U.S. Patent No. 7,813,596 ("the '596 patent"). The '596 patent




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claims priority to U.S. Applications: (1) 11/761,361 (now U.S. Patent No.
7,577,316), filed June 11, 2007, (2) 11/130,004 (now U.S. Patent No. 7,239,760),
filed May 16, 2005, and (2) 09/758,717 (now U.S. Patent No. 6,895,126), filed on
January 11, 2001. The '596 patent, code (60). Pursuant to 35 U.S.C. § 154(a)(2),
the term of the '596 patent ended twenty (20) years from the filing date (i.e.,
January 11, 2001) of the earliest application for which a benefit is claimed under
35 U.S.C. §§ 120 and 121. See 35 U.S.C. § 154(a)(2) (2013); see also the Manual
of Patent Examining Procedure (MPEP) § 2701(1). Thus, the '596 patent expired
on January 11, 2021. 1
      "No amendment may be proposed for entry in an expired patent." 37 C.F.R.
§ l.530(j); see also 37 C.F.R. § l.12l(j) (referring to§ 1.530). That is, "[a]lthough
the Office actions will treat proposed amendments [during a reexamination
proceeding] as though they have been entered, the proposed amendments will not
be effective until the reexamination certificate is issued and published." 3 7 C.F .R.
§ l .530(k). Notably, "no amendment, other than the cancellation of claims, will be
incorporated into the patent by a certificate issued after the expiration of the
patent." 37 C.F.R. § l .530(j).
      Accordingly, the reexamination proceeding will now be based on the
original patent claims of the '596 patent. Patent Owner's proposed amendments
(see, e.g., the January 3, 2013 Amendment ("Jan. 2013 Amendment")) to the
claims, including new claims 63-75 (Jan. 2013 Amendment 15-17; PO Reopen
Request 19), are thus improper at this time. See MPEP § 2666.01. On the other


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 The MPEP states the Office should "refuse to express to any person any opinion
as to ... the expiration date of any patent, except to the extent necessary to carry
out: ... (C) a ... reexamination proceeding to reexamine the patent." MPEP
§ 1701 (9th ed. rev. 10.2019 June 2020) (emphases added).

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hand and even though the '596 patent has expired, Patent Owner's proposed claim
amendments to cancel claims 1, 2, 10, 15, 16, 20, 23, 35, 40, 45, and 50 (see Jan.
2013 Amendment 4-7, 10-12) are permitted. See MPEP § 2666.01. Additionally,
claims 3, 5-9, 11-14, 17-19, 22, 24-34, 36-39, 41-44, 46-49, and 51-62 are not
subject to reexamination. See RAN 1 (box 1b ). 2 Based on the foregoing, the
reexamination proceeding will be based on original patent claims 4 and 21.
      Upon review, we REVERSE the rejections adopted by the Examiner but
present new grounds of rejection for patent claims 4 and 21 pursuant to 37 C.F.R.
§ 41.77(b).
                                  Related Matters
      The parties indicate that the '596 patent was the subject of the following
litigation: Vederi, LLC v. Google Inc., Case No. 2: 10-CV-07747 (C.D. Cal.),
Vederi, LLC v. Google Inc., Case Nos. 13-1057, and Vederi, LLC v. Google Inc.,
Case No. 13-1296. 3 PO Appeal Br. 2; 3PRAppeal Br. 1, 20-21, Related


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  Throughout this Opinion, we refer to: (1) the Action Closing Prosecution (ACP)
mailed September 24, 2013, (2) the Right of Appeal Notice (RAN) mailed June 4,
2014, (3) Patent Owner's Appeal Brief (PO Appeal Br.) filed September 3, 2014,
(4) Requester's Respondent Brief (3PR Resp. Br.) filed October 2, 2014, (5) Patent
Owner's Rebuttal Brief (PO Reb. Br.) filed May 22, 2015, (6) the Requester's
Appeal Brief (3PR Appeal Br.) filed September 8, 2014, (7) the Examiner's
Answer (Ans.) mailed April 21, 2015, (8) Patent Owner's Request to Reopen
Prosecution (PO Reopen Request) filed September 16, 2016, (9) the Examiner's
Determination Under 37 C.F.R. 41.77(d) (Ex. Deter.) mailed May 17, 2018, and
(10) the Request for Inter Partes Reexamination ("Request") filed August 17,
2012.
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  Cases Nos. 13-1057 and 13-1296 were decided on March 14, 2014 and concerned
U.S. Patent Nos. 7,577,316 B2, 7,805,025 B2, and 7,239,760 and the '596 patent.
Vederi, LLC v. Google, Inc., 744 F.3d 1376 (Fed. Cir. 2014). The Federal Circuit
reversed the claim construction of the district court, vacated the judgement, and


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Proceedings App. Additionally, the parties indicate that this appeal may be related
to: (1) U.S. Patent No. 7,805,025 B2, which is the subject of inter partes
reexamination having been assigned Control No. 95/000,681, (2) U.S. Patent No.
7,239,760 B2, which is the subject of inter partes reexamination having been
assigned Control No. 95/000,682, and (3) U.S. Patent No. 7,577,316 B2, which is
the subject of inter partes reexamination having been assigned Control No.
95/000,683. PO Appeal Br. 2; 3PR Appeal Br. 1. The opinions in these
proceedings were similarly vacated. Vederi, 813 F. App'x 501.


                                   Parties Appeals
      Patent Owner appealed the decision in the RAN rejecting claims 4 and 21.
See PO Appeal Br. 3, 6. Requester responded, and Patent Owner rebutted.
      Requester cross-appealed the decision in the RAN determining now-
improper claims of the '596 patent are patentable. 3PR Appeal Br. 2. Patent
Owner responded, and Requester rebutted.
      The Examiner's Answer incorporated the RAN (Ans. 1), which rejected
claims 4 and 21 on various grounds. RAN 1, 6-19.
      An oral hearing was conducted on April 27, 2016. The transcript of the
hearing has been made of record.
      After the August 2016 Decision, Patent Owner requested reopening
prosecution. See PO Reopen Request 1. The remand was granted in part for the
Examiner's consideration of now-improper claims. May 23, 2017 Order 3-5. The
Examiner determined that the rejections of the now-improper claims were not

remanded for further proceedings. See id. at 1384; see also PO Appeal Br. 3. The
disputed claim language addressed by the Federal Circuit in this case differs from
the disputed language in the instant appeal.

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overcome. Ex. Deter. 2. We, subsequently, rendered a second opinion on
September 28, 2018, and a decision on rehearing on February 1, 2019.
        The Federal Circuit vacated our decisions. Vederi, 813 F. App'x at 501. In
its opinion, the court construed three phrases found in the claims of U.S. Patent
No. 7,805,025 ("the '025 patent"). Vederi, 813 F. App'x at 501-505. These
phrases are: (1) "composite image," (2) "moving" within the phrase "image
frames acquired by an image recording device moving along a trajectory," and (3)
"web page for the retail establishment" within the phrase "accessing a web page
for the retail establishment; and invoking by the computer system a display of the
web page on the display screen." The court specifically agreed with how the panel
construed the phrase "composite image" (id. at 503), did not fully adopt how the
panel construed the phrase "moving" (id. at 503-504), and disagreed with how the
panel construed the phrase "web page for the retail establishment" (id. at 504-
505).
        Given the claim construction addressed in Vederi, we reevaluate the rejections
of claims 4 and 21. In reaching our decision, we consider the record as a whole.


                                Claimed Subject Matter
        Canceled claim I and dependent claim 4 are reproduced below:
        1. (Canceled) In a system including an image source and a user
        terminal having a screen and an input device, a method for enabling
        visual navigation of a geographic area from the user terminal, the
        method comprising:
               receiving a first user input specifying a first location in the
        geographic area;
               retrieving from the image source a first image associated with
        the first location, the image source providing a plurality of images
        depicting views of objects in the geographic area, the views being


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      substantially elevations of the objects in the geographic area, wherein
      the images are associated with image frames acquired by an image
      recording device moving along a trajectory;
             retrieving a map of at least a portion of the geographic area;
             displaying the retrieved first image on a first display area of the
      screen and the retrieved map on a second display area of the screen;
             receiving a user selection of a position on the displayed map;
             determining a second location based on the user selected
      position; and
             retrieving from the image source a second image associated
      with the second location.

      4. The method of claim 1,
            wherein the first and second images are each a composite
      image, wherein each composite image is created by processing pixel
      data of a plurality of the image frames.

The '596 patent 15:42-64 (emphasis added), 16:6-9 (emphasis added).


                               Prior Art Relied Upon
      The record relies on the following as evidence of unpatentability:


            Name                       Reference                      Date

     Lachinski 4                     us 5,633,946                May 27, 1997
     Murphy                        US 6,282,362 Bl               Aug, 28, 2001




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 Requester indicates that Lachinski was cited in its Comments to rebut Patent
Owner's response and to explain how Yee's four-view images are created. 3PR
Resp. Br. 2, 18-19 (citing page 27 of the "May Supplemental Third-Party
Comments"); see also RAN 19-20 (discussing Lachinski is properly cited under
37 C.F.R. § 1.948(a)(2)).

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Michael J. Shiffer, Augmenting Geographic Information with Collaborative
Multimedia Technologies, 11 Proc. Auto Carto. 367-376 (1993) ("Shiffer").

Frank Yee, GPS & Video Data Collection In Los Angeles County: A Status Report,
Proc. IEEE Position Location and Navigation 388-393 (1994) ("Yee").

Torn Ishida et al., Digital City Kyoto: Towards A Social Information
Infrastructure, 1652 Lecture Notes in Artificial Intelligence from Int'l Workshop
on Cooperative Info. Agents 23-35 5 (1999) ("Ishida").

J. Dykes, An Approach To Virtual Environments For Visualization Using Linked
Geo-referenced Panoramic Imagery, 24 Computers, Env't & Urb. Sys. 127-152
(2000) ("Dykes").

Kheir Al-Kodmany, Using Web-Based Technologies and Geographic Information
Systems in Community Planning, 7 J. Urb. Tech. 1-31 (2000) ("Al-Kodmany").

Nada Bates-Brkljac & John Counsell, Issues in Participative Use of an Historic
City Millennial Web Site, IEEE Proc. Int'l Conf. Info. Visualization 119-125 (July
2000) ("Bates").
                               Current Rejections
      The Examiner rejects the claims as follows:

            Reference( s)             Basis 6        Claims                RAN

      Dykes                          § 102(a)               4               6-8
      Yee                            § 102(b)               4              8-10
      Al-Kodmany                     § 102(a)               4             10-12


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  Ishida is not numbered but we refer to the pages sequentially starting with page
23 like the Request. See, e.g., Request 16, 212-215.
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  The Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125 Stat. 284 (2011)
("AIA"), amended 35 U.S.C. §§ 112, 102, 103, and 305. Changes to§§ 102 and
103 apply to applications filed on or after March 16, 2013. Because this
application has an effective filing date before March 16, 2013, we refer to the pre-
AIA versions of§§ 102 and 103.

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      Bates                          § 102(a)            4             12-13
      Murphy and Yee                 § 103(a)            4             14-15
       Shiffer and Yee               § 103(a)            4             16-17
      Ishida and Dykes               § 103(a)         4,21             17-19


                          II. MAIN ISSUE ON APPEAL
       We review the appealed rejections for error based upon the issues identified
by Patent Owner, and in light of the arguments and evidence produced thereon. Cf
Ex parte Frye, 94 USPQ2d 1072, 1075 (BPAI 2010) (precedential) (citing In re
Oetiker, 977 F.2d 1443, 1445 (Fed. Cir. 1992)). "Any arguments or authorities not
included in the brief permitted under this section or [37 C.F.R.] §§ 41.68 and 41.71
will be refused consideration by the Board, unless good cause is shown." 37 C.F.R.
§ 41.67( C)(1 )(vii).
       Based on the record, the major issue on appeal is whether, as presented, the
Examiner erred in rejecting patent claims 4 and 21?


                                  III. ANALYSIS
                                A. Claim Construction
       As previously noted, the '596 patent has expired. Because the '596 patent
has expired, we give its claims' recitations "their ordinary and customary
meaning" as would have been understood by "a person of ordinary skill in the art
in question at the time of the invention." Phillips v. AWH Corp., 415 F.3d 1303,
1312-13 (Fed. Cir. 2005); see also MPEP § 2258(I)(G) (citing Phillips, 415 F.3d at
1316; Ex parte Papst-Motoren, 1 USPQ2d 1655 (BPAI Dec. 23, 1986)).
Additionally, "[c]laims 'must be read in view of the specification, of which they
are a part"' (Phillips, 415 F.3d at 1315 (quoting Markman v. Westview

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Instruments, Inc., 52 F.3d 967,979 (Fed. Cir. 1995) (en bane))), and "the
specification 'is always highly relevant to the claim construction analysis"' (id.
(quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir.
1996))).
      The parties discuss limitations of canceled claims 1 and 15, claim 4, and
claim 21 of the '596 patent in their briefings. PO Appeal Br. 6-23; see also 3PR
Appeal Br. 16-18; 3PR Resp. Br. 2-9. Although claims 1 and 15 are canceled (see
the Jan. 2013 Amendment 4, 6), claim 4 of the '596 patent depends from canceled
claim 1 and claim 21 ultimately depends from claim 15. Thus, each appealed
claim includes either canceled claim 1's or claim 15's recitations.
           1. The Image Frames Limitation of Canceled Claims 1 and 15
      Canceled claims 1 and 15 recite "wherein the images are associated with
image frames acquired by an image recording device moving along a trajectory"
(the Image Frames Limitation 7). The '596 patent 15:52-54, 17: 18-20. Patent
Owner's arguments focus on the word "moving" in the Image Frames Limitation.
PO Appeal Br. 8-19. Specifically, Patent Owner contends that it is unreasonable
to construe this claim limitation broad enough to encompass situations where all
the images are captured while the image recording device is stationary. Id. at 9.
Patent Owner asserts that the claim term "moving" in this limitation should be
given "meaning, [such that] image frames must be acquired while the recording
device is in motion" (id.) and "along the trajectory at the time of the acquisition"
(id. at 10). Patent Owner further argues that this understanding is the only
construction consistent with the '596's patent disclosure. Id. at 10-17 (citing the

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 Requester refers to the quoted limitation as "the 'Image Frames Limitation."'
3PR Appeal Br. 16; 3PR Resp. Br. 2.


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'596 8 patent, code (57), 2:27-31, 2:45--48, 3:54-60, 4:50-62, 5:18-22, 5:52-54,
6:56-62, 7:58-64, and U.S. Provisional App. No. 60/238,490 ("the '490
provisional application"), pp. 8-9).
      The Examiner and Requester disagree. RAN 21-26 ( citing 3PR November
25, 2013 Comments ("3PR Nov. 2013 Comments") 7, 9); 3PR Resp. Br. 2-7. The
Examiner explains that canceled claims 1 and 15 do not recite that "[the] image
frames [are] acquired by the device while moving along a trajectory (i.e., recording
and moving at the same time)." RAN 21 (underlining omitted); see id. at 25-26
(referring to 3PR Nov. 2013 Comments 14-15). The Examiner asserts that the
claims and Patent Owner's admission "embrace alternate embodiments [as]
disclosed in the ['596] patent," including those of both recording while moving and
stopping along a trajectory. Id. at 21; see id. at 21-24 (citing 3PR Nov. 2013
Comments 8-11; the '596 patent 3:58-60, 5:52-6:23, Fig. 9; the '490 provisional
application, pp. 8-9); 3PRResp. Br. 3--4, 7 (citing the '596 patent 3:51-53, 4:56-
58, 4:61-5:8, 7:55-64, 10:15-19, Fig. 9; the '490 provisional application 8-9;
ACP 20).
      The court in Vederi construed the term "moving" within the phrase "image
frames acquired by an image recording device moving along a trajectory" found in
claim 21 of the '025 patent. Vederi, 813 F. App'x at 501, 503-504. The court
found "the claims to cover (1) image recording devices that acquire images while
moving; (2) image recording devices that acquire images both while moving and
while stationary," but not "(3) image recording devices that acquire images only
while stationary (although the image recording device moves along a trajectory at


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  Patent Owner refers to "the '3 16 patent." PO Appeal Br. 10-11. We presume
that Patent Owner intended to refer to the '596 patent.

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other times)." Id. at 504. Each of canceled claims 1 and 15 of the '596 patent
includes the same recitation as claim 21 of the '025 patent addressed by the court.
Compare the '025 patent 17:51-53, with the '596 patent 15:52-54, 17:18-20.
Accordingly and as explained below, we apply a similar claim construction for the
Image Frames Limitation in canceled claims 1 and 15 of the '596 patent.
      The Vederi court applied the "broadest reasonable interpretation" to the
claims at issue, not the ordinary and customary meaning as understood by an
ordinarily skilled artisan as set forth in Phillips. Vederi, 813 F. App'x at 504
(stating "[t]he broadest reasonable interpretation requires that the claim
construction be reasonable in light of the specification"). Even so, the court
considered the disclosure of the '025 patent in arriving at its construction. Id.
(citing the '025 patent 2:27-29, 3:47--49, 3:54-57, 4:50-53, 4:55-58, 5:18-19,
5:52-54, 6:58-61, Fig. 9). Similar passages to those cited by the court in the '025
patent are found in the Specification of the '596 patent at issue in this appeal.
      In particular, the Specification states "an image recording device moves
along a path recording images of objects along the path" (the '596 patent 2:27-29),
"[ m]ovement to the camera 10 is provided by a base, platform, or motor vehicle
moving at an average speed of preferably about 20 miles/hour" (id. at 4:55-57),
and "the camera 10 moves along the path" (id. at 5:18). See also id. at 4:51-53
(discussing a camera moving along a path); 5:53-54 (same), 6:59-61 (same). The
Vederi court also states "the [S]pecification contemplates that some photos may be
taken while the vehicle is stopped, for example, at an intersection." Vederi, 813
F. App'x at 504 (citing the '025 patent, Fig. 9); see also the '596 patent, Fig. 9.
      When read in view of the Specification of the '596 patent, we determine that
the ordinary and customary meaning of "moving" within the Image Frames



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Limitation in canceled claims I and 15 as understood by an ordinarily skilled
artisan at the time of the invention includes an image recording device that
acquires images associated with image frames ( 1) while moving and (2) both while
moving and while stationary as long as some images are associated with image
frames acquired while the image recording device is moving.
      Also, "Patent Owner agrees that the 'trajectory' [recited in the Image Frames
Limitation of canceled claims 1 and 15] need not be preplanned." PO Appeal Br.
19; see id. at 18-19. The Examiner and Requester similarly agree. RAN 25; see
also 3PR Resp. Br. 3 n.1 (noting that Patent Owner concedes the "trajectory" need
not "be preplanned" 9); 3PR Appeal Br. 17. Patent Owner also contends that "when
the images are being retrieved in response to a user input, the trajectories of the
image acquisition device are known." PO Appeal Br. 19. Requester contends the
Image Frames Limitation does not require a known or specific trajectory. 3PR
Appeal Br. 17-18; see also 3PR Resp. Br. 3 n.1.
      The '596 patent describes a trajectory as synonymous with a path. The '596
patent 3:56 (describing cameras "moving along a trajectory/path."). The '596
patent further provides an "illustration of a trajectory" in Figure 9 where a camera
is moved along a path (e.g., 110 including streets or blocks) making turns at
intersections and circling around streets. Id. at 3:14-15; see also id. at 7:58-64,
Fig. 9. Even presuming, without agreeing, that the path of streets in this example
(e.g., 110 in Figure 9) may have been known prior to recording, we note that there
exists a level of randomness when driving down a street, such as lane shifting,


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  Requester indicates that the Examiner took a contrary position in the proceedings
for Control Nos. 95/000,681 and 65/000,682 when construing the term "trajectory"
for the claims in the '025 patent and U.S. Patent No. 7,239,760. 3PR Resp. Br. 3
n.1; see also 3PR Appeal Br. 17-18.

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which deviates from any purported, known or specific path. Furthermore, the
Figure 9 example in the Specification is described as "an illustration" of a
trajectory, whereas the claim's scope is not limited to this illustration. Compare
the '596 patent 15:54, with id. at 3:14-15 (stating "FIG. 9 is an illustration ofa
trajectory"), 7:58-64 (describing Figure 9). Thus, under its ordinary meaning and
consistent with the Specification of the '596 patent, the recited "trajectory" in
canceled claims 1 and 15 need not be a preplanned, specific, or known trajectory.
      In sum, we find that the Image Frames Limitation ("wherein the images are
associated with image frames acquired by an image recording device moving along
a trajectory") in canceled claims 1 and 15 requires the image recording device
moves along a path or route, which is not necessarily preplanned, specific, or
known, and that the image recording device acquires images that "are associated
with image frames acquired by an image recording device" (1) while moving or (2)
both while moving and while stationary as long as some image frames are acquired
while the image recording device is moving.
                           2. Composite Image of Claim 4
      Claim 4 depends from claim 1 and adds "the first and second images are
each a composite image, wherein each composite image is created by processing
pixel data of a plurality of the image frames." The '596 patent 16:6-9. The
Examiner finds the phrase, "composite image," includes synthesizing multiple
images and combining four images into a single image. See RAN 28 (citing
Lachinski 5:25-31). For support, the Examiner also refers to the Requester's
Comments filed November 25, 2013. Id. (citing 3PR Nov. 2013 "Comments" 5-6,
17-19). In these comments, Requester argues Patent Owner improperly imported a
particular embodiment found in the '596 patent's Specification into the claims.



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3PR Nov. 2013 Comments 18; see also 3PR Resp. Br. 8 (stating that Patent
Owner's construction "improperly imports limitations from Figure 2"). Requester
also states a plain meaning of "composite image" does not require a single, new
view and can include a four-view image. 3PR Nov. 2013 Comments 18-19; see
also 3PR Resp. Br. 8.
        Patent Owner argues the Examiner's interpretation is unreasonable. PO
Appeal Br. 19-23 10 ; see also PO Reb. Br. 7-10. Specifically, Patent Owner argues
that:
        The composite image depicts a single new view of the objects in the
        geographical area. The single new view is different from any of the
        views depicted in any one of the image frames from which the
        composite image is created, e.g., it can be a wider view. Moreover,
        the new view is from a single location as if the viewer [was] at that
        location.

PO Appeal Br. 19; see also id. at 20-21 (reproducing the '596 patent, Figs. 2, 16
(in part); U.S. Provisional Application No. 60/238,490, Fig. 11) (citing U.S.
Provisional Application No. 60/238,490, p. 8), 23; PO Reb. Br. 7 (citing the '596
patent 1:50-54, 1:58-60). Patent Owner further contends that "[n]othing in the
'596 patent suggests that two or more separate and independent images depicting
separate and distinct views of different objects is a 'composite image' as used in
the '596 patent simply because they are displayed simultaneously on a screen."
PO Appeal Br. 23.
        When considering the disclosure, the '596 patent discusses creating
"composite images" by synthesizing images, image data, or image frames but does


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  Patent Owner refers to claims 13, 18, 23, and 36 when discussing the "composite
images" limitation. PO Appeal Br. 19. Notably, claims 13, 18, and 36 are not the
subject of this reexamination, and claim 23 has been canceled. RAN 1.

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not disclose how the images are synthesized or combined to form the composite
image. The '596 patent, code (57), 2:22-24, 2:34-36, 3:46--49, 5:45--47. The
Specification also states image data from each selected image frame 42 in Figure 2
is extracted and combined to form the composite image. Id. at 5:66-6: 1, Fig. 2.
      The plain and ordinary meaning of "composite" includes "something that is
made up of different parts." 11 A single image consisting of data from four reduced
image frames is something made from different parts (e.g., a composite). An
ordinary meaning of ( 1) "synthesize" 12 includes "to make (something) by
combining different things" or "to combine (things) in order to make something
new," and (2) "combine," 13 includes "to unite into a single number or expression."
Thus, the phrase "composite image" consistent with the Specification and its
ordinary meaning should be construed to mean a single image created by
combining different image data or by uniting image data.
      The Federal Circuit agreed with this claim construction in Vederi,
determining the term "composite image," such as that found in claim 4 of the '596
patent, can reasonably be construed to include "a single image created by
combining different image data or by uniting image data." Vederi, 813 F. App'x at
503 (citing the '025 patent, 5:66-6:1). The court also stated "[w]e are not
persuaded by Vederi's argument" that limits the claimed "'composite image' to 'a


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   Composite (noun), Merriam-Webster's Online Dictionary, available at
http://www.merriam-webster.com/dictionary/composite.
12
   Synthesize, Merriam-Webster's Online Dictionary, available at
http://www.merriam-webster.com/dictionary/synthesize.
13
   Combine, Merriam-Webster's Online Dictionary, available at
http://www.merriam-webster.com/dictionary/combine (def. 1c).




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new image ... that depicts a single new view (from a single location) of the
objects in the geographical area that is different from any of the views depicted in
any one of the image frames from which the composite image is created."' Vederi,
813 F. App'x at 503 (quoting the '025 patent, 5:66-6:1; Personalized Media
Commc 'ns, LLC v. Apple Inc., 952 F.3d 1336, 1343 (Fed. Cir. 2020)).
      Accordingly, "a composite image" in claim 4 does not require the composite
image to be an image having a single view from one location, a new view, a
different view, or a wider field of view than any acquired image frame as argued
by Patent Owner. Stated differently, "although the specification often describes
very specific embodiments of the invention, [the Federal Circuit] ha[s] repeatedly
warned against confining the claims to those embodiments." Phillips, 415 F.3d at
1323 (citing Nazomi Commc 'ns, Inc. v. ARM Holdings, PLC, 403 F.3d 1364, 1369
(Fed. Cir. 2005); Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906-08
(Fed. Cir. 2004)). We thus do not confine our understanding of the phrase,
"composite image" in claim 4, to the exact representations in the Specification.
      Patent Owner also discusses "the patent infringement suit" between Patent
Owner and Requester. PO Appeal Br. 19 n.1; see also id. at 20 (stating "a
composite image 40 ... has pixel values that are computed from pixel values of
each of the image frames from which the composite image is created"). According
to Patent Owner, the parties in that proceeding "agreed that 'a composite image
created by processing pixel data of a plurality of the image frames' meant 'an
image formed by combining two or more image frames at the pixel level."' Id. at
19 n.1 (citing "Joint Construction of Agreed Terms, Joint Exhibit C to Plaintiff
Vederi, LLC's Opening Claim Construction Brief, Exhibit D hereto").




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      The court in Vederi found the phrase "by processing pixel data of a plurality
of the image frames," similar to that found in claim 4 of the '596 patent (the '596
patent 16:8-9), specifies "the image may be achieved by combining or uniting
image data, meaning at the level of pixel data." Vederi, 813 F. App 'x at 503
(citing the '025 patent, 19:6-14). But, this recitation does not recite how the pixel
data of the images frames are processed, such that pixel values of the composite
image are computed from pixel values of two or more image frames. We stress
that the '596 patent states a preference for the composite image to be created by
extracting image data from each image frame on a column-by-column basis. See
the '596 patent, code (57), 6:1-15, Fig. 2. But, applying the ordinary meaning of
"processing," claim 4 requires no more than "combining or uniting image data,
meaning at the level of pixel data." Vederi, 813 F. App'x at 503.
      Accordingly, the limitation of "a composite image" and "each composite
image is created by processing pixel data of a plurality of the image frames" in
claim 4 collectively means a single image created by combining different image
data or uniting image data of image frames at the level of pixel data.
                3. Web page for the retail establishment in claim 21
      Claim 21 ultimately depends from canceled claim 15 and adds "wherein the
particular one of the objects is a retail establishment, the method further
comprising: accessing a web page for the retail establishment; and invoking by the
computer system a display of the web page on the display screen." The '596
patent 18:7-12. Neither party disputes this claim or how this claim should be
construed in this proceeding.
      However, we note the court in Vederi stated "[t]he Board limited a 'web
page for the retail establishment' to web pages belonging to, owned by, or operated



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by the retail establishment." Vederi, 813 F. App'x at 504 (citing Google Inc. v.
Vederi, LLC, No. 95/000,681, 2016 WL 792285, at *2-3 (PTAB Feb. 26, 2016)).
The court found this characterized interpretation as "unduly narrow." Id. The
court indicated "an online Yellow Pages directory may be a web page for a retail
establishment in that it shows particular information about the retail establishment
for the convenience of a consumer" (id. at 505) and further states "a web page,
such as an online Yellow Pages directory, may be associated with a particular retail
establishment, but not owned or controlled by that establishment" (id. (citing the
'025 patent 12:53-56)).
      The Specification of the '596 patent does not describe an online Yellow
Pages directory but does discuss "business establishments" (the '596 patent 12:48),
stating that "the establishment" can be "associated with a particular Web page" (id.
at 12:53-54). Consistent with the Specification, an ordinary meaning of the recited
"web page for the retail establishment" in claim 21 as understood by an ordinarily
skilled artisan at the time invention would have included a web page in which a
business or retail establishment is associated. See id. This web page thus may
include more than those belonging to, owned by, or operated by the retail
establishment. See id.; see also Vederi, 813 F. App'x at 504.
      Although the court did not provide us an explicit claim construction for the
phrase "web page for the retail establishment" found in claim 21, we understand
the ordinary meaning of this phrase to include a web page that (1) shows particular
information about the retail establishment or (2) is associated with a particular
retail establishment.




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                               B. Pending Rejections
        Claim 4 is rejected under: (1) 35 U.S.C. § 102(b) based on Yee and (2) 35
U.S.C. § 102(a) based on (a) Dykes, (b) Al-Kodmany, and (c) Bates. RAN 6-13.
Claim 4 is also rejected under 35 U.S.C. § 103(a) based on (3) Murphy and Yee,
(4) Shiffer and Yee, and (5) Ishida and Dykes. Id. at 14-19. Claim 21 is rejected
under 35 U.S.C. § 103(a) based on Ishida and Dykes. Id. at 17-19.
        These rejections were presented on the claims as amended and prior to the
'596 patent's expiry. We reverse the rejections given the particular circumstances
of this proceeding, which include that the dependencies of the claims have changed
since the '596 patent's expiry, the Federal Circuit provided intervening claim
construction for claim terms in the '025 patent, and the claims are now construed
under Phillips as opposed to the broadest reasonable construction. Compare
Phillips, 415 F.3d at 1312-13, with Personalized Media Commc 'ns, 952 F.3d at
1340.


                            C. New Grounds of Rejection

        Pursuant to 37 C.F.R. § 41.77(b), we present a new ground of rejection for:
(1) claim 4 under 35 U.S.C. § 103(a) based on Yee, Dykes, and Lachinski and (2)
claims 4 and 21 under 35 U.S.C. § 103(a) based on Ishida, Yee, and Dykes.
        Of note, Patent Owner argues that the citation to Lachinski by Requester is
improper and should be excluded from consideration because Lachinski was
"introduced ... for what Lachinski discloses in itself; it is not explaining another
reference." PO Appeal Br. 24; see also id. at 23-24; PO Reb. Br. 10-11.
Requester contends that its reliance on and discussion of Lachinski is proper under
37 C.F.R. § l.948(a)(2). See 3PRResp. Br. 18-19 (contending Lachinski was



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cited to explain Yee's teachings, including its mobile mapping system) (citing May
22, 2013 3PR Comments 27); see also RAN 20. But, the propriety of whether a
reference was properly submitted under§ 1.948 is a petitionable matter. Because
this issue is not appealable, the Board lacks jurisdiction to decide this issue. See
MPEP §§ 1002 and 1201; see also In re Hengehold, 440 F.2d 1395, 1403 (CCPA
1971) ( stating that there are many kinds of decisions made by examiners, "which
have not been and are not now appealable to the board or to this court when they
are not directly connected with the merits of issues involving rejections of claims,
but traditionally have been settled by petition to the Commissioner").
      Nonetheless, we underscore that "should the Board have knowledge of any
grounds not raised in the appeal for rejecting any pending claim, it may include in
its opinion a statement to that effect with its reasons for so holding, which
statement shall constitute a new ground of rejection of the claim." 37 C.F.R.
§ 41.77(b).
              1. Claim 4
      Because claim 4 depends from canceled claim 1, we adopt the findings and
conclusions related to claims 1 and 4 by the Requester and the Examiner when
addressing Yee. See Request 79-88 (citing Yee 389-92; Ex. CC-B; Ex. OTH-B
104:16-20, 121:1-3; Ex. OTH-D 17:7-9); see also Ex. CC-B 1-8 (citing Yee 389-
92); RAN 8-9 (citing Yee 389, 391-92, Fig. 1) (incorporating Request 79-97, Ex.
CC-B); 3PR Resp. Br. 11-12 (citing Yee 388-89; Lachinski 5:25--40; ACP 22);
3PRAppeal Br. 5-12 (citing Yee 389-92, Abstract; ACP 7, 22; RAN 8-9, 27-28;
Lachinski 5:25-31). We highlight that Yee discusses acquiring images as the
vehicle, which houses its cameras, moves down the road or the recited "the images
are associated with image frames acquired by an image recording device moving



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along a trajectory" (the Image Frames Limitation) as canceled claim 1 recites. Yee
388-390 (describing the van is driving on the streets and recording images in all
four directions as the van travels); see also Request 84 (citing Yee 389-90). We
also highlight Yee's "rolling video" or "single-frame images" (Yee 392) depict
objects' elevations and its views in a geographic area, including curbside views,
street views, real estate views, houses, street lights, guard rails, and highway
striping (id. at 389). See also RAN 8-9 (noting the same). The Request also turns
to Yee's discussion of various views, including "composite of them," to teach the
recited "composite image" and how the image is created. Request 87-88 (quoting
Yee 389) (citing Ex. CC-B); see also Ex. CC-B 8 (quoting Yee 389).
      Patent Owner disputes that Yee teaches the recited first or second
"composite image" of claim 4 when properly construed in light of the '596 patent.
PO Appeal Br. 27-30; see also PO Reb. Br. 8-10, 12. Patent Owner refers to
"Section VII.A.3" of its brief, contending that Yee fails to disclose "a composite
image." PO Appeal Br. 27. In Section VII.A.3, Patent Owner argues the
Examiner relies upon a changed meaning for composites in determining that Yee
anticipates claim 4. See id. at 21-22. Patent Owner asserts that the discussion in
Yee of composites includes "side-by-side views" or "multiple views, such as a 4-
view display." Id. at 22. Patent Owner contends that each view is depicted in a
separate image and cannot be a composite as recited, which requires a single view
of objects. Id. at 22-23.
      As discussed above in Section (III)(A)(2), we determine the phrase
"composite image" includes a single image created by combining different image
data or by uniting image data but does not have to be "a single new image with a
new view" as urged by Patent Owner. Id. at 28. Moreover, as for the remaining



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phrase that "each composite is created by processing pixel data of a plurality of the
image frames," we found that the recitation requires only combining different
image data or uniting image data of image frames at the level of pixel data (see
Section (III)(A)(2)) but does not recite how the pixel data of the images frames are
processed.
      We determine Yee teaches or suggests the recited "composite image"
recitation. Although identity of terminology is not required, Yee actually discloses
"composites." That is, Yee states "[ sJome of the specific data to be collected and
made available ... include: curbside view, front and back; street view, front and
back; real estate view left and right; real estate and addresss [sic] zoom, 4-view;
and composites of them." Yee 389 (emphasis added). This portion of Yee
explicitly discloses a composite image (i.e., "composite of them"). Id. Notably,
the language "composites of them" in Yee is separate from the other described
views, including the 4-view, and "them" refers back to the other discussed views,
including a curbside view, a street view, and a real estate view.
      To illustrate, the Examiner identifies, and we agree "a composite display of
(for example) a curbside view with a front and back view is a new view
manipulated at the pixel level and synthesized from multiple images." RAN 28.
As another example, a composite in Yee may combine or unite image data from ( 1)
the curbside view and the street view or (2) two different street views to produce
the disclosed "composite[] of them." See Yee 389. Additionally, an ordinarily
skilled artisan would have recognized Yee's disclosed "composites" (see id.)
would have involved combining or uniting the views at the level of pixel data in
some manner so as to form the disclosed "composites" available to the user in Yee.




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We thus disagree with Patent Owner that the Examiner changes the meaning of
"composite" in determining Yee teaches the recited "composite image" in claim 4.
      Patent Owner argues that Yee's composites "teaches away from creating
composite images with its process." PO Appeal Br. 28. This argument contrasts
directly with Yee's explicit disclosure of a process that creates "composites" from
collected data. Yee 389.
      As for Patent Owner's assertion that Yee's discussion of composites
includes "side-by-side views," "multiple views," or "a 4-view display" (PO Appeal
Br. 22-23; see also id. at 28 (addressing Lachinski)), this argument is unavailing.
As explained above, Yee discuses "composites of them" separate from its "4-
view." Yee 389. This teaching at least suggests to an ordinarily skilled artisan that
each ofYee's "composites of them" is a single image that may be created by
combining or uniting image data from a plurality of image frames (e.g., street and
curbside views) at the level of pixel data as we construed the phrase "composite
image" in Section (II)(A)(2).
      To the extent that Yee's "composites of them" are not considered to teach or
suggest "each composite image is created by processing pixel data of a plurality of
the image frames" as claim 4 recites (for which we do not agree), the rejection
further relies on Dykes. Dykes teaches a known technique for creating
"composites" by combining and uniting image data (e.g., stitching) to produce a
panoramic image. Dykes 132-36, Fig. 2. When substituting Dykes's known
technique of forming a composite (e.g., a panoramic image) for Yee's composite
image forming technique, "the combination must do more than yield a predictable
result." KSR, 550 U.S. at 416. Additionally, Dykes teaches panoramic imagery (1)
can assist "with educational aims," including making more sense of maps when



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looking at panoramic landscape views, or with the urban planning ( Dykes 134
(quoting Shiffer 365)), (2) can evoke a visual experience in an engaging virtual
environment (id. at 136), (3) provide an ability to navigate across the virtual space
and between recognized features (id. at 139), and (4) permit panning around the
landscape touring across the virtual environment (id. at 140). Thus, combining
Dykes's teaching related to creating "a composite image" with Yee would have
improved on Yee' s system by providing educational information, evoking a visual
and engaging experience, and provide the ability to navigate across a virtual space.
See KSR, 550 U.S. at 417.
      Also, Yee discloses a mobile mapping system for recording and storing
images of a geographic area in a visual interface system (VIS) for an end user to
locate and retrieve the collected video images. See Yee 391-92. Dykes discloses
its process of collecting composite image data is minimal and cheap. Dykes 136,
140, 148. Thus, combining Dykes with Yee to arrive at claim 4' s "composite
image" would have improved on Yee's system by creating an environment that is
inexpensive and easy to set up due to minimizing the collected data but still
provides a spatial interface for a user to retrieve composite images (see id. at 134-
136). See KSR, 550 U.S. at 417.
      Patent Owner further reproduces a 4-view example in its appeal brief,
asserting this is not a single view and thus not "a composite image" of claim 4.
Appeal Br. 22. In concluding that this type of view is not "[a] composite image ...
created by processing pixel data of a plurality of the image frames" as claim 4
recites, Patent Owner presumes the example from "the GeoSpan Brochure" 14 (PO

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  We are unable to locate this exhibit in the briefing. Patent Owner refers to
"Exhibit E hereto." Appeal Br. 22 n.2. But, Exhibit Eis an Opinion from the


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Appeal Br. 22 n.2) is the only "4-view" that Yee envisions and argues "each view
is depicted in a separate image" (id. at 22). See id. at 22-23, 27-28 (discussing
Lachinski when arguing that Yee's "4-view" is not a composite image). Yet, the
views described and shown in the GeoSpan Brochure and in Lachinksi are just
examples of the data acquired and retrieved by the Geo Span Corporation discussed
in Yee. See, e.g., Yee 3 89 (describing that data collected). In any event, Yee
discusses "images can be displayed as rolling video of four views in a frame" (Yee
392), which suggests a single frame with four views or a single image created by
combining different image data of image frames (e.g., from the four views) at the
level of pixel data.
       To the extent that Yee's "4-view" (Yee 389) is not considered "a composite
image" (for which we do not agree), the rejection further relies on Lachinski. Yee
discusses a "4-view" example but does not provide details concerning how the
view is formed. See id. at 3 89. Lachinski, which is a patent assigned to Geo Span
Corporation (Lachinski, code (73)), explains:
      The four-view generator 62 has four inputs 82, allowing signals from
      four of the video cameras 50 to be input simultaneously. The
      generator 62 reduces the image represented by each signal to one-
      fourth of its original size and then combines the reduced images to
      form a single video image by placing each of the reduced images into
      one of the four comers of an output image.



United States District Court for the Central District of California. We did locate a
submission on January 7, 2013 titled "Drive around town on your PC with
GEOVISTA" (GEOVISTA) with page 2 appearing to have a similar figure to that
reproduced on page 22 of Patent Owner's Appeal Brief. In any event, the Geospan
brochure is not part of Patent Owner's briefing. Patent Owner also refers to its
"January 2, 2013 Reply as Exhibit C" (id.), which is also not part of its briefing
before us.

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Id. at 5 :25-31 (emphasis added), Fig. 3. Thus, the 4-view discussed in Yee (Yee
389) can be produced as a single image that combines four reduced images (e.g.,
different image data at the pixel data level), one in each of four comers that is
reduced in size as taught by Lachinski's known technique.
      Yee also teaches that data from the four images, which includes its pixel
data, are used to create the reduced-sized images into a single image. That is, each
of the "four views in a frame" discussed in Yee (Yee 392) or the "single video
image" with four reduced views (e.g., one-fourth of its original size that form
"reduced images" as explained in Lachinski (Lachinski 5 :25-31)) is a single image
that is made up of different parts or image frames (e.g., image data from multiple
views) and combines pixel image data from each of the different view image
frames collectively to create the single 4-view image. Yee, as evidenced by
Lachinski, therefore teaches and suggests another example of "a composite image"
as claim 4 recites. Moreover, combining Lachinski's known 4-view generator
technique with Yee would have predictably yielded a "4-view" image (Yee 389) as
a single image that combines image data from a plurality of image frames at the
level of pixel data (e.g., four reduced images) or the recited "each composite image
is created by processing pixel data of a plurality of the image frames" as claim 4
recites. See KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398,416 (2007).
      Patent Owner next contends that Yee, including its Geo Span system, would
involve "manually review[ing] the raw image frames," "select[ing] the most
appropriate image" (PO Appeal Br. 28) and "add[ing] the step of creating
composite images" (id. at 28-29), which would amount to "multiply[ing] the
manual labor costs, greatly slow[ing] the process, and add[ing] another level of




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complexity" (id. at 29). See also id. at 28-29. 15 The record fails to support Patent
Owner's contentions, which essentially rely on arguments of counsel. See In re
Geisler, 116 F.3d 1465, 1470 (Fed. Cir. 1997); see also In re Pearson, 494 F.2d
1399, 1405 (CCPA 1974) (attorney argument is not evidence). Moreover, the
limitation "each composite is created by processing pixel data of a plurality of the
image frames" in claim 4 does not exclude inputting some data manually, and
many of the disputed features (e.g., slow, cost, precision, complexity) (PO Appeal
Br. 28-29) are not commensurate in scope with claim 4. In any event, Lachinski,
which addresses a GeoSpan system having similarities to Yee, discusses that a
manual process is not used to generate composites. Lachinski 5:25--40 (discussing
using generator 62 to form a single video image); see also 3PR Resp. Br. 12 (citing
Lachinski 5:25--40; Yee 391).
      Accordingly, claim 4 is newly rejected under 35 U.S.C. § 103(a) based on
Yee, Dykes, and Lachinski pursuant to 37 C.F.R. § 41.77(b).
             2. Claims 4 and 21-Jshida, Yee, and Dykes
      Because claim 4 depends from canceled claim 1, we adopt the findings and
conclusions related to claims 1 and 4 by Requester and the Examiner when
addressing Ishida and Dykes. See Request 210-222 (citing Ishida 26-28, 34, Fig.
1; Dykes 134-36, 139--41, 144, 146, Figs. 2, 4; Ex. CC-G; Ex. OTH-B 58:18-19,
104:16-20, 106; Ex. OTH-D 17:7-9); see also RAN 17-19 (discussing and citing
Ishida 26, Fig. 3; Dykes 142, 146-47; Request 211-12) (incorporating the Request
for claims 4 and 21; Claim Chart CC-G); 3PR Resp. Br. 17-18 (citing Request
210-12; Ishida 27, Abstract; Dykes 142, 146; ACP 15-16). Because claim 21

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  Patent Owner footnotes a reference entitled "GEN-2 City Tour BBC & CNBC
1995, January 1, 2004" and states the reference was submitted January 7, 2013.
PO Appeal Br. 28 n.3. This evidence is not in Patent Owner's briefing.

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ultimately depends from canceled claim 15, we adopt the findings and conclusions
related to claims 15, 20, and 21 by Requester and Examiner when addressing
Ishida and Dykes. See Request 222-236 (citing Ishida 25-27, 30-31, 34, Figs. 1,
3; Dykes 136, 139--41, 144--46, Figs. 4, 6; Ex. CC-G; Ex. OTH-B 59:18-19,
61:23-25, 104:16-20, 106, 121:1-3; Ex. OTH-D 17:7-9); see also RAN 17-19
(discussing and citing Ishida 26, Fig. 3; Dykes 142, 146-47; Request 211-12)
(incorporating the Request for claims 4 and 21; Claim Chart CC-G); 3PR Resp. Br.
17-18 (citing Request 210-12; Ishida 27, Abstract; Dykes 142, 146; ACP 15-16).
      Concerning claim 21, we repeat that the phrase "web page for the retail
establishment" includes a web page (1) that shows particular information about the
retail establishment or (2) associated with a particular retail establishment as
discussed in Section (III)(A)(3). See Vederi, 813 F. App'x at 505. Ishida teaches a
social information infrastructure for a city (e.g., Kyoto) that includes shopping,
business, transportation, education, and other information. See Ishida 23-24,
Abstract. This infrastructure integrates both World Wide Web archives and real-
time information related to the city into WEB and ftp interface (e.g., the interface
or second layer) on the Internet. See id. at 23-25, 28. Specifically, Ishida's
Section 4 indicates the digital city integrates WEB and sensory data on a map,
which involves registering WEB pages with the digital city, determining the XY
coordinate of each WEB page, and retrieving WEB pages. Ishida 28-30. As an
example, sensors in Kyoto gather traffic data from buses that send location and
route data to the live digital city, and WEB pages for bus stops are retrieved and
displayed so that real-time bus data is displayed on the map of Kyoto. See Ishida
29-30, Fig. 5(b). As such, each of these web pages in Ishida (e.g., WEB and ftp




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interface) shows particular information (e.g., bus data) about or associated with a
retail establishment (e.g., a transportation company having a bus stop).
      Ishida therefore teaches or suggests "the particular one of the objects is a
retail establishment" (e.g., a bus stop in geographic area, 16 like Kyoto), "accessing
a web page for the retail establishment" (e.g., Kyoto's or the digital city's WEB/ftp
interface that contains web page information for the transportation company's bus
stop) and "invoking by the computer system a display of the web page on the
display screen" (e.g., displaying the Kyoto bus stop's real-time information using
the WEB/ftp interface) as claim 21 recites. To the extent that a transportation
company's bus stop is not viewed as "a retail establishment," Ishida also teaches
its interface retrieves data related to parking, shopping, and sightseeing (id. at 24),
which include information concerning parking lots (e.g., the nearest parking lot),
restaurant tables (e.g., whether one can reserve a table at a restaurant), and
shopping (e.g., what is on sale at a department store). See id. at 24, 30. Although
Ishida further notes that information related to parking lots and restaurants are
expected in the future (id. at 30), these teachings in Ishida at a minimum suggest "a
web page for the retail establishment" recitations in claim 28 as construed in
Section III(A)(3).
      Turning to the arguments, Patent Owner contends that neither Ishida nor
Dykes acquires image frames by "an image recording device moving along a
trajectory." PO Appeal Br. 40-41, 43; see PO Reb. Br. 14. Patent Owner asserts
that Dykes' s discussion of students taking images as they travel from one location




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  Claim 21, from which claim 28 depends, recites "a plurality of images depicting
views of objects in the geographic area." The '025 patent, 17:48-49.

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to another, but that the camera is placed on a tripod and kept stationary. PO
Appeal Br. 25-26 (citing Dykes 134, 141, Fig. 4); PO Reb. Br. 11.
      In Section (III)(A)(l), we determined the Image Frames Limitation requires
the image recording device moves along a path, course or route and that the image
recording device acquires images (1) while moving or (2) both while moving and
while stationary. Ishida teaches its digital city (e.g., Kyoto) interface can be built
from 3D Web technology that integrates photos mapped onto 3D blocks and 2D
planes to create a realistic 3DML (three-dimensional modeling language) space.
Ishida 26-27, cited in Request 214. However, Ishida is silent regarding how its
photos or image frames are obtained. Dykes provides a little more detail about
how its images are obtained. Dykes 146, cited in Request 216-17. Dykes teaches
students record images using a digital camera and obtain images at select locations
along a footpath's slope. Id.; see id. at 127 (discussing data collection devices),
134 (discussing digital cameras capturing images). Although Patent Owner's
assertion that Dykes "appears" to use a tripod and its camera is "stationary" (see
PO Appeal Br. 25 (citing Dykes 134)) is not found in Dykes, Dykes is silent
regarding whether the camera moves while acquiring images. See id. Thus, to the
extent the Request relies on Dykes to teach the Image Frames Limitation (see
Request 216-1 7), we determine the record does not demonstrate whether Dykes
teaches these images can be obtained by an image recording device (e.g., the
digital cameras) (1) while moving or (2) both while moving and while stationary.
      But, as explained above in Section (III)(C)(l ), Yee teaches a known
technique for obtaining image frames using cameras located on a van that travels
along roads (Yee 388-390 (describing the van is driving on the streets and
recording images in all four directions as the van travels)) in order to "see



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everything" and to "ensure[] no object is lost behind an obstruction" (see id. at
390). Given Ishida's desire both to obtain images of city realistically and to
diminish modeling problems by using photos (see Ishida 26-27 (discussing
"us[ing] photos mapped onto 3D blocks and 2D planes" that "significantly
diminishes some of [the noted problems]")), Yee provides a solution that collects
photos (e.g., images) completely and accurately for Ishida's digital city interface.
Yee further discusses its system has accurate GPS three-dimensional positioning to
ensure accuracy and completeness of the data collected and where the user is
located. Yee 390. This teaching in Yee further assists Ishida's process of
determining coordinates for images associated with WEB pages that are part of
Ishida's digital city interface. See Ishida 29. As such, Yee, when combined with
Ishida, teaches or suggests the recited "an image recording device moving along a
trajectory" in canceled claims 1 and 15 so as to obtain a complete and accurate
digital interface for captured environment.
      Patent Owner also argues that neither Ishida nor Dykes discloses
"determining a second location based on the user selected position," as recited in
canceled claim 1 (and similarly recited in canceled claim 15) and refers to "Section
VII.C.1.b)." PO Appeal Br. 41. In Section VII.C.1.b) (id. at 26-27), Patent Owner
specifically argues that Dykes fails to teach another recitation of "receiving a user
selection of a position on the displayed map" in canceled claim 1 because the
selection is based on a hot-linked symbol within the panorama and not "on the
displayed map," as recited. Id. at 26. Patent Owner further asserts that the
selecting of icons displayed on an overhead image discussed in Dykes is a two-step
process that fails to teach the three-step process in claim 1 that includes the above
disputed "determining" step. Id. at 26-27 (citing Dykes 142).



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      We are not persuaded. The rejection proposes that Dykes, in combination
with Ishida, teaches the "receiving a user selection of a position on the displayed
map" in canceled claim 1. For example, Figure 4 of Dykes shows a map ofHaytor
Down on the left (e.g., VFC panoraMap) and linked panoramas on the right (VCF
panoraMap:htd-018 and VCF panoraMap:mark58). Dykes 141. Dykes teaches a
user clicks on multiple symbols on this map to specify multiple locations (e.g., first
and second locations) and obtain multiple views associated with locations. Id. at
140-141, Fig. 4, cited in Request 218-219. These symbols on the panoraMap
identify different locations of the panoramas. Id. at 140-141. Each selection on
the map by a user thus constitutes "receiving a user selection of a position on the
displayed map" as canceled claims I and 15 recite.
      When the symbols on a map are clicked in Dykes, a viewer is revealed (e.g.,
VCF panoraMap:htd-018 and VCF panoraMap:mark58 on the middle-right and
lower-right respectively) and more symbols within the viewer (e.g., down arrows)
provide links to other panoramic images. See id., Fig. 4; see also 3PR Resp. Br. 11
(discussing "user clicking on a symbol on the map"). The viewer (right in Figure
4) is separate and distinct from the panoraMap in Dykes (left in Figure 4) (Dykes
141, Fig. 4), which as explained above, permits multiple selections within the
displayed panorama. Dykes further discusses the "[ s]ymbols on the map identify
the locations of panoramas, and reveal the view and angle of view when clicked."
Dykes 139--40. Dykes discusses providing dynamic links between the map and
images and that "the direction of imagery is known instantly." Dykes 140. Based
on these teachings, Dykes suggests to an ordinarily skilled artisan that its process
includes determining the location or position on the panoraMap associated with the
selected symbol in order to reveal the proper panorama. See id. at 139--41. Thus,



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when the user selects a position on panoraMap, Dykes at least suggests a location
is determined based on the position in order to retrieve the panorama (e.g.,
"determining a second location based on the user selected position" in canceled
claim 1 and similarly recited in claim 15).
      Yee additionally teaches a visual interface feature that permits a user to
point at specific locations within a city's map and provides images of the selected
location in an efficient manner. Yee 388, 391-92. As such, Yee, when combined
with Ishida and Dykes, further teaches or suggests the concept of "receiving a user
selection of a position on the displayed map," "determining a second location
based on the user selected position," and "retrieving from the image source a
second image associated with the second location" as canceled claim 1 recites.
      As for the contention related to a two-step process in Dykes versus the three-
step process of the claims, we are not persuaded. We are not sure what three steps
Patent Owner refers to, as steps ( 1) and (3) of the three step process are described
the same. PO Appeal Br. 27 (describing both steps (1) and (3) as "retrieving from
the image source a second image associated with the second location.") Also, as
explained above, we further disagree that Dykes does not teach "determining a
second location based on the user selected position" step in canceled claim 1 and
similarly recited in canceled claim 15.
      Patent Owner further contends that the Examiner has not presented a reason
to combine Ishida and Dykes and that Dykes teaches away from a combination
with Ishida. PO Appeal Br. 42-43. Patent Owner argues Ishida concerns a two-
dimensional (2D) map with a three-dimensional (3D) model of city that a user can
navigate. Id. at 42 (citing Ishida 24). In Patent Owner's view, Dykes concerns a
method of storing and displaying multimedia data in association with specific



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locations on map, which is distinct and incompatible with Ishida. Id. (citing Dykes
131; Ishida 27). Patent Owner further contends "that the systems disclosed in
Ishida and Dykes used distinct and incompatible methods of visualizing an area"
(id.) and "it is unclear how a person of ordinary skill in the art at the time [of] the
invention was made would have combined the 3D virtual environment of Ishida
with the student media database at specific locations (including panoramas) of
Dykes" (id. at 42--43).
      We are not persuaded. As noted in!n re Keller, 642 F.2d 413 (CCPA 1981):
      The test for obviousness is not whether the features of a secondary
      reference may be bodily incorporated into the strncture of the primary
      reference; nor is it that the claimed invention must be expressly
      suggested in any one or all of the references. Rather, the test is what
      the combined teachings of the references would have suggested to
      those of ordinary skill in the art

Keller, 642 F.2d at 425. Thus, there is no requirement in an obviousness rejection
to shavv how to incorporate Dykes's irnage database within Ishida's 3D
environment. See 3PR Resp. Br. 18 (citing In re 1Vouttet, 686 F.3d 1322, 1332
(Fed. Cir. 2012)).
      AddHfonaIIy, Ishida teaches using 2D photographs to add texture and detail
to buildings in its 3D modeL Ishida 27, cited in PO Appeal Br. 42. For example,
Ishida discusses a 3D interface that uses photos mapped onto 3D blocks and 2D
planes to build the Shijo Shopping Street 3DML (JD Modeling Language)
implementation. Ishida 27-28, Fig. 3. Based on the foregoing, Ishida obtains
photographs of a region that are used to create its 3D interface. See id. Dykes
teaches one such known technique for acquiring images of a region along a
trajectory that can be integrated with other data. Dykes 146. Similarly, as
explained above, Yee teaches yet another known image acquisition technique


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involving an irnage recording device that rnoves a1ong a path or tTajectory. Yee
388---90. As such, one skilled in the art would have recognized integrating Dykes's
and Yee's images with Ishida's interface-------not necessarily using Dykes's database
or how Dykes visualizes an area as argued (see PO Appeal Br. 42---43)-------is an
effective method for building Ishida's 3D blocks and that using these techniques
with Ishida's 3D interface would have yielded the predictable result of integrating
captured irnages with Ishida's system in an efficient manner. See RAN 18; see
also 3PR Resp. Br. 18.
      Furthermore, as exp fained above, Dykes is relied upon to teach and suggest
techniques for retrieving user inputs that specify a first and second location,
detennining the location based on the selection, and retrieving the images fi-c-m1 an
irnage
    c...- source associated with the locations as canceled claims 1 and 15 recite. See
also Request 218-220. Thus, an ordinarily skilled artisan would have recognized
several additional reasons to combine Dykes's teachings with Ishida, including to
"ensur[ e] that [the system's] data are stored spatially with a minimum of effmi."
(Dykes 142; see also 3PR Resp. Br. 18 (citing ACP 16 (further citing Dykes 142)))
and to provide: (1) "[v]isualization [that] is a particularly suitable technique to
help. , . synthesise infrmnation and understand the spatial character of coHected
data" (Dykes 140), (2) links between the map and irnages that create (a) "a
powerful technique and means that the direction of imagery is known" and (b)
'"realistic pictures [that] can be synthesised with" the map (id at 140), and (3) "an
additional reality check" for the images (id. at 143). Dykes further discusses the
images are "geo-referenced" (id at 139), "geo-referenc[ing] collected data files"
(id. at 140), and "stor[ing] geo-referenced panoramas" (id at 144 ). See also RAN
18 (citing Dykes 142) (discussing "geo-referencing system of Dykes .. , help[s]



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build the 3D models in Ishida."). These teachings in Dykes, along with Yee's
discussed above, further assist Ishida's process of determining coordinates for
images associated with WEB pages that are part oflshida's digital city interface.
See Ishida 29.
      The Request provides yet another reason to combine the teachings of Dykes
with Ishida in order to "provide[s] a system for creating a navigable digital city ...
by providing navigation irnages." Request 212; see also 3PR Resp. Br. 18 (stating
"a POSIT.A would be rnotivated to use the efficient photograph collection and geo-
reforencing system of Dykes to help build the 3D models in Ishida."). We find
each of the above-provided reasons has a rational underpinning to support an
obviousness rejection. .See KSR, 550 U.S. at 418. We, thus, disagree that Ishida
and Dykes are incompatible.
      Patent Owner also fails to demonstrate sufficiently that one skilled in the art
would not have recognized how to use the panoramic images taught by Dykes
within Ishida. See PO Appeal Br. 43. Such panoramic images would further
augment Ishida's 3D interface by providing a greater angle of view of a block,
such as the Shijo Shopping Street, to the user. See Dykes 127, 132, 134, 139---41;
see Ishida 27-28. Accordingly, the record provides numerous reasons to combine
Dykes and Yee with Ishida.
      Lastly, Patent Owner contends that "Ishida appears to discourage the use of
images" because problems exists when downloading GIF (Graphics Interchange
Format) or JPEG (Joint Photographic Experts Group) compressed photos. PO
Appeal Br. 43 (citing Ishida 27). However, this purported problem is described as
existing ,vith "any site on the \,VEB using many graphics." Ishida 27. Also,
neither Ishida nor Dykes requires compressed GIF or JPEG fonnats. Yet, even



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presuming without agreeing Patent Owner is con-ect that problems vvill exist, this
probfom may render the combined system somewhat inferior if GIF or JPEG
images are used but does not teach away from the Ishida/Dykes combination. See
In re Gurley 1 27 F.3d 551, 553 (Fed. Cir. 2008) (indicating a knmvn product "does
not becorne patentable simply because it has been described as somewhat inferior
to some other product for the same use.").
        For the above reasons, we newly reject claims 4 and 21 based on Ishida,
Yee, and Dykes.
           D. Requester's Cross Appeal
        Requester appeals the Examiner's decision not to adopt a proposed rejection
of now improper claims (i.e., claims 72 and 73) based on Yee. 3PR Appeal Br. 2,
12-16. Because the claims appealed are improper at present, Requester's cross-
appeal has been rendered moot.


                                 IV. CONCLUSIONS
        Concerning the claims rejected by the Examiner, we determine:




                           Yee
 4             102(a)      Al-Kodmany                       4
 4             102(a)      Bates                            4
 4             103(a)      Murphy, Yee                      4
 4             103(a)      Shiffer, Yee                     4
 4,21          103(a)      Ishida, Dykes                    4,21
 4             103(a)      Yee, Dykes,                                  4
                           Lachinksi



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 4,21          103(a)      Ishida, Yee,                              4,21
                           Dykes
 Overall                                                   4,21      4,21
 Outcome




                        V. TIME PERIOD FOR RESPONSE
        This decision contains a new ground of rejection pursuant to 37 C.F.R.
§ 41.77(b). Section 41.77(b) provides "a new ground of rejection pursuant to this
paragraph shall not be considered final for judicial review."
        Section 41. 77 (b) also provides that Patent Owner, within one month from
the date of the decision, must exercise one of the following two options with
respect to the new grounds of rejection to avoid termination of the appeal
proceeding as to the rejected claims:
            ( 1) Reopen prosecution. The owner may file a response requesting
            reopening of prosecution before the examiner. Such a response must be
            either an amendment of the claims so rejected or new evidence relating
            to the claims so rejected, or both.

            (2) Request rehearing. The owner may request that the
            proceeding be reheard under § 41. 79 by the Board upon the
            same record. The request for rehearing must address any
            new ground of rejection and state with particularity the
            points believed to have been misapprehended or overlooked
            in entering the new ground of rejection and also state all
            other grounds upon which rehearing is sought.


        In accordance with 37 C.F.R. § 41.79(a)(l), the "[p]arties to the appeal may
file a request for rehearing of the decision within one month of the date of: ...



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[t ]he original decision of the Board under § 41. 77 (a)." A request for rehearing
must be in compliance with 37 C.F.R. § 41.79(b). Comments in opposition to the
request and additional requests for rehearing must be in accordance with 37 C.F.R.
§ 41.79(c)-(d), respectively. Under 37 C.F.R. § 41.79(e), the times for requesting
rehearing under paragraph (a) of this section, for requesting further rehearing under
paragraph (c) of this section, and for submitting comments under paragraph (b) of
this section may not be extended.
      An appeal to the United States Court of Appeals for the Federal Circuit
under 35 U.S.C. §§ 141-144 and 315 and 37 C.F.R. § 1.983 for an inter partes
reexamination proceeding "commenced" on or after November 2, 2002 may not be
taken "until all parties' rights to request rehearing have been exhausted, at which
time the decision of the Board is final and appealable by any party to the appeal to
the Board." 37 C.F.R. § 41.81. See also MPEP § 2682.
      No time period for taking any subsequent action in connection with this
appeal may be extended under 37 C.F.R. § 1.136(a)(l)(iv).
      Requests for extensions of time in this proceeding are governed by 37 C.F.R.
§§ 1.956 and 41.79(e).
      In the event neither party files a request for rehearing within the time
provided in 37 C.F.R. § 41.79, and this decision becomes final and appealable
under 37 C.F .R. § 41. 81, a party seeking judicial review must timely serve notice
on the Director of the United States Patent and Trademark Office. See 37 C.F.R.
§§ 90.1 and 1.983.


                                    REVERSED
                                  37 C.F.R. § 41.77




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FOR PATENT OWNER:

LEWIS ROCA ROTHGERBER CHRISTIE LLP
POBOX29001
GLENDALE, CA 91209-9001


FOR THIRD-PARTY REQUESTER:

O'MEL VENY & MYERS LLP
IP&T CALENDAR DEPARTMENT LA-1005D
400 SOUTH HOPE STREET
LOS ANGELES, CA 90071-2899




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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       95/000,681              08/27/2012                   7805025                  13557-105153.Rl                        7654

       23363            7590            12/16/2021
                                                                                                          EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                    CRAVER, CHARLES R
       P0B0X29001
       Glendale, CA 91209-9001
                                                                                         ART UNIT                      PAPER NUMBER

                                                                                             3992


                                                                                        MAIL DATE                      DELNERYMODE

                                                                                         12/16/2021                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




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       UNITED STATES PATENT AND TRADEMARK OFFICE


         BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              GOOGLE INC.
                               Requester,

                                     V.

                         Patent of VEDERI, LLC.
                              Patent Owner.


                         Appeal2015-001495
                    Reexamination Control 95/000,681
                          Patent 7,805,025 B2
                        Technology Center 3900



Before JOHN A. JEFFERY, DENISE M. POTHIER, and ERIC B. CHEN,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.




              DECISION ON REQUEST FOR REHEARING
                       STATEMENT OF THE CASE
      This proceedings involve U.S. Patent No. 7,805,025 B2 ("the '025
patent), which expired on January 11, 2021. Dec. 2. 1 This proceeding is


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 Throughout this Opinion, we refer to: (1) the Request for Inter Partes
Reexamination ("Request") filed August 20, 2012, (2) the Right of Appeal




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also related to Reexamination Control Nos. 95/000,682-95/000,684,
involving U.S. Patent Nos. 7,239,760 B2, 7,577,316 B2, and 7,813,596 B2
respectively, all of which have also expired.
      As previously explained (see Dec. 2), this proceeding returns to the
Board on remand from the Court of Appeals for the Federal Circuit, which
vacated previous Board decisions for this proceeding mailed June 26, 2015,
February 29, 2016, and March 1, 2016. Vederi, LLC v. Google LLC, 813 F.
App'x 499, 501, 505 (Fed. Cir. 2020). On remand, another panel2 rendered
a Decision on Appeal (" the June 2021 Decision") on June 1, 2021, (1)
reversing (a) the rejection of claims 2-6, 8-10, 14-18, 20, 33-36, 56-60,
64-68, and 70-72 based on Yee and Dykes under 35 U.S.C. § 103(a), and
(b) the confirmation of claims 24, 26, 28, 29, 37, 38, 41, 42, 44--48, 51-54,
and 63; and (2) entering new grounds of rejection under 37 C.F.R.
§ 41.77(b) for (a) claims 2-6, 8-10, 14-18, 20, 24, 26, 28, 33-38, 41, 42,




Notice ("RAN") mailed September 24, 2013, (3) the Patent Owner's Appeal
Brief ("PO Appeal Br.") filed December 24, 2013, (4) the Requester's
Respondent Brief ("3PR Resp. Br.") filed January 24, 2014, (5) the
Requester's Appeal Brief ("3PR Appeal Br.") filed January 24, 2014, (6) the
Examiner's Answer ("Ans.") mailed July 9, 2014, (7) Requester's Request
for Rehearing Under 37 CPR§ 41.79 ("3PR July 2015 Reh'g Request") filed
July 27, 2015, (9) the Board's Decision mailed June 1, 2021 ("Dec."), (10)
Patent Owner's Request for Rehearing ("Req. Reh'g") filed July 1, 2021,
and (11) Requester's Comments in Opposition to Patent Owner's Request
for Rehearing ("3PR Comments") filed August 2, 2021.
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  The panel included Judges Pothier, Chen, and Branch.


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44--48, 51-54, 56-60, 63-68, and 70-72 based on Yee 3 and Dykes 4 under 35
U.S.C. § 103(a), and (b) claims 28, 29, 51, and 63 based on Ishida, 5 Dykes,
and Yee under 35 U.S.C. § 103(a). Dec. 4, 58-59, 61.
      In response to the new grounds, Patent Owner requested rehearing
under 3 7 C.F .R. § 41. 79 ("Request for Rehearing") on July 1, 2021.
Requester responded with comments pursuant to 37 C.F.R. § 41.79(c) ("3PR
Comments") on August 2, 2021.
      We have reconsidered the June 2021 Decision in light of Patent
Owner's contentions in the Request for Rehearing. Patent Owner sets forth
reasons why the earlier panel allegedly misapprehended or overlooked
points in entering the new grounds of rejection. As discussed below, we
maintain the determinations made in the June 2021 Decision.


                                DISCUSSION
       "The request for rehearing must address any new ground of
rejection and state with particularity the points believed to have been
misapprehended or overlooked in entering the new ground of rejection
and also state all other grounds upon which rehearing is sought." 37
C.F.R. § 41.77(b)(2) (2020); see also 37 C.F.R. § 41.79(b)(l) (2020).

3
  Frank Yee, GPS & Video Data Collection In Los Angeles County: A Status
Report, Position Location And Navigation Symposium, Proc. IEEE Position
Location and Navigation 388-93 (1994) ("Yee").
4
  J. Dykes, An Approach To Virtual Environments For Visualization Using
Linked Geo-referenced Panoramic Imagery, 24 Computers, Env't & Urb.
Sys. 127-52 (2000) ("Dykes").
5
  Tom Ishida et al., Digital City Kyoto: Towards A Social Information
Infrastructure, 1652 Lecture Notes in Artificial Int. from Int'l Workshop on
Cooperative Inf. Agents 23-35 (1999) ("Ishida").

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      Patent Owner argues that the June 2021 Decision does not construe
several terms in the claims of the '025 patent under their ordinary and
customary meanings. Req. Reh'g 2. These terms include "a composite
image" in claims 6, 18, 34, 35, and 68 or "each composite image" in
claim 35 (id. at 2-8), "accessing a web page for the retail establishment; and
invoking by the computer system a display of the web page on the display
screen" ("the Web Page Limitations") in claim 28 (id. at 8-9, 28), and "a
second user input specifying a navigation direction relative to the first
location" and "determining a second location based on the user specified
navigation direction" in canceled independent claim 1 and similarly found in
canceled independent claims 13, 21, 43, and 55 6 (id. at 9-12).
      Patent Owner also asserts that: (1) Yee and Dykes do not teach "a
second user input specifying a navigation direction relative to the first
location" and determining "a second location based on the user specified
navigation direction" found in claim 21 and similarly found in dependent
claim 33 (Req. Reh' g 13-18), (2) the Decision does not articulate how
Dykes modifies Yee to arrive at the claimed combination (id. at 18-21 ), and
(3) Yee alone or Yee and Dykes in combination do not disclose a
"composite image" in claims 6, 18, 34, 35, and 68 (id. at 21-26). Regarding
the combination of Ishida, Dykes, and Yee, Patent Owner further argues: ( 1)
Ishida does not teach the Web Page Limitations in claim 28 because Ishida
does not disclose displaying information as a web page (id. at 27-30), and


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  As previously explained, independent claims 1, 13, 21, 43, and 55 have
been canceled. Dec. 3. However, each pending claim ultimately depends
from one of claims 1, 13, 21, 43, and 55 and thus includes the limitations
found in one of these claims. See the '025 patent, 15:42-22:62.

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(2) the Decision does not clearly articulate how the teachings of Ishida,
Dykes, and Yee would be combined to arrive at claims 29, 51, and 63 ( id. at
30-33).
      Requester disagrees. See generally 3PR Comments 1-18. We
address each of Patent Owner's contentions below.


                                 ANALYSIS
                             I. Claim construction
      A. "[CJ omposite image" in claims 6, 18, 34, 35, and 68
      The phrase "composite image" is found in claims 6, 18, 34, 35, and
68. The '025 patent 16:16, 17:31, 19:7, 19:12, 22:28. In the June 2021
Decision, an earlier panel found this phrase means "a single image created
by combining different image data or by uniting image data." Dec. 20.
      Patent Owner asserts that the phrase "composite image" consistent
with the Specification,
      means a new image, created by processing pixel data of a
      plurality of image frames, that depicts a single new view (from
      a single location) of the objects in the geographical area that is
      different from any of the views depicted in any one of the
      image frames from which the composite image is created.

Req. Reh'g 7; see id. at 3-8 (quoting the '025 patent, Abstract, 1:27-57,
2:10-12, 2:33-39, 3:46--49, 5:45-51) (citing the '025 patent 2:37-39, 5:45-
6:5, 9: 10-21) (reproducing the '025 patent, Fig. 16; Provisional Application
No. 60/238,490, Fig. 11). Patent Owner also appears to argue that
"composite image" under Phillips "refers to a single image created by
combining different image data or by uniting image data [whJere the single



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image provides a single view." Id. at 8.
      Requester asserts Patent Owner's arguments were previously raised
and rejected by the Board and the Federal Circuit. See 3PR Comments 2--4
(citing Vederi, 813 F. App'x at 503; Dec. 17; the '025 patent 5:66-6:1).
Additionally, Requester asserts Patent Owner is attempting to limit the
phrase "composite image" "to cover only narrow preferred embodiments in
the specification." Id. at 4 (citing Dec. 18).
      The Board gave the claim recitations in the '025 patent "'their
ordinary and customary meaning' as would have been understood by 'a
person of ordinary skill in the art in question at the time of the invention."'
Dec. 9-10 (quoting Phillips v. A WH Corp., 415 F .3 d 13 03, 1312-13 (Fed.
Cir. 2005)); see id. at 17 nn.12-14 (addressing the term "composite") (citing
Merriam-Webster's Online Dictionary (11th ed.)). Additionally, the Board
stated "[c]laims 'must be read in view of the specification, of which they are
a part"' and that "the specification 'is always highly relevant to the claim
construction analysis."' Id. at 10 (quoting Phillips, 415 F.3d at 1315
(citation omitted)). Consistent with these principles, the Board has
considered how the Specification of the '025 patent describes a "composite
image" in arriving at the current claim construction. See id. at 16-17 (citing
the '025 patent, Abstract, 2:22-24, 2:34-36, 3:46--49, 5:45-47, 5:66-6:15).
      The Board further considered and gave appropriate weight to the
Federal Circuit's construction of the phrase "composite image," which
agreed with the Board's claim construction of "a composite image." Id. at
17 (quoting Vederi, 813 F. App'x at 503). Notably, the Federal Circuit
rejected V ederi' s proffered



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      narrowing construction that would limit 'composite image' to
      'a new image, created by processing pixel data of a plurality of
      image frames, that depicts a single new view (from a single
      location) of the objects in the geographical area that is different
      from any of the views depicted in any one of the image frames
      from which the composite image is created.

Vederi, 813 F. App 'x at 503; see also Dec. 17-18 (quoting Vederi, 813 F.
App'x at 503).
      We thus disagree that the Board overlooked or misapprehended an
argument that the phrase a "composite image" in claims 6, 18, 34, 35, and 68
was construed inconsistent with the '025 patent or its plain and ordinary
meaning as an ordinarily skilled artisan would have been understood.
      B. "[A} web page for the retail establishment" in claim 28
      Claim 28 ultimately depends from claim 21 and recites, in pertinent
part, "accessing a web page for the retail establishment; and invoking by the
computer system a display of the web page on the display screen" (the Web
Page Limitations). The '025 patent, 18:46-49. Regarding the recitation
"web page for retail establishment," the June 2021 Decision states "we
understand the ordinary meaning of this phrase to include a web page that
( 1) shows particular information about the retail establishment or (2) is
associated with a particular retail establishment." Dec. 22.
      Patent Owner contends that the June 2021 "Decision does not appear
to provide a construction for the term 'web page' in accordance with the
ordinary meaning of the phrase." Req. Reh'g 8. Patent Owner
      submits that a person of ordinary skill in the art at the time of
      the invention would understand that a Web page is a hypertext
      document written in the Hypertext Markup Language (HTML),
      which may further include images, video, and/or client-side


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        scripts (e.g., VBScript or JavaScript)[], and a Web browser
        renders a Web page to be displayed to a user.


Id. at 9 (citing the '025 patent 12:53-56, Fig. 16) (omitting footnote); see id.
n. l (citing Web page, The American Heritage® Dictionary of the English

Language (defining "n. A document on the World Wide Web, consisting of
a hypertext file and any related files for scripts and graphics, and often
hyperlinked to other documents on the Web.")).
        Requester contends that the Federal Circuit found "for this exact
term[,] that the '[t]he [sic] specification does nothing to limit [the] broad
claim language' at issue." 3PR Comments 8 (quoting Vederi, 813 Fed.
App'x at 504 7) (last bracketing in original). Requester asserts that Patent
Owner does not "heed[] the Federal Circuit's caution" and instead attempts
to narrow the claim construction of the "web page" to include "a 'web
browser' limitation," which is not supported by the dictionary definition
presented by Patent Owner and is only described as a preferred feature in the
'025 patent's Specification. Id. at 8-9 (citing Req. Reh' g 9 n. l; Web page,
The American Heritage® Dictionary of the English Language; the '025
patent 12:53-56).
        Although we did not construe the phrase "web page" explicitly in the
Decision, we did address what "a web page for retail establishment" would
encompass- "a web page that ( 1) shows particular information about the
retail establishment or (2) is associated with a particular retail
establishment." Dec. 22. In reaching this determination, we considered the
passage from the '025 patent cited by Patent Owner. See id. at 21

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    The quotation is found at Vederi, 813 Fed. App'x at 505.

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(discussing the '025 patent 12:48, 12:53-54). Furthermore, as the Federal
Circuit found, "[t]he specification does nothing to limit this broad claim
language" of "accessing a web page for the retail establishment" as claim 28
recites. Vederi, 813 Fed. App'x at 505. As such, contrary to Patent Owner's
assertions (see Req. Reh' g 9), the Specification does not define or limit the
phrase "web page" found in claim 28 to include a web browser for rendering
and displaying the web page. Indeed, the definition of "web page" provided
by Patent Owner-"[ a] document on the World Wide Web, consisting of a
hypertext file and any related files for scripts and graphics, and often
hyperlinked to other documents on the Web" ( Web page, The American
Heritage® Dictionary of the English Language, available
at https://www.ahdictionary.com/word/search.html?q=web+page)-does not
require a rendered web page to be displayed using a web browser.
      Additionally, although the Specification's column 12 describes an
embodiment that "preferably" displays a web page "on a separate browser
window" (the '025 patent 12:55-56), we decline to import this specific
embodiment into claim 28, which only recites "invoking ... a display of the
web page on the display screen" without limiting the invocation to using a
web browser. Id. at 18:47--48; see also Phillips, 415 F.3d at 1323
("[ A ]lthough the specification often describes very specific embodiments of
the invention, [the Federal Circuit] ha[s] repeatedly warned against
confining the claims to those embodiments."), quoted in Dec. 18.
      That said, the Patent Owner has provided a definition of "a web
page," which is "[a] document on the World Wide Web, consisting of a
hypertext file and any related files for scripts and graphics .... " Web page,



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The American Heritage® Dictionary of the English Language, cited in Req.
Reh'g 9. Other than disputing the "unduly narrow construction requiring a
'web browser'[,]" Requester has not challenged this meaning of "web page"
on the record. See 3PR Comments 8-9. We find this definition is one plain
meaning of the phrase "web page." The remainder of the "web page"
definition, however, states the document is "often hyperlinked to other
documents on the Web" (Web page, The American Heritage® Dictionary of
the English Language (emphasis added)), and thus, this hyperlinked feature
is not required to be "web page" as claim 28 recites.
      We thus disagree that the Board overlooked or misapprehended an
argument that the phrase "a web page for a retail establishment" in claim 28
was construed inconsistent with the '025 patent or its plain and ordinary
meaning as an ordinarily skilled artisan would have been understood. We
further determine "a web page" includes a document on the World Wide
Web, consisting of a hypertext file and any related files for scripts and
graphics.
      C.     "[A} second user input specifying a navigation direction
relative to the first location in the geographic area" and "determining a
second location based on the user specified navigation direction" in claim 1
and similarly found in claims 13, 21, 43, and 55
      Canceled independent claim 1 recites "receiving a second user input
specifying a navigation direction relative to the first location in the
geographic area" and "determining a second location based on the user
specified navigation direction" ("the Navigational Direction Limitations").
The '025 patent 15:57-61. Canceled independent claim 21 recites



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"receiving ... a second user input specifying a navigation direction relative
to the first location" and "determining ... a second location based on the
user specified navigation direction." The '025 patent 17: 65-18 :2. Canceled
independent claims 13, 43, and 55 recites similar limitations. Id. at 17: 1-5,
19:65-20:2, 21:18-22. In the June 2021 Decision, the panel did not provide
a claim construction for these recitations.
       Patent Owner asserts an ordinarily skilled artisan would have
understood that the Navigational Direction Limitations recite "a two-step
process" "in which a system receives a user input specifying a direction
relative to a first location (e.g., the user input specifies a direction east of the
first location) and then determines a new, second location based on the
specified direction (e.g., eight meters east of the first location)." Req. Reh'g
12; see id. at 11-12 (quoting the '025 patent 13:10-20) (reproducing the
'025 patent, Fig. 16). Requester states that "Patent Owner's proffered
construction mostly repeats the language of the claim" and further
"disagrees that Patent Owner's construction is proper, to the extent it is
limited by the purported examples -      'a direction east of the first location'
and 'eight meters east of the first location."' 3PR Comments 14 (citing Req.
Reh'g 12).
       We agree with Requester. First, Patent Owner's proposed
construction essentially repeats what the claims recite, including "receiving
a second user input specifying a navigation direction relative to the first
location" (e.g., a system receiving a user input specifying a direction relative
to a first location) and "determining a second location based on the user
specified navigation direction" (e.g., determining a new, second location



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based on the specified direction) recited in claim 1. Second, the examples
provided for the Navigational Direction Limitations (e.g., the user input
specifies a direction east of the first location and being eight meters east of
the first location) are just that-particular embodiments (e.g., navigation
direction being east and the second location to be eight meters east of the
first location) found in the '025 patent's Specification. See the '025 patent
13:10-20
        We will not import these particular embodiments into the claims.
See Phillips, 415 F.3d at 1323 ("although the specification often describes
very specific embodiments of the invention, [the Federal Circuit] ha[s]
repeatedly warned against confining the claims to those embodiments.").


                     II. New grounds based on prior art
      A. Yee/Dykes
      The June 2021 Decision presented a new ground of rejection for
claims 2-6, 8-10, 14-18, 20, 24, 26, 29, 33-38, 41, 42, 44--48, 51-54, 56-
60, 63-68, and 70-72 under 35 U.S.C. § 103(a) based on Yee and Dykes.
See Dec. 22--47, 58-59. Patent Owner argues claims 17, 33, and 67 as a
group, claims 6, 18, 34, 35, and 68 as a group, and the remaining claims as a
group. See Req. Reh'g 13-27. Patent Owner also disputes rationales for
combining Dykes with Yee to arrive the features in the claims. See id. at
18-21, 24-26. We address each of these arguments below.

                           1. Claims 17, 33, and 67
      Claims 17, 33, and 67 depend from canceled independent claims 13,
21, and 55 respectively. As such, each include the above discussed


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Navigational Direction Limitations or similar recitations addressed above in
Section LC. The June 2021 Decision determine that Yee and Dykes teach
these recitations found in claims 17, 33, and 67. See Dec. 23-34.
       Patent Owner argues claims 17, 33, and 67 as a group. We select
claim 33 as representative. See 37 C.F.R. § 41.37(c)(l)(iv).
       Patent Owner asserts that: (1) Yee and Dykes do not teach "a second
user input specifying a navigation direction relative to the first location" and
"determining ... a second location based on the user specified navigation
direction" found in claim 21 and similarly found in dependent claim 33
(Req. Reh'g 13-18), and (2) the Decision does not articulate how Dykes
modifies Yee to arrive at the claimed combination (id. at 18-21 ).

             a. "a second user input specifying a navigation direction
                  relative to the first location" and "determining ... a second
                  location based on the user specified navigation direction"
       As previously discussed, claim 33 recites recitations similar to the
Navigational Direction Limitations due to its dependency on a canceled
independent claim 21. We further determine in Section LC. that the phrase
"receiving ... a second user input specifying a navigation direction relative
to the first location" in claim 21 includes receiving a user input specifying a
direction relative to a first location and the phrase "determining ... a second
location based on the user specified navigation direction" includes
determining a second location based on the specified direction relative to the
first location.
       Patent Owner argues that the June 2021 "Decision appears to find that
the 'arrows' shown in 'VFC panorama:htd-018' and 'VFC panorama:mark



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58' of Figure 4 of Dykes teach the 'a second user input specifying a
navigation direction relative to the first location in the geographic area' as
recited in claim 21." Req. Reh'g 14. More specifically, Patent Owner
argues the arrows in the "VFC panorama:htd-018" and "VFC
panorama:mark 58" of Dykes's Figure 4 provide links to other panoramic
images and "corresponds to exactly one particular location" and are "without
regard to how far these other locations may be from the location of the view
shown in any particular viewer." Id. at 15; see id. at 13-15 (quoting Dec.
26; Dykes 141) (reproducing Dykes, Fig. 4). Based on Patent Owner's
understanding, Patent Owner contends Dykes discloses only a "one-step
process" instead of the recited "two-step process" (id. at 17) because (1)
Dykes does not disclose symbols or arrows that "specify a 'navigation
direction relative to the first location" using its argued claim construction,
(2) Dykes's Figure 4 does not provide a scale, and (3) the hotspots in Figure
4 "are about one mile apart." Id. at 16; see id. at 15-18 (citing Dykes, Fig.
4).
        As to the arguments (2) and (3), we did not import the eight meter
example from the '025 patent's disclosure into the recitation "determining a
second location based on the user specified navigation direction" found in
claim 21 above in Section LC. We thus determined that the recitation
"determining a second location based on the user specified navigation
direction" is not limited by a distance, and thus, Patent Owner's arguments
related to scale (see Req. Reh' g 16) and the distance of the hotspots from
each other (see id. at 15-17) are not commensurate in scope with the claims.
        As to argument (1), a similar argument was made previously by Patent



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Owner in a July 27, 2015 Request for Rehearing ("July 2015 Req. Reh'g")
to a June 26, 2015 Decision ("June 2015 Decision"). In this rehearing
request, Patent Owner contended that Dykes's arrow does not teach
receiving a navigation direction relative to the first location. July 2015 Req.
Reh'g 4-6. Although this was a newly presented argument, we noted that
"Dykes teaches a user can navigate across the virtual space between
recognized features (e.g., user input specifying a navigational direction
relative to the first location) .... " March 1, 2016 Decision 6 (now vacated).
Also, selecting an arrow to the right or the left of a given arrow within "VFC
panorama:htd-018" and "VFC panorama:mark 58" of Figure 4 in Dykes
suggests "receiving a second user input specifying a navigation direction"
(e.g., right or left) "relative to [a] first location" contrary to Patent Owner's
contentions. Thus, although each arrow corresponds to a particular location,
when a user navigates right or left between different arrows within a
panoramic image, for example, the specified "user input" is relative to
another location and "specif[ies] a navigation direction" as recited in the
canceled independent claim 21. See 3PR Comments 14-15 (citing Dykes
139-40, 142) (reproducing Dykes, Fig. 4)
      Additionally, we underscore that the new ground does not just discuss
the arrows in Dykes but also that Dykes teaches that the user can "mov[e]
the cursor right or left in the viewer around an arrow." Dec. 26 (emphasis
added) (citing Dykes 137-39, Fig. 3). For example, Dykes teaches "the
incorporation and manipulation of multimedia objects such as images,
specifying actions associated with mouse/cursor interaction" (Dykes 136-37
(emphasis added)), and "[r ]elating horizontal locations along an image to



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bearings from a point in this way means that cursor movement in either the
map or the image can be linked to appropriate symbolism in the other view"
(id. at 139 (emphasis added)). Additionally, Dykes discusses "[t]he process
of selecting a section v of the panoramic image to view and representing the
angle of the view with arrow symbols can be programmed to occur
interactively when the cursor is moved to the left or right in a viewer." Id. at
137 (emphasis added). Although quoting the above-noted portion in the
June 2021 Decision (Req. Reh'g 14), Patent Owner does not address the
panel's discussion related to moving a cursor right or left (e.g., a specifying
a navigation direction relative to a first location) in the viewer around the
arrow. See id. at 13-18.
      As to the assertion that Dykes only "teach[ es] a one-step process in
which a user may select a symbol on the map" (Req. Reh'g 17; see id. at 17-
18, 20), we disagree. Following from the above discussion, Dykes also
teaches or suggests the second step in the Navigational Direction Limitations
(e.g., "determining ... a second location based on the user specified
navigation direction" step) in claim 21. For example, when a user navigates
between different arrows within the "VFC panoraMap" or a panoramic
image by moving a cursor to the right or left (e.g., "a navigation direction"),
the specified "user input" (e.g., cursor movement) is relative to another
location (e.g., right ofleft of "the first location") (Dykes 137--41, Fig. 4) and
thus, Dykes at least suggests "determining a second location based on the
user specified navigation direction specifying a navigation direction" as
recited in canceled independent claim 21. Otherwise, Dykes would not be
able to produce an image of the newly selected location. See id.



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Additionally, as Requester explains, Dykes teaches a "waypoint symbol"
(e.g., arrow) in the map or image is geo-referenced (see 3PR Comments 14-
15 (citing Dykes 139-140, 142) (reproducing Dykes, Fig. 4)) and thus, for
each user selection on a map (or image) associated with an arrow, Dykes at
least suggests determining its location (e.g., GPS coordinates) based on the
user selection (see id. at 14-16 (further citing Dykes 144)).
      Accordingly, we are not persuaded that Dykes does not teach or
suggest the Navigational Direction Limitations found in claim 33 or
similarly recited in claims 17 and 67.

      b. Reason with rational underpinning for combining Yee and Dykes
      Patent Owner asserts the June 2021 Decision does not articulate
clearly how Dykes modifies Yee to arrive at the emphasized limitations of
claim 21- "a second user input specifying a navigation direction relative to
the first location" and "determining a second location based on the user
specified navigation direction." Req. Reh'g 18; see id. at 17-18. More
specifically, "it is unclear how the 'micro-, meso- and m[ a]cro-scale
information' of Dykes would be inserted into the visual interface of Yee."
Id. at 19. 8 Patent Owner also contends that if the teachings of Yee and
Dykes were combined, the symbols corresponding to a particular location in
the panoramic images "may be miles apart, thereby preventing these
symbols or arrows of Dykes from being used for navigation through a
geographic area." Id. at 19 (quoting Dec. 23-24). Patent Owner further


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  We note that the Decision incorrectly quoted Dykes. Dec. 23. Dykes
states "[s]uch imagery is an excellent source of current micro-, meso- and
macro-scale information (Fig. l)." Dykes 132.

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states that ( 1) collecting additional panoramic images using Dykes' s
technique "would be highly burdensome" (id. at 19) because this process
would involve manually capturing images using a camera and tripod at each
location (see id. at 19-20) and (2) placing arrows or symbols in Yee's views
"would cause the visual interface of this combination to be unusable" (id. at
20; see id. at 20-21 (citing Yee 388-90, 392; Dykes, Fig. 4)).
      Requester disagrees. 3PR Comments 17-18.
      As noted by Requester (3PR Comments 18), Dykes's specific manner
of including micro, meso or macro-scale information does not need to be
incorporated in Yee' s visual interface to render the claims obvious. See In
re Mouttet, 686 F.3d 1322, 1332 (Fed. Cir. 2012) ("It is well-established that
a determination of obviousness based on teachings from multiple references
does not require an actual, physical substitution of elements."). Also, as
further indicated in Figure 1 (Dykes 133), a panoramic image provides the
"macro-scale topography, meso-scale features and micro-scale geology"
(id.) and thus, the combination suggests to an ordinarily skilled artisan to
include panoramic imagery into Yee' s system (see Dec. 23-25) to assist
with these goals.
      Additionally, even assuming, without deciding, the "provided 'an
excellent source of current micro-, meso- and m[a]cro-scale information"'
(Dec. 23) rationale is unclear as argued (see Req. Reh' g 18), the June 2021
Decision provides several other reasons for combining Yee and Dyke, each
of which has a rational underpinning to support an obviousness conclusion.
See Dec. 23 (providing "educational aims" (citing Dykes 134)), 24 (being
"useful ... when evaluating sites, building, and characteristics of the



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neighbourhood surrounding them" (citing Dykes 134)), 24 ("to help with
orientation," and "improved Yee's visual interface by permitting the user to
navigate within the virtual space and between recognized features") (citing
Dykes 137, 139--41, Figs. 4, 6); see also id. at 28-29 (citing Dykes 137,
139-41, 146; RAN 11, 17; Request 122; 3PR Resp. Br. 13-14); 3PR
Comments 17 ("a person of ordinary skill in the art would be motivated to
combine the teachings put forward by Yee and Dykes to provide arrows in
Yee's visual interface system (VIS) to help user orientation and create 'a
real sense of spatiality and immersion that are the essence of virtual
environments"') (citing Dykes 139); June 2015 Decision 19 (vacated)
(stating "Dykes teaches a known technique for navigating and visualizing
images of a geographic area, and one skilled in the art would have
recognized that Dykes' teaching would improve on Yee's system in the
same manner"). Notably, these rationales are not disputed by Patent Owner.
See Req. Reh'g 17-21.
      Other arguments in the Request for Rehearing amount to counsel's
arguments, which cannot take the place of factually supported objective
evidence. See, e.g., In re Huang, 100 F.3d 135, 139--40 (Fed. Cir. 1996).
For example, Patent Owner's assertion that Dykes's arrows or symbols are
"miles apart" is speculative. See Req. Reh' g 19 (stating "these locations
may be miles apart, thereby preventing these symbols or arrows of Dykes
from being used for navigation through a geographic area" without citing to
supporting evidence). Also, contrary to Patent Owner's assertions, at least
some of the arrows or symbols shown in the panoramic images in Dykes' s




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Figure 4 shown below (VFCpanoraMap:htd-018 and
VFCpanoraMap:mark58) provide evidence that the arrows are not miles.
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       Part ofDykes's Figure 4 showing VFCpanoraMap:htd-018 and
                               VFCpanoraMap:mark58
See Dykes, Fig. 4.
      As another example, Patent Owner asserts that the combination of
Yee and Dykes would result in ( 1) an "enormous number of views captured
by Yee" (Req. Reh'g 20), (2) arrows placed "in the views of Yee to indicate
the locations of other views available in the database of Yee" (id.), and (3)
"the symbols to cover the views with an enormous number of overlapping
downward pointing arrows, making it difficult to distinguish one arrow from
another and making it difficult for a user to predict or to control what new


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view would opened when clicking on a particular arrow." But, these
arguments too are speculative and presume that each image in Yee/Dykes
combination would include arrows for every other view and object Yee
captures and stores in its database. See id. at 20-21 (discussing Yee captures
30 frames per second while driving at 40-50 miles per hour) (citing Yee
390, 392). Moreover, Dykes's Figure 4 above illustrates that arrows are
placed in desired locations, do not contain "an enormous number of
overlapping" arrows as asserted (id. at 21 ), and thus, an ordinarily skilled
artisan would have recognized including the arrows within Yee's system
would have at least been an obvious variation given the references'
collective teachings.
      As for the remaining arguments, they are similar to arguments
previously presented in this and related proceedings. For example, the
argument that Yee and Dykes, when combined, would result in symbols
being "miles apart" and would prevent the symbols or arrows of Dykes from
being used to navigate through a geographic area (id. at 19 (quoting Dec.
23-24)) does not rebut sufficiently the obviousness rejection of the claims,
which, as indicated above, do not limit the distance between locations
specified by a user. As another example, related to Dykes's technique being
allegedly burdensome because the Dykes' s technique involves manually
capturing images using a camera and tripod (see id. 19-20), this argument is
misplaced because it presumes that Yee' s image gathering approach is
modified with Dykes's image acquisition technique. See id. As previously
explained, this argument improperly "focus[es] on modifying Yee's image
gathering approach with Dykes' image acquisition technique, which is not



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how the rejection combines the teachings of Dykes and Yee." Dec. 31
(citing RAN 70; 3PR Resp. 16); see also Dec. 27 ("indicating that the
rejection does not propose replacing Yee's image acquisition process with
that of Dykes") (citing 3PR Resp. Br. 16).
      For the reasons discussed above, we are not persuaded that the
rejection fails to provide a reason with a rational underpinning to combine
Yee and Dykes to arrive at the claims at issue, such that the Board
misapprehended or overlooked a point in the newly presented ground.
                       2. Claims 6, 18, 34, 35, and 68
      a. "[A] composite image"
      Patent Owner argues that Yee alone or Yee and Dykes in combination
do not disclose "a composite image" in claims 6, 18, 34, 35, and 68. Req.
Reh' g 21-24. Patent Owner specifically argues that "Yee does not clearly
disclose 'composite images' in accordance with the proper construction ...
under the Phillips standard." Id. at 22-23. 9 We disagree.
      As stated in the June 2021 Decision,
      Yee addresses collected data made available with its product.
      Yee 3 89. The data includes provided various views, including
      "curbside view, front and back," "street view, front and back,"
      "real estate view left and right," "real estate and addresss [sic]
      zoom, 4-view," and "composites of them." Id. Yee explicitly
      discloses "composites" (id.; see RAN 71) and "them" refers
      back to the other discussed views, including a front and back

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  As addressed in Section I.A, we determined that the phrase "composite
image" consistent with the '025 patent and its plain and ordinary meaning is
"a single image created by combining different image data or by uniting
image data" and that "a single image" does not have to be a new image that
depicts a single new view from a single location that is different from any of
the views.

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       curbside view, a front and back street view, and a left and right
       real estate view. Thus, Yee teaches creating "composites" of
       these various views.

Dec. 35; see also 3PR Comments 4 (stating "Yee explicitly used the term
'composite' in its disclosure."); id. at 4-5 (quoting Yee 389).
       Regarding the GeoSpan Brochure 10 (Req. Reh' g 23-24), Patent
Owner asserts its "composite view" and thus, Yee's "composite of them"
(Yee 389) would "show[] four images," not "a single image." Req. Reh'g
24; see id. at 23 (reproducing the image in the GeoSpan Brochure on
GEO_0000173). We are not persuaded. Although "Geo Vista" and
"Geo Span" are discussed in Yee (see, e.g., Yee 3 88, 392), there is
insufficient evidence that the "4-way" view in the GeoSpan Brochure
demonstrates the only possible 4-view that Yee creates. Also, the
reproduced image in the Request for Rehearing (Req. Reh'g 23) is described
as a "4-way Composite View" (id. (emphasis added)), whereas Yee
describes the "4-view" as a separate view from the "composite of them" and
other views. Yee 389; see also Dec. 36 (stating "the [language] 'composites
of them' is separate from the '4-view' in Yee") (citing Yee 389).
       Also, regardless of whether Lachinski provides insight into "what was
meant by 'composite of them' in Yee" (Req. Reh'g 23), we find that
Lachinski provides insight as to what Yee's "4-view" may be. The June
2021 Decision indicates "Lachinski is a patent issued to GeoSpan

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   DRIVE AROUND TOWN ON YOUR PC WITH GEOVISTA, VISUAL
GEOGRAPHIC INFORMATION, GEO 0000172-177 (Exhibit A) ("the GeoSpan
Brochure"). Patent Owner assert this reference was included in its January
8, 2013 Reply "as Appxl332." Req. Reh'g 23.


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Corporation on May 27, 1997. 'GeoSpan' and a '4-view' are discussed in
Yee." 11 Dec. 37 n.21 (citing Yee 388-89). We further noted the similarities
between Yee and Lachinski. See id. at 38 (citing Yee 392; Lachinski 5:25-
31, Fig. 3). Thus, as stated in the June 2021 Decision:
      Yee teaches and suggests that data from the four images, which
      includes its pixel data, are used to create the single image
      frame with reduced-sized images. This 'four views in a frame'
      in Yee (Yee 392) or the 'single video image' with four-views,
      each one-fourth of its original size that form 'reduced images,'
      as explained in Lachinski (Lachinski 5 :25-31 ), is a single
       image frame that is made up of different parts or images (e.g.,
      image data from multiple views) and unites pixel data from
      each of the different view image frames (e.g., processes image
      data from image frames at the level of pixel data) into a single
      image.

Dec. 38 (emphases added); see also Req. Reh'g 5 (stating "[a]nother
example of a 4-view of Yee, as further explained in Lachinski,[J includes a
single image made out of four reduced size images") (omitting footnote)
(citing Yee 392; Lachinski 5:25-31, Fig. 3).
       Lastly, Patent Owner's arguments (Req. Reh'g 22-24) overlook the
Decision's further discussion of Dykes's teachings in this regard. The June
2021 Decision additionally states:
       Dykes teaches and suggests creating images that "are each a
       composite image" because of the reasons similar to those
       previously discussed when addressing claim 33. That is, Dykes

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   "Lachinski was introduced in Requester's February 6, 2013 Comments 23
'to explain Yee' s teachings and to rebut Patent Owner's mischaracterization
of Yee, which was permitted under§ l.948(a)(2). 3PR Resp. Br. 9." Dec.
37 n.21.


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      teaches creating panoramas, which are single images created by
      combining and uniting different image data (e.g., the nine
      images in the upper left in Figure 2) through a stitching
      technique. See Dykes 134-36, Fig. 2. Dykes thus illustrates
      how images taken at different points can be stitched together to
      yield a single, composite image. See RAN 25 (citing Dykes
      134-35, Fig. 2); see also 3PR Resp. Br. 18 (citing Dyke 135).
      Moreover, "Patent Owner admits that the panoramas in Dykes
      are composite images." PO Appeal Br. 19 (stating "Patent
      Owner admits that the panoramas of Dykes are composite
      images"). We refer to the previous discussion for more details
      related to Dykes's teachings for creating panoramas, for a
      motivation to combine this teaching with Yee, and for Patent
      Owner's arguments in this regard (PO Appeal Br. 23-24). The
      rejection therefore relies on both Yee and Dykes' s teachings
      collectively to arrive at the claimed "composite image" of
      claims 6, 18, 34, 35, and 68. See 3PR Resp. Br. 19 (noting
      Patent Owner attacks Yee and Dykes individually).

Dec. 39 (emphasis added); see also id. at 25 (discussing combining Dykes
stitching feature with Yee).
      Accordingly, we are not persuaded that the rejection fails to
demonstrate that Yee and Dykes teach or suggest a "composite image" as
recited in claims 6, 18, 34, 35, and 68, such that the Board misapprehended
or overlooked any point in the newly presented ground.

      b. Reason with rational underpinning for combining Yee and Dykes
      Patent Owner "submits that it is unclear why one of skill in the art
would have combined the cited Yee and Dykes ... to arrive at 'composite
image' as properly construed under the Phillips standard." Req. Reh'g 24;
see id. at 24-26 (quoting Dec. 40; Dykes 135) (reproducing Dykes, Fig. 2).
Patent Owner argues that Dykes requires that there be a "small overlap"


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between images, Yee does not disclose the "small overlap" feature allegedly
required by Dykes, and it is thus not clear how Yee would be suitable for
Dykes' s stitching feature. Id. at 26.
      We are not persuaded. As the Court states, "when a patent claims a
structure already known in the prior art that is altered by the mere
substitution of one element for another known in the field, the combination
must do more than yield a predictable result." KSR Int'l Co. v. Teleflex Inc.,
550 U.S. 398, 417 (2007). As proposed (see Dec. 25, 39), combining Yee
and Dykes to arrive at a "composite image" (e.g., a panoramic image) is no
more than the simple substitution of one known element (e.g., Yee's
"composites of them" (Yee 389)) for another (e.g., Dykes's composite image
arrived at by stitching images together (Dykes 134-36, Fig. 2)) or "the mere
application of a known technique to a piece of prior art ready for the
improvement." KSR, 550 U.S. at 417.
      Moreover, Patent Owner does not demonstrate adequately that the
proposed combination would not yield the predictable result of a "composite
image" as claims 6, 18, 34, 35, and 68 recite. See Req. Reh' g 24-26. As
Requester indicates (see 3PR Comments 6-7), Yee captures many images,
which would encompass the coverage needed to create Dykes's panoramic
images. See id. at 7 (citing Yee 391) (noting Yee teaches 10 cameras
capturing 63-degree horizontal, angled views). We further agree with
Requester that Yee teaches or at least suggests to an ordinarily skilled artisan
that some of its images would contain the needed overlap discussed in
Dykes's stitching techniques (see Dykes 135) as evidenced by (1) the front,
back, left, right, curbside, street, real estate, and address views (see Yee 3 89,



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391 ), and (2) collecting data "looking globally" and "comprehensively" to
"ensure[] no object is lost behind an obstruction" (id. at 390).
      For the reasons discussed above, we are not persuaded that the
rejection fails to provide a reason with a rational underpinning to combine
Yee and Dykes and arrive at the claims at issue, such that the Board
misapprehended or overlooked a point in the newly presented ground.
                             3. Remaining claims
      Other than referencing the previous arguments made for canceled
independent claims 1, 13, 21, 43, and 55, Patent Owner does not separately
argue claims 2-5, 8-10, 14-16, 20, 24, 26, 29, 36-38, 41, 42, 44--48, 51-54,
56-60, 63-66, and 70-72. Req. Reh'g 26-27. We are not persuaded for the
reasons previously discussed.
      Conclusion
      For the foregoing reasons, Patent Owner has not identified a point that
the panel misapprehended or overlooked in entering the new ground of
claims 2-6, 8-10, 14-18, 20, 24, 26, 29, 33-38, 41, 42, 44--48, 51-54, 56-
60, 63-68, and 70-72 under 35 U.S.C. § 103(a) based on Yee and Dykes.
      B. Ishida/Dykes/Yee
      Claims 28, 29, 51, and 63 are rejected under 35 U.S.C. § 103(a) based
on Ishida, Dykes, and Yee. Decision 47-57. Regarding the combination of
Ishida, Dykes, and Yee, Patent Owner argues: ( 1) Ishida does not teach the
Web Page Limitations in claim 28 because Ishida does not disclose
displaying information as a web page (Req. Reh' g 27-30) and (2) the
Decision does not clearly articulate how the teachings of Ishida, Dykes, and
Yee would be combined to arrive at claims 29, 51, and 63 (id. at 30-33).



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       1. The Web Page Limitations in Claim 28
       Patent Owner argues that Ishida does not disclose invoking a display
of a web page for the retail establishment under its proposed construction
because it only discusses displaying information collected from web pages.
Req. Reh'g 28-29 (citing Dec. 50-51; Ishida 24, 28-29). Patent Owner
further argues Ishida does not use a web browser to display the web page.
Id. at 30 (citing Ishida 32-33).
       As to the latter argument, we are not persuaded. Based on our
construction in Section LB, claim 28 does not require using a web browser
to "invok[ e] ... a display of the web page on the display screen" as claim 28
recites.
       Regarding whether Ishida discloses "invoking ... a display of the web
page [for the retail establishment] on the display screen" as claim 28 recites,
we also are not persuaded by Patent Owner's arguments. To be sure, Ishida
does not use the term "web page" explicitly when discussing its digital city.
However, Ishida discusses "a 3DML WEB plug-in" (Ishida 27), "any site on
the WEB" (id.), and "a WEB and ftp interface" (Ishida 28) when addressing
"a human interface to Digital City Kyoto that combines 2D maps with
several 3DML spots." Id. at 27; see also Dec. 50 (stating Ishida's social
information infrastructure "integrates both World Wide Web archives and
real-time information related to the city into WEB and ftp interface (e.g., the
interface or second layer) on the Internet") (emphasis added) (citing Ishida
23-25, 28, Fig. l; 3PR July 2015 Reh'g Request 8-9 (discussing Ishida's
three-layer model)), 50-51 (stating "each of these web pages in Ishida (e.g.,
WEB and ftp interface) .... "), 53 (stating "Ishida's WEB interface



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generates a digital city (e.g., a web page)"). Additionally, Ishida describes
its digital city as "the Digital City Kyoto site . ... " Ishida 31 (emphasis
added).
      These portions of Ishida suggest to an ordinarily skilled artisan that its
digital city and web interface displayed on a user's screen is a web page.
Alternatively, these portions in Ishida at least suggest to an ordinarily skilled
artisan that using a web page to display the information in Ishida's interface
would have been an obvious variant in light of the similar functionality of
displaying web information. See KSR, 550 U.S. at 417 ("When a work is
available in one field of endeavor, design incentives and other market forces
can prompt variations of it, either in the same field or a different one. If a
person of ordinary skill can implement a predictable variation, § 103 likely
bars its patentability."). Also, a person of ordinary of skill would have had
good reasons to pursue displaying Ishida's interface as a web page because
this technique was known as evidenced by Ishida. See Ishida 31 (discussing
"the WEB environment" and "bring[ing] up web pages").          As such, Ishida
at least suggests the recited "invoking ... a display of the web page on the
display screen" as claim 28 recites.
      Patent Owner fails to address these passages in Ishida in the Request
for Rehearing. Rather, Patent Owner only quotes portions of the June 2021
Decision discussing that Ishida collects data from various web pages. See
Req. Reh'g 28-29. Moreover, Requester provides another example where a
tour guide agent can bring up web pages. 3PR Comments 9-10 (citing




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Ishida 9 12) (reproducing Ishida, Fig. 6). Given that Figure 6 shows the city
project includes a web browser to present the information on the display
screen, Ishida at least suggests that Ishida' s digital city "invok[ es] ... a
display of the web pages on the display screen" as claim 28 recites.
       Accordingly, we are not persuaded that the rejection fails to
demonstrate that Ishida, Dykes, and Yee teach or suggest "invoking ... a
display of the web page on the display screen" as recited in claim 28, such
that the Board misapprehended or overlooked a point in the newly presented
ground based on Ishida, Dykes, and Yee.
       2. Reason with rational underpinning related to claims 29, 51, and 63
       Claim 29 ultimately depends from independent claim 21 and recites
"invoking by the computer system a display of an icon in association with
the particular one of the objects, wherein the user selection is actuation of
the icon." The '025 patent 18:49-52. Claims 51 and 63 ultimately depends
from independent claims 43 and 55 and recite similar recitations to claim 29.
Id. at 20:41--45, 22:1-5. We select claim 29 as representative. See 37
C.F.R. § 41.37(c)(l)(iv).
       Patent Owner "submits that it is unclear from the Decision how one
skilled in the art would combine the teachings of Ishida, Dykes, and Yee to
arrive at the claimed embodiment[] of claim 29." Req. Reh'g 31; see id. at
31-3 3. Patent Owner argues that the June 2021 Decision "appears to


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  Requester refers to the pages in Ishida differently in its appeal brief and
the Request. Compare 3PR Appeal Br. 15 (citing Ishida 3, 7), with Request
156-57 (quoting Ishida 25-27). We use similar page numbering to the
Request. For example, in the above citation, page 3 cited in the Requester's
Appeal Brief is page 25.

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equate" Ishida' s "moving objects" with the recited "icon" (id. at 31 (citing
Dec. 57)), but the claims
       state that the icon is displayed 'in association with the particular
       one of the objects' where the antecedent basis for 'the particular
       one of the objects' is 'a particular one of the objects depicted in
       the first image' (emphasis added), as recited in claims 27, 49,
       and 61, respectively, for claims 29, 51, and 63.

Id. at 31-32. Patent Owner further argues that images captured by Yee
would be static, would not include animations of moving objects, and would
not represent real activities in a physical city. Id. at 32 (citing Ishida 25).
Patent Owner even further argues that "there is no apparent reason why one
of skill in the art would combine the teachings of Ishida, Dykes, and Yee to
arrive at the claimed embodiment[]" of claim 29. Id. at 32-33.
      We are not persuaded. First, the new ground of rejection for claim 29
"adopt[ ed] Requester's findings and conclusions how Ishida, Dykes, and
Yee teach or suggest the recitations in these claims." Dec. 56 (citing 3PR
Appeal Br. 18 (further citing Dykes 139), 20 (further citing "Section VIII.BJ
of the August Comments"; Request 154-156; Lachinski 2:47-50, 3:32-37,
9:42--46, 12:52-65, 13:56-63, 16:40-50), 28 (referring to claim 29, Section
VIII.B.4, and Subsection 7)). As Requester explains (see 3PR Comments
11), this adopted ground of rejection discusses Dykes's teaching related to
hot-linked symbols within a panorama to teach the recited "display of an
icon in association with the particular one of the objects" and clicking the
symbols to teach the recited "user selection is actuation of the icon" as claim
29 recites. See 3PR Comments 11-12 (quoting Dykes 139); see also 3PR
Appeal Br. 18 (citing Dykes 139) (discussing Dykes's "hot-linked symbols



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within a panorama"). The ground further refers to the Request (3PR Appeal
Br. 20), which provides a reason with a rational underpinning for combining
Dykes with Ishida. See Request 155-56 (stating "a person of ordinary skill
in the art would be motivated to combine the teachings put forward by Ishida
and Dykes to provide a system for creating a navigable digital city by
providing 2-dimensional (2D) and 3-dimensional (3D) views of a larger city
by providing navigation images collected using Dykes' teachings."). The
above reason containing a rational underpinning has not been disputed by
Patent Owner for teaching claim's 29 limitations. See Req. Reh'g 31-33.
      Second, the ground of rejection additionally cites to Ishida's teaching
related to animation. See Dec. 57 (stating "[a] lso, Ishida teaches including
moving objects, such as cars, buses, and trains (e.g., 'display of an icon in
association with the particular one of the objects' depicted in an image),
within its interface layer having 2D maps and 3D virtual spaces and that
these objects can be clicked to communicate with it (e.g., 'the user selection
is actuation of the icon'). Ishida 25.") (emphasis added). Although the
objects captured in Yee's images (see Yee 389) may be static, we fail to see
why Ishida's teachings related to representing objects (e.g., buses) as
moving objects cannot be included with the images captured by Yee that
include various objects and data. See Yee 389. As one example, the
"animation" of "moving objects" in Ishida (Ishida 25) may include a
flashing object within the image. Moreover, the June 2021 Decision
provides a reason with a rational underpinning for the proposed
combination, including to allow users to communicate with the objects (see
Dec. 51) and further to demonstrate dynamic activities in a virtual city. See



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Ishida 25.
      For the reasons discussed above, we are not persuaded that the ground
of rejection fails to provide a reason with a rational underpinning to combine
Ishida, Dykes, and Yee to arrive at the claims at issue, such that the earlier
panel misapprehended or overlooked a point in the newly presented ground.
      Conclusion
      For the foregoing reasons, Patent Owner has not identified a point that
the Board misapprehended or overlooked in entering the new ground under
35 U.S.C. § 103(a) based on Ishida, Dykes, and Yee for claims 28, 29, 51,
and 63.


                                CONCLUSION
      We have granted the Request for Rehearing to the extent that we have
reconsidered the Decision in light of Patent Owner's Request for Rehearing,
but have denied the Request for Rehearing in all other respects.
Outcome of Decision on Rehearing:



 2-6, 8-10       103(a)       Yee, Dykes            2-6, 8-10
 14-18, 20,                                         14-18, 20,
 24, 26, 28,                                        24, 26, 29,
 33-38, 41,                                         33-38, 41,
 42, 44--48,                                        42, 44--48,
 51-54,                                             51-54,
 56-60,                                             56-60,
 63-68,                                             63-68,
 70-72                                              70-72
 28, 29, 51,     103(a)       Ishida, Dykes, Yee    28, 29, 51,
 63                                                 63


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                                                24, 26,
                                                28, 29,
                                                33-38,
                                                41, 42,
                                                44--48,
                                                51-54,
                                                56-60,
                                                63-68,
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Final Outcome of Appeal after Rehearing:




 24, 26,                                             24, 26,
 28, 29,                                             28, 29,
 37, 38,                                             37, 38,
 41, 42,                                             41, 42,
 44--48,                                             44--48,
 51-54,                                              51-54,63
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 2-6, 8-10 103(a)    Yee, Dykes                      2-6, 8-     2-6, 8-
 14-18,                                              10, 14-     10, 14-
 20,                                                 18, 20,     18, 20,
 33-36,                                              33-36,      24, 26,
 56-60,                                              56-60,      29,
 64-68,                                              64-68,      33-38,
 70-72                                               70-72       41, 42,
                                                                 44--48,
                                                                 51-54,
                                                                 56-60,

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  These claims previously were confirmed or found patentable by the
Examiner. See Dec. 58-59.

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                                                                   63-68,
                                                                   70-72
28, 29,     103(a)   Ishida, Dykes, Yee                            28, 29,
51,63                                                              51,63
Overall                                                2-6, 8-     2-6, 8-
Outcome                                                10, 14-     10, 14-
                                                       18, 20,     18, 20,
                                                       24, 26,     24, 26,
                                                       28, 29,     28, 29,
                                                       33-38,      33-38,
                                                       41, 42,     41, 42,
                                                       44--48,     44--48,
                                                       51-54,      51-54,
                                                       56-60,      56-60,
                                                       63-68,      63-68,
                                                       70-72       70-72

      Requests for extensions of time in this inter partes reexamination
proceeding are governed by 37 C.F.R. § 1.956. See Manual of Patent Examining
Procedure (MPEP) § 2665; see also 37 C.F.R. § 41.79.


                                 DENIED


PATENT OWNER:

Lewis, Roca, Rothgerber, Christie LLP
P. 0. Box. 29001
Glendale, CA 91209-9001

THIRD PARTY:

O'Meleveny & Myers LLP
IP & T Calendar Department
400 South Hope Street
Los Angeles, CA 90071-2899



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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       95/000,682              08/17/2012                 7,239,760 B2                13557-105153.R4                        8518

       23363            7590            12/16/2021
                                                                                                           EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                     CRAVER, CHARLES R
       P0B0X29001
       Glendale, CA 91209-9001
                                                                                          ART UNIT                      PAPER NUMBER

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Please find below and/or attached an Office communication concerning this application or proceeding.

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PTOL-90A (Rev. 04/07)




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       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           GOOGLE INC.
                            Requester,

                                  V.

                       Patent of VEDERI, LLC.
                            Patent Owner.


                        Appeal 2016-006116
                   Reexamination Control 95/000,682
                         Patent 7,239,760 B2
                       Technology Center 3900



Before JOHN A. JEFFERY, DENISE M. POTHIER, and ERIC B. CHEN,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.




             DECISION ON REQUEST FOR REHEARING




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Appeal 2016-006116
Reexamination Control 95/000,682
Patent 7,239,760 B2

                       STATEMENT OF THE CASE
      This proceeding involves U.S. Patent No. 7,239,760 B2 ("the '760
patent"), which expired on January 11, 2021. Dec. 2. 1 This proceeding is
also related to Reexamination Control Nos. 95/000,681, 95/000,683,
95/000,684, involving U.S. Patent Nos. 7,805,025 B2, 7,577,316 B2, and
7,813,596 B2 respectively, all of which have also expired.
      This proceeding returns to the Board on remand from the Court of
Appeals for the Federal Circuit, which vacated previous the Board decisions
in this proceeding mailed June 26, 2015, July 16, 2015, and September 27,
2016. Vederi, LLCv. GoogleLLC, 813 F. App'x499, 501 (Fed. Cir. 2020);
see also Dec. 1-2. On remand, another panel2 rendered a Decision on
Appeal on June 1, 2021 ("the June 2021 Decision"), (l)(a) affirming the
Examiner's determination not to adopt the proposed rejection of claim 8
under 35 U.S.C. § 102(a) based on Al-Kodmany but (b) reversing the
confirmation orpatentability of claims 2, 3, 8, 12-18, 21-26, 29, and 32-37
on other grounds, and (2) entering new grounds of rejection under 37 C.F.R.
§ 41.77(b) for (a) claims 2, 3, 12-18, 21-26, 29, and 32-37 under 35 U.S.C.

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  Throughout this Opinion, we refer to: (1) the Request for Inter Partes
Reexamination ("Request") filed August 17, 2012, (2) the Right of Appeal
Notice ("RAN") mailed September 24, 2013, (3) the Examiner's Answer
("Ans.") mailed July 9, 2014, (4) Patent Owner's Request to Reopen
Prosecution Under 37 C.F.R. § 41.77(b)(l) (PO Reopen Request) filed July
27, 2015, (5) the Examiner's Determination (Ex. Deter.) mailed January 8,
2016, (6) the Board's Decision mailed June 1, 2021 ("Dec."), (7) Patent
Owner's Request for Rehearing ("Req. Reh'g") filed July 1, 2021, and (8)
Requester's Comments in Opposition to Patent Owner's Request for
Rehearing ("3PR Comments") filed August 2, 2021.
2
  The panel included Judges Pothier, Chen, and Branch.


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§ 103(a) based on Shiffer3 and Yee 4 and (b) claim 8 under 35 U.S.C.
§ 103(a) based on Shiffer, Yee, and Lachinski. 5 Dec. 4, 14, 30, 33.
      In response to the new grounds, Patent Owner requested rehearing
under on 37 C.F.R. § 41.79 ("Request for Rehearing") on July 1, 2021.
Requester responded with comments pursuant to 37 C.F.R. § 41.79(c) ("3PR
Comments") on August 2, 2021.
      We have reconsidered the June 2021 Decision in light of Patent
Owner's contentions in the Request for Rehearing. Patent Owner sets forth
reasons why the earlier panel allegedly misapprehended or overlooked
points in entering the new grounds of rejection. As discussed below, we
maintain the determinations made in the June 2021 Decision.


                                DISCUSSION
       "The request for rehearing must address any new ground of
rejection and state with particularity the points believed to have been
misapprehended or overlooked in entering the new ground of rejection
and also state all other grounds upon which rehearing is sought." 37
C.F.R. § 41.77(b)(2) (2020); see also 37 C.F.R. § 41.79(b)(l) (2020).
      Patent Owner argues that the June 2021 Decision does not construe
two recitations in the claims of the '760 patent under their ordinary and


3
  Michael J. Shiffer, Augmenting Geographic Information with
Collaborative Multimedia Technologies, 11 Proc. Auto Carto. 367-76
(1993) ("Shiffer").
4
  Frank Yee, GPS & Video Data Collection In Los Angeles County: A Status
Report, Position Location And Navigation Symposium, Proc. IEEE Position
Location and Navigation 388-93 (1994) ("Yee").
5
  U.S. 5,633,946, issued May 27, 1997 ("Lachinski").

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customary meanings. Req. Reh'g 2-5. These recitations include "a second
user input specifying a navigation direction relative to the first location" and
"determining a second location based on the user specified navigation
direction" ("the Navigational Direction Limitations") in canceled
independent claim 1 and similarly found in canceled independent claim 20. 6
See id.; see also Dec. 3 (noting claims 1 and 20 have been canceled).
      Patent Owner also asserts that: ( 1) Shiffer and Yee do not teach the
Navigational Direction Limitations found in claim 1 and similarly found in
claim 20, including Shiffer's navigation images (Req. Reh'g 5-10), (2)
Shiffer' s panning and zooming do not specify a navigation direction relative
to a first location (id. at 10-12), and (3) it is unclear how an artisan would
generate a 360-degree axial view as Shiffer discusses using Yee's captured
images (id. at 12-13). Regarding the combination of Shiffer, Yee, and
Lachinski, Patent Owner further argues: (1) there is no connection between
Figures 2 and 3's features in Shiffer to arrive at claim 8's recitations (id. at
13-15), and (2) the Decision does not identify the portions of Shiffer that
teach the recitations found in claim 8 (id. at 15).
      Requester disagrees. See generally 3PR Comments 1-8. We address
each of Patent Owner's contentions below.




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 As previously explained, independent claims 1 and 20 have been canceled.
Dec. 3. However, each pending claim ultimately depends from one of
claims 1 and 20 and thus includes the limitations found in one of these
claims. See the '760 patent, 15:56-18:65.

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                                   ANALYSIS
                             I. Claim construction
       "[A} second user input specifying a navigation direction relative to
      the first location in the geographic area" and "determining a second
      location based on the user specified navigation direction" in claim 1
      and similarly found in claim 20
      Canceled independent claim 1 recites the Navigational Direction
Limitations. The '760 patent 16:3-7. Canceled independent claim 20
recites commensurate limitations. Id. at 17:48-52. Patent Owner argues
claims 1 and 20 as a group. Req. Reh' g 2-4. We thus select claim 1 as
representative. See 37 C.F.R. § 41.37(c)(l)(iv).
       In the June 2021 Decision, the Board did not provide an explicit
claim construction for the Navigational Direction Limitations. Patent Owner
asserts an ordinarily skilled artisan would have understood that these
recitations recite "a two-step process" "in which a system receives a user
input specifying a direction relative to a first location (e.g., the user input
specifies a direction east of the first location) and then determines a new,
second location based on the specified direction (e.g., eight meters east of
the first location)." Req. Reh'g 4; see id. at 3--4 (quoting the '760 patent
13:24-34) (reproducing the '760 patent, Fig. 16). Requester states that
"Patent Owner's proffered construction mostly repeats the language of the
claim" but "disagrees that Patent Owner's construction is proper, to the
extent it is limited by the purported examples -     'a direction east of the first
location' and 'eight meters east of the first location."' 3PR Comments 3
(citing Req. Reh'g 4).



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      We agree with Requester. First, Patent Owner's proposed
construction essentially repeats what claim 1 recites, including "receiving a
second user input specifying a navigation direction relative to the first
location" (e.g., a system receiving a user input specifying a direction relative
to a first location) and "determining a second location based on the user
specified navigation direction" (e.g., determining a second location based on
the specified direction). Second, the examples for these recited phrases
provided by Patent Owner are just that-particular embodiments (e.g.,
navigation direction being east and the second location to be eight meters
east of the first location) found in the '760 patent's Specification. See, e.g.,
the '760 patent 13:24-34. We will not import these particular embodiments
into claim 1. See Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir.
2005) ("[A ]lthough the specification often describes very specific
embodiments of the invention, [the Federal Circuit] ha[s] repeatedly warned
against confining the claims to those embodiments.").
      We thus disagree that the Board overlooked or misapprehended an
argument that the Navigational Direction Limitations in claim 1 and similar
recitations in claim 20 was construed inconsistent with the '760 patent or its
plain and ordinary meaning as an ordinarily skilled artisan would have
understood it.




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                      II. New grounds based on prior art
      A. Shiffer/Yee
      The June 2021 Decision presented a new ground of rejection for
claims 2, 3, 12-18, 21-26, 29, and 32-37 under 35 U.S.C. § 103(a) based on
Shiffer and Yee. See Dec. 14-26, 33.
      Patent Owner argues canceled independent claims 1 and 20 as a
group. Req. Reh'g 5-10. We thus select claim 1 as representative. See 37
C.F.R. § 41.37(c)(l)(iv).
      Patent Owner argues that Shiffer and Yee do not teach "a first user
input specifying a first location" and the Navigational Direction Limitations
found in claim 1. Req. Reh' g 5-10. Patent Owner first argues selecting "a
'linear symbol"' in Shiffer's Figure 2 does not teach "specifying 'a first
location in the geographic area' as recited in claims 1 and 20." Id. at 8; see
id. at 6-9 (quoting Dec. 16, 18-19; Shiffer 372) (reproducing Shiffer, Fig.
2). In particular, Patent Owner asserts that the linear symbols in the
"Neighborhood" window in Figure 2 ( 1) "extend[] for several city blocks"
(id. at 8), (2) are routes, each "represent[ing] a large number of locations"
(id. at 9 (citing Shiffer 372)), and (3) thus do not disclose "a first user input
specifying a first location in the geographic area" as claim 1 recites. See id.
at 8-9. Requester disagrees. 3PR Comments 3--4 (quoting Shiffer 372-373)
(citing Shiffer 371; June 26, 2015 Dec. 12-13) (reproducing Shiffer, Fig. 2).
      As stated in the June 2021 Decision, the Shiffer' s navigation shots or
images disclose:
      [A ]llow[ing] users to drive or fly through the study area. They
      are designed to aid visual navigation by enabling the user to
      view a geographic area from a moving perspective such as that


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      experienced when traveling through a region. Navigation
      images are represented on the map as linear symbols that
      represent the routes available to the user. They are illustrated as
      large arrows in the lower right window of Figure 2.

Dec. 16 (quoting Shiffer 372); see also 3PR Comments 3--4 (quoting the
same). The June 2021 Decision further notes that Shiffer describes, in the
context of Figure 3 that a user can "select[] appropriate arrows linked to the
map" (Dec. 18 (quoting Shiffer 373, Fig. 3)), and that this teaching at least
suggests for Shiffer's Figure 2, that a user would similarly select an
appropriate arrow in its figure (see id. (citing Shiffer 372-73, Figs. 2-3)).
Shiffer even further explains that the image in the "upper left comer of
Figure 2 represents an oblique navigation image of a selected street."
Shiffer 372 (emphasis added). Thus, although the linear symbols in
Shiffer' s "Neighborhood" image in Figure 2 may extend for several blocks
as argued by Patent Owner, an ordinarily skilled artisan would have
recognized the user selects or specifies a specific location (e.g., a street or a
particular spot along the linear symbols) in Figure 2's map. Furthermore,
the recited term "location" in claims 1 and 20 can encompass a street or
region and is not limited to a particular building or object within the map as
Patent Owner's arguments appear to imply.
      Patent Owner next contends sliding the pointer in Shiffer' s "Aerial
Views" window of Figure 2 toward a controller's end to forward or reverse
direction does not disclose "a navigation direction" in claim 1 under its plain
meaning. Req. Reh'g 9. Specifically, Patent Owner argues the claimed
feature enables specifying directions "without regard to the path along which
the image frames were collected ... and at substantially regular intervals."


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Id. Patent Owner further contends Shiffer' s navigation images are "confined
to particular linear route" (id.) and "the forward and reverse directions of
Shiffer may refer to different physical directions for different navigation
images ... , thereby increasing confusion for a user" (id. at 9-10). Patent
Owner even further asserts "[t]his arrangement of the user interface of
Shiffer does not allow [a] user to specify a navigation direction based on a
current location, such as specifying a direction that is different from the
route along which the images were captured." Id. at 10. Requester
disagrees. 3PR Comments 2-4 (quoting Shiffer 372-373) (citing Shiffer
371; June 26, 2015 Dec. 12-13) (reproducing Shiffer, Fig. 2).
      As discussed in Section I above, the plain meaning of the phrase
"specifying a navigation direction relative to the first location in the
geographic area" does not include a recitation that the navigation direction
may be specified "at substantially regular intervals" (Req. Reh' g 9) or
specified regardless of the path which the image frames were captured or
collected (see id. at 10) as argued. Nor does the plain meaning of
"specifying a navigation direction relative to the first location" include
particular embodiments (e.g., navigation direction being east and the second
location to be eight meters east of the first location) found in the '7 60 patent.
See 3PR Comments 3 (stating "the claim language or the specification" does
not "support ... limiting these claim terms to any particular cardinal
directions or particular distances between the two locations").
      Given our claim construction, we fail to see how Shiffer' s controller,
which permits forward and reverse direction within an "Aerial Views"
window (see Dec. 17 (quoting Shiffer 372-73) (reproducing Shiffer, Fig. 2



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with an "Aerial Views" window in the upper left)), would somehow
"increase[ e] confusion for a user" as Patent Owner contends. Req. Reh' g
1O; see id. at 9-10. As an example, the Board explained Shiffer:
      teaches or suggests controlling the direction of movement or
      flight through a geographic area (e.g., the geographic area
      identified by the large arrows in the "Neighborhood" window in
      Figure 2) from one location (e.g., the originally selected
      location) to another location by sliding the controller's pointer
      in a forward or reverse direction.

Dec. 19. As another example, the Board stated:
      A user can select a first location by sliding the controller's
      pointer in forward direction in Shiffer's Figure 2 (e.g.,
      "receiving a first user input specifying a first location in the
      geographic area") and then, the user can specify a navigation
      direction (e.g., forward) relative to this first location by further
      sliding the controller's pointer in the forward direction in
      Shiffer' s Figure 2 to control the flight direction through a
      reg10n.

Id. (citing Shiffer 372-73, Fig. 2; Ex. Deter. 11-12).
      Patent Owner further argues that Shiffer' s panning and zooming
feature of Shiffer's "360 degree axial view" relative to Figure 3 does not
specify a navigational direction relative to a first location and determine a
second location based on the user specified navigation direction. Req. Reh'g
10-12 (quoting Dec. 23; id. at 23 n.13 (defining "zoom")). Patent Owner
argues that an ordinary skilled artisan would have understood that zooming
does not perform "an operation other than magnifying the appearance of a
subject of the image" consistent with the definition provided in the June
2021 Decision (id. at 11 (discussing a smartphone camera)) and "merely
continues to represent the same direction as that prior to performing the


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zoom operation" (id. at 12). Patent Owner further argues that Shiffer's
panning feature "merely causes the view of the image to shift, such as by
rotating or pivoting a camera left or right." Id. (citing Shifter 372).
      Before addressing these arguments, we note that even if panning or
zooming features are not found to teach the Navigational Direction
Limitations, the above-discussed features found in Shiffer' s Figure 2 (e.g.,
manipulating the controller and its pointer as described above) teach or
suggest the recited features as previously discussed. See Dec. 24 ("In the
event that selecting to zoom or pan an image as taught by Shiffer is not
considered 'receiving second user input specifying a navigation direction
relative to the first location' as canceled claims 1 and 20 recite (for which
we disagree), Shiffer' s Figure 2 and its discussed features as previously
explained teach and suggest the Navigation Direction Limitation."); see also
3PR Comments 5 (stating "even if selecting to zoom or pan an image as
Shiffer teaches is not 'receiving second user input specifying a navigation
direction relative to the first location,' the 'navigation images' and flight
control features in Shiffer's Figure 2 discloses the claim limitations at issue
as discussed above") (citing Dec. 24).
      Turning to the zooming feature in Shiffer, we disagree with Patent
Owner's assertions. First, the argument related to zooming merely
magnifies a portion of the image without changing location was not
overlooked in the June 2021 Decision. See Dec. 23 ("Patent Owner
contends one skilled in the art would not 'equate' Shiffer' s zooming and
panning feature to 'specifying a navigation direction' because the zooming
feature 'merely magnifies that portion of the image without changing



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locations' and 'does not move the viewer any closer to the landmark."')
(citing PO Reopen Request 27).
       Second, the June 2021 Decision provided at least one definition of
"zoom" to include "simulating movement away from or towards a location"
(Dec. 23; see id. at 23 n.13) and thus, "an artisan of ordinary skill would have
understood Shiffer's zooming feature would specify a 'navigation direction'
relative to the original location (e.g., moves towards another location within
the area as well as away from the original location)." Id. Although Patent
Owner asserts an ordinary artisan would have understood zooming to merely
magnify, it does not provide any further evidence to support this
understanding. See, e.g., Req. Reh'g 11 (quoting the same definition as the
June 2021 Decision). To be sure, the definition provided in the June 2021
Decision includes "simulating" movement. But, the simulation still
determines a second location based on the user specified navigation
direction (e.g., movement towards an object from one spot to another).
Whether or not a zoom feature actually requires the camera operator to move
physically closer to a subject (see id.), has "limitations" (id.), or fails to
"change the viewing direction ... to specify a different navigation direction"
(id. at 12 (emphasis added)) as argued is not commensurate in scope with
claim l's "a second user input specifying a navigation direction relative to
the first location."
       As to the panning feature in Shiffer, we also disagree with Patent
Owner. In the June 2021 Decision, the Board noted that dependent claim 14
of the '760 patent includes "the navigation button," which "indicates
direction of motion" (the '760 patent 17:1-2), and claim 15, which depends



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from claim 14, further recites "the direction of motion includes one of
panning left or right" and "rotating left or right" (id. at 17:4-6). See Dec.
23-24 (noting the same). The Board further found "consistent with the
Specification of the '760 patent, Shiffer's panning feature suggests a
navigation and moving direction or can 'specify[] a navigation direction' as
recited" in claim 1. Id. at 24; see id. at 23-24 (citing Shiffer 373, Fig. 3).
      Patent Owner contends "panning an image merely causes the view of
the image to shift, such as by rotating or pivoting a camera left or right."
See Req. Reh'g 12-13 (citing Shiffer 372). But, this contention does not
address or rebut the Board's finding related to dependent claims 14 and 15
of the '760 patent, which include a rotating left or right as a moving
direction of a navigation button. See 3PR Comments 5 (discussing claims
14 and 15 of the '760 patent). In any event, consistent with the definition of
"pan" provided by Patent Owner, 7 Shiffer' s teaching that a user "can
navigate around a specific rendering by ... panning with on-screen controls"
(Shiffer 373, Fig. 3) (e.g., pivot or move either to the left or right along a
horizontal plane) "specif[ ies] a navigation direction relative to a first
location" (e.g., right or left on the horizontal plane relative to the previous
location).
      Lastly, Patent Owner "submits that it is unclear how one of skill in the
art would generate 360 degree axial views as described in Shiffer using
images captured in accordance with Yee." Req. Reh'g 12. Patent Owner


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  Req. Reh' g 12 n. l (defining Pan, The American Heritage® Dictionary,
available at https://www.ahdictionary.com/word/search.html?q=pan (def. 3)
("v.intr. To pivot a movie camera along a horizontal plane in order to follow an
object or create a panoramic effect.").

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argues Yee' s captured images cannot be used to generate "a 3 60 [degree]
view that would allow a user to pivot a view to 'look at the surrounding
area"' (id.) but rather only "captur[es] images from a fixed point of view
with respect to its platform" (id. at 12-13 (citing Shiffer 372)).
      We are not persuaded. This contention does not address or contest
combining Shiffer's "Neighborhood" and "Aerial Views" windows in
Figure 2 and Yee. As such, this particular combination and the reasons for
combining (see Dec. 24-25) remain unchallenged. Also, Patent Owner cites
to nothing in Yee that would prevent creating a 360 degree view. See Req.
Reh'g 12-13 (citing only Shiffer 372). Yee teaches that its data collection
should be able to "locate signs, potholes, bridges, utilizes and obstructions,
looking globally" and "locate items hidden by trees and building, looking
comprehensively." Yee 390. Yee further teaches "[fJor the comprehensive
view, 30 video frames a second taken ensures no object is lost behind an
obstruction while moving down the road." Id. Yee further discusses
collecting images in all four directions. Id. As such, an ordinary skilled
artisan would have recognized that Yee' s image capturing technique would
be able to generate Shiffer's 360 degree view to look at the surrounding area
and without obstruction.
      For the reasons discussed above, we are not persuaded that Shiffer and
Yee do not teach "a first user input specifying a first location in the
geographic area," the Navigational Direction Limitations in canceled
independent claims 1 and 20, or that an ordinary skilled artisan would not
know how to generate Shiffer' s 3 60 degree axial views using Yee' s image




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capturing technique, such that we misapprehended or overlooked a point in
entering the new ground based on Shiffer and Yee.
                1. Claims 2, 3, 12-18, 21-26, 29, and 32-37
      Claims 2, 3, and 12-18 ultimately depend from canceled independent
claim 1, and claims 21-26, 29, and 32-37 ultimately depend from canceled
independent claim 20. As such, each includes the limitations previously
discussed. Patent Owner asserts the new ground of rejection for these claims
should be withdraw because "these claims recite all of the terms and
limitations of their base claim." Req. Reh'g 13. We are not persuaded for
the above-stated reasons.
      Additionally, Patent Owner asserts claims 2, 3, 12-18, 21-26, 29, and
32-37 have "other limitations which further distinguish these claims over
the Shiffer and Yee references." Id. However, Patent Owner fails to
identify what these further claim distinctions are or how the references fail
to teach or suggest these purported differences. See id. Thus, we find this
argument unavailing.
      Conclusion
      For the foregoing reasons, Patent Owner has not pointed out a point
that the Board misapprehended or overlooked in entering the new ground for
claims 2, 3, 12-18, 21-26, 29, and 32-37 under 35 U.S.C. § 103(a) based on
Shiffer and Yee.
      B. Shiffer/Yee/Lachinski
      Claim 8 depends from canceled claim 1 and is newly rejected under
35 U.S.C. § 103(a) based on Shiffer, Yee, and Lachinski. Decision 26-30,
33. Regarding the combination of Shiffer, Yee, and Lachinski, Patent



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Owner argues Shiffer' s Figures 2 and 3 have disparate features related to
"Automobile Traffic Analysis" on page 371 and "navigation images" on
page 372 and Shiffer does not teach or suggest a connection between Figures
2 and 3's features to arrive at claim 8's recitations. Req. Reh'g 14-15
(citing Shiffer 371-72, Fig. 2). Patent Owner further argues that the June
2021 Decision does not identify the portions of Shiffer that teach the
recitations found in claim 8. Req. Reh'g at 15.
      As to the latter argument, we are not persuaded that the June 2021
Decision fails to identify portions of cited references that teach the three
noted limitations quoted on page 15. See id. Notably, the new ground of
rejection does not rely exclusively on Shiffer for claim 8's recitations.
Rather, the ground turns to Yee and Lachinski in combination with Shiffer
for teaching and suggesting its limitations, including "identifying a street
segment," "identifying a position on a street segment," and "identifying an
image associated with said position" found in claim 8. See Dec. 28-30
(citing Yee 388-92; Shiffer, Fig. 2; Lachinski 1:15-23, 2:16-20, 3:32-37,
9:36--45, 11 :55-12:62, 13:55-63, 14:41-58, 16:33-17:38, Figs. 9-10); see
also 3PR Comments 6 (stating "Patent Owner's Request ignores that the
asserted unpatentability ground in the Board's June 1, 2021 Decision is not
Shiffer alone, but the combination of Shiffer, Yee, and Lachinski"), 6-7
(quoting Dec. 28; Lachinski 3:32-37) (citing Dec. 29; Lachinski 2:47-50,
9:42--46, 12:52-65, 13:56-63). One cannot show nonobviousness by
attacking references individually where the rejections are based on
combinations of references. See In re Merck & Co., 800 F .2d 1091, 1097
(Fed. Cir. 1986).



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      Additionally, as Requester notes (3PR Comments 7), the Federal
Circuit has determined that "substantial evidence supports the Board's
finding that the prior art discloses the disputed claim limitations" related to
"'street segments' as required by some of the claims." Vederi, 813 F. App'x
at 505.
      Moreover, regarding combining features of Shiffer's Figure 2 and 3,
we note that the new ground discusses that each of Figures 1-3 has
interactive maps. See Dec. 27 (citing Shiffer 371-73) (noting Shiffer's
Figure 1 allows for pointing at associated street links on the map, Shiffer' s
Figure 2 allows the user to drive or fly through an area, and Shiffer' s Figure
3 allows the user to move through images). Thus, the record shows "a
connection" (Req. Reh'g 14) between Shiffer's Figures 2 and 3. See also
Shiffer, Figs. 2-3 (both showing interactive maps). Thus, applying Figure
3's (as well as Figure l's) interactive teachings related to pointing to a street
link or sequentially moving through images (see id.) to Shiffer' s Figure 2
map yields no more than predictable result of permitting a user to specify a
first and second location in a geographic area and further identify a segment
of a street that includes the first and second location. This combination of
teachings would be no more than a combination of familiar elements
according to known methods in the prior art. See KSR Int'l Co. v. Teleflex
Inc., 550 U.S. 398,416 (2007); see also Dec. 27 (stating "an ordinary skilled
artisan would have recognized that Shiffer suggests further 'identifying an
image associated with said position [on a street segment corresponding to
the first or second location]' as claim 8 recites").




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      As to the argument that Shiffer's Figure 2 only permits selecting a
linear symbol along a particular linear route and thus fails to teach claim 8
(see Req. Reh' g 15), we are not persuaded for the reasons previously
discussed. To reiterate, this argument is not commensurate in scope with
claim l's or 8's limitations, which require no more than "identifying an
image associated with said position" corresponding to a first or second
location. See the '760 patent 16:38--45.
      Lastly, Patent Owner argues Shiffer's Figure 1 on page 371 does not
retrieve navigation images based on a selected street link but only retrieves
traffic data. Req. Reh'g 15. Granted, Shiffer's "Automobile Traffic
Analysis" embodiment retrieves traffic data and not navigation images.
Shiffer 371. However, as previously explained, the rejection proposes to
combine Shiffer' s teaching related to pointing or selecting an associated
street link, as discussed in the context of Figure 1, to Shiffer' s Figure 2 to
provide and allow the user to drive or fly through the study area in its
navigation images. See Dec. 27 (stating "[b ]y applying these teachings to
Shiffer' s Figure 2' s map and navigation images that allow a user to drive or
fly through a study area, an ordinary skilled artisan would have recognized
that Shiffer suggests further 'identifying an image associated with said
position [on a street segment corresponding to the first or second location]'
as claim 8 recites").
      For the reasons discussed above, we are not persuaded that the new
ground of rejection based on Shiffer, Yee, and Lachinski fails to teach or
suggest claim 8's recitations, such that the earlier panel misapprehended or
overlooked a point in entering the new ground.



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      Conclusion
      For the foregoing reasons, Patent Owner has not pointed out a point
that the Board misapprehended or overlooked in entering the new ground
under 35 U.S.C. § 103(a) based on Shiffer, Yee, and Lachinski for claim 8.


                               CONCLUSION
      We have granted the Request for Rehearing to the extent that we have
reconsidered the June 2021 Decision in light of Patent Owner's Request for
Rehearing, but have denied the Request for Rehearing in all other respects.

Outcome of Decision on Rehearing:



 2, 3, 12-18,   103(a)       Shiffer, Yee          2, 3, 12-18,
 21-26, 29,                                        21-26, 29,
 32-37                                             32-37
 8              103(a)       Shiffer, Yee,         8
                             Lachinski
 Overall                                           2,3, 8, 12-
 Outcome                                           18, 21-26,
                                                   29,32-37




                                      19



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Reexamination Control 95/000,682
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Final Outcome of Appeal after Rehearing:




               102(a)   Al-Kodmany             8


    2, 3, 8,   103(a)   Shiffer, Yee                      2, 3, 8,    2, 3,
    12-18,                                                12-18,      12-18,
    21-26,                                                21-26,      21-26,
    29,32-                                                29,32-37    29,32-
    37 9                                                              37
    8          103(a)   Shiffer, Yee,                                 8
                        Lachinski
    Overall                                               2, 3, 8,    2, 3, 8,
    Outcome                                               12-18,      12-18,
                                                          21-26,      21-26,
                                                          29,32-37    29,32-
                                                                      37

         Requests for extensions of time in this inter partes reexamination
proceeding are governed by 37 C.F.R. § 1.956. See Manual of Patent Examining
Procedure (MPEP) § 2665; see also 37 C.F.R. § 41.79.


                                    DENIED




8
    This claim previously was not rejected by the Examiner. See Dec. 33.
9
    These claims previously were not rejected by the Examiner. See Dec. 33.

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PATENT OWNER:

Lewis, Roca, Rothgerber, Christie LLP
P. 0. Box. 29001
Glendale, CA 91209-9001

THIRD PARTY:

O'Meleveny & Myers LLP
IP & T Calendar Department
400 South Hope Street
Los Angeles, CA 90071-2899




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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       95/000,683              08/17/2012                 7,577,316 B2                13557-105153.R2                        1052

       23363            7590            12/16/2021
                                                                                                           EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                     FOSTER, ROLAND G
       P0B0X29001
       Glendale, CA 91209-9001
                                                                                          ART UNIT                      PAPER NUMBER

                                                                                              3992


                                                                                         MAIL DATE                      DELNERYMODE

                                                                                          12/16/2021                        PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




                                                       Appx242
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       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           GOOGLE INC.
                            Requester,

                                  V.

                       Patent of VEDERI, LLC.
                            Patent Owner.


                        Appeal2018-007271
                   Reexamination Control 95/000,683
                         Patent 7,577,316 B2
                       Technology Center 3900



Before JOHN A. JEFFERY, DENISE M. POTHIER, and ERIC B. CHEN,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.



             DECISION ON REQUEST FOR REHEARING




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Appeal2018-007271
Reexamination Control 95/000,683
Patent 7,577,316 B2

                       STATEMENT OF THE CASE
      This proceedings involves U.S. Patent No. 7,577,316 B2 ("the '316
patent), which expired on January 11, 2021. Dec. 2. 1 This proceeding is
also related to Reexamination Control Nos. 95/000,681, 95/000,682, and
95/000,684, involving U.S. Patent Nos. 7,805,025 B2, 7,239,760 B2, and
7,813,596 B2 respectively, all of which have also expired.
      This proceeding returns to the Board on remand from the Court of
Appeals for the Federal Circuit, which vacated previous Board decisions for
this proceeding mailed August 15, 2016 and September 28, 2018. Vederi,
LLC v. Google LLC, 813 F. App'x 499, 501, 505 (Fed. Cir. 2020); see Dec.
2. On remand, another panel2 rendered a Decision on Appeal ("the June
2021 Decision") on June 1, 2021, (1) reversing the rejections of claims 13
and 18-24 based on various references, including Dykes, 3 Al-Kodmany, 4



1
  Throughout this Opinion, we refer to: (1) the Request for Inter Partes
Reexamination ("Request") filed August 20, 2012, (2) the Right of Appeal
Notice (RAN) mailed September 24, 2013, (3) the Patent Owner's Appeal
Brief (PO Appeal Br.) filed December 24, 2013, (4) the Requester's Appeal
Brief (3PR Appeal Br.) filed September 8, 2014, (4) the Board's Decision
mailed June 1, 2021 ("Dec."), (10) Patent Owner's Request for Rehearing
("Req. Reh'g") filed July 1, 2021, and (11) Requester's Comments in
Opposition to Patent Owner's Request for Rehearing ("3PR Comments")
filed August 2, 2021.
2
  The panel included Judges Pothier, Chen, and Branch.
3
  J. Dykes, An Approach To Virtual Environments For Visualization Using
Linked Geo-referenced Panoramic Imagery, 24 Computers, Env't & Urb.
Sys. 127-52 (2000) ("Dykes").
4
  Kheir Al-Kodmany, Using Web-Based Technologies and Geographic
Information Systems in Community Planning, 7 J. Urb. Tech. 1-31 (2000)
("Al-Kodmany").


                                      2



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Bates, 5 Yee, 6 Murphy, 7 and Shiffer, 8 and (2) entering a new ground of
rejection under 37 C.F.R. § 41.77(b) for claims 13 and 18-24 based on Yee,
Lachinski, 9 and Dykes under 35 U.S.C. § 103(a). Dec. 4, 22--41.
      In response to the new ground, Patent Owner requested rehearing
under 3 7 C.F .R. § 41. 79 ("Request for Rehearing") on July 1, 2021.
Requester responded with comments pursuant to 37 C.F.R. § 41.79(c) ("3PR
Comments") on August 2, 2021.
      We have reconsidered the Decision in light of Patent Owner's
contentions in the Request for Rehearing. Patent Owner sets forth reasons
why the earlier panel allegedly misapprehended or overlooked points in
entering the new ground of rejection. As discussed below, we maintain the
determinations made in the June 2021 Decision.


                                DISCUSSION
      "The request for rehearing must address any new ground of
rejection and state with particularity the points believed to have been
misapprehended or overlooked in entering the new ground of rejection


5
  Nada Bates-Brkljac & John Counsell, Issues in Participative Use of an
Historic City Millennial Web Site, IEEE Proc. Int'l Conf. Info. Visualization
119-25 (2000) ("Bates").
6
  Frank Yee, GPS & Video Data Collection In Los Angeles County: A Status
Report, Position Location And Navigation Symposium, Proc. IEEE Position
Location and Navigation 388-93 (1994) ("Yee").
7
  U.S. 6,282,362 Bl, issued Aug. 28, 2001 ("Murphy").
8
  Michael J. Shiffer, Augmenting Geographic Information with
Collaborative Multimedia Technologies, 11 Proc. Auto Carto. 367-76
(1993) ("Shiffer").
9
  U.S. 5,633,946, issued May 27, 1997 ("Lachinski").

                                       3



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and also state all other grounds upon which rehearing is sought." 37
C.F.R. § 41.77(b)(2) (2020); see also 37 C.F.R. § 41.79(b)(l) (2020).
      Patent Owner argues that the June 2021 Decision does not construe
several terms in the claims of the '316 patent under their ordinary and
customary meanings. Req. Reh'g 2. These terms include "a composite
image" in claims 13, 18, and 23 (id. at 2-8) and "an arbitrary address" in
claim 20 (id. at 8-13). Patent Owner also asserts that: (1) Yee alone or Yee
and Dykes in combination do not disclose "a composite image" in claims 13,
18, and 23 (id. at 13-19), (2) Yee, Lachinski, and Dykes do not teach the
recited "arbitrary address" in claim 20 (id. at 19-21 ), and (3) Yee and
Lachinski do not teach the limitations in claim 21 (id. at 21-23).
      Requester disagrees. See generally 3PR Comments 2-12. We
address each of Patent Owner's contentions below.


                                 ANALYSIS
                            I. Claim construction
      A. "[A] composite image" in claims 13, 18, and 23
      The phrase "composite image" is found in claims 13, 18, and 23, each
of which ultimately depends from canceled independent claim 1. The '316
patent 16:37-38, 16:56-57, 17: 14-15. In the June 2021 Decision, the Board
found this phrase means "a single image that may be created by comb[in Jing
or uniting image data .... " Dec. 18-29.
      Patent Owner asserts that the phrase "composite image," as defined in
the June 2021 Decision, is "unclear" because "it does not define what is
meant by 'single image."' Req. Reh'g 3. Patent Owner argues that "single



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image," consistent with the '316 patent's Specification, "would be
understood to refer to a single image that is created by uniting those multiple
image frames into a single image." Id. Patent Owner further argues that "a
composite image" "[ a]s used in the Vederi patents" (1) "depicts a single new
view of the objects in the geographical area" (id. (citing the '316 patent,
5:54-61, 9:10-21)), (2) "[t]he single new view is different from any of the
views depicted in any one of the individual image frames prior to forming
the composite image" (id. (citing the '316 patent 2:37-39, 5:47-51 )), and (3)
"would not encompass a collage of disparate images," including "a two-by-
two grid of views of four different participants on a video conference" (id. at
7-8). For support, Patent Owner quotes and cites to various passages of the
'316 patent. See id. at 3-7 (quoting the '316 patent, Abstract, 1:27-57,
2: 10-12, 2: 19-20, 2:33-39, 3:46-49, 5:45-51) (citing the '316 patent 2:37-
39, 3:54-57, 5:47-51, 5:54-6:5, 9:10-21) (reproducing the '316 patent, Fig.
16; Provisional Application No. 60/238,490, Fig. 11). Patent Owner
concludes that "composite image," under Phillips 10 and consistent with the
'3 16 patent, "refers to a single image created by combining different image
data or by uniting image data[,] where the single image provides a single
view." Id. at 8.
         Requester asserts Patent Owner's arguments were previously rejected
by the Board and the Federal Circuit. See 3PR Comments 2--4 (citing
Vederi, 813 F. App'x at 503; Dec. 16; the '316 patent 5:66-6:1).
Additionally, Requester asserts Patent Owner is attempting to limit the




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     Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005).

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phrase "composite image" "to cover only narrow preferred embodiments in
the specification." Id. at 4 (citing Dec. 17).
          The Board gave the claim recitations in the '316 patent "'their
ordinary and customary meaning' as would have been understood by 'a
person of ordinary skill in the art in question at the time of the invention."'
Dec. 9 (quoting Phillips, 415 F.3d at 1312-13); see id. at 16 nn.11-13
(addressing the term "composite") (citing Merriam-Webster's Online
Dictionary (11th ed.)). Additionally, the Board stated"[ c]laims 'must be
read in view of the specification, of which they are a part"' and that "the
specification 'is always highly relevant to the claim construction analysis."'
Id. at 9 (quoting Phillips, 415 F .3d at 1315 (citations omitted)). Consistent
with these principles, the Board considered how the Specification describes
a "composite image" in arriving in its claim construction. See id. at 15-16
(citing the '316 patent, Abstract, 2:20-22, 2:33-35, 3:46--49, 5:45--47, 5:66-
6: 15).
          We further considered and gave appropriate weight to the Federal
Circuit's construction of the phrase "composite image," which agreed with
the Board's claim construction of "a composite image." Id. at 16-17
(quoting Vederi, 813 F. App'x at 503). Notably, the Federal Circuit rejected
V ederi' s proffered
          narrowing construction that would limit "composite image" to
          "a new image, created by processing pixel data of a plurality of
          image frames, that depicts a single new view (from a single
          location) of the objects in the geographical area that is different
          from any of the views depicted in any one of the image frames
          from which the composite image is created."




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Vederi, 813 F. App'x at 503; see also Dec. 17 (quoting Vederi, 813 F. App'x
at 503).
       We thus disagree that the Board overlooked or misapprehended an
argument that the phrase a "composite image" in claims 13, 18, and 23 was
construed inconsistent with the '316 patent or its plain and ordinary meaning
as an ordinarily skilled artisan would have understood.
       B. "[A}n arbitrary address" in claim 20
       Claim 20 depends from canceled independent claim 1 and recites, in
pertinent part, "the first location specified by the first user input is an
arbitrary address entered via the first user input .... " The '316 patent,
16:62-64. Regarding this recitation, the June 2021 Decision stated "one
ordinary meaning of 'arbitrary' includes those based on the user's preference
or convenience." Dec. 20. We further "determine[d] 'an arbitrary address
entered via the first user input,' as claim 20 recites, can be various addresses,
including an assigned address and an address selected from a group
associated with tagged images." Id. at 21.
       Patent Owner contends that the term "arbitrary address" in claim 20
should have its ordinary and customary meaning under Phillips and
consistent with the Specification. Req. Reh' g 8. Patent Owner argues the
ordinary meaning of "'arbitrary address' means 'any potential addresses
(assigned and unassigned) in the geographic area, not preselected or
constrained by the system."' Id. For support, Patent Owner cites to a
dictionary definition and the '316 patent, as well as providing hypothetical
examples. Id. at 9 n. l (citing Arbitrary, The American Heritage®
Dictionary, available at



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https://www.ahdictionary.com/word/search.html?q=arbitrary (defs. 1 and 2)
("adj. 1. Determined by chance, whim, or impulse, and not by necessity,
reason, or principle: stopped at the first motel we passed, an arbitrary
choice. 2. Based on or subject to individual judgment or preference: The diet
imposes overall calorie limits, but daily menus are arbitrary")); see id. at 9-
13 (citing the '316 patent, 2:45-49, 6:37--47, 7:15-20, 11:4-12, 13:21-
14: 14; Dec. 19-20). Patent Owner also argues that its construction "does
not intend to exclude assigned addresses." Id. at 20. Patent Owner further
asserts "[t]he district court" construed this term "to mean 'assigned and
unassigned addresses."' Id. at 8.
      Requester determines the Board's construction that "an ordinary
understanding of 'arbitrary address' includes an address selected by users
based on their preferences or convenience" is correct and confirmed by
Patent Owner's definition. 3PR Comments 9 (citing Dec. 20; Req. Reh'g 9
n. l ). Requester contends that "Patent Owner raised the same narrow claim
construction with the Board, and the Board rejected Patent Owner's
proposed construction and related arguments." Id. at 8 (citing Aug. 15, 2016
Decision 13-14, 22-23 (vacated)). Requester asserts the '316 patent does
not use the phrase "unassigned address" and does not discuss "the address is
arbitrary, unassigned, or unconstrained by the system" or "any potential
address, unassigned, or 'not preselected' as argued by Patent Owner." Id. at
8. Requester states the '316 patent refers to "'an arbitrary address' as
including an address selected from a group of addresses." Id. (citing the
'316 patent 11 :45-46, 12:20-26, 12:32-35, 13:21-24.). Requester also
states "the '316 patent discusses entering 'an address of the location'-



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rather than some random address-and returning a map corresponding to the
address." Id. (citing the '316 patent 11 :45--46). Requester further notes
Patent Owner "fails to provide any citation or other support for that
proposition" of the district court's adopted construction for "an arbitrary
address." Id. at 9 (citing Req. Reh'g 8; Aug. 15, 2016 Dec. 14).
      Patent Owner repeats many of the arguments made in its Appeal Brief
and previously. For example, Patent Owner argues that "an arbitrary
address" in claim 20 means "any potential addresses (assigned and
unassigned) in the geographic area, not preselected or constrained by the
system." Req. Reh'g 8; see PO Appeal Br. 21 (arguing the same). The June
2021 Decision considered and addressed this argument. Dec. 19-20; see
also August 2016 Decision 22-23 (now vacated). Additionally, Patent
Owner argued that "the district court" adopted a similar construction. Req.
Reh'g 8 (stating the court found "'an arbitrary address' to mean 'assigned
and unassigned addresses"'); see PO Appeal Br. 21-22 (arguing the same).
The June 2021 Decision considered and addressed this argument. Dec. 21
(indicating Patent Owner provided no "supporting evidence" for this
assertion). In the Request for Rehearing, Patent Owner does not provide any
further evidence of the court's findings. See Req. Reh'g 8; see also 3PR
Comments 9 (noting Patent Owner "fails to provide any citation or other
support for that proposition [of the purported court's construction for 'an
arbitrary address']."). As yet a third example, Patent Owner asserts the '316
patent describes entering an address "regardless of whether that address
actually exists." Req. Reh'g 10 (citing the '316 patent 13:21-14:14); see PO
Appeal Br. 23 (arguing the same). The June 2021 Decision considered and



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addressed this argument. Dec. 20 (indicating the cited passages do not
describe what Patent Owner asserts). As such, we did not overlook these
points in entering the new ground of rejection for claim 20 based on Yee,
Lachinski, and Dykes.
      Patent Owner also repeats that an ordinary meaning of "arbitrary"
means "arbitrary something" and that this "refers to any member of a set of
potential or possible 'somethings."' Req. Reh'g 9; see PO Appeal Br. 22
(asserting the same). The Board considered this argument in the June 2021
Decision, but found that an ordinary meaning of "arbitrary" includes "those
based on the user's preference or convenience" (Dec. 20; id. at 20 n.14
(citing Arbitrary, Merriam-Webster Online Dictionary, available at
https://www.merriam-webster.com/dictionary/arbitrary (def. 1b) (defining
"arbitrary" as "based on or determined by individual preference or
convenience rather than by necessity or the intrinsic nature of something")))
and thus, "an ordinary understanding of 'arbitrary address' includes an
address selected by users based on their preferences or conveniences." Id.
at 20; see id. at 20-21.
      In the Request for Rehearing, Patent Owner introduces another
definition of "arbitrary" to include "1. Determined by chance, whim, or
impulse, and not by necessity, reason, or principle: stopped at the first motel
we passed, an arbitrary choice" and "2. Based on or subject to individual
judgment or preference: The diet imposes overall calorie limits, but daily
menus are arbitrary." Req. Reh'g 9 n.l (citing Arbitrary, The American
Heritage® Dictionary, available at
https://www.ahdictionary.com/word/search.html?q=arbitrary (defs. 1 and



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2)). Some of this definition (e.g., "[b]ased on or subject to individual
judgment or preference") is similar to that presented in the June 2021
Decision (e.g., "based on the user's preference or convenience" (Dec. 20)).
As such, we did not misapprehend the ordinary meaning of "arbitrary" and
thus, the ordinary meaning of "arbitrary address" found in claim 20.
      Importantly, the June 2021 Decision (as well as the vacated August
2016 Decision) considered various passages in the '316 patent, indicating
that the '316 patent "does not discuss arbitrary addresses" (Dec. 19), "does
not mention that the address is arbitrary or unassigned by the system" (id. at
19; see id. at 19-20 (citing the '316 patent 11:45--46)), "does not describe
selecting a potential address without one-to-one correspondence" (id. at 20
(citing the '316 patent 2:45--49)), and "do not describe a user entering an
address 'regardless of whether that address actually exists'" (id. (quoting PO
Appeal Br. 23) (citing the '316 patent 13:21-14:14)). See id. at 19-20
(further citing the '316 patent 7:15-20, 12:20-22, 12:32-35, 13:23, 13:28-
29). Patent Owner quotes and discusses these and other passages to support
its proposed construction. See Req. Reh'g 9-13 (citing the '316 patent
2:45--49, 6:37--47, 7:15-20, 11:4-12, 13:21-14:14). But, most of these
passages were considered and support the Board's construction in the June
2021 Decision. See Dec. 19-20; see also Aug. 2016 Decision 23 (vacated)
(citing and considering the '316 patent 11 :45--46, 12:20-26, 12:32-35,
13:21-24). These arguments thus were not overlooked. Indeed, as the June
2021 Decision states, the cited passages in the '316 patent merely describe
"entering 'an address of the location'-not some random address-and
returning a map corresponding to the address." Dec. 20 (citing the '316



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patent 11 :45--46, 12:20-22, 12:32-35, 13:21-24); see also Aug. 2016
Decision 14 (vacated) (stating the same).
      We add that the '3 16 patent states "the image database contains
substantially all of the static objects in the geographic area allowing a user to
visually navigate the area from a user terminal" (the '316 patent 2:45-48)
and does not address "the ability to select any potential address within a
geographic area," "the ability to ... view that address without one-to-one
corresponding street images," or the meaning of "an arbitrary address"
contrary to Patent Owner's contentions. Req. Reh'g 9; see id. at 9-10.
Moreover, contrary to Patent Owner's assertions (Req. Reh'g 11-13), the
'316 patent description of (1) segmenting a trajectory of captured images
into street segments, (2) associating them with number range (the '316
patent 6:37--47), and (3) using an offset value to correct computed street
numbers (the '316 patent 11:4-12) do not address what a user inputs into its
system and in particular, whether the input is "an arbitrary address" as claim
20 recites. Similarly, the '316 patent discussion of "the desired street
number" (see the '316 patent 14: 8-14) does not indicate that this number is
"an 'arbitrary address"' as argued. See Req. Reh'g 13.
      Notably, even the hypothetical presented by Patent Owner (e.g.,
asserting that an "arbitrary number" is "any number between 1 and 100" to
support that "an arbitrary address" includes "each member of the set" (Req.
Reh'g 9)) has been previously considered by the Board. See Aug. 2016
Decision 23-24 (vacated). Entering or inputting the number "70" of an
existing street address, for example, is still one of the possible numbers in




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Patent Owner's hypothetical. We thus did not misapprehend the meaning of
"an arbitrary address" consistent with the '316 patent.
      Lastly, Patent Owner argues that its construction for "arbitrary
address" in claim 20 "does not intend to exclude assigned addresses." Id. at
20. Yet, when discussing the prior art, Patent Owner argues that Yee fails to
teach "an arbitrary address" because "Yee is silent with regard to how the
system will react to the entry of street addresses that are not tagged." Id. As
such, Patent Owner implicitly argues either that "an arbitrary address" is one
that is not tagged (e.g., excluding an assigned address) or must encompass
multiple addresses (e.g., all possible addresses). See id. at 9. Neither of
these proposed constructions is consistent with an ordinary meaning of an
"address" when considering the '316 patent.
      In sum, we disagree that the Board overlooked or misapprehended an
argument that the phrase "an arbitrary address" in claim 20 was construed
inconsistent with the '316 patent or its plain and ordinary meaning as an
ordinarily skilled artisan would have been understood. We maintain that "an
arbitrary address" can be various addresses, including those based on the
user's preference or convenience, and can be an assigned address or an
address selected from a group associated with tagged images.


            II. New ground based on Yee, Lachinski, and Dykes
                                 Background
      The June 2021 Decision presented a new ground of rejection for
claims 13 and 18-24 under 35 U.S.C. § 103(a) based on Yee, Lachinski, and
Dykes. See Dec. 22--40. Patent Owner argues claims 13, 18, and 23 as a



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group, claim 20 individually, claims 21-24 as a group, and the remaining
claims as a group. See Req. Reh'g 13-23. We address each of these
groupings below.

                           A. Claims 13, 18, and 2 3
       As previously discussed, claims 13, 18, and 24 recite "a composite
image." The '316 patent 16:37-38, 16:56-57, 17:14-15. Each claim thus
includes the discussed "composite image" addressed above in Section I.A.
The June 2021 Decision determined that Yee, Lachinski, and Dykes teach
this recitation found in claims 13, 18, and 23. Dec. 24-31.
       Patent Owner argues that Yee alone or Yee and Dykes in combination
do not disclose the recited "composite image." Req. Reh'g 13-17. Patent
Owner specifically argues that "Yee does not clearly disclose 'composite
images' in accordance with the proper construction ... under the Phillips
standard." Id. at 14. 11 We disagree.
       As stated in the June 2021 Decision,
       Yee addresses collected data made available with its product.
       Yee 3 89. The data includes provided various views, including
       "curbside view, front and back," "street view, front and back,"
       "real estate view left and right," "real estate and addresss [sic]
       zoom, 4-view," and "composites of them." Id. Yee explicitly
       discloses "composites" (id.); and "them" refers back to the
       other discussed views, including a curbside view, a street view,

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  As addressed in Section I.A, we determined that the phrase "composite
image" consistent with the '316 patent and its plain and ordinary meaning is
"a single image created by combining different image data or by uniting
image data" and that "a single image" does not have to be a new image that
depicts a single new view from a single location that is different from any of
the views.


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       and a real estate view. Thus, Yee teaches creating "composites"
       of these various views.

Dec. 25-26; see also 3PR Comments 4 (stating "Yee explicitly used the term
'composite' in its disclosure."); id. at 4-5 (quoting Yee 389).
       Regarding the Geo Span Brochure 12 (Req. Reh' g 14-15), Patent
Owner asserts the brochure's "composite view" "clarifies the meaning of
'composite of them' as the term was used in Yee and rebuts the
characterization of Yee as allegedly disclosing a 'composite image' as the
term" should be construed. Req. Reh'g 15; see id. (reproducing the image in
the GeoSpan Brochure on GEO 0000173). Patent Owner further asserts
"there is no other evidence cited from the record associated with [the] Yee
reference (e.g., related to the work by the Geo Span Corporation) that uses
the word 'composite' or variants thereof." Id. at 15; see also id. at 16.
Patent Owner further asserts that the GeoSpan Brochure's "composite
view," and thus, Yee's "composite of them" (Yee 389) "shows four images,"
not "a single image." Id. at 16.
       The reproduced image in the Request for Rehearing (Req. Reh'g 15)
is described as a "4-way Composite View" (id. (emphasis added)), whereas
Yee describes the "4-view" as a separate view from the "composite of
them." Yee 389; see also Dec. 26 (stating "the language 'composite of
them' in Yee is separate from the '4-view"') (citing Yee 389); 3PR
Comments 5 (noting the same). Also, although "Geo Vista" and "Geo Span"


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   DRIVE AROUND TOWN ON YOUR PC WITH GEOVISTA, VISUAL
GEOGRAPHIC INFORMATION, GEO 0000172-177 (Exhibit A) ("the GeoSpan
Brochure"). Patent Owner assert this reference was included in its January
8, 2013 Reply "as Appxl332." Req. Reh'g 14.

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are discussed in Yee (see, e.g., Yee 388, 392), there is insufficient evidence
that the "4-way" view in the GeoSpan Brochure demonstrates the only
possible 4-view that Yee creates. See Dec. 27 (noting "the described
GeoSpan Brochure is just one image example of data acquired by GeoSpan
Corporation discussed in Yee"); see 3PR Comments 5 (noting the same).
       Also, despite Lachinski 13 failing to use the word "composite" (Req.
Reh'g 14), the Board found that Lachinski provides insight as to what Yee's
"4-view" may encompass. First, Lachinski is a patent issued to GeoSpan
Corporation on May 27, 1997. Second, "GeoSpan" and a "4-view" are
discussed in Yee. See Yee 388-89. Third, the June 2021 Decision indicates
there are similarities between Yee and Lachinski. See Dec. 27-28 (citing
Yee 392; Lachinski 5:25-31, Fig. 3). As stated, Lachinski's teaching:
       supports that the "4-view" discussed in Yee (Yee 389) is
       produced as a single image that combines four reduced images,
       one in each of four comers that is reduced in size. Lachinski
       5:25-31; Fig. 3.

               Moreover, Yee teaches that data from the four images,
       which include their pixel data, are used to create the reduced-
       sized images. Each of the "four views in a frame" discussed in
       Yee (Yee 392) or the "single video image" with four-views,
       each one-fourth of its original size that form "reduced images,"
       as further explained in Lachinski (Lachinski 5:25-31 ), is a
       single image that is made up of different parts or image frames
       (e.g., image data from multiple views) ....




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  Lachinski was previously introduced into the record and was permitted
under§ l.948(a)(2). See 3PR Appeal Br. 11 n. l.


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Dec. 28 (emphases added); see also 3PR Comments 5 (stating "[a]nother
example of a 4-view of Yee, as further explained in Lachinski, [J includes a
single image made out of four reduced size images") (omitting footnote)
(citing Yee 392; Lachinski 5:25-31, Fig. 3)).
      Lastly, Patent Owner's arguments (Req. Reh'g 13-17) overlook the
June 2021 Decision's further discussion of Dykes teachings in this regard.
The June 2021 Decision additionally states:
      Yee is not deficient in teaching "a composite image" as claims
      13, 18, and 23 recite. Nonetheless, presuming, without
      agreeing, that Yee and Lachinski do not teach the recited
      "composite image," Dykes teaches another known technique for
      creating "composites" by combining and uniting images (e.g.,
      stitching) to produce a panoramic image. Dykes 132-36, Fig.
      2. When substituting one known element for another known in
      the art (e.g., [substituting] Yee's composite technique for
      Dykes' panoramic technique of forming a composite), "the
      combination must do more than yield a predictable result."
      KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398,416 (2007).

Dec. 30-31; see also id. at 24 (adopting the Requester's findings and
conclusions, which discuss both Yee and Dykes). The new ground of
rejection therefore relies on both Yee and Dykes's teachings collectively to
arrive at the claimed "composite image" found in the claims.
      Accordingly, we are not persuaded that the rejection fails to
demonstrate that Yee, Lachinski, and Dykes teach or suggest "a composite
image" as recited in claims 13, 18, and 23, such that the Board
misapprehended or overlooked any point in the newly presented ground.




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       B. Reason with rational underpinning for combining Yee and Dykes
         Patent Owner "submits that it is unclear why one of skill in the art
would have combined the cited Yee and Dykes ... to arrive at 'composite
image' as properly construed under the Phillips standard." Req. Reh'g 17;
see id. at 17-19 (quoting Dec. 40 14; Dykes 135) (reproducing Dykes, Fig. 2).
Patent Owner argues that (1) Dykes requires that there be a "small overlap"
between images, (2) Yee does not disclose the "small overlap" feature
allegedly required by Dykes, and (3) it is not clear how Yee would be
suitable for Dykes's stitching feature. Id. at 19.
         We are not persuaded. As the Court states, "when a patent claims a
structure already known in the prior art that is altered by the mere
substitution of one element for another known in the field, the combination
must do more than yield a predictable result." KSR Int'l Co. v. Teleflex Inc.,
550 U.S. 398, 417 (2007). As proposed (see Dec. 24, 29-30), combining
Yee and Dykes to arrive at a "composite image" (e.g., a panoramic image) is
no more than the simple substitution of one known element (e.g., Yee's
"composites of them" (Yee 389)) for another (e.g., Dykes's composite image
arrived at by stitching images together (Dykes 132-36, Fig. 2)) or "the mere
application of a known technique to a piece of prior art ready for the
improvement." KSR, 550 U.S. at 417; see also Dec. 29-30.
         Moreover, Patent Owner does not demonstrate adequately that the
proposed combination would not yield the predictable result of "a composite
image" as claims 13, 18, and 23 recite. See Req. Reh'g 17-19. As
Requester indicates (see 3PR Comments 6-7), Yee captures many images,


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     The quoted passage on page 40 was not located.

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which would encompass the coverage needed to create Dykes's panoramic
images. See id. at 7 (citing Yee 391) (noting Yee teaches 10 cameras
capturing 63-degree horizontal, angled views). We agree with Requester
that Yee teaches or at least suggests to an ordinarily skilled artisan that some
of its images would contain the overlap discussed in Dykes's stitching
techniques (see Dykes 135) as evidenced by (1) the front, back, left, right,
curbside, street, real estate, and address views (see Yee 389,391) and (2)
collecting data "looking globally" and "comprehensively" to "ensure[] no
object is lost behind an obstruction" (id. at 390).
      For the reasons discussed above, we are not persuaded that the
rejection fails to provide a reason with a rational underpinning to combine
Yee and Dykes to arrive at the claims at issue, such that the Board
misapprehended or overlooked a point in the newly presented ground.
                   C. "[A}n arbitrary address" in claims 20
      Claim 20 depends from claim 1 and further recites in relevant part,
"the first location specified by the first user input is an arbitrary address
entered via the first user input .... " The '316 patent, 16:62-64. The June
2021 Decision found this recitation was taught by Yee and Lachinski. See
Dec. 32-36 (citing Yee 391-92; Lachinski 16:63-66, 17:15-21).
      Patent Owner argues that "Yee is silent with regard to how the system
will react to the entry of street addresses that are not tagged, and therefore
this portion of Yee does not appear to disclose an 'arbitrary address."' Req.
Reh'g 20 (citing Dec, 35; Yee 392). Patent Owner also asserts pointing to a
road segment or a location on a map does not specify "an arbitrary address."
Id. (citing Dec. 35; Yee 391-92). Patent Owner further contends Lachinski



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does not disclose entering an arbitrary address but rather only that an address
can be parsed, and it is unclear to an ordinarily skilled artisan if the disclosed
address parsing in Lachinski "may refer to other operations for converting
the user entry into a 'standard address."' Id. at 21; see also id. at 20-21
(citing Dec. 36; Lachinski 16:33-35, 16:63-66).
      Requester disagrees. 3PR Comments 9-11.
      Based on our construction of "an arbitrary address" in Section LB, "an
arbitrary address" includes an address based on the user's preference or
convenience and can be include an assigned address or an address selected
from a group associated with tagged images. As such, Yee's Visual
Interface System (VIS), which retrieves images based on a user entering a
street address or selecting a road segment or specific location on a map (e.g.,
entered or selected based on the user's preference or convenience) (see Yee
391-92), teaches and suggests "the first location specified by the first user
input is an arbitrary address entered via the first user input" as claim 20
recites. See Dec. 34-35 (citing and discussing Yee 391-92). Moreover,
even under Patent Owner's proposed interpretation, Yee discloses "[a] user
can point at a road segment or specific location on a computerized map"
(Yee 391) and thus, include an address determined by whim or impulse or
"the first location specified by the first user input is an arbitrary address" as
claim 20 recites. See also 3PR Comments 10 (nothing the same).
      Also, Lachinski teaches "a user supplied address" is converted to a
standard address for matching to "a real address range" (Lachinski 16:63-
66), "[a] video image can be recalled" (id. at 17: 15), and the process of
"retrieval of the nearest video image to a coordinate pair" "rel[iesJ on the



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segment-video relationship discussed above" (id. at 17:18-20 (emphasis
added)). See also 3PR Comments 10 (citing the '316 patent 17:19-20); cf
the '316 patent 14: 15-20, 14:57-65. Thus, Lachinski also teaches a user
entering a chosen address. Yet, the rejection further discusses applying
Lachinski' s teachings to Yee, such that the combination would predictably
yield no more than permitting a user to enter an address near or close to an
address in a system (e.g., another form of a "first location specified by the
first user input is an arbitrary address") and retrieving an image associated
with the location. See Dec. 36. We thus disagree with Patent Owner that
one skilled in the art would not have recognized that Lachinski's teachings
in this regard refer to operations other than converting the user's entry into a
standard address as asserted.
      For the reasons discussed above, we are not persuaded that Yee or the
Y ee/Lachinski combination fail to teach or suggest the recited "arbitrary
address" in claim 20 or that an ordinary skilled artisan would not have
combined Lachinski's teachings with Yee as the rejection explains, such that
the Board misapprehended or overlooked any point in the newly presented
ground.
                                D. Claims 21-24
      Claim 21 depends from claim 20 and further recites additional
limitations. The '316 patent, 16:67-17:9. Claims 22-23 ultimately depend
from claim 21 and are not separately argued. Req. Reh'g 21-23. We select
claim 21 as representative. See 37 C.F.R. § 41.37(c)(l)(iv).




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      Patent Owner repeats that Yee and Lachinski do not disclose the
recited "arbitrary address" and thus fail to teach claim 21. Req. Reh'g 22.
We are not persuaded for the reasons previously stated.
      Patent Owner next argues Yee and Lachinski do not disclose all the
recitations in claim 21. Req. Reh' g 21-22. However, Patent Owner only
discusses the specific step of "identifying one of the plurality of street
segments based on the arbitrary address" in claim 21. See id. at 22-23.
Thus, for the other recitation in claim 21, Patent Owner's mere assertion Yee
and Lachinski do not teach the features of claim 21 by reciting the claim
features (see id. at 21) is not considered a separate argument for
patentability. See In re Lovin, 652 F.3d 1349, 1357 (Fed. Cir. 2011).
      As for the disputed "identifying one of the plurality of street segments
based on the arbitrary address" in claim 21, Patent Owner argues Yee does
not teach this limitation because Yee directly selects a road segment by
pointing and thus does not need to identify the street segment based on the
arbitrary address. Req. Reh'g 22. As for Lachinski, Patent Owner argues
the reference only addresses creating "associations between the recorded
videos and road segments" and not identifying road segments based on the
user input. Id. (citing Lachinski 13:60-63).
      Requester disagrees. 3PR Comments 11-12. In particular, Requester
states the Federal Circuit considered whether Dykes and Yee teach "street
segments" as required by some claims and determine there was substantial
evidence to support the Board's findings. Id. at 11 (quoting Vederi, 813 F.
App'x at 505). Requester also contends Lachinski is not limited to




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associating videos and road segments but rather retrieves the nearest video
image to a user's selected position. Id. at 12 (quoting Lachinski, 14:56-63).
      As discussed above when addressing Yee and Lachinski in context of
claim 20, Yee's teaches a system that retrieves images based on a user
entering a street address or selecting a road segment or specific location on a
map (e.g., entered or selected based on the user's preference or
convenience). See Yee 391-92. An ordinarily skilled artisan would have
recognized from this teaching that the system must include processing the
selected road segment in Yee' s map in order to identify, retrieve, and display
the selected road segment based on the selection. As such, Yee teaches and
suggests "identifying one of the plurality of street segments based on the
arbitrary address" as claim 21 recites. Additionally, as discussed above,
Lachinski teaches that retrieving "the nearest video image to a coordinate
pair" "rel[ies] on the segment-video relationship discussed above."
Lachinski 17:18-20. Cf the '316patent 14:15-20, 14:58-68 (addressing
selecting a particular location on a map and displaying the new location
based on the selection by determining the image "closest to the distance of
the input location from the origin."); see also 3PR Comments 12 (quoting
the '316 patent 14:56-63). Lachinski in combination with Yee thus also
suggests to an ordinary skilled artisan "identifying one of the plurality of
street segments based on the arbitrary address" as claim 21 recites.
      Lastly, when addressing "'street segments' as required by some of the
claims," the Federal Circuit held that "substantial evidence supports the
Board's finding that the prior art discloses the disputed claim limitations."
Vederi, 813 F. App'x at 505. To the extent this holding related to "street



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segments" includes the recited "identifying one of the plurality of street
segments based on the arbitrary address" in claim 21, this determination
provides further evidence that the prior art teaches and suggests what is
recited in claim 21.
      For the reasons discussed above, we are not persuaded that Yee,
Lachinski, and Dykes combination fail to teach or suggest the recited
"identifying one of the plurality of street segments based on the arbitrary
address" in claim 21, such that the Board misapprehended or overlooked any
point in the newly presented ground.
                           E. The remaining claim
      Other than referencing the previous arguments made for canceled
independent claim 18, Patent Owner does not separately argue dependent
claim 19. See generally Req. Reh'g. We are not persuaded for the reasons
previously discussed.
      Conclusion
      For the foregoing reasons, Patent Owner has not shown any points
that the earlier panel misapprehended or overlooked in entering the new
ground of claims 13 and 18-24 under 35 U.S.C. § 103(a) based on Yee,
Lachinski, and Dykes.


                               CONCLUSION
      We have granted the Request for Rehearing to the extent that we have
reconsidered the June 2021 Decision in light of Patent Owner's Request for
Rehearing, but have denied the Request for Rehearing in all other respects.




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Outcome of Decision on Rehearing:



 13, 18-24        103(a)       Yee, Lachinski,      13, 18-24
                               D kes
 Overall                                            13, 18-24
 Outcome




               102(a)
 13            102(a)                                    13
 13            102(a)   Bates                            13
 13,   18-24   103(a)   Yee, D kes                       13, 18-24
 13,   18-24   103(a)   Murph , Yee                      13, 18-24
 13,   18-24   103(a)   Shiffer, Yee                     13, 18-24
 13,   18-24   103(a)   Yee, Lachinski,                            13, 18-
                        D kes                                      24
 Overall                                                 13, 18-24 13, 18-
 Outcome                                                           24

        Requests for extensions of time in this inter partes reexamination
proceeding are governed by 37 C.F.R. § 1.956. See Manual of Patent Examining
Procedure (MPEP) § 2665; see also 37 C.F.R. § 41.79.


                                    DENIED




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PATENT OWNER:

Lewis, Roca, Rothgerber, Christie LLP
P. 0. Box. 29001
Glendale, CA 91209-9001

THIRD PARTY:

O'Meleveny & Myers LLP
IP & T Calendar Department
400 South Hope Street
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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       95/000,684              08/17/2012                 7,813,596 B2                                                       7571

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                                                                                                           EXAMINER
       Lewis Roca Rothgerber Christie LLP
                                                                                                     FOSTER, ROLAND G
       P0B0X29001
       Glendale, CA 91209-9001
                                                                                          ART UNIT                      PAPER NUMBER

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Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




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       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           GOOGLE INC.
                            Requester,

                                  V.

                       Patent of VEDERI, LLC.
                            Patent Owner.


                        Appeal 2018-0077 45
                   Reexamination Control 95/000,684
                         Patent 7,813,596 B2
                       Technology Center 3900



Before JOHN A. JEFFERY, DENISE M. POTHIER, and ERIC B. CHEN,
Administrative Patent Judges.

POTHIER, Administrative Patent Judge.




             DECISION ON REQUEST FOR REHEARING




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Patent 7,813,596 B2

                       STATEMENT OF THE CASE
      This proceedings involve U.S. Patent No. 7,813,596 B2 ("the '596
patent), which expired on January 11, 2021. Dec. 2. 1 This proceeding is
also related to Reexamination Control Nos. 95/000,681-95/000,683,
involving U.S. Patent Nos. 7,805,025 B2, 7,239,760 B2, and 7,577,316 B2
respectively, all of which have also expired.
      As previously explained (see Dec. 1), this proceeding returns to the
Board on remand from the Court of Appeals for the Federal Circuit, which
vacated previous Board decisions for this proceeding mailed August 15,
2016, September 28, 2018, and February 1, 2019. See id.; see also Vederi,
LLC v. Google LLC, 813 F. App'x 499, 501, 505 (Fed. Cir. 2020). On
remand, another panel2 rendered a Decision on Appeal ("the June 2021
Decision") on June 1, 2021, (1) reversing the rejections of claims 4 and 21




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  Throughout this Opinion, we refer to: (1) the Request for Inter Partes
Reexamination ("Request") filed August 17, 2012, (2) the Right of Appeal
Notice (RAN) mailed June 4, 2014, (3) the Patent Owner's Appeal Brief
(PO Appeal Br.) filed September 3, 2014, (4) the Board's Decision mailed
June 1, 2021 ("Dec."), (5) Patent Owner's Request for Rehearing ("Req.
Reh' g") filed July 1, 2021, and (6) Requester's Comments in Opposition to
Patent Owner's Request for Rehearing ("3PR Comments") filed August 2,
2021.
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  The panel included Judges Pothier, Chen, and Branch.


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based on at least one ofDykes, 3 Yee, 4 Al-Kodmany, 5 Bates, 6 Murphy,7
Shiffer, 8 and Ishida9 under 35 U.S.C. §§ 102(a), 102(b), or 103(a) and (2)
entering new grounds of rejection under 37 C.F.R. § 41.77(b) for (a) claim 4
based on Yee, Dykes, and Lachinski 10 under 35 U.S.C. § 103(a) and (b)
claims 4 and 21 based on Ishida, Yee, and Dykes under 35 U.S.C. § 103(a).
Dec. 3, 7-8, 19-38.
      In response to the new grounds, Patent Owner requested rehearing
under 3 7 C.F .R. § 41. 79 ("Request for Rehearing") on July 1, 2021.
Requester responded with comments pursuant to 37 C.F.R. § 41.79(c) ("3PR
Comments") on August 2, 2021.




3
  J. Dykes, An Approach To Virtual Environments For Visualization Using
Linked Geo-referenced Panoramic Imagery, 24 Computers, Env't & Urb.
Sys. 127-52 (2000) ("Dykes").
4
  Frank Yee, GPS & Video Data Collection In Los Angeles County: A Status
Report, Position Location And Navigation Symposium, Proc. IEEE Position
Location and Navigation 388-93 (1994) ("Yee").
5
  Kheir Al-Kodmany, Using Web-Based Technologies and Geographic
Information Systems in Community Planning, 7 J. Urb. Tech. 1-31 (2000) ("Al-
Kodmany").
6
  Nada Bates-Brkljac & John Counsell, Issues in Participative Use of an
Historic City Millennial Web Site, IEEE Proc. Int'l Conf. Info. Visualization
119-25 (July 2000) ("Bates").
7
  US 6,282,362 Bl, issued Aug. 28, 2001.
8
  Michael J. Shiffer, Augmenting Geographic Information with
Collaborative Multimedia Technologies, 11 Proc. Auto Carto. 367-76
(1993) ("Shiffer").
9
  Tom Ishida et al., Digital City Kyoto: Towards A Social Information
Infrastructure, 1652 Lecture Notes in Artificial Int. from Int'l Workshop on
Cooperative Inf. Agents 23-35 (1999) ("Ishida").
10
   US 5,633,946, issued on May 27, 1997.

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      We have reconsidered the June 2021 Decision in light of Patent
Owner's contentions in the Request for Rehearing. Patent Owner sets forth
reasons why the earlier panel allegedly misapprehended or overlooked
points in entering the new grounds of rejection. As discussed below, we
maintain the determinations made in the June 2021 Decision.


                               DISCUSSION
       "The request for rehearing must address any new ground of rejection
and state with particularity the points believed to have been misapprehended
or overlooked in entering the new ground of rejection and also state all other
grounds upon which rehearing is sought." 37 C.F.R. § 41.77(b)(2) (2020);
see also 37 C.F.R. § 41.79(b)(l) (2020).
      Patent Owner argues that the June 2021 Decision does not construe
several terms in the claims of the '596 patent under their ordinary and
customary meanings. Req. Reh'g 2. These terms include "a composite
image" in claim 4 (id. at 2-8) and "accessing a web page for the retail
establishment; and invoking by the computer system a display of the web
page on the display screen" ("the Web Page Limitations") in claim 21 (id. at
8-10, 17). Patent Owner also asserts that Yee alone or Yee, Dykes, and
Lachinski do not disclose a "composite image" in claim 4. Id. at 10-16.
Regarding the combination of Ishida, Yee, and Dykes, Patent Owner argues
Ishida does not teach (1) "a composite image" (id. at 16) or (2) the Web
Page Limitations in claim 21 because Ishida does not disclose displaying
information as a web page (id. at 17-19).
      Requester disagrees. See generally 3PR Comments 1-11.



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        We address each of Patent Owner's contentions below.


                                 ANALYSIS
                            I. Claim construction
        A. "[A] composite image" in claim 4
        Claim 4 depends from canceled independent claim 1. 11 The phrase "a
composite image" is found in claim 4. The '596 patent 16:7. In the June
2021 Decision, the Board found this phrase in claim 4 means "a single
image created by combining different image data or [by] uniting image data .
     " Dec. 17.
        Patent Owner asserts that the phrase "composite image," as defined in
the June 2021 Decision, is "unclear" because "it does not define what is
meant by 'single image."' Req. Reh' g 3--4. Patent Owner argues that
"single image," consistent with the '596 patent's Specification, "would be
understood to refer to a single image that is created by uniting those multiple
image frames into a single image." Id. at 4. Patent Owner also argues that
"a composite image" "[a]s used in the Vederi patents" (1) "depicts a single
new view of the objects in the geographical area" (id. (citing the '596 patent,
5:54-61, 9:10-21)), (2) "[t]he single new view is different from any of the
views depicted in any one of the individual image frames prior to forming
the composite image" (id. (citing the '596 patent 2:37-39, 5:47-51)), and (3)
"would not encompass a collage of disparate images," including "a two-by-
two grid of views of four different participants on a video conference" (id. at


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  As explained in the June 2021 Decision, independent claims 1 and 15
have been canceled. See Dec. 3.

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8). For support, Patent Owner quotes and cites to various passages of the
'596 patent. See id. at 4-7 (quoting the '596 patent, 1:27-57, 2:10-12,
2:19-20, 2:33-39, 3:46--49, 5:45-51) (citing the '596 patent, Abstract, 3:54-
57, 5:45-6:5) (reproducing the '596 patent, Fig. 16; Provisional Application
No. 60/238,490, Fig. 11). Patent Owner concludes that "'composite image"'
under the Phillips 12 standard" and consistent with the '596 patent, "refers to
a single image created by combining different image data or by uniting
image data[,] where the single image provides a single view." Id. at 8.
         Requester asserts Patent Owner's arguments were previously rejected
by the Board and the Federal Circuit. See 3PR Comments 2--4 (citing
Vederi, 813 F. App'x at 503; Dec. 15; the '596 patent 5:66-6:1).
Additionally, Requester asserts Patent Owner is attempting to limit the
phrase "composite image" "to cover only narrow preferred embodiments in
the specification." Id. at 4 (citing Dec. 16).
         The Board gave the claim recitations in the '596 patent "'their
ordinary and customary meaning' as would have been understood by 'a
person of ordinary skill in the art in question at the time of the invention."'
Dec. 8 (quoting Phillips, 415 F.3d at 1312-13); see id. at 15 nn.11-13
(addressing the term "composite") (citing Merriam-Webster's Online
Dictionary (11th ed.)). Additionally, the Board panel stated"[ c]laims 'must
be read in view of the specification, of which they are a part"' and that "the
specification 'is always highly relevant to the claim construction analysis."'
Id. at 8-9 (quoting Phillips, 415 F .3d at 1315 (citations omitted)).
Consistent with these principles, the Board has considered how the


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     Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005).

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Specification describes "a composite image" in arriving at the current claim
construction. See id. at 14-16 (citing the '596 patent, Abstract, 2:22-24,
2:34-36, 3:46--49, 5:45--47, 5:66-6:1, Fig. 2).
      The Board further considered and gave appropriate weight to the
Federal Circuit's construction of the phrase "composite image," which
agreed with the Board's claim construction of "a composite image."
Dec. 15-16 (quoting Vederi, 813 F. App'x at 503). Notably, the Federal
Circuit rejected Vederi's proffered
      narrowing construction that would limit "composite image" to
      "a new image, created by processing pixel data of a plurality of
      image frames, that depicts a single new view (from a single
      location) of the objects in the geographical area that is different
      from any of the views depicted in any one of the image frames
      from which the composite image is created."

Vederi, 813 F. App'x at 503; see also the June 2021 Decision 15-16
(quoting Vederi, 813 F. App'x at 503).
      We thus disagree that the Board overlooked or misapprehended an
argument that the phrase "a composite image" in claim 4 was construed
inconsistent with the '596 patent or its plain and ordinary meaning as an
ordinarily skilled artisan would have understood.
      B. "[A} web page for the retail establishment" in claim 21
      Claim 21 ultimately depends from canceled independent claim 15 and
recites, in pertinent part, "accessing a web page for the retail establishment;
and invoking by the computer system a display of the web page on the
display screen." The '596 patent, 18:10-12. Regarding the recitation "web
page for the retail establishment," the June 2021 Decision states "we
understand the ordinary meaning of this phrase to include a web page that


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( 1) shows particular information about the retail establishment or (2) is
associated with a particular retail establishment." Dec. 18.
       Patent Owner contends that the June 2021 "Decision does not appear
to provide a construction for the term 'web page' in accordance with the
ordinary meaning of the phrase." Req. Reh'g 9. Patent Owner
       submits that a person of ordinary skill in the art at the time of
       the invention would understand that a Web page is a hypertext
       document written in the Hypertext Markup Language (HTML),
       which may further include images, video, and/or client-side
       scripts (e.g., VB Script or JavaScript)[], and a Web browser
       renders a Web page to be displayed to a user.


Id. at 10; see id. n. l (citing Web page, The American Heritage® Dictionary
of the English Language ("n. A document on the World Wide Web,
consisting of a hypertext file and any related files for scripts and graphics,
and often hyperlinked to other documents on the Web"), 17 (same); id. at 9-
10 (citing the '025 patent 12:53-56, Fig. 16 13 ) ( omitting footnote).
       Requester contends that the Federal Circuit found "for this exact
term[,] that ... '[t]he specification does nothing to limit [the] broad claim
language' at issue." 3PR Comments 8 (quoting Vederi, 813 F. App'x at
504). 14 Requester asserts that Patent Owner does"[ n Jot heed[] the Federal
Circuit's caution" and instead attempts to narrow the claim construction of
the "web page" to include "a 'web browser' limitation," which is not
supported by the dictionary definition presented by Patent Owner and is only
described as a preferred feature in the '596 patent's Specification. Id. at 8-9

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   Column 12, lines 53-56 and Figure 16 of the '596 patent are similar to
U.S. 7,805,025 B2 ("the '025 patent"). See 3PR Comments 9 n.4.
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   The quotation is found at Vederi, 813 F. App'x at 505.

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(citing Req. Reh' g 10 n. l; Web page, The American Heritage® Dictionary of
the English Language; the '596 patent 12:53-56).
      We did not construe the phrase "web page" explicitly in the June 2021
Decision. We did consider the '596 patent cited by Patent Owner in
addressing what "a web page for the retail establishment" would
encompass-"a web page that (1) shows particular information about the
retail establishment or (2) is associated with a particular retail
establishment." Dec. 18 (discussing the '596 patent 12:48, 12:53-54).
Furthermore, as the Federal Circuit found, "[t]he specification does nothing
to limit this broad claim language" of "accessing a web page for the retail
establishment" as claim 21 recites. Vederi, 813 F. App'x at 505. As such,
contrary to Patent Owner's assertions (see Req. Reh'g 10), the Specification
does not define or limit the phrase "web page" found in claim 21 to include a
web browser for rendering and displaying the web page. Indeed, the
definition of "web page" provided by Patent Owner-"[ a] document on the
World Wide Web, consisting of a hypertext file and any related files for
scripts and graphics, and often hyperlinked to other documents on the Web"
( Web page, The American Heritage® Dictionary of the English Language,
available at https://www.ahdictionary.com/word/search.html?q=web+
page )-does not require a rendered web page to be displayed using a web
browser as Patent Owner argues.
      Additionally, although the Specification's column 12 describes an
embodiment that "preferably" displays a web page "on a separate browser
window" (the '596 patent 12:55-56), we decline to import this specific
embodiment into claim 21, which only recites "invoking ... a display of the



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web page on the display screen" without limiting this invocation to using a
web browser. Id. at 18:11-12; see also Phillips, 415 F.3d at 1323
("[ A ]lthough the specification often describes very specific embodiments of
the invention, [the Federal Circuit] ha[s] repeatedly warned against
confining the claims to those embodiments."), quoted in Dec. 16.
      That said, Patent Owner has provided a definition of "a web page,"
which is "[a] document on the World Wide Web, consisting of a hypertext
file and any related files for scripts and graphics" as an ordinary meaning of
this term. Web page, The American Heritage® Dictionary of the English
Language, cited in Req. Reh'g 10. Other than disputing the "unduly narrow
construction requiring a 'web browser'[,]" Requester has not challenged this
proposed ordinary meaning of "web page." See 3PR Comments 8-9. On
the record, we find this definition is one plain meaning of the phrase "web
page." The remainder of the "web page" definition, however, states the
document is "often hyperlinked to other documents on the Web" (Web page,
The American Heritage® Dictionary of the English Language (emphasis
added)), and thus, this hyperlinked feature is not required to be "a web page"
as claim 21 recites.
      We thus disagree that the Board overlooked or misapprehended an
argument that the phrase "a web page" in claim 21 was construed
inconsistent with the '596 patent or its plain and ordinary meaning as an
ordinarily skilled artisan would have understood it. We further determine "a
web page" includes a document on the World Wide Web, consisting of a
hypertext file and any related files for scripts and graphics.




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                     II. New grounds based on prior art
A. Yee, Lachinski, and Dykes
       The June 2021 Decision presented a new ground of rejection for
claim 4 under 35 U.S.C. § 103(a) based on Yee, Lachinski, and Dykes. See
Dec. 19-27.
       1. "[A] composite image"
       Patent Owner argues that Yee does not disclose "a composite image"
in claim 4 "under the proper construction of the term under the Phillips
standard" consistent with the '596 patent. Req. Reh'g 10; see id. at 10-14.
Patent Owner contends Yee fails to provide examples of "composites of
them" and Lachinski does not use the word "composite." Id. at 11. Patent
Owner also argues that the GeoSpan Brochure 15 "provides a clear example
of a 'composite view' as the term was used by Geo Span, which is the system
described by Yee" and "clarifies the meaning of 'composites of them' as the
term was used in Yee .... " Id. at 12 (reproducing the image in the GeoSpan
Brochure on GEO 0000173). Patent Owner contends "there is no other
evidence cited from the record associated with [the] Yee reference (e.g.,
related to the work by the GeoSpan Corporation) that uses the word
'composite' or variants thereof." Id.; see id. at 12-13 (citing Yee 389;
Dec. 25). Patent Owner argues the GeoSpan Brochure's figure "show[s]
four images," and it "would be ... uncustomary" (id. at 13) to an ordinarily


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  DRIVE AROUND TOWN ON YOUR PC WITH GEOVISTA, VISUAL
GEOGRAPHIC INFORMATION, GEO 0000172-177 ("the GeoSpan Brochure').
Patent Owner asserts this reference was included in its January 8, 2013
Reply "as Appxl332." Req. Reh'g 11. Patent Owner also indicates this
reference is attached as Exhibit A. Id. at 12.

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skilled artisan to consider this figure as "a single image" (id. at 14).
      As addressed in Section I.A, we determined that the phrase
"composite image" consistent with the '596 patent and its plain and ordinary
meaning is "a single image created by combining different image data or
[by] uniting image data" (Dec. 17), and that "a single image" does not have
to be a new image that depicts a single new view from a single location that
is different from any of the views (see id. at 15-16).
      Additionally, contrary to Patent Owner's assertion, Yee provides
some evidence of what its composites will be. As stated in the June 2021
Decision,
      Yee actually discloses "composites." That is, Yee states
      "[ sJome of the specific data to be collected and made available .
      . . include: curbside view, front and back; street view, front and
      back; real estate view left and right; real estate and addresss
      [sic] zoom, 4-view; and composites of them." Yee 389
      (emphasis added). This portion of Yee explicitly discloses a
      composite image (i.e., "composite of them"). Id. Notably, the
      language "composites of them" in Yee is separate from the
      other described views, including the 4-view, and "them" refers
      back to the other discussed views, including a curbside view, a
      street view, and a real estate view.

Dec. 22 (latter two emphases added); see also Yee 389; 3PR Comments 4-6
(noting Yee explicitly used the term "composite" and provides that the
composite can be of any of the above-described views) (citing Dec. 22-24).
      Regarding the GeoSpan Brochure, we are not persuaded that this
demonstrates Yee' s "composites of them" are only four images rather than a
single image. See Req. Reh'g 13-14. Although "Geo Vista" and "GeoSpan"
are discussed in Yee (see, e.g., Yee 388, 392), there is insufficient evidence



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that the "4-way" view in the GeoSpan Brochure demonstrates the only
possible 4-view that Yee creates. See Dec. 24-25 (stating "Patent Owner
presumes the example from 'the GeoSpan Brochure'[] (PO Appeal Br. 22
n.2) is the only '4-view' that Yee envisions") (footnote omitted). Also, the
reproduced image in the Request for Rehearing (Req. Reh'g 12) is described
as a "4-way Composite View" (id. (emphasis added)), whereas Yee
describes the "4-view" as a separate view from the "composite of them" and
other views. Yee 389; see also Dec. 22 (stating "the language 'composites
of them' in Yee is separate from the other described views, including the 4-
view") (emphasis added).
      Furthermore, regardless of whether Lachinski uses the word
"composite" (Req. Reh' g 11 ), we find that Lachinski provides insight as to
what Yee's "4-view" may be. Specifically, the June 2021 Decision
determined:
      Yee discusses a "4-view" example but does not provide details
      concerning how the view is formed. See [Yee] 3 89. Lachinski,
      which is a patent assigned to GeoSpan Corporation (Lachinski,
      code (73)), explains:
              The four-view generator 62 has four inputs 82,
              allowing signals from four of the video cameras 50
              to be input simultaneously. The generator 62
             reduces the image represented by each signal to
              one-fourth of its original size and then combines
              the reduced images to form a single video image
             by placing each of the reduced images into one of
             the four comers of an output image.
      Id. at 5:25-31 (emphasis added), Fig. 3. Thus, the 4-view
      discussed in Yee (Yee 389) can be produced as a single image
      that combines four reduced images (e.g., different image data at
      the pixel data level), one in each of four comers that is reduced
      in size as taught by Lachinski's known technique.


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                 ... [E]ach of the "four views in a frame" discussed in
         Yee (Yee 392) or the "single video image" with four reduced
         views (e.g., one-fourth of its original size that form "reduced
         images" as explained in Lachinski (Lachinski 5 :25-31 )) is a
         single image that is made up of different parts or image frames
         (e.g., image data from multiple views) and combines pixel
         image data from each of the different view image frames
         collectively to create the single 4-view image. Yee, as
         evidenced by Lachinski, therefore teaches and suggests another
         example of "a composite image" as claim 4 recites.

Dec. 25-26 (emphases added); see also 3PR Comments 5 (stating "[a]nother
example of a 4-view of Yee, as further explained in Lachinski, [J includes a
single image made out of four reduced size images") (citing Yee 392;
Lachinski 5:25-31, Fig. 3) (footnote omitted).
         Lastly, Patent Owner's arguments (Req. Reh'g 10-14) overlook the
Decision's further discussion of Dykes's teachings in this regard. The June
2021 Decision additionally states:
                 To the extent that Yee's "composites of them" are not
        considered to teach or suggest "each composite image is created
        by processing pixel data of a plurality of the image frames" as
        claim 4 recites (for which we do not agree), the rejection
        further relies on Dykes. Dykes teaches a known technique for
        creating "composites" by combining and uniting image data
         (e.g., stitching) to produce a panoramic image. Dykes 132-36,
        Fig. 2. When substituting Dykes's known technique of forming
        a composite (e.g., a panoramic image) for Yee's composite
        image forming technique, "the combination must do more than
        yield a predictable result." KSR, 550 U.S. at 416.[ 16] . . . Thus,
        combining Dykes' s teaching related to creating "a composite
        image" with Yee would have improved on Yee's system by
        providing educational information, evoking a visual and engaging

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     KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398,416 (2007).

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      experience, and provide the ability to navigate across a virtual
      space. See KSR, 550 U.S. at 417.

Dec. 23-24 (emphasis added); 3PR Comments 6 (citing Dec. 23; Sept. 2018
Decision 10 (vacated)).
      Accordingly, we are not persuaded that the rejection fails to
demonstrate that Yee, Lachinski, and Dykes teach or suggest "a composite
image" as recited in claim 4, such that the Board misapprehended or
overlooked a point in the newly presented ground.

      2. Rational underpinning for combining Yee, Dykes, and Lachinski
      Patent Owner "submits that it is unclear why one of skill in the art
would have combined the cited Yee, Dykes, and Lachinski ... to arrive at
'composite image' as properly construed under the Phillips standard." Req.
Reh'g 14; see id. at 14-16 (quoting Dec. 23; Dykes 135) (reproducing
Dykes, Fig. 2). Patent Owner argues that Dykes requires that there be a
"small overlap" between images, Yee does not disclose the "small overlap"
feature allegedly required by Dykes, and "it is unclear that the images
acquired by Yee are suitable for use in the 'stitching feature' allegedly
described by Dykes." Id. at 16.
      We are not persuaded. As the Court states, "when a patent claims a
structure already known in the prior art that is altered by the mere
substitution of one element for another known in the field, the combination
must do more than yield a predictable result." KSR, 550 U.S. at 417. As
stated (see Dec. 23), combining Yee and Dykes to arrive at a "composite
image" (e.g., a panoramic image) is no more than the simple substitution of
one known element (e.g., Yee's "composites of them" (Yee 389)) for



                                       15



                                  Appx284
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another (e.g., Dykes's composite image arrived at by stitching images
together (Dykes 134-36, Fig. 2)) or "the mere application of a known
technique to a piece of prior art ready for the improvement." KSR, 550 U.S.
at 417.
      Moreover, Patent Owner does not demonstrate adequately that the
proposed combination would not yield the predictable result of "a composite
image" as claim 4 recites. See Req. Reh'g 14-16. As Requester indicates
(see 3PR Comments 7-8), Yee captures many images, which would
encompass the coverage needed to create Dykes' s panoramic images. See
id. at 7 (citing Yee 391) (noting Yee teaches 10 cameras capturing 63-degree
horizontal, angled views). We further agree with Requester that Yee teaches
or at least suggests to an ordinarily skilled artisan that some of its images
would contain the needed overlap discussed in Dykes' s stitching techniques
(see Dykes 135) as evidenced by (1) the front, back, left, right, curbside,
street, real estate, and address views (see Yee 389,391), and (2) collecting
data "looking globally" and "comprehensively" to "ensure[] no object is lost
behind an obstruction" (id. at 390).
      For the reasons discussed above, we are not persuaded that the
rejection fails to provide a reason with a rational underpinning to combine
Yee and Dykes and to arrive at the claims at issue, such that the Board
misapprehended or overlooked a point in the newly presented ground.
      Conclusion
      For the foregoing reasons, Patent Owner has not identified a point that
the Board misapprehended or overlooked in entering the new ground of
claim 4 under 35 U.S.C. § 103(a) based on Yee, Lachinski, and Dykes.



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      B. Ishida, Yee, and Dykes
      Claims 4 and 21 are rejected under 35 U.S.C. § 103(a) based on
Ishida, Yee, and Dykes. Dec. 19, 27-37. Regarding the combination of
Ishida, Yee, and Dykes, Patent Owner argues: ( 1) Ishida does not describe
"a composite image" as claim 4 recites (Req. Reh' g 16), and (2) Ishida does
not teach the Web Page Limitations in claim 21 because Ishida does not
disclose invoking a display of a web page for a retail establishment (id. at
17-19).
       1. "[A] composite image" in Claim 4
      Patent Owner argues Ishida does not describe "a composite image" as
claim 4 recites. Req. Reh' g 16. This assertion, however, fails to account for
the teachings of Dykes related to "a composite image" as the rejection is
formulated. See Dec. 27 (citing Request 210-222; RAN 17-19); see also
Request 220-22 (citing Dykes 134-35, Fig. 2 to teach claim 4's recitations)
(reproducing Dykes, Fig. 2 (annotated)). One cannot show nonobviousness
by attacking references individually where the rejection, as is here, is based
on combinations of references. See In re Merck & Co., 800 F .2d 1091, 1097
(Fed. Cir. 1986). Moreover, as discussed above in the context of the
rejection based on the Yee, Lachinski, and Dykes, Yee alone or Yee and
Dykes in combination further teach or suggest creating "a composite image"
as claim 4 recites. We refer to Section II.A. I for more details.
      Accordingly, we are not persuaded that the rejection fails to
demonstrate that Ishida, Yee, and Dykes teach or suggest "a composite
image" as recited in claim 4, such that the Board misapprehended or
overlooked a point in the newly presented ground.



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        2. The Web Page Limitations in Claim 21
        Patent Owner argues that Ishida does not disclose "invoking ... a
display of the web page" for the retail establishment under its proposed
construction because it only discusses displaying information from a web
page, not the web page itself. See Req. Reh'g 17-19 (quoting Dec. 50-51 17 ;
Ishida 28-29) (citing Ishida 24). Patent Owner further argues Ishida does
not use a web browser to display the web page. Id. at 19 (citing Ishida 32-
33).
        As to the latter argument, we are not persuaded. Based on our
construction in Section LB, claim 21 does not require using a web browser
to "invok[ e] ... a display of the web page on the display screen" as recited.
        Regarding whether Ishida discloses "invoking ... a display of the web
page [for the retail establishment] on the display screen" found in claim 21,
we also are not persuaded by Patent Owner's arguments. To be sure, Ishida
does not use the term "web page" explicitly when discussing its digital city.
However, Ishida discusses a "3DML WEB plug-in" (Ishida 27), "any site on
the WEB" (id.), and "a WEB and ftp interface" (id. at 28) when addressing
"a human interface to Digital City Kyoto that combines 2D maps with
several 3DML spots." Id. at 27; see also Dec. 28 (stating Ishida's social
information infrastructure "integrates both World Wide Web archives and
real-time information related to the city into WEB and ftp interface (e.g., the
interface or second layer) on the Internet") (emphasis added) (citing Ishida
23-25, 28-30, Fig. 5(b)), 28-29 (stating "each of these web pages in Ishida
(e.g., WEB and ftp interface)"), 31 (discussing "WEB pages that are part of


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     The quotation comes from the June 2021 Decision at pages 28-29.

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Ishida's digital city interface"). Additionally, Ishida describes its digital city
as "the Digital City Kyoto site." Ishida 31 (emphasis added). We thus
disagree that Ishida does not state how the information in Ishida is displayed
as Patent Owner argues. See Req. Reh' g 19. That is, the above passages
address using an interaction layer (Ishida 25), a 3DML WEB plug-in (id. at
27), a WEB and ftp interface (id. at 28), and a WEB environment (id. at 31 ).
      These portions of Ishida suggest to an ordinarily skilled artisan that its
digital city and web interface displayed on a user's screen is a web page.
Alternatively, these portions in Ishida at least suggest to an ordinarily skilled
artisan that using a web page to display the information in Ishida's interface
would have been an obvious variant in light of the similar functionality of
displaying web information. See KSR, 550 U.S. at 417 ("When a work is
available in one field of endeavor, design incentives and other market forces
can prompt variations of it, either in the same field or a different one. If a
person of ordinary skill can implement a predictable variation, § 103 likely
bars its patentability."). Also, a person of ordinary of skill would have had
good reasons to pursue displaying Ishida's interface as a web page because
this technique was known as evidenced by Ishida. See Ishida 31 (discussing
"the WEB environment" and "bring[ing] up web pages"). As such, Ishida at
least suggests the recited "invoking ... a display of the web page on the
display screen" as claim 21 recites.
      Patent Owner fails to address the above-noted passages in Ishida in
the Request for Rehearing. Rather, Patent Owner quotes portions of the
June 2021 Decision discussing that Ishida collects data from various web
pages. See Req. Reh'g 17-18. Moreover, Requester provides another



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example where a tour guide agent can bring up web pages. 3PR Comments
9-10 (citing Ishida 9 18) (reproducing Ishida, Fig. 6). Given that Figure 6
shows the city project includes a web browser to present the information on
the display screen, Ishida at least suggests that Ishida's digital city
"invok[ es] ... a display of the web page on the display screen" as claim 21
recites.
       Accordingly, we are not persuaded that the rejection fails to
demonstrate that Ishida, Yee, and Dykes teach or suggest "invoking ... a
display of the web page on the display screen" as recited in claim 21, such
that the Board misapprehended or overlooked a point in the newly presented
ground based on Ishida, Yee, and Dykes.
       Conclusion
       For the foregoing reasons, Patent Owner has not identified a point that
the Board misapprehended or overlooked in entering the new ground under
35 U.S.C. § 103(a) based on Ishida, Yee, and Dykes for claims 4 and 21.


                                CONCLUSION
       We have granted the Request for Rehearing to the extent that we have
reconsidered the Decision in light of Patent Owner's Request for Rehearing,
but have denied the Request for Rehearing in all other respects.




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  Requester refers to the pages in Ishida differently in its comments and the
Request. Compare 3PR Comments 9 (citing Ishida 9), with Request 235-36
(quoting Ishida 30-31). We use similar page numbering to the Request. For
example, in the above citation, page 9 cited in the Requester's comments is
page 31.

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Outcome of Decision on Rehearing:

                                                           Denied
4                103(a)         Yee, Dykes,            4
                                Lachinski
4,21             103(a)         Ishida, Yee, D kes     4, 21
Overall                                                4,21
Outcome

Final Outcome of Appeal after Rehearing:




             102(a)
4            102(b) Yee                                    4
4            102(a) Al-Kodman                              4
4            102(a) Bates                                  4
4            103(a) Murph , Yee                            4
4            103 a Shiffer, Yee                            4
4,21         103(a) Ishida, D kes                          4,21
4            103(a) Yee, Dykes,                                       4
                    Lachinski
4,21         103(a) Ishida, Yee, D kes                                4,21
Overall                                                    4,21       4,21
Outcome


       Requests for extensions of time in this inter partes reexamination
proceeding are governed by 37 C.F.R. § 1.956. See Manual of Patent Examining
Procedure (MPEP) § 2665; see also 37 C.F.R. § 41.79.


                                   DENIED




                                      21



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PATENT OWNER:

Lewis, Roca, Rothgerber, Christie LLP
P. 0. Box. 29001
Glendale, CA 91209-9001

THIRD PARTY:

O'Meleveny & Myers LLP
IP & T Calendar Department
400 South Hope Street
Los Angeles, CA 90071-2899




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                              Appx291
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                                                                                                            US007239760B2


c12)   United States Patent                                                          (IO)   Patent No.:     US 7,239,760 B2
       Di Bernardo et al.                                                            (45)   Date of Patent:       Jul. 3, 2007

(54)    SYSTEM AND METHOD FOR CREATING,                                                 5,381,338 A     *    1/1995 Wysocki et al. ............ 701/207
        STORING, AND UTILIZING COMPOSITE                                                5,633,946 A          5/1997 Lachinski et al.
        IMAGES OF A GEOGRAPHIC LOCATION                                                 5,668,739 A          9/1997 League et al.
                                                                                        5,802,492 A     *    9/1998 DeLorme et al . ........ 455/456.5
(76)    Inventors: Enrico Di Bernardo, 783 N. Craig
                                                                                        5,926,116 A          7/1999 Kitano et al.
                   Ave., Pasadena, CA (US) 91104; Luis
                   F. Goncalves, 1133 Pine St. #109,
                   South Pasadena, CA (US) 91030

( *)    Notice:      Subject to any disclaimer, the term of this                                               (Continued)
                     patent is extended or adjusted under 35                                         OTHER PUBLICATIONS
                     U.S.C. 154(b) by O days.
                                                                                Lin-Eftekhar, Judy, "Virtual Los Angeles Today-A Virtual World
(21)    Appl. No.: 11/130,004                                                   Tomorrow" Article, Quest, 2000, pp. 4-8, 40.

(22)    Filed:       May 16, 2005                                                                              (Continued)

(65)                     Prior Publication Data                                 Primary Examiner-Kanjibhai Patel
                                                                                (74) Attorney, Agent, or Firm-Christie, Parker & Hale,
        US 2005/0207672 Al            Sep. 22, 2005
                                                                                LLP
                 Related U.S. Application Data
                                                                                 (57)                         ABSTRACT
(62)    Division of application No. 09/758,717, filed on Jan.
        11, 2001, now Pat. No. 6,895,126.
(60)    Provisional application No. 60/238,490, filed on Oct.                   A system and method synthesizing images of a locale to
        6, 2000.                                                                generate a composite image that provide a panoramic view
                                                                                of the locale. A video camera moves along a street recording
(51)    Int. Cl.                                                                images of objects along the street. A GPS receiver and
        G06K 9/60                   (2006.01)                                   inertial navigation system provide the position of the camera
        G0SG 11123                  (2006.01)                                   as the images are being recorded. The images are indexed
        H04N 7100                   (2006.01)                                   with the position data provided by the GPS receiver and
        G0lC 21100                  (2006.01)                                   inertial navigation system. The composite image is created
(52)    U.S. Cl. ................... 382/305; 340/995.1; 348/113;               on a column-by-colunm basis by determining which of the
                                                         701/207                acquired images contains the desired pixel colunm, extract-
(58)    Field of Classification Search ................ 382/103,                ing the pixels associated with the colunm, and stacking the
               382/104, 113,305, 284, 285; 340/990, 995.1,                      columns side by side. The composite images are stored in an
           340/995.11, 995.17; 348/113-118; 701/200-213;                        image database and associated with a street name and
                                                       707/1, 100               number range of the street being depicted in the image. The
        See application file for complete search history.                       image database covers a substantial amount of a geographic
(56)                     References Cited                                       area allowing a user to visually navigate the area from a user
                                                                                terminal.
                  U.S. PATENT DOCUMENTS
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                                                                 Appx292
    Case: 22-1477                        Document: 15                     Page: 361              Filed: 08/01/2022




                                                       US 7,239,760 B2
                                                                 Page 2


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                                                          Appx293
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                          \_\.:
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 j               16
 l'       GPS
 1      receiver
 '''
                                                                                           Video-cameras
 i
 '
 ''    '-------'
                           .
                           ''                  Computer              34               12
                            ''
 '''                       '
 :_ __ .20--·- ---------....:



                                                Trajecto ry          36
                                                     OB
                                                                                                     38
                            ,-----------------
                            •I                                       28
                                                                                 ------------v
                                                                                           39
                                                                                VCR
                                                Compu ter




                                                     Image
                                                      DB
                                                                      32
                                 I


                                 :_______________________________________________________ ,
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                                                             Fig.I




                                                     Appx294
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42
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               46




                                       Fig.2




                                       Appx295
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           Acquire video              60
           and position
            information



         image sequences              62
          with position
              .          .


              Segment and
                label geo-           64
              location data


                  Generate
                  s}nthetic          66
                   images
                  database


                  Generate
                  relational         68
                   database




                                                          Fig.3

                                     Appx296
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         Select suitable landma rk in                     70
        images equenc ethatap pearsL_ _,_
        in at least two distinct image
                     frames



          Measur e time differen ce T                     72
          in image sequenc e between
           the two landma rk crossing
                     times




          For each point on the path                           74
          find the time of return 1r(x)




       Find the coordin ate x for which
                                                                 76

                     t.-(x)   =T




                    Fig.4

                                   Appx297
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                                              Start

                                     Select suitable landmark in
                                                                                  80
                                    image sequence that appears
                                    in at least two distinct image
                                                 frames



                                                                                  82
                                      Initialize the time phase
                                      using camera time stamp




                                     easure distance between the                  84
                                       two geo-locations that
                                      correspond to landmark
                                              crossing




                                    No
                                                                             86
           Modify time phase




98                                                 i   Yes
                                                                                  Fig.5
                                               8


                                    Appx298
                                                                                                                          .e00
                                                              UTC clock                90                                 .




                                                                                                                                     Case: 22-1477
                                                              generator                                                   ~
                                                                                                                          ~
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                                                                                                                          ~


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                                                                                  LANC port_,,1
                                                               RS-232
                                                              Multiplexer                                                 2'
               I       GPS                 I                                                                              :-'




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                      receiver                                                                                            N
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Appx299




                                                                                                          Video-cameras
                                                                                                                          rJJ
               IAccelerometers
                                                                                       28                                 =-
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                                                              Computer                               92                   .....
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             Compute optical flow of                         100
         bottom rows in image sequence




            Obtain vehicle tangential                       102
                  velocity GPS
                     reading



      Register the two velocity profiles to                   104
      obtain alignment of singular points
        (local minim~ maxima or zero
                    crossings)




      Read out the time phase between two
                                                                 106
                     signals.




                     Fig.7

                                   Appx300
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                                            Segment camera trajectory
                                         in elementary straight segments
                                                                                       120
                                          detecting points of maximum
                                                    curvature



                                             Determine intersection
                                            coordinates as the points                122
 128                                       where segment orthogonally
                                             intersect or maximum
                                            curvature turns are made



                                            Determine correspondences                  124
                                          between detected intersections
 Geographic information
                                          and intersections in geographic
        database
                                               information database




                                             Associate segments with
                                                                                      126
                                           information from geographic
                                               information database




                                                    Fig.8




                                         Appx301
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                              Fig.9


                                   Appx302
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       Calculate position xe               130
        on sheet segment
                      (position Xe on street segment)
 --------------~
  Compute array of equidistant
                                            132
 positions along camera trajectory
        centered around xe

                       (array of arc length coordinates: xi, i = l..N)

    Find for each location xi the        134
   corresponding position time ti.

                        (array of position times)

   Use time phase computed in the
   synchronization step to convert         136
    position times to video times
                        (array of video times)

   or each video time, generate the
    corresponding column array             138
         of RGB pixel values

                               (array of video columns)
 ,----------'----------,
 Stack all columns side by side to        140
 generate one single image bitmap

                         (composite image)
                                                                         Fig.10




                                     Appx303
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          Find image frame acquired at
                   time ti or the
                                                            150
                 time closest to ti

                                    ( frame index ~)


           Set current position of image                   152
               sequence to frame~


                                    ( frame buffer)

         Read out of the frame buffer the                   154
              column with index i

                                    (array of RGB intensities)




                         Fig.11

                                   Appx304
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                                                                         160
      ind the 2 *N image frames that are
             the closest to time ti


                               (frame indexes         f/ ,~2 ,   ... ,   fi 2N)

        Compute dense optical flow                                  162
          for each one of the 2*N
                  frames



                                                                         164
      Infer the column of RGB values
            for column i at time ti


                        ~--(array of RGB intensities)




                    Fig.12

                                   Appx305
           172        174           176                 178        180             182           184           186         188     .e
                                    Side of                                      Segments                                 Offset
                                                                                                                                   .
                                                                                                                                   r:J).




                                                                                                                                              Case: 22-1477
                                                                Segments       Adjacent to To                                      ~
                                  Street with                                                                                      ~
                                                               Adjacent to      Coordinates Distance from    Length of             ~
          Segment    Street     Respect to Hub    End Point                                                                        ~
            ID       Name                        Coordinates      From
                                                               Coordinates
                                                                                                 Hub         Trajectory
                                                                                                              Segment              =
                                                                                                                                   ~




             1                                                    2(N)             5(N)
                                                                                             ( 120m, 122m)   (28m, 30m)   (2,0)    a-
                    Colorado        West         . (10, 10),      4(S)             7(S)
                                                                                                                                   =-




                                                                                                                                              Document: 15
                    Boulevard                      (50, 10)       3(W)             l(W)                                            ~~

                                                                   l(E)            6(E)                                            N
                                                                                                                                   0
                                                                                                                                   0
                                                                                                                                   -....J
Appx306




                                                                  5(N)             8(W)
             6      Colorado        West           (50, 10)       7(S)             lO(S)     (130m, 134m)    (20m, 22m)   (0,0)
                                                                                                                                   rJJ
                    Boulevard                      (65,10)        l(W)             6(W)                                            =-
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                                                                  6(E)              9(£)                                           .....
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                                      Fig.16




                                     Appx309
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          240--.        I
                            A street address is input on    I
                                                                             User terminal retrieves
                                                                             from the host computer      I   - - - 248   =
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                                 the user tenninal                I      I    info about new street
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           242--...      I
                                 Address is sent to
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                                                                             host computer a composite                   0
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                                  host computer             I      I           image corresponding                       -....J
Appx310




                                                                                to the input location
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                                                                                        I                                rJJ
                            A query is run on the host                                                                   =-
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           244--.....   I computer to find street                                                            ~212        ....-....J
                         segment index that correspond                            Update display

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                         to such address and the relative                                                                0

                             position on that segment                                                                    QO




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            246              Query result is sent back to
                             the user tenninal together
                                     with a map                                                                          d
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                                of the input location                                                                    -....l
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          260----.      I
                                  User select a location
                                                                               User tenninal
                                                                          retrieves from the host
                                                                           computer info about
                                                                                                     I   ~   268    =
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                                       on the map
                                                                            new street segment
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          262-.......       I     Screen coordinates are                 Client retrieves from the           270    ~~
                                                                                                                    N
                                 converted to geographic                host computer a composite                   0
                                                                                                                    0
                                 location coordinates and               image corresponding to the                  -....J
                                 sent to the host computer                     input location
Appx311




                                                                                                     I
                                                                                     I                              rJJ
                           A query is run on the host                                                               =-
                                                                                                                    ('D

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                                                                                                                    ('D




                                                                                                                               Page: 379
          264---.       I computer to find street                                                                   ....
                            segment index that is the                         Update display                        QO


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                         closest to the input geographic                                                            0

                              location coordinates                                                                  QO




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           266--..      I       Query result is sent back to
                                the user tenninal together
                                        with a map
                                   of the input location
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     SYSTEM AND METHOD FOR CREATING,                                    ever, is computationally intensive and hence cumbersome
     STORING, AND UTILIZING COMPOSITE                                   and inefficient in terms of time and cost.
     IMAGES OF A GEOGRAPHIC LOCATION                                      Accordingly, there is a need for a system and method for
                                                                        creating a visual database of a comprehensive geographic
           CROSS-REFERENCE TO RELATED                                   area in a more time and cost efficient manner. Such a system
                  APPLICATION(S)                                        should not require the reconstruction of 3D scene geometry
                                                                        nor the dense sampling of the locale in multiple dimensions.
   This application is a divisional of application Ser. No.             Furthermore, the images in the database should provide a
09/758,717 filed Jan. 11, 2001, now U.S. Pat. No. 6,895,126,            wider field of view of a locale to provide context to the
issued May 17, 2005, which claims the benefit of U.S.              10   objects being depicted. The database should further correlate
provisional patent application No. 60/238,490, filed Oct. 6,            the images with additional information related to the geo-
2000, the disclosures of which are hereby incorporated by               graphic location and objects in the location to further
reference in their entirety for all purposes.                           enhance the viewing experience.

               FIELD OF THE INVENTION                              15               SUMMARY OF THE INVENTION

   This invention relates to visual databases, specifically to             The present invention addresses and alleviates the above-
the creation and utilization of visual databases of geographic          mentioned deficiencies associated with the prior art. More
locations.                                                              particularly, the present invention is directed to a computer-
                                                                   20
                                                                        implemented system and method for synthesizing images of
         BACKGROUND OF THE INVENTION                                    a geographic location to generate composite images of the
                                                                        location. The geographic location may be a particular street
   There exist methods in the prior art for creating visual             in a geographic area with the composite images providing a
databases of geographic locations. However, such databases              view of the objects on each side of the street.
                                                                   25
are oflimited use due to the method of acquiring the imagery               According to one aspect of the invention, an image
as well as the kind of imagery acquired. One particular                 recording device moves along a path recording images of
method involves the taking of individual photographs of the             objects along the path. A GPS receiver and/or inertial
location and electronically pasting the photographs on a                navigation system provides position information of the
polygonal mesh that provide the framework for a three-                  image recording device as the images are being acquired.
                                                                   30
dimensional (3D) rendering of the location. This method,                The image and position information is provided to a com-
however, is time consuming and inefficient for creating                 puter to associate each image with the position information.
large, comprehensive databases covering a substantial geo-
                                                                           The computer synthesizes image data from the acquired
graphic area such as an entire city, state, or country.
                                                                        images to create a composite image depicting a view of the
   Another method uses video technology to acquire the                  objects from a particular location outside of the path. Pref-
                                                                   35
images. The use of video technology, especially digital                 erably, the composite image provides a field of view of the
video technology, allows the acquisition of the image data at           location that is wider than the field of view provided by any
a higher rate, reducing the cost involved in creating the               single image acquired by the image recording device.
image databases. For example, the prior art teaches the use
                                                                           In another aspect of the invention, the path of the camera
of a vehicle equipped with a video camera and a Global
                                                                   40   is partitioned into discrete segments. Each segment is pref-
Positioning System (GPS) to collect image and position data
                                                                        erably associated with multiple composite images where
by driving through the location. The video images are later
                                                                        each composite image depicts a portion of the segment. The
correlated to the GPS data for indexing the imagery. Nev-
                                                                        composite images and association information are then
ertheless, such a system is still limited in its usefulness due
                                                                        stored in an image database.
to the lack of additional information on the imagery being
                                                                   45      In yet another aspect of the invention, the image database
depicted.
   The nature of the acquired imagery also limits the use-              contains substantially all of the static objects in the geo-
fulness of such a system. A single image acquired by the                graphic area allowing a user to visually navigate the area
video camera contains a narrow field of view of a locale (e.g.          from a user terminal. The system and method according to
a picture of a single store-front) due to the limited viewing           this aspect of the invention identifies a current location in the
                                                                   50   geographic area, retrieves an image corresponding to the
angle of the video camera. This narrow field of view
provides little context for the object/scene being viewed.              current location, monitors a change of the current location in
Thus, a user of such an image database may find it difficult            the geographic area, and retrieves an image corresponding to
to orient himself or herself in the image, get familiar with the        the changed location. A map of the location may also be
locale, and navigate through the database itself.                       displayed to the user along with information about the
                                                                   55   objects depicted in the image.
   One way to increase the field of view is to use a shorter
focal length for the video camera, but this introduces dis-
                                                                                  DESCRIPTION OF THE DRAWINGS
tortions in the acquired image. Another method is to increase
the distance between the camera and the buildings being
filmed. However, this may not be possible due to the limit         60
                                                                           FIG. 1 is a schematic block diagram of a data acquisition
on the width of the road and constructions on the opposite              and processing system for acquiring image and position data
side of the street.                                                     used to create composite images of a geographic location;
   The prior art further teaches the dense sampling of images              FIG. 2 is an illustration of a composite image created by
of an object/scene to provide different views of the object/            the data acquisition and processing system of FIG. 1;
scene. The sampling is generally done in two dimensions            65      FIG. 3 is a high-level flow diagram of the steps exercised
either within a plane, or on the surface of an imaginary                by the data acquisition and processing system of FIG. 1 in
sphere surrounding the object/scene. Such a sampling, how-              creating and storing the composite images;




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   FIG. 4 is a flow diagram for synchronizing image                      tion from a set of GPS satellites 18 as the cameras 10 move
sequences with position sequences of a recording camera                  along the trajectory. An inertial navigation system 20 includ-
according to one embodiment of the invention;                            ing one or more accelerometers and/or gyroscopes also
   FIG. 5 is a flow diagram of an alternative embodiment for             provides position information to the data acquisition and
synchronizing image sequences with position sequences of                 processing system. When the inertial navigation system 20
a recording camera;                                                      is used in conjunction with the GPS receiver 16, a more
   FIG. 6 is a block diagram of the data acquisition and                 accurate calculation of the position information may be
processing system of FIG. 1 allowing a real-time synchro-                produced.
nization of image and position data;                                        In an alternative embodiment, position information is
   FIG. 7 is another embodiment for synchronizing image             10   acquired using devices other than the inertial navigation
sequences with position sequences of a recording camera;                 system 20 and/or the GPS receiver 16, such as via computer-
   FIG. 8 is a flow diagram for segmenting and labeling a                vision-based algorithms that compute positions using video
camera trajectory;                                                       information from the video cameras 10.
   FIG. 9 is an illustration of a trajectory in a single camera             The video cameras 10 provide to a multiplexer 22 a frame
scenario;                                                           15   number and time information for each image acquired via a
   FIG. 10 is a flow diagram for creating a composite image              communication link 24 preferably taking the form of a
of a segment of a camera's path;                                         LANC™ port. The GPS receiver 16 and inertial navigation
   FIG. 11 is a flow diagram for identifying and retrieving an           system 20 also provide position information to the multi-
optical colunm from an acquired image according to one                   plexer 22 via communication links 26a, 26b, preferably
embodiment of the invention;                                        20   taking the form ofRS-232 ports. The multiplexer 22 in turn
   FIG. 12 is a flow diagram for identifying and retrieving an           transmits the received frame number, time information, and
optical colunm from an acquired image according to an                    position data to a data acquisition computer 34 via a com-
alternative embodiment of the invention;                                 munication link 30, which also preferably takes the form of
   FIG. 13 is an illustration of an exemplary street segments            an RS-232 port. The computer 34 stores in a trajectory
table including street segments in a camera's trajectory;           25   database 36 the position data from the GPS receiver 16
   FIG. 14 is an illustration of an exemplary image coordi-              and/or inertial navigation system 20 along with the frame
nates table for associating composite images with the street             number and time information from the video cameras 10.
segments in the street segments table of FIG. 13;                        This information is then used by a post-processing system
   FIG. 15 is an illustration of an exemplary segment block              38 to create the composite images.
table for allowing an efficient determination of a segment          30      The post-processing system 38 preferably includes a
that is closest to a particular geographic coordinate;                   post-processing computer 28 in communication with a video
   FIG. 16 is an illustration of an exemplary graphical user             player 39. The computer 28 preferably includes a video
interface for allowing the user to place requests and receive            acquisition card for acquiring and storing the image
information about particular geographic locations;                       sequences as the video player 39 plays the videotapes 12 of
   FIG. 17 is a flow diagram of a process for obtaining image       35   the acquired images. The computer 28 includes a processor
and location information of an express street address; and               (not shown) programmed with instructions to take the image
   FIG. 18 is a flow diagram of the process for obtaining                and position data and create one or more composite images
image and location information of a location selected from               for storing into an image database 32. The image database 32
a map.                                                                   is preferably a relational database that resides in a mass
                                                                    40   storage device taking the form of a hard disk drive or drive
           DETAILED DESCRIPTION OF THE                                   array. The mass storage device may be part of the computer
                    INVENTION                                            28 or a separate database server in communication with the
                                                                         computer.
   FIG. 1 is a schematic block diagram of a data acquisition                In an alternative embodiment, the images are transferred
and processing system for acquiring and processing image            45   directly to the data acquisition computer 34 as the images are
and position data used to create composite images of a                   being recorded. In this scenario, the computer 34 is prefer-
geographic location. The composite images are created by                 ably equipped with the video acquisition card and includes
synthesizing individual image frames acquired by a video                 sufficient storage space for storing the acquired images. In
camera moving through the location and filming the objects               this embodiment, the data acquisition computer 34 prefer-
in its view. The composite images may depict on urban scene         50   ably contains program instructions to create the composite
including the streets and structures of an entire city, state, or        images from the acquired images.
country. The composite images may also depict other locales                 In general terms, a composite image of a particular
such as a zoo, national park, or the inside of a museum,                 geographic location is created by using at least one video
allowing a user to visually navigate the locale.                         camera 10 recording a series of video images of the location
   The data acquisition and processing system includes one          55   while moving along a path. In the one camera scenario, the
or more image recording devices preferably taking the form               camera 10 is moved twice on the same path but in opposite
of digital video cameras 10 moving along a trajectory/path               directions to film the objects on both sides of the path.
and recording images on the trajectory on digital videotapes             Movement to the camera 10 is provided by a base, platform,
12. Other types of acquisition devices may also be used in               or motor vehicle moving at an average speed of preferably
combination to, or in lieu of, the digital cameras 10, such as      60   about 20 miles/hour to ensure a sufficient resolution in the
analog cameras. Furthermore, the video images may be                     resulting images. Video cameras with higher sampler rates
recorded on optical, magnetic, or silicon video tapes, or on             may allow for faster acquisition speeds.
any other known types of storage devices that allow random                  Preferably, the data acquisition and processing system
access of particular image frames and particular video pixels            uses four cameras 10 mounted on top of a moving motor
within the image frames.                                            65   vehicle. Two side cameras face each side of the path for
   The data acquisition and processing system further                    filming objects viewed from the each side of the vehicle. A
includes a GPS receiver 16 for receiving position informa-               front and back cameras allow the filming of the objects




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viewed from the front and back of the vehicle. The front and          image frame 42 that includes a corresponding optical ray 48
back cameras may be equipped with fish-eye lens for                   originating from the actual camera 10. Image data from each
providing a wide-angle view of the path. A person skilled in          selected image frame 42 is then extracted and combined to
the art should recognize, however, that additional cameras            form the composite image. Preferably, the image data
may be used to film the objects from different viewing                extracted from each image frame is an optical colunm that
directions. For example, a duodecahedron of cameras may               consists of a vertical set of pixels. The composite image is
be used to record the objects from all viewing directions.            preferably created on a colunm-by-colunm basis by extract-
Furthermore, the side cameras need not face directly to the           ing the corresponding optical colunm from each image
side of the street, but may face a slightly forward or                frame. Thus, to create a colunm P, 50 in the composite image
backward direction to provide a look up or down of the path.     10
                                                                      40, the computer locates an image frame 42a that was
   As the images acquired by the cameras 10 are recorded on
                                                                      acquired when the camera 10 was located at X, 52. To locate
the videotapes 12, the frame number and time associated
                                                                      this image frame 42a, the computer uses the GPS data and/or
with the images are transferred to the data acquisition
computer 34. The images recorded on the videotapes 12 are             data from the inertial navigation system 20 to identify a time
later transferred to the post-processing computer 28 for         15
                                                                      T, 54 at which the camera 10 was in the location X, 52. Once
further processing. Once the images are received, the com-            the image frame 42a is identified, the computer 28 extracts
puter 28 stores the image data in its memory in its original          the optical colunm 56 with an index (P/N)*M, where N is
form or as a compressed file using one of various well-               the total number of colunms in the composite image 40 and
known compression schemes, such as MPEG.                              M is the number of colunms in the image frame 42a. The
   As the camera 10 moves along the path and records the         20   composite image 40 is stored in the image database 32,
objects in its view, the GPS receiver 16 computes latitude            preferably in JPEG format, and associated with an identifier
and longitude coordinates using the information received              identifying the particular geographic location depicted in the
from the set of GPS satellites 18 at selected time intervals          image. Furthermore, close-ups and fish-eye views of the
(e.g. one sample every two seconds). The latitude and                 objects are also extracted from the video sequences using
longitude coordinates indicate the position of the camera 10     25   well-known methods, and stored in the image database 32.
during the recording of a particular image frame. The GPS             The unused data from the acquired images is then preferably
satellite 18 also transmits to the GPS receiver 16 a Universal        deleted from the computer's memory.
Time Coordinate (UTC) time of when the coordinates were                  FIG. 3 is a high-level flow diagram of the steps exercised
acquired. The GPS receiver 16 is preferably located on the
vehicle transporting the camera 10 or on the camera itself.      30   ~~dt~t:rt::t:~~~::~~t:~!f~~~-e;~i:t!;~~t'e:ei~a:=:~i~i
The GPS data with the position sequences and UTC time                 acquires a series of images of a particular geographic
information is then transferred to the computer 34 for storing        location. At the same time, the GPS receiver 16 and/or
in the trajectory database 36.                                        inertial navigation system 20 acquires the position of the
   In addition to the position information provided by the
GPS receiver 16, the inertial navigation system 20 also          35   ~i=e::s~~i:!~~~: ~:a;~:i:;inbi:i;~:1::e~o~~~i~~~~!)
provides acceleration information to the computer 34 for              is likely to differ from the times of acquisition of the video
independently deriving the position sequence of the camera            images (video time), the computer 28, in step 62, synchro-
10. Specifically, the one or more accelerators and gyro-              nizes the image sequence with the position sequence. The
scopes in the inertial navigation system 20 monitor the linear        synchronization is preferably a post-processing step that
and rotational acceleration rates of the camera 10 and           40
                                                                      occurs after the image and position sequences have been
transfer the acceleration data to the computer 34. The                acquired.
computer 34 integrates the acceleration data to obtain the
position of the camera 10 as a function of time. The                     In step 64, the computer 28 segments the trajectory taken
computer 34 preferably combines the position derived from             by the recording camera 10 into multiple segments and
the acceleration information with the GPS position data to       45
                                                                      labels each segment with identifying information about the
produce a more accurate evaluation of the position of the             segment. For example, if the camera traverses through
camera 10 at particular instances in time.                            various streets, the computer 28 segments the trajectory into
   The post-processing computer 28 uses the image and                 multiple straight street segments and associates each street
position sequences to synthesize the acquired images and              segment with a street name and number range. In step 66, the
create composite images of the location that was filmed. The     50
                                                                      computer 28 generates a series of composite images depict-
composite images preferably provide a wider field of view             ing a portion of each segment, and in step 68, stores each
of the location than any single image frame acquired by the           composite image in the image database 32 along with the
camera 10. In essence, the composite images help provide a            identifying information of the segment with which it is
panoramic view of the location.                                       associated.
   FIG. 2 is an illustration of a composite image 40 created     55      FIG. 4 is a more detailed flow diagram of step 62 for
from the image frames 42 acquired by the camera 10 while              synchronizing the image sequences with the position
moving along an x-axis 58 direction. In creating the com-             sequences of the recording camera according to one embodi-
posite image 40, the computer assumes a fictitious camera             ment of the invention. Although the process illustrated in
44 located behind the actual camera 10 and identifies optical         FIG. 4 assumes that the position data is GPS data, a person
rays 46 originating from the fictitious camera. The location     60   skilled in the art should recognize that a similar process may
of the fictitious camera 44 depends on the desired field of           be employed to synchronize the images to positions calcu-
view of the location being filmed. The further away the               lated using the inertial navigation system 20.
fictitious camera is placed from the objects along the x-axis            The process starts, and in step 70, a user of the system
58, the wider its field of view of the objects.                       selects a landmark in the image sequence that appears in at
   The computer also identifies optical rays 48 originating      65   least two distinct video frames. This indicates that the
from the actual camera 10. For each optical ray 46 from the           landmark was recorded once while the camera 10 was
fictitious camera 44, the computer 28 selects an acquired             moving on one direction on the path, and again while the




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camera was moving in an opposite direction on the same                 a block 112 has been filmed, as is illustrated in FIG. 9. The
path. The landmark may be, for example, a tree in a lane               camera then moves to a second block 114 to film the objects
divider.                                                               on that block. Thus, a particular path 110 adjoining the two
   In step 72, a time interval T is measured in the image              blocks 112, 114 is traversed twice on opposite directions
sequence between the two passings of the landmark. In step             allowing the filming of the objects on each side of the path.
74, the computer 28 uses the GPS data to compute a function               In step 120, the post-processing computer 28 segments
for determining the time interval between successive passes            the camera's trajectory into straight segments by detecting
of any point along the path. The function is then used to find,        the points of maximum curvature (i.e. where the turns
for each point x on the path, a time of return Tr(x) which             occur). In this regard, the latitude and longitude coordinates
measures the lapse of time between the two passings of each       10   provided by the GPS receiver 16 are converted into two-
point. In step 76, a point is identified for which Tr(x)=T. The        dimensional Mercator coordinates according to well-known
identified point provides the GPS position of the landmark             methods. A spline interpolation is then obtained from the
and hence, a GPS time associated with the landmark. Given              two-dimensional Mercator coordinates and the resulting
the GPS time, a difference between the GPS time and the                spline function is parameterized in arc-length. The computer
video time associated with the landmark may be calculated         15   28 obtains a new sampling of the coordinates from the spline
for synchronizing any image frame acquired at a particular             function by uniformly sampling the coordinates in an arc-
video time to the GPS position of the camera at a particular           length increment of about one meter while detecting the
GPS time.                                                              points in the new sequence where a turn was made. The
   FIG. 5 is a flow diagram of an alternative embodiment for           place where a tum occurs is assumed to be the place of an
synchronizing the image sequences with GPS position infor-        20   intersection of two segments.
mation. As in FIG. 4, the process illustrated in FIG. 5 also              Preferably, the computer 28 performs a singular value
identifies, in step 80, a landmark in the image sequence that          decomposition computation according to well-known meth-
appears in at least two distinct image frames. In step 82, a           ods to detect the turns. In this regard, the computer selects
time phase is initialized to an arbitrary value using the              an observation window containing N sample points that is
camera time stamp. In step 84, the computer 28 measures the       25   moved along the spline for calculating an index indicative of
distance traveled between the two points on the path that              the overall direction (i.e. aligmnent) of the points in the
correspond to the time instants in the image sequence where            window. The higher the index, the less aligned the points,
the landmark is seen from the two sides of the path. In step           and the more likely that the camera was making a turn at
86, an inquiry is made as to whether the distance has been             those points. The points are least aligned at the center of a
minimized. If the answer is NO, the time phase is modified        30   turn, and thus, the computer selects as a tum coordinate a
in step 88, and the process returns to step 84 where the               point in the observation window where the index is at a local
distance is measured again.                                            maximum. The computer 28 gathers all the points whose
   In another embodiment, the synchronization does not                 indexes correspond to local maxima and stores them into an
occur as a post-production process, but occurs in real-time            array of tum coordinates.
as the image and position sequences are acquired. FIG. 6 is       35      In step 122, the computer 28 determines the center of an
a block diagram of a portion of the data acquisition and               intersection by grouping the turn coordinates into clusters
processing system of FIG. 1 allowing a real-time synchro-              where turns that belong to the same cluster are turns made
nization of image and position data. A UTC clock generator             on the same intersection. An average of the turn coordinates
90 provides to the data acquisition computer 34 the UTC                belonging to the same cluster is then calculated and assigned
time associated with each GPS position of the recording           40   as the intersection coordinate.
camera 10 as the camera moves along the path. The video                   The endpoints of each straight segment are identified
time produced by a camera clock 92 is also provided to the             based on the calculated intersection coordinates. In this
data acquisition computer 34 via the communications port               regard, an intersection coordinate at the start of the segment
24. A UTC card 94 on the computer 34 correlates the video              is identified and assigned to the segment as a segment start
time to the UTC time. Thus, the video image acquired at the       45   point (the "From" intersection coordinate). An intersection
video time may be correlated to the GPS position of the                coordinate at the end of the segment is also identified and
camera during the recording of the image.                              assigned to the segment as a segment end point (the "To"
   FIG. 7 is yet another embodiment for synchronizing the              intersection coordinate).
image sequences with the GPS position of the recording                    In the scenario where at least two side cameras are
camera 10. In step 100, the post-processing computer 28           50   utilized, each camera films the objects on each side of the
computes the temporal variation in the image values (i.e.              path during the first pass on the path. Thus, unlike the single
optical flow) of the bottom pixel rows in the image                    camera scenario where a tum is made at each intersection to
sequence. Thus, the average velocity of each of the pixels in          move the camera along the same path twice but in opposite
the row may be obtained. In step 102, the tangential velocity          directions, a tum is not made at each intersection in the two
of the camera 10 is obtained from the GPS reading. The            55   camera scenario. Therefore, instead of identifying the points
average velocity for the computed pixels is directly propor-           of maximum curvature for determining the intersection
tional to the vehicle tangential velocity. Thus, in step 104,          coordinates, the intersection coordinates are simply detected
the time phase between the position and video sequences                by tracking the GPS data and identifying where the seg-
may be determined as a time delay maximizing the align-                ments orthogonally intersect.
ment oflocal maxima and local minima between the average          60      The computer 28 associates the calculated segments with
pixel velocity and the vehicle tangential velocity. This time          information obtained from a geographic information data-
phase is then read out in step 106.                                    base 128 and stores it into a segments table as is described
   FIG. 8 is a more detailed flow diagram of step 64 of FIG.           in further detail below. In the scenario where composite
3 for segmenting the trajectory followed by one or more                images of a city are created, the geographic information
recording cameras 10 and labeling the segments with an            65   database 128 includes a map of the city where the endpoints
identifier. In the one camera scenario, the camera is moved            of each street segment on the map are identified by latitude
along the path making a right tum at each intersection until           and longitude information. The database 128 further




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includes a street name and number range for each street               optical flow field for each of the 2*N image frames and in
segment on the map. Such databases are commercially                   step 164, infers the colunm ofRGB values for a colunm i at
available from third parties such as Navigation Technologies          time Ti. In the situation where only two image frames are
and Etak, Inc.                                                        used to compute the optical flow, the computer identifies for
   In correlating the segments of the camera's trajectory with        each pixel in the first image frame a position Xl and a
the segments in the geographic information database 128,              position time Tl. A corresponding pixel in the second frame
the computer, in step 124, determines the correspondences             is also identified along with a position X2 and a position
between the "From" and "To" coordinates calculated for the            time T2. The position X' of each pixel at time Ti is then
trajectory segment with intersection coordinates of the seg-          computed where X'=Xl+((Ti-Tl)/(T2-Tl))*(X2-Xl).
ments in the database. The computer 28 selects the segment       10   Given the position of each pixel at time Ti, a new frame that
in the geographic information database 128 which endpoints            corresponds to time Ti may be inferred. The computer 28
are closest to the computed "From" and "To" coordinates, as           may then extract the colunm of RGB values from the new
the corresponding segment.                                            frame for a colunm i.
   In step 126, the computer labels each trajectory segment              Preferably, the computer 28 creates multiple composite
with information that is associated with the corresponding       15   images at uniform increments (e.g. every 8 meters) along a
segment in the database 128. Thus, if each segment in the             segment. In the scenario where the composite images are
database 128 includes a street name and number, this infor-           created for street segments, the composite images depict the
mation is also associated with the trajectory segment.                view of the objects on each side of the street. The composite
   FIG.10 is a more detailed flow diagram of step 66 of FIG.          images are then stored in the image database 28 along with
3 for creating a composite image of a segment of the             20   various tables that help organize and associate the composite
camera's path according to one embodiment of the inven-               images with street segment information.
tion. In step 130, the computer 28 computes the arc length               According to one embodiment of the invention, the image
coordinate Xe of the center of the segment which is then set          database 32 includes composite images of a geographic area
as the center of the composite image. In step 132, the                which together provide a visual representation of at least the
computer identifies the optical rays 46 (FIG. 2) originating     25   static objects in the entire area. Thus, if the geographic area
from the fictitious camera 44 by computing an array of                is a particular city, the composite images depict the city on
equidistant positions Xl, X2, ... , Xn along the camera's             a street-by-street basis, providing a visual image of the
trajectory, centered around Xe. The number of computed                buildings, stores, apartments, parks, and other objects on the
positions preferably depend on the number of optical col-             streets. The system further includes an object information
unms that are to be created in the composite image.              30   database with information about the objects being depicted
   In step 134, the computer 28 uses the position information         in the composite images. If the geographic area being
obtained from the GPS receiver 16 and/or inertial navigation          depicted is a city, the object information database contains
system 20 to map each position Xi on the trajectory to a              information about the structures and businesses on each city
position time Ti. Thus, if GPS data is used to determine the          street. In this scenario, each record in the object information
camera's position, each position Xi of the camera 10 is          35   database is preferably indexed by a city address.
mapped to a UTC time.                                                    FIG. 13 is an illustration of an exemplary street segments
   In step 136, the computer 28 uses the time phase infor-            table 170 including the street segments in the camera's
mation computed in the synchronization step 62 of FIG. 3 to           trajectory. The table 170 suitably includes multiple entries
convert the position times to video times. For each identified        where each entry is a record specific to a particular street
video time, the computer 28, in step 138, identifies an          40   segment. A particular street segment record includes an
associated image frame and extracts a colunm ofRGB pixel              index identifying the street segment (segment ID) 172 as
values from the frame corresponding to the optical rays 46            well as the corresponding street name 174 obtained from the
originating from the fictitious camera 44. In step 140, the           geographic information database 128 (FIG. 12). A particular
colunm of RGB pixel values are stacked side by side to                street segment record also includes the direction of the street
generate a single image bitmap forming the composite             45   (North, South, East, or West) 176 with respect to a main city
image.                                                                street referred to as a city hub. The direction information
   FIG. 11 is a more detailed flow diagram of step 138 for            generally appears in an address in front of the street name.
identifying and retrieving a colunm ofRGB pixel values for            A city, state, and/or country fields may also be added to the
a particular video time Ti according to one embodiment of             table 170 depending on the extent of the geographic area
the invention. In step 150, the computer 28 identifies an        50   covered in the image database 32.
image frame with frame index Fi acquired at time Ti.                     A street segment record includes the endpoint coordinates
Because the image frames are acquired at a particular frame           178 of the corresponding street segment in the geographic
rate (e.g. one frame every 1/30 seconds), there may be a              information database 128. An array of segment IDs corre-
particular time Ti for which an image frame was not                   sponding to street segments adjacent to the segment start
acquired. In this scenario, the frame closest to time Ti is      55   point are identified and stored in field 180 along with the
identified according to one embodiment of the invention.              direction in which they lie with respect to the start point (e.g.
   In step 152, the current position of the image sequence is         North, South, East, or West). Similarly, an array of segment
set to the image frame with index Fi, and the frame is placed         IDs corresponding to street segments adjacent to the seg-
into a frame buffer. In step 154, a column in the image frame         ment end point are also identified and stored in field 182.
with an index i is read out from the frame buffer.               60   These segments are also ordered along the direction in
   FIG. 12 is a flow diagram of an alternative embodiment             which they lie.
for identifying and retrieving a colunm ofRGB pixel values               In addition to the above, a street segment record includes
for a particular video time Ti. If an image frame was not             a distance of the start of the trajectory segment from the city
acquired at exactly time Ti, the computer, in step 160,               hub 184. The city hub generally marks the origin of the
identifies 2*N image frames that are closest to time Ti,         65   streets from which street numbers and street directions
where N>l. Thus, at least two image frames closest to time            (North, South, East, or West) are determined. Street numbers
Ti are identified. In step 162, the computer computes an              are generally increased by two at uniform distances (e.g.




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every 12.5 feet) starting from the hub. Thus the distance             the geographic area. The retrieved data is then transmitted to
from the hub allows a computation of the street numbers on            the requesting remote user terminal for display thereon.
the street segment. In a one camera situation where each                 The remote user terminals may include personal comput-
segment is traversed twice, the distance from the hub is              ers, set-top boxes, portable communication devices such as
computed for each camera trajectory. In a multiple camera             personal digital assistants, and the like. The visual compo-
scenario, however, only one distance is computed since the            nent of each remote user terminal preferably includes a VGA
camera traverses the segment only once.                               or SVGAliquid-crystal-display (LC) screen, an LED display
   Also included in a street segment record is a length of the        screen, or any other suitable display apparatus. Pressure
trajectory segment. Such a length is computed for each                sensitive (touch screen) technology may be incorporated
trajectory in a one camera 10 scenario because the move-         10   into the display screen so that the user may interact with the
ment of the camera 10 is not identical during the two                 remote user terminal by merely touching certain portions of
traversals of the segment.                                            the screen. Alternatively, a keyboard, keypad, joystick,
    Each street segment record 170 further includes an offset         mouse, and/or remote control unit is provided to define the
value 188 for each side of the street. The offset is used to          user terminal's input apparatus.
correct the street numberings computed based on the dis-         15      Each remote user terminal includes a network interface
tance information. Such a computation may not be accurate             for communicating with the host computer via wired or
if, for instance, there is an unusually wide structure on the         wireless media. Preferably, the communication between the
segment that is erroneously assigned multiple street numbers          remote user terminals and the host computer occurs over a
because it overlaps into the area of the next number assign-          wide area network such as the Internet.
ment. In this case, the offset is used to decrease the street    20      In an alternative embodiment of the invention, the image,
numbers on the segment by the offset value.                           geographic information, and object information databases
                                                                      reside locally at the user terminals in a CD, DVD, hard disk
    FIG. 14 is an illustration of an exemplary image coordi-          drive, or any other type of mass storage media. In this
nates table 200 for associating the composite images with             embodiment, the user terminals include a processor pro-
the street segments in the street segments table 170. The        25   grammed with instructions to receive queries from the user
image coordinates table 200 includes a plurality of compos-           about a particular geographic location and retrieve compos-
ite image records where each record includes a segment ID             ite images and associated information in response to the user
202 of the street segment being depicted in the composite             queries.
image. In addition, each composite image record includes                 FIG. 16 is an illustration of an exemplary graphical user
information of the side of the street segment 204 being          30   interface (GUI) for allowing the user to place requests and
depicted. For example, the side may be described as even or           receive information about particular geographic locations.
odd based on the street numbers on the side of the street             The GUI includes address input fields 220 allowing the user
being depicted. Each composite image entry also includes a            to enter the street number, street name, city and state of the
distance from the segment origin to the center Xe of the              particular location he or she desires to view. Actuation of a
composite image 206 indicating the position along the street     35   "See It" button 222 causes the user terminal to transmit the
segment for which the image was computed. The distance                address to the host computer to search the image and
information is used to retrieve an appropriate composite              geographic location databases 32, 128 for the composite
image for each position on the street segment.                        image and map corresponding to the address. Furthermore,
    FIG. 15 is an illustration of an exemplary segment block          the host computer searches the object information database
table 210 for allowing an efficient determination of a seg-      40   to retrieve information about the objects depicted in the
ment ID that is closest to a particular geographic coordinate.        composite image.
In this regard, the geographic area depicted in the image                The retrieved composite image and map are respectively
database 32 is preferably partitioned into a grid of square           displayed on the display screen of the requesting user
blocks where each block includes a certain number of street           terminal in a map area 226 and an image area 224. The map
segments. The blocks are assigned block labels preferably        45   is preferably centered around the requested address and
corresponding to the center longitude and latitude coordi-            includes a current location cursor 228 placed on a position
nates of the block. The block labels are stored in a block            corresponding to the address. The current location identifier
label field 212. Associated with each block label are segment         228 may, for instance, take the shape of an automobile.
IDs 214 corresponding to the street segments in the block.               The composite image displayed on the image area 224
Given the coordinates of a particular geographic location,       50   provides a view of a side of the street (even or odd) based
the block closest to the given coordinates may be identified          on the entered street number. The user may obtain informa-
to limit the search of street segments to only street segments        tion about the objects being visualized in the composite
within the block.                                                     image by actuating one of the information icons 234 above
    In a particular use of the system, a user places inquiries        the image of a particular object. In displaying the informa-
about a location in a geographic area depicted in the image      55   tion icons 234, a range of street addresses for the currently
database 32. For example, the user may enter an address of            displayed image is computed. The listings in the object
the location, enter the geographic coordinates of the loca-           information database with street numbers that fall inside the
tion, select the location on a map of the geographic area, or         computed range are then selected and associated with the
specify a displacement from a current location. Preferably,           information icons 234 displayed on top of the image of the
the user has access to a remote terminal that communicates       60   object.
with a host computer to service the user requests. The host              If the objects are business establishments, the information
computer includes a processor programmed with instruc-                displayed upon actuating the information icons 234 may
tions to access the image database 32 in response to a user           include the name, address, and phone number 236 of the
request and retrieve composite images about the particular            establishment. This information is preferably displayed each
location. The processor is also programmed with instruc-         65   time the user terminal's cursor or pointing device is passed
tions to access the geographic and object information data-           above the icon. In addition, if the establishment is associated
bases to retrieve maps and information on the businesses in           with a particular Web page, the information icon 234 func-




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tions as a hyperlink for retrieving and displaying the Web                 Once the start and end street numbers are calculated for a
page, preferably on a separate browser window.                          particular street segment, the computer determines whether
   The user may obtain a close-up view of a particular object           the requested street number lies within the start and end
in the composite image by selecting the object in the image.            street numbers. If it does, the computer returns the corre-
A close-up view of the object is then obtained by computing             sponding segment ID 172. Furthermore, the computer deter-
the distance of the selected object from the origin of the              mines the distance of the requested street number from the
street segment where they object lies. The location on the              start of the street segment for determining the position of the
segment of the closest close-up image is computed and                   street number on the street segment.
retrieved from the image database 32. The close-up image is                In step 246, the host computer transmits the query result
then provided in the image area 224 or in a separate browser       10   to the requesting user terminal along with a map of the input
window.                                                                 location retrieved from the geographic information database
   A "Switch View" button 230 allows the user to update the             128. In step 248, the requesting user terminal downloads
current composite image providing a view of one side of the             from the host computer a record from the street segments
street with a composite image of the other side of the street.          table 170 corresponding to the identified street segment.
In a multiple camera scenario, each actuation of the "Switch       15   Furthermore, the user terminal also retrieves the computed
View" button 230 provides a different view of the street. The           start and end street numbers of the street segment, a list of
current view is preferably identified by a direction identifier         computed composite images for both sides of the street
(not shown) on or close to the current location identifier 228.         segment in the image coordinates table 200 (FIG. 14), and
For instance, one side of the current location identifier 228           information of the objects visible on the street segment in the
may be marked with a dot or an "X" to identify the side of         20   object information database.
the street being viewed. Alternatively, an arrow may be                    In step 250, the user terminal downloads a composite
placed near the current location identifier 228 to identify the         image for the appropriate side of the street from the host
current viewing direction.                                              computer that has a distance from the origin of the street
   The composite image is also updated as the user navigates            segment to the center of the composite image 206 (FIG. 14)
through the streets using the navigation buttons 232. From         25   that is closest to the distance of the desired street number
a current location, the user may choose to navigate north,              from the origin. The display on the user terminal is then
south, west, and east by actuating the corresponding buttons.           updated in step 252 with the new location and image
Preferably, only the navigation buttons corresponding to the            information.
possible direction of motions from the current position are                FIG. 18 is a flow diagram of the process executed by the
enabled. As the user actuates one of the buttons, the current      30   host computer for obtaining image and location information
position is incremented by a predetermined amount, cur-                 of a particular location selected on the map displayed in the
rently set to eight meters, to the next available composite             map area 226. A similar process is executed by the user
image on the current or adjacent segment. The image area                terminal in the embodiment where the location and image
224 is then updated with the new composite image.                       information are stored locally at the user terminal.
   FIG. 17 is a flow diagram of the process executed by the        35      The process starts, and in step 260, the user requests
host computer for obtaining image and location information              information about a particular street address by selecting a
of an express street address entered in the address input               location on the map. In step 262, the map coordinates are
fields 220. A similar process is executed by the user terminal          converted from screen coordinates to geographic location
in the embodiment where the location and image informa-                 coordinates (x,y) and transmitted to the host computer
tion are stored locally at the user terminal.                      40   preferably over the Internet. In step 244, a query is run on
   The process starts, and in step 240, the user requests               the host computer to locate the street segment index in the
information about a particular street address by entering the           street segment table 170 (FIG. 13) corresponding to the
address in the address input fields 220. In step 242, the               geographic location coordinates. In this regard, the computer
address is transmitted to the host computer preferably over             searches the segment block table 210 (FIG. 15) for a block
a wide area network such as the Internet. In step 244, a query     45   that includes the street segment corresponding to the input
is run on the host computer to locate the street segment index          location. In order to locate such a block, the computer
in the street segment table 170 (FIG. 13) corresponding to              rounds the identified geographic location coordinates based
the requested address. In this regard, the computer searches            preferably on the size of the block. The rounded (x,y)
the street segment table 170 for street segments that match             coordinates may thus be represented by ((round (x/B))*B,
the desired street name 174 as well as a city, state, or country   50   (round y/B)*B)), where B is the length of one of the block
if applicable. For each street segment matching the street              sides. The computer then compares the rounded number to
name, the computer computes the starting street number on               the coordinates stored in the block label field 212 and selects
that segment preferably based on the following formula:                 the block with the label field 212 equal to the rounded
      Start NumbeF(round((Distance from Hub+Offset)/                    coordinate. Once the appropriate block is identified, the
           K)*2)                                                   55   computer proceeds to retrieve the segment IDs 214 associ-
                                                                        ated with the block. The geographic coordinates of the
The distance from the hub 184 and offset 188 values are                 desired location are then compared with the endpoint coor-
obtained from the street segment table 170. The value K is              dinates of each street segment in the block for selecting the
the distance assumed between any two street numbers on the              closest street segment.
segment.                                                           60      In step 266, the segment ID of the closest street segment
   The ending street number on the street segment is also               is returned to the user terminal. Additionally, a new map of
calculated using a similar formula:                                     the desired location may be transmitted if the previous map
      End NumbeF(round((Distance from Hub+Offset+                       was not centered on the desired location.
          lengtb)/K)*2)                                                    In step 268, the requesting user terminal downloads from
                                                                   65   the host computer a street segment record in the street
The length is the length 186 value obtained from the street             segments table 170 corresponding to the identified street
segment table 170.                                                      segment. The user terminal also retrieves the calculated start




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and end street numbers of the street segment, a list of                         images are associated with image frames acquired by
computed composite images for both sides of the street the                      an image recording device moving along a trajectory;
segment in the image coordinates table 200 (FIG. 14), and                    receiving a second user input specifying a navigation
information of the objects visible on the street segment in the                 direction relative to the first location in the geographic
object information database.                                                    area;
   In step 270, the user terminal downloads the composite                    determining a second location based on the user specified
image corresponding to the geographic coordinates of the                        navigation direction; and
input location. To achieve this, the geographic coordinates                  retrieving from the image source a second image associ-
are converted to a distance along the identified street seg-                    ated with the second location.
ment. The user terminal downloads a composite image that             10      2. The method of claim 1, wherein image source resides
has a distance from the origin of the street segment to the               at a remote site and receives a request via a communications
center of the composite image 206 (FIG. 14) that is closest               network for an image corresponding to the first or second
to the distance of the input location from the origin. The                location, and transmits the retrieved image to the user
display on the user terminal is then updated in step 272 with             terminal via the communications network.
the new location and image information.                              15      3. The method of claim 1, wherein the image source
   Although this invention has been described in certain                  resides at the user terminal and the method further com-
specific embodiments, those skilled in the art will have no               prises:
difficulty devising variations which in no way depart from                   displaying the image corresponding to the first location on
the scope and spirit of the present invention. For example,                     the screen of the user terminal; and
the composite images may be made into streaming video by             20      updating the image on the screen with the image corre-
computing the composite images at small increments along                        sponding to the second location.
the path (e.g. every 30 cm). Furthermore, the composite                      4. The method of claim 1 further comprising retrieving a
images may be computed at several resolutions by moving                   map of a portion of the geographic area for displaying the
the fictitious camera 44 (FIG. 2) closer or further away from             map on the screen of the user terminal.
the path to decrease or increase its field of view and provide       25      5. The method of claim 4 further comprising:
the user with different zoom levels of the image.                            displaying an icon on the map associated with an object
   Variation may also be made to correct any distortions in                     in the portion of the geographic area covered by the
the perspective of the composite image along the vertical                       map;
y-axis direction. The extraction of the optical columns from                 receiving a user selection of the icon; and
the acquired image frames may introduce such a distortion            30      identifying the second location based on the user selec-
since the sampling technique used along the horizontal                          tion.
x-axis direction is not applied along the y-axis. Such a                     6. The method of claim 4, wherein the first or second
distortion may be corrected by estimating the depth of each               location is identified by a user selection of the location on
pixel in the composite image using optical flow. The aspect               the map using the input device.
ratio of each pixel may be adjusted based on the distance of         35      7. The method of claim 1, wherein the first location is
the object visualized in the pixel. The distortion may also be            identified by a specific address entered by the user using the
corrected by acquiring images from an array of two or more                input device.
video cameras 10 arranged along the vertical y-axis in                       8. The method of claim 1, wherein the retrieving of the
addition to the cameras in the horizontal axis.                           image corresponding to the first or second location com-
   The described method of generating composite images               40   prises:
also relies on an assumption that the camera's trajectory is                 identifying a street segment including the first or second
along a straight line. If this is not the case and the vehicle                  location;
carrying the camera makes a lane change, makes a tum, or                     identifying a position on the street segment corresponding
passes over a bump, the choice of the optical column                            to the first or second location; and
extracted from a particular image frame may be incorrect.            45      identifying an image associated with said position.
The distortion due to such deviations from a straight trajec-                9. The method of claim 8, wherein the image simulates a
tory may, however, be corrected to some degree using                      view of objects on one side of the street segment and the
optical flow to detect such situations and compensate for                 method further comprises retrieving a second image depict-
their effect.                                                             ing a view of objects on an opposite side of the street
   It is therefore to be understood that this invention may be       50   segment in response to a user request.
practiced otherwise than is specifically described. Thus, the                10. The method of claim 1 further comprising:
present embodiments of the invention should be considered                    receiving a user selection of a portion of the image; and
in all respects as illustrative and not restrictive, the scope of            displaying an alternate view of the selected portion.
the invention to be indicated by the appended claims and                     11. The method of claim 1 further comprising:
their equivalents rather than the foregoing description.             55      displaying an indicia that information is available about
   What is claimed is:                                                          an object in the image; and
   1. In a system including an image source and a user                       retrieving information about the object in response to a
terminal having a screen and an input device, a method for                      user request to display the information on the screen of
enabling visual navigation of a geographic area from the                        the user terminal.
user terminal, the method comprising:                                60      12. The method of claim 1 further comprising:
   receiving a first user input specifying a first location in the           displaying a navigation button on the screen of the user
       geographic area;                                                         terminal; and
   retrieving from the image source a first image associated                 retrieving the image associated with the second location
      with the first location, the image source providing a                     from the image source upon actuation of the navigation
      plurality of images depicting views of objects in the          65         button using the user input device.
       geographic area, the views being substantially eleva-                 13. The method of claim 12, wherein the navigation
      tions of the objects in the geographic area, wherein the            button indicates direction of motion within a displayed map.




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  14. The method of claim 12, wherein the navigation                      23. The system of claim 20 further comprising means for
button indicates direction of motion with respect to the                retrieving a map of a portion of the geographic area for
displayed image.                                                        displaying the map on the screen of the user terminal.
   15. The method of claim 14, wherein the direction of                    24. The system of claim 23 further comprising:
motion includes one of panning left or right, rotating left or             means for displaying an icon on the map associated with
right, and viewing a direction opposite of a displayed                        an object in the portion of the geographic area covered
direction.                                                                    by the map;
   16. The method of claim 1 further comprising:                           means for receiving a user selection of the icon; and
   displaying a map of a portion of the geographic area;                   means for identifying the second location based on the
   identifying the first location with an identifier on the map;   10         user selection.
      and                                                                  25. The system of claim 23, wherein the first or second
   advancing the identifier on the map from the first location          location is identified by a user selection of a portion of the
      to the second location.                                           map.
   17. The method of claim 1, wherein the plurality of                     26. The system of claim 20, wherein the first location is
images are substantially frontal views of the objects within       15   identified by a specific address entered by the user using an
the geographic area.                                                    input device.
   18. The method of claim 1, wherein the image source is                  27. The system of claim 20, wherein the means for
an image database.                                                      retrieving the image corresponding to the first or second
   19. In a system including an image source and a user
                                                                        location comprises:
terminal having a screen and an input device, a method for         20      means for identifying a street segment including the first
enabling visual navigation of a geographic area from the                      or second location;
user terminal, the method comprising:                                      means for identifying a position on the street segment
                                                                              corresponding to the first or second location; and
   accessing a plurality of images from the image source, the
                                                                           means for identifying an image associated with said
      images representing objects within the geographic area;
                                                                   25         position.
   identifying a current location in the geographic area;                  28. The system of claim 27, wherein the image simulates
   retrieving from the image source an image corresponding              a view of objects on one side of the street segment and the
      to the current location;                                          system further comprises means for retrieving a second
   monitoring a change of the current location in the geo-              image depicting a view of objects on an opposite side of the
      graphic area; and                                            30   street segment in response to a user request.
   retrieving from the image source an image corresponding                 29. The system of claim 20 further comprising means for
      to the changed location, wherein each retrieved image             processing a plurality of image frames acquired from the
      is a composite image created by processing a plurality            image recording device moving through the geographic
      of image frames acquired from an image recording                  area.
      device moving through the geographic area.                   35      30. The system of claim 20 further comprising:
   20. A system for enabling visual navigation of a geo-                   means for receiving a user selection of a portion of the
graphic area from a user terminal, the system comprising:                     image; and
   means for accessing an image source providing a plurality               a display displaying an alternate view of the selected
      of images depicting views of objects in the geographic                  portion.
      area, the views being substantially elevations of the        40      31. The system of claim 20 further comprising:
      objects in the geographic area, wherein the images are               means for indicating that information is available about an
      associated with image frames acquired by an image                       object in the image;
      recording device moving along a trajectory;                          means for retrieving information about the object in
   means for receiving a first user input specifying a first                  response to a user request to display the information on
      location in the geographic area;                             45         the screen of the user terminal.
   means for retrieving from the image source a first image                32. The system of claim 20 further comprising:
      associated with the first location;                                  a navigation button indicating the navigation direction.
   means for receiving a second user input specifying a                    33. The system of claim 32, wherein the navigation button
      navigation direction relative to the first location in the        indicates the navigation direction within a displayed map.
                                                                   50      34. The system of claim 32, wherein the navigation button
      geographic area;
                                                                        indicates the navigation direction with respect to the dis-
   means for determining a second location based on the user
                                                                        played image.
      specified navigation direction; and
                                                                           35. The system of claim 34, wherein the navigation
   means for retrieving from the image source a second                  direction includes one of panning left or right, rotating left
      image associated with the second location.                   55   or right, and viewing a direction opposite of a displayed
   21. The system of claim 20, wherein the image source                 direction.
resides at a remote site and includes means for receiving a                36. The system of claim 20 further comprising:
request for an image corresponding to the first or second                  means for displaying a map of a portion of the geographic
location, and means for transmitting the retrieved image to                   area;
the user terminal.                                                 60      means for identifying the first location on the map; and
   22. The system of claim 20, wherein the image source                    means for identifying the second location on the map
resides at the user terminal and the system further com-                      based on the user-selected navigation direction.
prises:                                                                    37. The system of claim 20, wherein the plurality of
   a display screen for displaying the image of the first               images are substantially frontal views of the objects within
      location; and                                                65   the geographic area.
   means for updating the image on the screen with the                     38. In a system including an image database and a user
      image corresponding to the second location.                       terminal having a screen and an input device, a method for




                                                        Appx320
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                                                      US 7,239,760 B2
                              19                                                                    20
enabling visual navigation of a geographic area from the                 rece1vmg a second user input specifying a navigation
user terminal, the method comprising:                                       direction relative to the first location in the geographic
  receiving a first user input specifying a first location in the           area;
     geographic area;                                                    determining a second location based on the user specified
  retrieving from the image database a first set of image                   navigation direction;
     frames associated with the first location, the image
     database storing a plurality of image frames depicting              retrieving from the image database a second set of image
     views of objects in the geographic area, the views being               frames associated with the second location; and
     substantially elevations of the objects in the geographic           generating a second image of the second location based
     area, wherein the image frames are acquired by an              10      on the second set of image frames.
     image recording device moving along a trajectory;
  generating a first image of the first location based on the
     first set of image frames;                                                              * * * * *




                                                         Appx321
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              UNITED STATES PATENT AND TRADEMARK OFFICE
                    CERTIFICATE OF CORRECTION

PATENT NO.          : 7,239,760 B2                                                          Page 1 of 4
APPLICATION NO.     : 11/130004
DATED               : July 3, 2007
INVENTOR(S)         : Emico Di Bernardo

      It is certified that error appears in the above-identified patent and that said Letters Patent is
      hereby corrected as shown below:



      On the Title Page. item
      (76) Inventors, lines 1-2             Delete "783 N. Craig Ave., Pasadena, (CA) (US)
                                            91104",
                                            Insert --835 E. Meda Avenue, Glendora, CA (US)
                                            91741--

      (76) Inventors, lines 3-4             Delete "1133 Pine St. #109, South Pasadena, CA
                                            (US) 91030",
                                            Insert --273 Waverly Drive, Pasadena, CA (US)
                                            91105--

      Title page. item (57)
      ABSTRACT, line I                      After "method",
                                            Insert --for--

      (57) ABSTRACT, line 2                 Delete "provide",
                                            Insert --provides--

      In the Drawings
      Fig. 16, Sheet 16 of 18               Delete Drawing Sheet 16 of 18 and substitute
                                            therefore the Drawing Sheet, consisting of Fig. 16,
                                            as shown on the attached page

      In the Specification
      Column 3, line 50                     Delete "on",
                                            Insert --an--

      Column 4, line 66                     Delete "A front",
                                            Insert --Front--

      Column 15, line 2                     After "street",
                                            Insert --,--

      In the Claims
      Column 16, line I 0, Claim 2          After "wherein",
                                            Insert --the--

      Column 16, line 36, Claim 7           Delete "the user",
                                            Insert --a user--




                                                        Appx322
             Case: 22-1477                Document: 15               Page: 391            Filed: 08/01/2022



              UNITED STATES PATENT AND TRADEMARK OFFICE
                    CERTIFICATE OF CORRECTION

PATENT NO.          : 7,239,760 B2                                                          Page 2 of 4
APPLICATION NO.     : 11/130004
DATED               : July 3, 2007
INVENTOR(S)         : Emico Di Bernardo

      It is certified that error appears in the above-identified patent and that said Letters Patent is
      hereby corrected as shown below:



      Column 16, line 46, Claim 9           After "image",
                                            Insert --associated with said position--

      Column 16, line 48, Claim 9           Delete "a second image",
                                            Insert --an image--

      Column 16, line 52, Claim 10          Delete "the image",
                                            Insert --the first or second image--

      Column 16, line 56, Claim 11          Delete "the image",
                                            Insert --the first or second image--

      Column 16, line 65, Claim 12          Delete "user"

      Column 17, lines 2-3, Claim 14 Delete "to the displayed image",
                                     Insert --to a displayed image--

      Column 18, line 3, Claim 23           Delete "the screen",
                                            Insert --a screen--

      Column 18, line 15, Claim 26          Delete "the user",
                                            Insert --a user--

      Column 18, line 26, Claim 28          After "image",
                                            Insert --associated with said position--

      Column 18, lines 28-29,               Delete "retrieving a second image",
      Claim28                               Insert --retrieving an image--

      Column 18, lines 36-37,               Delete "the image",
      Claim 30                              Insert --the first or second image--

      Column 18, line 42, Claim 31          Delete "the image",
                                            Insert --the first or second image--

      Column 18, line 45, Claim 31          Delete "the screen",
                                            Insert --a screen--




                                                        Appx323
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              UNITED STATES PATENT AND TRADEMARK OFFICE
                    CERTIFICATE OF CORRECTION

PATENT NO.          : 7,239,760 B2                                                               Page 3 of 4
APPLICATION NO.     : 11/130004
DATED               : July 3, 2007
INVENTOR(S)         : Emico Di Bernardo

      It is certified that error appears in the above-identified patent and that said Letters Patent is
      hereby corrected as shown below:



      Column 18, lines 51-52,               Delete "to the displayed image",
      Claim 34                              Insert --to a displayed image--

      Column 18, line 62, Claim 36          Delete "user-selected navigation direction",
                                            Insert --user-specified navigation direction--




                                                                   Signed and Sealed this

                                                             Fourth Day of August, 2009




                                                                             JOHN DOLL
                                                    Acting Director of the United States Patent and Trademark Office




                                                        Appx324
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                                                                                Page 4 of 4



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                                     Fig.16




                                     Appx325
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c12)   United States Patent                                                             (IO)   Patent No.:                  US 7,577,316 B2
       Di Bernardo et al.                                                               (45)   Date of Patent:                 *Aug. 18, 2009

(54)   SYSTEM AND METHOD FOR CREATING,                                             (58)    Field of Classification Search ................. 382/104,
       STORING AND UTILIZING IMAGES OF A                                                            382/113, 291,305, 312; 715/850, 851, 854,
       GEOGRAPHIC LOCATION                                                                          715/855; 701/200---215; 340/995.1-995.26;
                                                                                                                              342/357.12, 357.13
(75)   Inventors: Enrico Di Bernardo, Pasadena, CA                                         See application file for complete search history.
                  (US); Luis F. Goncalves, South                                   (56)                      References Cited
                  Pasadena, CA (US)
                                                                                                     U.S. PATENT DOCUMENTS
(73)   Assignee: Vederi, LLC, Pasadena, CA (US)
                                                                                          4,796,191 A          1/1989 Honey et al.
( *)   Notice:      Subject to any disclaimer, the term ofthis                                                   (Continued)
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by O days.                                                            OTHER PUBLICATIONS
                                                                                   Lin-Eftekhar, Judy, "Virtual Los Angeles Today-A Virtual World
                    This patent is subject to a terminal dis-                      Tomorrow" Article, Quest, 2000, pp. 4-8, 40.
                    claimer.
                                                                                                                 (Continued)
(21)   Appl. No.: 11/761,361                                                      Primary Examiner-Kanji Patel
                                                                                  (7 4) Attorney, Agent, or Firm----Christie, Parker & Hale, LLP
(22)    Filed:      Jun.11,2007
                                                                                   (57)                         ABSTRACT
(65)                   Prior Publication Data
       US 2007 /0299604 Al          Dec. 27, 2007                                 A system and method synthesizing images of a locale to
                                                                                  generate a composite image that provide a panoramic view of
                 Related U.S. Application Data                                    the locale. A video camera moves along a street recording
                                                                                  images of objects along the street. A GPS receiver and inertial
(60)   Continuation of application No. 11/130,004, filed on                       navigation system provide the position of the camera as the
       May 16, 2005, now Pat. No. 7,239,760, which is a                           images are being recorded. The images are indexed with the
       division of application No. 09/758,717, filed on Jan.                      position data provided by the GPS receiver and inertial navi-
       11, 2001, now Pat. No. 6,895,126.                                          gation system. The composite image is created on a colunm-
(60)    Provisional application No. 60/238,490, filed on Oct.                     by-colunm basis by determining which of the acquired
        6,2000.                                                                   images contains the desired pixel colunm, extracting the pix-
                                                                                  els associated with the column, and stacking the colunms side
(51)   Int. Cl.                                                                   by side. The composite images are stored in an image data-
       G06K 9/60                    (2006.01)                                     base and associated with a street name and number range of
       G0SG 11123                   (2006.01)                                     the street being depicted in the image. The image database
       H04N 7100                    (2006.01)                                     covers a substantial amount of a geographic area allowing a
       G0lC 21100                   (2006.01)                                     user to visually navigate the area from a user terminal.
(52)   U.S. Cl. .................... 382/305; 340/995.1; 348/113;
                                                          701/200                                   35 Claims, 18 Drawing Sheets


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                                                                     Appx326
          Case: 22-1477                         Document: 15                           Page: 395               Filed: 08/01/2022




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                                                                              Page 2


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                                                                      Appx327
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                                                                                               Video-cameras
    '
                                                       Computer        34
    ''                                  '
    :____ 20... --------- __:




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                                    I                                 28          ,----Z-~
                                    'I                                                         39
                                    I                                               VCR
                                    I
                                    I                 Computer
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                                                              Fig. I




                                                             Appx328
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                                    Fig.2




                                     Appx329
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                     Start


               Acquire video           60
                and position
                information



              image sequences          62
               with position
                .            .


                Segment and
                  label geo-          64
                location data


                     Generate
                     synthetic        66




                     Generate
                     relational       68
                     database

                         !
                     8                                  Fig.3



                                    Appx330
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                           Start

                Select suitable landmark in
                                                            70
               image sequence that appears
               in at least two distinct image
                            frames



                 Measure time difference T                  72
                in image sequence between
                 the two landmark crossing
                           times




                For each point on the path                       74
                find the time of return \(x)




              Find the coordinate x for which                     76

                           1r(X) = T




                          Fig.4



                                    Appx331
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                                              Start

                                     Select suitable landmark in
                                                                                 80
                                    image sequence that appears
                                    in at least two distinct image
                                                 frames



                                                                                 82
                                      Initialize the time phase
                                      using camera time stamp




                                     easure distance between the                 84
                                       two geo-locations that
                                      corresp<md to landmark
                                              crossing




                                    No
                                                                            86
              Modify time phase




   98
                                                                                 Fig.5




                                    Appx332
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                           UTC clock
                            generator
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Appx333




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          Accelerometers
                                                    28                         92           O'I
                           Computer                                                         ........
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                   Compute optical flow of                  100
                bottom rows in image sequence




                   Obtain vehicle tangential                102
                         velocity GPS
                            reading




              Register the two velocity profiles to          104
              obtain alignment of singular points
                (local minima, maxima or zero
                            crossings)



                                                                  106
              Read out the time phase between two
                             signals.




                           Fig.7



                                    Appx334
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                                         Segment camera trajectory                120
                                                                             -
                                      in elementary straight segments
                                       detecting points of maximum
                                                 curvature



                                         Determine intersection
                                         coordinates as the points
                                                                                 l22
    128                                 where segment orthogonally
                                          intersect or maximum
                                         curvature tu.ms are made



                                        Determine correspondences          ~ 124
                                       between detected intersections
    Geographic information             and intersections in geographic
           database                         information database




                                                                                   126
                                          Associate segments with
                                        information from geographic
                                            information database




                                                  Fig.8




                                      Appx335
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      112




                                Fig.9




                                    Appx336
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                 Calculate position Xe
                                                          130
                  on sheet segment

         _____ _____
       ,--                 ....__   (position xc on
                                                 - , street segment)


          Compute array of equidistant
        positions along camera trajectory
                                                          132
               centered around xc

                                     (array of arc length coordinates: xi, i = 1..N)


              Find for each location xi the            134
             corresponding position time ti

                                     (array of position times)

             Use time phase computed in the
             synchronization step to convert
                                                         136
              position times to video times

                                      (array of video times)

             or each video time, generate the
              corresponding column array                 138
                   ofRGB pixel values

       ,-----------....._           ____    (array
                                              --,
                                                   of video columns)

       Stack all columns side by side to                140
       generate one single image bitmap

                                      (composite image)
                                                                                   Fig. I 0




                                             Appx337
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                            Start
                                     (video time t)

              Find image frame acquired at
                       time ti or the                            150
                     time closest to ti

                                     ( frame index      fi)

               Set current position of image                    152
                   sequence to frame~


                                     (frarne buffer)

              Read out of the frame buffer the ~ 154
                   column with index i

                                     (array of RGB intensities)




                           Fig.11


                                    Appx338
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                                                                 160
         ind the 2 *N image frames that are
                the closest to time ti


                                    (frame indexes ~1 ,f/, ... , ~2N)

           Compute dense optical flow                          162
             for each one of the 2 *N
                     frames



                                                                164
         Infer the column of RGB values
               for column i at time~

                                 (array of RGB intensities)
                          .-,.--,-~




                        Fig.12


                                      Appx339
                                                                                                                                      ~
           172        174           176                  178          180              182           184          186          l88
                                                                                                                                      .00




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                                                     ,            ,
                                                                                                                                      ~
                                    Side of                                          Segments                                Offset   ~
                                                                                                                                      ~

          Segment
            ID
                     Street
                     Name
                                  Street with
                                Respect to Hub    End Point
                                                 Coordinates
                                                                Segments
                                                               Adjacent to
                                                                  From
                                                                                   Adjacent to To
                                                                                    Coordinates Distance from
                                                                                                     Hub
                                                                                                                Length of
                                                                                                                Trajectory
                                                                                                                                      =
                                                                                                                                      ~



                                                               Coordinates                                       Segment


             l                                                    2(N)                 5(N)
                                                                                                                                      ~
                                                                                                                                      ~
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                    Colorado        West          (10, 10),       4(8)                 7(8)      (120m, 122m)   (28m, 30m)   (2,0)
                    Boulevard                                                                                                         ~CIO
                                                  (50, l 0)       3(W)                 l(W)
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                                                                      l(E)             6(E)                                           0
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                                                                                                                                      1,0
Appx340




                                                                  5(N)                 8(W)
             6      Colorado        West          (50, 10)        7(S)                 I0(S)     (130m, 134m)   (20m, 22m)   (0,0)
                                                                                                                                      rJJ
                    Boulevard                     (65,10)         l(W)
                                                                  6(E)
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                                                                                       9(E)
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Appx341




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                                             Fig. 14                                                                         -....l
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          240 ~ -
                             I A street address is input on I
                                                                                  User terminal retrieves
                                                                                  from the host computer     I    ,,.---248
                                                                                                                              =
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                                       the user terminal               I      I    info about new street
                                                                                         segment
                                                                                                                              >
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                                                                                                                                         Document: 15
           242-....___        I
                                      Address is sent to
                                                                              I host
                                                                                 Client retrie,os from the
                                                                                     computer composite
                                                                                                a
                                                                                                                       250
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                                                                                                                              N
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                                       host computer             I     I           image corresponding                        0
                                                                                                                              1,0
Appx344




                                                                                    to the input location

                                                                                                                              rJJ
                                 A query is run on the host                                                                   =-
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                                                                                                                                         Page: 412
           244----------..   I computer to find street
                              segment index that correspond                                                      ~212         ....
                                                                                                                              -....J
                                                                                      Update display
                                                                                                                              ........
                                                                                                                              0
                              to such address and the relative
                                  position on that segment                                                                    CIO




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            246                   Query result is sent back to
                                  the user terminal together
                                          with a map                                                                          d
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                                     of the input location
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          260   -~J         User select a location
                                                               I
                                                                                 User tenninal
                                                                            retrieves from the host    I   ,,-- 268
                                                                                                                        =
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                                                                             computer info about
                                 on the map              I     I      I       new street segment
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                                                                                                                                    Document: 15
          262--__     I      Screen coordinates are                        Client retrieves from the            270     ~CIO
                            converted to geographic                       host computer a composite                     N
                                                                                                                        0
                           location coordinates and                       image corresponding to the                    0
                                                                                                                        1,0
                           sent to the host computer                             input location
Appx345




                                                                                                                        rJJ

          264    ~
                        A query is run on the host
                     I computer to find street                                                                    272
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                                                                                                                                    Page: 413
                         segment index that is the                              Update display
                                                                                                                        CIO
                      closest to the input geographic
                           location coordinates                                                                         ........
                                                                                                                        0

                                                                                                                        CIO




                          Query result is sent back to
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           266
                          the user tenninal together
                                  with a map
                             of the input location                                                                      d
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                                                             Fig.18                                                     w
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                                                      US 7,577,316 B2
                               1                                                                       2
      SYSTEM AND METHOD FOR CREATING,                                   computationally intensive and hence cumbersome and inef-
      STORING AND UTILIZING IMAGES OF A                                 ficient in terms of time and cost.
           GEOGRAPHIC LOCATION                                             Accordingly, there is a need for a system and method for
                                                                        creating a visual database of a comprehensive geographic
           CROSS-REFERENCE TO RELATED                                   area in a more time and cost efficient manner. Such a system
                  APPLICATION(S)                                        should not require the reconstruction of 3D scene geometry
                                                                        nor the dense sampling of the locale in multiple dimensions.
   This application is a continuation of U.S. Pat. No. 11/130,          Furthermore, the images in the database should provide a
004, filed May 16, 2005, U.S. Pat. No. 7,239,760, issued Jul.           wider field of view of a locale to provide context to the objects
3, 2007, which is a divisional of patent application Ser. No.      10   being depicted. The database should further correlate the
09/758,717, filed Jan. 11, 2001, now U.S. Pat. No. 6,895,126,           images with additional information related to the geographic
issued May 17, 2005, which claims the benefit of U.S. pro-              location and objects in the location to further enhance the
visional patent application No. 60/238,490, filed Oct. 6, 2000,         viewing experience.
the disclosures of which are hereby incorporated by reference
in their entirety for all purposes.                                15               SUMMARY OF THE INVENTION
               FIELD OF THE INVENTION
                                                                           The present invention addresses and alleviates the above-
   This invention relates to visual databases, specifically to          mentioned deficiencies associated with the prior art. More
the creation and utilization of visual databases of geographic     20
                                                                        particularly, the present invention is directed to a computer-
locations.                                                              implemented system and method for synthesizing images of
                                                                        a geographic location to generate composite images of the
          BACKGROUND OF THE INVENTION                                   location. The geographic location may be a particular street in
                                                                        a geographic area with the composite images providing a
    There exist methods in the prior art for creating visual            view of the objects on each side of the street.
                                                                   25
databases of geographic locations. However, such databases                 According to one aspect of the invention, an image record-
are oflimited use due to the method of acquiring the imagery            ing device moves along a path recording images of objects
as well as the kind of imagery acquired. One particular                 along the path. A GPS receiver and/or inertial navigation
method involves the taking of individual photographs of the             system provides position information of the image recording
location and electronically pasting the photographs on a           30   device as the images are being acquired. The image and
polygonal mesh that provide the framework for a three-di-               position information is provided to a computer to associate
mensional (3D) rendering of the location. This method, how-             each image with the position information.
ever, is time consuming and inefficient for creating large,                The computer synthesizes image data from the acquired
comprehensive databases covering a substantial geographic               images to create a composite image depicting a view of the
area such as an entire city, state, or country.                    35   objects from a particular location outside of the path. Prefer-
    Another method uses video technology to acquire the                 ably, the composite image provides a field of view of the
images. The use of video technology, especially digital video           location that is wider than the field of view provided by any
technology, allows the acquisition of the image data at a               single image acquired by the image recording device.
higher rate, reducing the cost involved in creating the image              In another aspect of the invention, the path of the camera is
databases. For example, the prior art teaches the use of a         40   partitioned into discrete segments. Each segment is prefer-
vehicle equipped with a video camera and a Global Position-             ably associated with multiple composite images where each
ing System (GPS) to collect image and position data by driv-            composite image depicts a portion of the segment. The com-
ing through the location. The video images are later corre-             posite images and association information are then stored in
lated to the GPS data for indexing the imagery. Nevertheless,           an image database.
such a system is still limited in its usefulness due to the lack   45
                                                                           In yet another aspect of the invention, the image database
of additional information on the imagery being depicted.
                                                                        contains substantially all of the static objects in the geo-
    The nature of the acquired imagery also limits the useful-          graphic area allowing a user to visually navigate the area from
ness of such a system. A single image acquired by the video             a user terminal. The system and method according to this
camera contains a narrow field of view of a locale (e.g. a              aspect of the invention identifies a current location in the
picture of a single store-front) due to the limited viewing        50
                                                                        geographic area, retrieves an image corresponding to the
angle of the video camera. This narrow field of view provides           current location, monitors a change of the current location in
little context for the object/scene being viewed. Thus, a user          the geographic area, and retrieves an image corresponding to
of such an image database may find it difficult to orient               the changed location. A map of the location may also be
himself or herself in the image, get familiar with the locale,          displayed to the user along with information about the objects
and navigate through the database itself.                          55   depicted in the image.
    One way to increase the field of view is to use a shorter
focal length for the video camera, but this introduces distor-
                                                                                   DESCRIPTION OF THE DRAWINGS
tions in the acquired image. Another method is to increase the
distance between the camera and the buildings being filmed.
However, this may not be possible due to the limit on the          60
                                                                           FIG. 1 is a schematic block diagram of a data acquisition
width of the road and constructions on the opposite side of the         and processing system for acquiring image and position data
street.                                                                 used to create composite images of a geographic location;
    The prior art further teaches the dense sampling of images             FIG. 2 is an illustration ofa composite image created by the
of an object/scene to provide different views of the object/            data acquisition and processing system of FIG. 1;
scene. The sampling is generally done in two dimensions            65      FIG. 3 is a high-level flow diagram of the steps exercised by
either within a plane, or on the surface of an imaginary sphere         the data acquisition and processing system of FIG. 1 in cre-
surrounding the object/scene. Such a sampling, however, is              ating and storing the composite images;




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   FIG. 4 is a flow diagram for synchronizing image                       the trajectory. An inertial navigation system 20 including one
sequences with position sequences of a recording camera                   or more accelerometers and/or gyroscopes also provides
according to one embodiment of the invention;                             position information to the data acquisition and processing
   FIG. 5 is a flow diagram of an alternative embodiment for              system. When the inertial navigation system 20 is used in
synchronizing image sequences with position sequences of a                conjunction with the GPS receiver 16, a more accurate cal-
recording camera;                                                         culation of the position information may be produced.
   FIG. 6 is a block diagram of the data acquisition and                     In an alternative embodiment, position information is
processing system of FIG. 1 allowing a real-time synchroni-               acquired using devices other than the inertial navigation sys-
zation of image and position data;                                        tem 20 and/or the GPS receiver 16, such as via computer-
   FIG. 7 is another embodiment for synchronizing image              10   vision-based algorithms that compute positions using video
sequences with position sequences of a recording camera;                  information from the video cameras 10.
   FIG. 8 is a flow diagram for segmenting and labeling a                    The video cameras 10 provide to a multiplexer 22 a frame
camera trajectory;                                                        number and time information for each image acquired via a
   FIG. 9 is an illustration of a trajectory in a single camera           communication link 24 preferably taking the form of a
scenario;                                                            15   LANC™ port. The GPS receiver 16 and inertial navigation
   FIG. 10 is a flow diagram for creating a composite image of            system 20 also provide position information to the multi-
a segment of a camera's path;                                             plexer 22 via communication links 26a, 26b, preferably tak-
   FIG. 11 is a flow diagram for identifying and retrieving an            ing the form of RS-232 ports. The multiplexer 22 in turn
optical colunm from an acquired image according to one                    transmits the received frame number, time information, and
embodiment of the invention;                                         20   position data to a data acquisition computer 34 via a commu-
   FIG. 12 is a flow diagram for identifying and retrieving an            nication link 30, which also preferably takes the form of an
optical colunm from an acquired image according to an alter-              RS-232 port. The computer 34 stores in a trajectory database
native embodiment of the invention;                                       36 the position data from the GPS receiver 16 and/or inertial
   FIG. 13 is an illustration of an exemplary street segments             navigation system 20 along with the frame number and time
table including street segments in a camera's trajectory;            25   information from the video cameras 10. This information is
   FIG. 14 is an illustration of an exemplary image coordi-               then used by a post-processing system 38 to create the com-
nates table for associating composite images with the street              posite images.
segments in the street segments table of FIG. 13;                            The post-processing system 38 preferably includes a post-
   FIG. 15 is an illustration of an exemplary segment block               processing computer 28 in communication with a video
table for allowing an efficient determination of a segment that      30   player 39. The computer 28 preferably includes a video
is closest to a particular geographic coordinate;                         acquisition card for acquiring and storing the image
   FIG. 16 is a photograph of an exemplary graphical user                 sequences as the video player 39 plays the videotapes 12 of
interface for allowing the user to place requests and receive             the acquired images. The computer 28 includes a processor
information about particular geographic locations;                        (not shown) prograrmned with instructions to take the image
   FIG. 17 is a flow diagram of a process for obtaining image        35   and position data and create one or more composite images
and location information of an express street address; and                for storing into an image database 32. The image database 32
   FIG. 18 is a flow diagram of the process for obtaining                 is preferably a relational database that resides in a mass stor-
image and location information of a location selected from a              age device taking the form of a hard disk drive or drive array.
map.                                                                      The mass storage device may be part of the computer 28 or a
                                                                     40   separate database server in communication with the com-
    DETAILED DESCRIPTION OF THE INVENTION                                 puter.
                                                                             In an alternative embodiment, the images are transferred
   FIG. 1 is a schematic block diagram of a data acquisition              directly to the data acquisition computer 34 as the images are
and processing system for acquiring and processing image                  being recorded. In this scenario, the computer 34 is preferably
and position data used to create composite images of a geo-          45   equipped with the video acquisition card and includes suffi-
graphic location. The composite images are created by syn-                cient storage space for storing the acquired images. In this
thesizing individual image frames acquired by a video camera              embodiment, the data acquisition computer 34 preferably
moving through the location and filming the objects in its                contains program instructions to create the composite images
view. The composite images may depict on urban scene                      from the acquired images.
including the streets and structures of an entire city, state, or    50      In general terms, a composite image of a particular geo-
country. The composite images may also depict other locales               graphic location is created by using at least one video camera
such as a zoo, national park, or the inside of a museum,                  10 recording a series of video images of the location while
allowing a user to visually navigate the locale.                          moving along a path. In the one camera scenario, the camera
   The data acquisition and processing system includes one or             10 is moved twice on the same path but in opposite directions
more image recording devices preferably taking the form of           55   to film the objects on both sides of the path. Movement to the
digital video cameras 10 moving along a trajectory/path and               camera 10 is provided by a base, platform, or motor vehicle
recording images on the trajectory on digital videotapes 12.              moving at an average speed of preferably about 20 miles/hour
Other types of acquisition devices may also be used in com-               to ensure a sufficient resolution in the resulting images. Video
bination to, or in lieu of, the digital cameras 10, such as analog        cameras with higher sampler rates may allow for faster acqui-
cameras. Furthermore, the video images may be recorded on            60   sition speeds.
optical, magnetic, or silicon video tapes, or on any other                   Preferably, the data acquisition and processing system uses
known types of storage devices that allow random access of                four cameras 10 mounted on top of a moving motor vehicle.
particular image frames and particular video pixels within the            Two side cameras face each side of the path for filming
image frames.                                                             objects viewed from the each side of the vehicle. A front and
   The data acquisition and processing system further                65   back cameras allow the filming of the objects viewed from the
includes a GPS receiver 16 for receiving position information             front and back of the vehicle. The front and back cameras may
from a set of GPS satellites 18 as the cameras 10 move along              be equipped with fish-eye lens for providing a wide-angle




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view of the path. A person skilled in the art should recognize,         form the composite image. Preferably, the image data
however, that additional cameras may be used to film the                extracted from each image frame is an optical colunm that
objects from different viewing directions. For example, a               consists of a vertical set of pixels. The composite image is
duodecahedron of cameras may be used to record the objects              preferably created on a colunm-by-colunm basis by extract-
from all viewing directions. Furthermore, the side cameras              ing the corresponding optical column from each image frame.
need not face directly to the side of the street, but may face a        Thus, to create a colunm Pi 50 in the composite image 40, the
slightly forward or backward direction to provide a look up or          computer locates an image frame 42a that was acquired when
down of the path.                                                       the camera 10 was located at Xi 52. To locate this image frame
   As the images acquired by the cameras 10 are recorded on             42a, the computer uses the GPS data and/or data from the
the videotapes 12, the frame number and time associated with       10   inertial navigation system 20 to identify a time Ti 54 at which
the images are transferred to the data acquisition computer             the camera 10 was in the location Xi 52. Once the image
34. The images recorded on the videotapes 12 are later trans-           frame 42a is identified, the computer 28 extracts the optical
ferred to the post-processing computer 28 for further process-          colunm 56 with an index (Pi/N)*M, where N is the total
ing. Once the images are received, the computer 28 stores the           number of colunms in the composite image 40 and M is the
image data in its memory in its original form or as a com-         15   number of colunms in the image frame 42a. The composite
pressed file using one of various well-known compression                image 40 is stored in the image database 32, preferably in
schemes, such as MPEG.                                                  JPEG format, and associated with an identifier identifying the
   As the camera 10 moves along the path and records the                particular geographic location depicted in the image. Further-
objects in its view, the GPS receiver 16 computes latitude and          more, close-ups and fish-eye views of the objects are also
longitude coordinates using the information received from          20   extracted from the video sequences using well-known meth-
the set ofGPS satellites 18 at selected time intervals (e.g. one        ods, and stored in the image database 32. The unused data
sample every two seconds). The latitude and longitude coor-             from the acquired images is then preferably deleted from the
dinates indicate the position of the camera 10 during the               computer's memory.
recording of a particular image frame. The GPS satellite 18                FIG. 3 is a high-level flow diagram of the steps exercised by
also transmits to the GPS receiver 16 a Universal Time Coor-       25   the data acquisition and processing system in creating and
dinate (UTC) time of when the coordinates were acquired.                storing the composite images. In step 60, the camera 10
The GPS receiver 16 is preferably located on the vehicle                acquires a series of images of a particular geographic loca-
transporting the camera 10 or on the camera itself. The GPS             tion. At the same time, the GPS receiver 16 and/or inertial
data with the position sequences and UTC time information is            navigation system 20 acquires the position of the camera 10
then transferred to the computer 34 for storing in the trajec-     30   while the images are being acquired. Because the time asso-
tory database 36.                                                       ciated with the position information (position time) is likely
   In addition to the position information provided by the GPS          to differ from the times of acquisition of the video images
receiver 16, the inertial navigation system 20 also provides            (video time), the computer 28, in step 62, synchronizes the
acceleration information to the computer 34 for indepen-                image sequence with the position sequence. The synchroni-
dently deriving the position sequence of the camera 10. Spe-       35   zation is preferably a post-processing step that occurs after
cifically, the one or more accelerators and gyroscopes in the           the image and position sequences have been acquired.
inertial navigation system 20 monitor the linear and rotational            In step 64, the computer 28 segments the trajectory taken
acceleration rates of the camera 10 and transfer the accelera-          by the recording camera 10 into multiple segments and labels
tion data to the computer 34. The computer 34 integrates the            each segment with identifying information about the seg-
acceleration data to obtain the position of the camera 10 as a     40   ment. For example, if the camera traverses through various
function of time. The computer 34 preferably combines the               streets, the computer 28 segments the trajectory into multiple
position derived from the acceleration information with the             straight street segments and associates each street segment
GPS position data to produce a more accurate evaluation of              with a street name and number range. In step 66, the computer
the position of the camera 10 at particular instances in time.          28 generates a series of composite images depicting a portion
   The post-processing computer 28 uses the image and posi-        45   of each segment, and in step 68, stores each composite image
tion sequences to synthesize the acquired images and create             in the image database 32 along with the identifying informa-
composite images of the location that was filmed. The com-              tion of the segment with which it is associated.
posite images preferably provide a wider field of view of the              FIG. 4 is a more detailed flow diagram of step 62 for
location than any single image frame acquired by the camera             synchronizing the image sequences with the position
10. In essence, the composite images help provide a pan-           50   sequences of the recording camera according to one embodi-
oramic view of the location.                                            ment of the invention. Although the process illustrated in FIG.
   FIG. 2 is an illustration of a composite image 40 created            4 assumes that the position data is GPS data, a person skilled
from the image frames 42 acquired by the camera 10 while                in the art should recognize that a similar process may be
moving along an x-axis 58 direction. In creating the compos-            employed to synchronize the images to positions calculated
ite image 40, the computer assumes a fictitious camera 44          55   using the inertial navigation system 20.
located behind the actual camera 10 and identifies optical rays            The process starts, and in step 70, a user of the system
46 originating from the fictitious camera. The location of the          selects a landmark in the image sequence that appears in at
fictitious camera 44 depends on the desired field of view of            least two distinct video frames. This indicates that the land-
the location being filmed. The further away the fictitious              mark was recorded once while the camera 10 was moving on
camera is placed from the objects along the x-axis 58, the         60   one direction on the path, and again while the camera was
wider its field of view of the objects.                                 moving in an opposite direction on the same path. The land-
   The computer also identifies optical rays 48 originating             mark may be, for example, a tree in a lane divider.
from the actual camera 10. For each optical ray 46 from the                In step 72, a time interval T is measured in the image
fictitious camera 44, the computer 28 selects an acquired               sequence between the two passings of the landmark. In step
image frame 42 that includes a corresponding optical ray 48        65   74, the computer 28 uses the GPS data to compute a function
originating from the actual camera 10. Image data from each             for determining the time interval between successive passes
selected image frame 42 is then extracted and combined to               of any point along the path. The function is then used to find,




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for each point x on the path, a time of return Tr(x) which               this regard, the latitude and longitude coordinates provided
measures the lapse of time between the two passings of each              by the GPS receiver 16 are converted into two-dimensional
point. In step 76, a point is identified for which Tr(x)=T. The          Mercator coordinates according to well-known methods. A
identified point provides the GPS position of the landmark               spline interpolation is then obtained from the two-dimen-
and hence, a GPS time associated with the landmark. Given                sional Mercator coordinates and the resulting spline function
the GPS time, a difference between the GPS time and the                  is parameterized in arc-length. The computer 28 obtains a
video time associated with the landmark may be calculated                new sampling of the coordinates from the spline function by
for synchronizing any image frame acquired at a particular               uniformly sampling the coordinates in an arc-length incre-
video time to the GPS position of the camera at a particular             ment of about one meter while detecting the points in the new
GPStime.                                                            10   sequence where a turn was made. The place where a tum
    FIG. 5 is a flow diagram of an alternative embodiment for            occurs is assumed to be the place of an intersection of two
synchronizing the image sequences with GPS position infor-               segments.
mation. As in FIG. 4, the process illustrated in FIG. 5 also                Preferably, the computer 28 performs a singular value
identifies, in step 80, a landmark in the image sequence that            decomposition computation according to well-known meth-
appears in at least two distinct image frames. In step 82, a time   15   ods to detect the turns. In this regard, the computer selects an
phase is initialized to an arbitrary value using the camera time         observation window containing N sample points that is
stamp. In step 84, the computer 28 measures the distance                 moved along the spline for calculating an index indicative of
traveled between the two points on the path that correspond to           the overall direction (i.e. alignment) of the points in the win-
the time instants in the image sequence where the landmark is            dow. The higher the index, the less aligned the points, and the
seen from the two sides of the path. In step 86, an inquiry is      20   more likely that the camera was making a turn at those points.
made as to whether the distance has been minimized. If the               The points are least aligned at the center of a turn, and thus,
answer is NO, the time phase is modified in step 88, and the             the computer selects as a tum coordinate a point in the obser-
process returns to step 84 where the distance is measured                vation window where the index is at a local maximum. The
again.                                                                   computer 28 gathers all the points whose indexes correspond
    In another embodiment, the synchronization does not             25   to local maxima and stores them into an array of tum coordi-
occur as a post-production process, but occurs in real-time as           nates.
the image and position sequences are acquired. FIG. 6 is a                  In step 122, the computer 28 determines the center of an
block diagram of a portion of the data acquisition and pro-              intersection by grouping the turn coordinates into clusters
cessing system of FIG. 1 allowing a real-time synchroniza-               where turns that belong to the same cluster are turns made on
tion of image and position data. A UTC clock generator 90           30   the same intersection. An average of the turn coordinates
provides to the data acquisition computer 34 the UTC time                belonging to the same cluster is then calculated and assigned
associated with each GPS position of the recording camera 10             as the intersection coordinate.
as the camera moves along the path. The video time produced                 The endpoints of each straight segment are identified based
by a camera clock 92 is also provided to the data acquisition            on the calculated intersection coordinates. In this regard, an
computer 34 via the communications port 24. A UTC card 94           35   intersection coordinate at the start of the segment is identified
on the computer 34 correlates the video time to the UTC time.            and assigned to the segment as a segment start point (the
Thus, the video image acquired at the video time may be                  "From" intersection coordinate). An intersection coordinate
correlated to the GPS position of the camera during the                  at the end of the segment is also identified and assigned to the
recording of the image.                                                  segment as a segment end point (the "To" intersection coor-
    FIG. 7 is yet another embodiment for synchronizing the          40   dinate).
image sequences with the GPS position of the recording                      In the scenario where at least two side cameras are utilized,
camera 10. In step 100, the post-processing computer 28                  each camera films the objects on each side of the path during
computes the temporal variation in the image values (i.e.                the first pass on the path. Thus, unlike the single camera
optical flow) of the bottom pixel rows in the image sequence.            scenario where a turn is made at each intersection to move the
Thus, the average velocity of each of the pixels in the row may     45   camera along the same path twice but in opposite directions,
be obtained. In step 102, the tangential velocity of the camera          a turn is not made at each intersection in the two camera
10 is obtained from the GPS reading. The average velocity for            scenario. Therefore, instead of identifying the points of maxi-
the computed pixels is directly proportional to the vehicle              mum curvature for determining the intersection coordinates,
tangential velocity. Thus, in step 104, the time phase between           the intersection coordinates are simply detected by tracking
the position and video sequences may be determined as a time        50   the GPS data and identifying where the segments orthogo-
delay maximizing the alignment of local maxima and local                 nally intersect.
minima between the average pixel velocity and the vehicle                   The computer 28 associates the calculated segments with
tangential velocity. This time phase is then read out in step            information obtained from a geographic information data-
106.                                                                     base 128 and stores it into a segments table as is described in
    FIG. 8 is a more detailed flow diagram of step 64 of FIG. 3     55   further detail below. In the scenario where composite images
for segmenting the trajectory followed by one or more record-            of a city are created, the geographic information database 128
ing cameras 10 and labeling the segments with an identifier.             includes a map of the city where the endpoints of each street
In the one camera scenario, the camera is moved along the                segment on the map are identified by latitude and longitude
path making a right tum at each intersection until a block 112           information. The database 128 further includes a street name
has been filmed, as is illustrated in FIG. 9. The camera then       60   and number range for each street segment on the map. Such
moves to a second block 114 to film the objects on that block.           databases are commercially available from third parties such
Thus, a particular path 110 adjoining the two blocks 112, 114            as Navigation Technologies and Etak, Inc.
is traversed twice on opposite directions allowing the filming              In correlating the segments of the camera's trajectory with
of the objects on each side of the path.                                 the segments in the geographic information database 128, the
    In step 120, the post-processing computer 28 segments the       65   computer, in step 124, determines the correspondences
camera's trajectory into straight segments by detecting the              between the "From" and "To" coordinates calculated for the
points of maximum curvature (i.e. where the turns occur). In             trajectory segment with intersection coordinates of the seg-




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ments in the database. The computer 28 selects the segment in            that corresponds to time Ti may be inferred. The computer 28
the geographic information database 128 which endpoints are              may then extract the colunm of RGB values from the new
closest to the computed "From" and "To" coordinates, as the              frame for a colunm i.
corresponding segment.                                                      Preferably, the computer 28 creates multiple composite
   In step 126, the computer labels each trajectory segment              images at uniform increments (e.g. every 8 meters) along a
with information that is associated with the corresponding               segment. In the scenario where the composite images are
segment in the database 128. Thus, if each segment in the                created for street segments, the composite images depict the
database 128 includes a street name and number, this infor-              view of the objects on each side of the street. The composite
mation is also associated with the trajectory segment.                   images are then stored in the image database 28 along with
   FIG. 10 is a more detailed flow diagram of step 66 of FIG.       10   various tables that help organize and associate the composite
3 for creating a composite image ofa segment of the camera's             images with street segment information.
path according to one embodiment of the invention. In step                  According to one embodiment of the invention, the image
130, the computer 28 computes the arc length coordinate Xe               database 32 includes composite images of a geographic area
of the center of the segment which is then set as the center of          which together provide a visual representation of at least the
the composite image. In step 132, the computer identifies the       15   static objects in the entire area. Thus, if the geographic area is
optical rays 46 (FIG. 2) originating from the fictitious camera          a particular city, the composite images depict the city on a
44 by computing an array of equidistant positions Xl,                    street-by-street basis, providing a visual image of the build-
X2, ... , Xn along the camera's trajectory, centered around              ings, stores, apartments, parks, and other objects on the
Xe. The number of computed positions preferably depend on                streets. The system further includes an object information
the number of optical colunms that are to be created in the         20   database with information about the objects being depicted in
composite image.                                                         the composite images. If the geographic area being depicted
   In step 134, the computer 28 uses the position information            is a city, the object information database contains information
obtained from the GPS receiver 16 and/or inertial navigation             about the structures and businesses on each city street. In this
system 20 to map each position Xi on the trajectory to a                 scenario, each record in the object information database is
                                                                    25   preferably indexed by a city address.
position time Ti. Thus, if GPS data is used to determine the
camera's position, each position Xi of the camera 10 is                     FIG. 13 is an illustration of an exemplary street segments
mapped to a UTC time.                                                    table 170 including the street segments in the camera's tra-
   In step 136, the computer 28 uses the time phase informa-             jectory. The table 170 suitably includes multiple entries
tion computed in the synchronization step 62 of FIG. 3 to                where each entry is a record specific to a particular street
                                                                    30
convert the position times to video times. For each identified           segment. A particular street segment record includes an index
video time, the computer 28, in step 138, identifies an asso-            identifying the street segment (segment ID) 172 as well as the
ciated image frame and extracts a column of RGB pixel                    corresponding street name 174 obtained from the geographic
values from the frame corresponding to the optical rays 46               information database 128 (FIG. 12). A particular street seg-
originating from the fictitious camera 44. In step 140, the         35   ment record also includes the direction of the street (North,
colunm of RGB pixel values are stacked side by side to                   South, East, or West) 176 with respect to a main city street
generate a single image bitmap forming the composite image.              referred to as a city hub. The direction information generally
   FIG. 11 is a more detailed flow diagram of step 138 for               appears in an address in front of the street name. A city, state,
identifying and retrieving a colunm ofRGB pixel values for a             and/or country fields may also be added to the table 170
particular video time Ti according to one embodiment of the              depending on the extent of the geographic area covered in the
                                                                    40
invention. In step 150, the computer 28 identifies an image              image database 32.
frame with frame index Fi acquired at time Ti. Because the                  A street segment record includes the endpoint coordinates
image frames are acquired at a particular frame rate (e.g. one           178 of the corresponding street segment in the geographic
frame every 1/30 seconds), there may be a particular time Ti for         information database 128. An array of segment IDs corre-
which an image frame was not acquired. In this scenario, the        45
                                                                         sponding to street segments adjacent to the segment start
frame closest to time Ti is identified according to one embodi-          point are identified and stored in field 180 along with the
ment of the invention.                                                   direction in which they lie with respect to the start point (e.g.
   In step 152, the current position of the image sequence is            North, South, East, or West). Similarly, an array of segment
set to the image frame with index Fi, and the frame is placed            IDs corresponding to street segments adjacent to the segment
into a frame buffer. In step 154, a colunm in the image frame       50   end point are also identified and stored in field 182. These
with an index i is read out from the frame buffer.                       segments are also ordered along the direction in which they
   FIG. 12 is a flow diagram of an alternative embodiment for            lie.
identifying and retrieving a colunm ofRGB pixel values for a                In addition to the above, a street segment record includes a
particular video time Ti. If an image frame was not acquired             distance of the start of the trajectory segment from the city
at exactly time Ti, the computer, in step 160, identifies 2*N       55   hub 184. The city hub generally marks the origin of the streets
image frames that are closest to time Ti, where N > 1. Thus, at          from which street numbers and street directions (North,
least two image frames closest to time Ti are identified. In step        South, East, or West) are determined. Street numbers are
162, the computer computes an optical flow field for each of             generally increased by two at uniform distances (e.g. every
the 2*N image frames and in step 164, infers the colunm of               12.5 feet) starting from the hub. Thus the distance from the
RGB values for a colunm i at time Ti. In the situation where        60   hub allows a computation of the street numbers on the street
only two image frames are used to compute the optical flow,              segment. In a one camera situation where each segment is
the computer identifies for each pixel in the first image frame          traversed twice, the distance from the hub is computed for
a position Xl and a position time Tl. A corresponding pixel in           each camera trajectory. In a multiple camera scenario, how-
the second frame is also identified along with a position X2             ever, only one distance is computed since the camera
and a position time T2. The position X' of each pixel at time       65   traverses the segment only once.
Ti is then computed where X'=Xl+((Ti-Tl)/(T2-Tl))*(X2-                      Also included in a street segment record is a length of the
Xl ). Given the position of each pixel at time Ti, a new frame           trajectory segment. Such a length is computed for each tra-




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jectory in a one camera 10 scenario because the movement of              screen. Alternatively, a keyboard, keypad, joystick, mouse,
the camera 10 is not identical during the two traversals of the          and/or remote control unit is provided to define the user
segment.                                                                 terminal's input apparatus.
    Each street segment record 170 further includes an offset               Each remote user terminal includes a network interface for
value 188 for each side of the street. The offset is used to             communicating with the host computer via wired or wireless
correct the street numberings computed based on the distance             media. Preferably, the communication between the remote
information. Such a computation may not be accurate if, for              user terminals and the host computer occurs over a wide area
instance, there is an unusually wide structure on the segment            network such as the Internet.
that is erroneously assigned multiple street numbers because                In an alternative embodiment of the invention, the image,
it overlaps into the area of the next number assignment. In this    10   geographic information, and object information databases
case, the offset is used to decrease the street numbers on the           reside locally at the user terminals in a CD, DVD, hard disk
segment by the offset value.                                             drive, or any other type of mass storage media. In this embodi-
    FIG. 14 is an illustration of an exemplary image coordi-             ment, the user terminals include a processor programmed
nates table 200 for associating the composite images with the            with instructions to receive queries from the user about a
street segments in the street segments table 170. The image         15   particular geographic location and retrieve composite images
coordinates table 200 includes a plurality of composite image            and associated information in response to the user queries.
records where each record includes a segment ID 202 of the                  FIG. 16 is a photograph of an exemplary graphical user
street segment being depicted in the composite image. In                 interface (GUI) for allowing the user to place requests and
addition, each composite image record includes information               receive information about particular geographic locations.
of the side of the street segment 204 being depicted. For           20   The GUI includes address input fields 220 allowing the user
example, the side may be described as even or odd based on               to enter the street number, street name, city and state of the
the street numbers on the side of the street being depicted.             particular location he or she desires to view. Actuation of a
Each composite image entry also includes a distance from the             "See It" button 222 causes the user terminal to transmit the
segment origin to the center Xe of the composite image 206               address to the host computer to search the image and geo-
indicating the position along the street segment for which the      25   graphic location databases 32, 128 for the composite image
image was computed. The distance information is used to                  and map corresponding to the address. Furthermore, the host
retrieve an appropriate composite image for each position on             computer searches the object information database to retrieve
the street segment.                                                      information about the objects depicted in the composite
    FIG. 15 is an illustration of an exemplary segment block             image.
table 210 for allowing an efficient determination of a segment      30      The retrieved composite image and map are respectively
ID that is closest to a particular geographic coordinate. In this        displayed on the display screen of the requesting user termi-
regard, the geographic area depicted in the image database 32            nal in a map area 226 and an image area 224. The map is
is preferably partitioned into a grid of square blocks where             preferably centered around the requested address and
each block includes a certain number of street segments. The             includes a current location cursor 228 placed on a position
blocks are assigned block labels preferably corresponding to        35   corresponding to the address. The current location identifier
the center longitude and latitude coordinates of the block. The          228 may, for instance, take the shape of an automobile.
block labels are stored in a block label field 212. Associated              The composite image displayed on the image area 224
with each block label are segment IDs 214 corresponding to               provides a view of a side of the street (even or odd) based on
the street segments in the block. Given the coordinates of a             the entered street number. The user may obtain information
particular geographic location, the block closest to the given      40   about the objects being visualized in the composite image by
coordinates may be identified to limit the search of street              actuating one of the information icons 234 above the image of
segments to only street segments within the block.                       a particular object. In displaying the information icons 234, a
    In a particular use of the system, a user places inquiries           range of street addresses for the currently displayed image is
about a location in a geographic area depicted in the image              computed. The listings in the object information database
database 32. For example, the user may enter an address of the      45   with street numbers that fall inside the computed range are
location, enter the geographic coordinates of the location,              then selected and associated with the information icons 234
select the location on a map of the geographic area, or specify          displayed on top of the image of the object.
a displacement from a current location. Preferably, the user                If the objects are business establishments, the information
has access to a remote terminal that communicates with a host            displayed upon actuating the information icons 234 may
computer to service the user requests. The host computer            50   include the name, address, and phone number 236 of the
includes a processor programmed with instructions to access              establishment. This information is preferably displayed each
the image database 32 in response to a user request and                  time the user terminal's cursor or pointing device is passed
retrieve composite images about the particular location. The             above the icon. In addition, if the establishment is associated
processor is also programmed with instructions to access the             with a particular Web page, the information icon 234 func-
geographic and object information databases to retrieve maps        55   tions as a hyperlink for retrieving and displaying the Web
and information on the businesses in the geographic area. The            page, preferably on a separate browser window.
retrieved data is then transmitted to the requesting remote                 The user may obtain a close-up view of a particular object
user terminal for display thereon.                                       in the composite image by selecting the object in the image. A
    The remote user terminals may include personal comput-               close-up view of the object is then obtained by computing the
ers, set-top boxes, portable communication devices such as          60   distance of the selected object from the origin of the street
personal digital assistants, and the like. The visual component          segment where they object lies. The location on the segment
of each remote user terminal preferably includes a VGA or                of the closest close-up image is computed and retrieved from
SVGA liquid-crystal-display (LC) screen, an LED display                  the image database 32. The close-up image is then provided in
screen, or any other suitable display apparatus. Pressure sen-           the image area 224 or in a separate browser window.
sitive (touch screen) technology may be incorporated into the       65      A "Switch View" button 230 allows the user to update the
display screen so that the user may interact with the remote             current composite image providing a view of one side of the
user terminal by merely touching certain portions of the                 street with a composite image of the other side of the street. In




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a multiple camera scenario, each actuation of the "Switch               corresponding to the identified street segment. Furthermore,
View" button 230 provides a different view of the street. The           the user terminal also retrieves the computed start and end
current view is preferably identified by a direction identifier         street numbers of the street segment, a list of computed com-
(not shown) on or close to the current location identifier 228.         posite images for both sides of the street segment in the image
For instance, one side of the current location identifier 228           coordinates table 200 (FIG. 14), and information of the
may be marked with a dot or an "X" to identify the side of the          objects visible on the street segment in the object information
street being viewed. Alternatively, an arrow may be placed              database.
near the current location identifier 228 to identify the current           In step 250, the user terminal downloads a composite
viewing direction.                                                      image for the appropriate side of the street from the host
   The composite image is also updated as the user navigates       10   computer that has a distance from the origin of the street
through the streets using the navigation buttons 232. From a            segment to the center of the composite image 206 (FIG. 14)
current location, the user may choose to navigate north, south,         that is closest to the distance of the desired street number from
west, and east by actuating the corresponding buttons. Pref-            the origin. The display on the user terminal is then updated in
erably, only the navigation buttons corresponding to the pos-           step 252 with the new location and image information.
sible direction of motions from the current position are           15      FIG. 18 is a flow diagram of the process executed by the
enabled. As the user actuates one of the buttons, the current           host computer for obtaining image and location information
position is incremented by a predetermined amount, currently            of a particular location selected on the map displayed in the
set to eight meters, to the next available composite image on           map area 226. A similar process is executed by the user
the current or adjacent segment. The image area 224 is then             terminal in the embodiment where the location and image
updated with the new composite image.                              20   information are stored locally at the user terminal.
   FIG. 17 is a flow diagram of the process executed by the                The process starts, and in step 260, the user requests infor-
host computer for obtaining image and location information              mation about a particular street address by selecting a loca-
of an express street address entered in the address input fields        tion on the map. In step 262, the map coordinates are con-
220. A similar process is executed by the user terminal in the          verted from screen coordinates to geographic location
embodiment where the location and image information are            25   coordinates (x,y) and transmitted to the host computer pref-
stored locally at the user terminal.                                    erably over the Internet. In step 244, a query is run on the host
   The process starts, and in step 240, the user requests infor-        computer to locate the street segment index in the street
mation about a particular street address by entering the                segment table 170 (FIG. 13) corresponding to the geographic
address in the address input fields 220. In step 242, the               location coordinates. In this regard, the computer searches the
address is transmitted to the host computer preferably over a      30   segment block table 210 (FIG. 15) for a block that includes
wide area network such as the Internet. In step 244, a query is         the street segment corresponding to the input location. In
run on the host computer to locate the street segment index in          order to locate such a block, the computer rounds the identi-
the street segment table 170 (FIG. 13) corresponding to the             fied geographic location coordinates based preferably on the
requested address. In this regard, the computer searches the            size of the block. The rounded (x,y) coordinates may thus be
street segment table 170 for street segments that match the        35   represented by ((round(x/B))*B, (roundy/B)*B)), whereB is
desired street name 174 as well as a city, state, or country if         the length of one of the block sides. The computer then
applicable. For each street segment matching the street name,           compares the rounded number to the coordinates stored in the
the computer computes the starting street number on that                block label field 212 and selects the block with the label field
segment preferably based on the following formula:                      212 equal to the rounded coordinate. Once the appropriate
                                                                   40   block is identified, the computer proceeds to retrieve the
      Start NurnbeF(round((Distance from Hub+                           segment IDs 214 associated with the block. The geographic
            Offset)/K)*2)
                                                                        coordinates of the desired location are then compared with
                                                                        the endpoint coordinates of each street segment in the block
The distance from the hub 184 and offset 188 values are
                                                                        for selecting the closest street segment.
obtained from the street segment table 170. The value K is the
                                                                   45      In step 266, the segment ID of the closest street segment is
distance assumed between any two street numbers on the
                                                                        returned to the user terminal. Additionally, a new map of the
segment.
                                                                        desired location may be transmitted if the previous map was
   The ending street number on the street segment is also               not centered on the desired location.
calculated using a similar formula:                                        In step 268, the requesting user terminal downloads from
      End NurnbeF(round((Distance from Hub+                        50   the host computer a street segment record in the street seg-
          Offset+lengtb)/K)*2)                                          ments table 170 corresponding to the identified street seg-
                                                                        ment. The user terminal also retrieves the calculated start and
The length is the length 186 value obtained from the street             end street numbers of the street segment, a list of computed
segment table 170.                                                      composite images for both sides of the street the segment in
   Once the start and end street numbers are calculated for a      55   the image coordinates table 200 (FIG.14), and information of
particular street segment, the computer determines whether              the objects visible on the street segment in the object infor-
the requested street number lies within the start and end street        mation database.
numbers. If it does, the computer returns the corresponding                In step 270, the user terminal downloads the composite
segment ID 172. Furthermore, the computer determines the                image corresponding to the geographic coordinates of the
distance of the requested street number from the start of the      60   input location. To achieve this, the geographic coordinates are
street segment for determining the position of the street num-          converted to a distance along the identified street segment.
ber on the street segment.                                              The user terminal downloads a composite image that has a
   In step 246, the host computer transmits the query result to         distance from the origin of the street segment to the center of
the requesting user terminal along with a map of the input              the composite image 206 (FIG. 14) that is closest to the
location retrieved from the geographic information database        65   distance of the input location from the origin. The display on
128. In step 248, the requesting user terminal downloads from           the user terminal is then updated in step 272 with the new
the host computer a record from the street segments table 170           location and image information.




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   Although this invention has been described in certain spe-                identifying a position on the street segment corresponding
cific embodiments, those skilled in the art will have no diffi-                 to the first or second location; and
culty devising variations which in no way depart from the                    identifying an image associated with said position.
scope and spirit of the present invention. For example, the                  4. The method of claim 3, wherein the image simulates a
composite images may be made into streaming video by                      view of objects on one side of the street segment and the
computing the composite images at small increments along                  method further comprises retrieving a second image depict-
the path (e.g. every 30 cm). Furthermore, the composite                   ing a view of objects on an opposite side of the street segment
images may be computed at several resolutions by moving the               in response to a user request.
fictitious camera 44 (FIG. 2) closer or further away from the                5. The method of claim 1, wherein the image source resides
path to decrease or increase its field of view and provide the       10   at the user terminal and the method further comprises:
user with different zoom levels of the image.                                displaying the first image associated with the first location
   Variation may also be made to correct any distortions in the                 on the screen of the user terminal; and
perspective of the composite image along the vertical y-axis                 updating the first image on the screen with a second image
direction. The extraction of the optical colunms from the                       corresponding to the second location.
acquired image frames may introduce such a distortion since          15      6. The method of claim 1 further comprising retrieving a
the sampling technique used along the horizontal x-axis                   map of a portion of the geographic area for displaying the map
direction is not applied along the y-axis. Such a distortion              on the screen of the user terminal.
may be corrected by estimating the depth of each pixel in the                7. The method of claim 6, wherein the first or second
composite image using optical flow. The aspect ratio of each              location is identified by a user selection of the location on the
pixel may be adjusted based on the distance of the object            20   map using the input device.
visualized in the pixel. The distortion may also be corrected                8. The method of claim 6 further comprising:
by acquiring images from an array of two or more video                       displaying an icon on the map for identifying the first
cameras 10 arranged along the vertical y-axis in addition to                    location.
the cameras in the horizontal axis.                                          9. The method of claim 8, wherein the icon on the map is
   The described method of generating composite images               25   configured to indicate a viewing direction depicted in the first
also relies on an assumption that the camera's trajectory is              image.
along a straight line. If this is not the case and the vehicle               10. The method of claim 1, wherein the first location is
carrying the camera makes a lane change, makes a tum, or                  identified by a specific address entered by a user using the
passes over a bump, the choice of the optical column                      input device.
extracted from a particular image frame may be incorrect. The        30      11. The method of claim 1, wherein the image source is an
distortion due to such deviations from a straight trajectory              image database.
may, however, be corrected to some degree using optical flow                 12. The method of claim 1, wherein the first image is a
to detect such situations and compensate for their effect.                composite image created based on a first one of the image
   It is therefore to be understood that this invention may be            frames acquired at a first point in the trajectory and a second
practiced otherwise than is specifically described. Thus, the        35   one of the image frames acquired at a second point in the
present embodiments of the invention should be considered in              trajectory.
all respects as illustrative and not restrictive, the scope of the           13. The method of claim 1, wherein the first image is a
invention to be indicated by the appended claims and their                composite image created by processing pixel data of a plu-
equivalents rather than the foregoing description.                        rality of the image frames.
   What is claimed is:                                               40      14. The method of claim 13, wherein a first one of the
   1. In a system including an image source and a user termi-             plurality of image frames is acquired at a first point in the
nal having a screen and an input device, a method for enabling            trajectory and a second one of the plurality ofimage frames is
visual navigation of a geographic area from the user terminal,            acquired at a second point in the trajectory.
the method comprising:                                                       15. The method of claim 1, wherein the first image depicts
   receiving a first user input specifying a first location in the   45   a wider field of view than is depicted in any one of the image
       geographic area;                                                   frames.
   retrieving from the image source a first image associated                 16. The method of claim 1 further comprising:
       with the first location, the image source providing a                 acquiring position information associated with the image
       plurality of images depicting views of objects in the                    recording device as the image recording device moves
       geographic area, the views being substantially eleva-         50         along the trajectory; and
       tions of the objects in the geographic area, wherein the              synchronizing the image frames acquired by the image
       images are associated with image frames acquired by an                   recording device with the position information.
       image recording device moving along a trajectory;                     17. The method of claim 16, wherein the first image is
   displaying an icon associated with an object in the geo-               associated with the first location based on the synchronized
       graphic area;                                                 55   position information.
   receiving a user selection of the icon; and                               18. The method of claim 17, wherein the first image is a
   identifying a second location based on the user selection.             composite image created by processing pixel data of a plu-
   2. The method of claim 1, wherein the image source resides             rality of the synchronized image frames.
at a remote site and receives a request via a communications                 19. The method of claim 18, wherein the composite image
network for an image corresponding to the first or second            60   depicts a wider field of view than is depicted in any one of the
location, and transmits the corresponding image to the user               plurality of the synchronized image frames.
terminal via the communications network.                                     20. The method of claim 1, wherein the first location speci-
   3. The method of claim 2, wherein the retrieving of the                fied by the first user input is an arbitrary address entered via
image corresponding to the first or second location com-                  the first user input, the entered arbitrary address specifying
prises:                                                              65   information selected from a group consisting of street name,
   identifying a street segment including the first or second             city, state, and zip code.
       location;                                                             21. The method of claim 20 further comprising:




                                                          Appx353
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                                                      US 7,577,316 B2
                              17                                                                       18
   segmenting the trajectory on which the image recording                  27. The system of claim 26, wherein the image source
      devices moves, into a plurality of segments;                       resides at a remote site and includes means for receiving a
   correlating the plurality of segments to a plurality of street        request for an image corresponding to the first or second
      segments in a geographic information database;                     location, and means for transmitting the corresponding image
   identifiing one of the plurality of street segments based on          to the user terminal.
      the arbitrary address;                                                28. The system of claim 26, wherein the image source
   retrieving the first image based on the identified one of the         resides at the user terminal and the system further comprises:
      plurality of street segments; and                                     a display screen for displaying the first image of the first
   outputting the first image onto an image display device.                    location; and
   22. The method of claim 21, wherein the correlating the          10      means for updating the first image on the screen with a
plurality of segments includes correlating position data of the                second image corresponding to the second location.
plurality of segments to position data of the plurality of street           29. The system of claim 26 further comprising means for
segments.                                                                retrieving a map of a portion of the geographic area for
   23. The method of claim 21, wherein the first image is a              displaying the map on a screen of the user terminal.
composite image generated by processing pixel data of a             15      30. The system of claim 29 further comprising:
plurality of the image frames taken on the segment of the                   means for receiving a selection of a particular location on
trajectory correlated to the identified street segment.                        the map associated with a particular geographic loca-
   24. The method of claim 23, wherein the composite image                     tion;
provides a wider field of view than is depicted in any one of               means for retrieving a composite image associated with the
the image frames.                                                   20         particular location, the composite image being created
   25. The method of claim 20, wherein the first image is a                    by processing pixel data of a plurality of the image
composite image created based on a first one of the image                      frames; and
frames acquired at a first point in the trajectory and a second             means for outputting the composite image onto an image
one of the image frames acquired at a second point in the                      display device.
trajectory.                                                         25      31. The system of claim 30 further comprising:
   26. A system for enabling visual navigation of a geographic              means for displaying an icon on the map for identifying the
area from a user terminal, the system comprising:                              particular geographic location depicted by the compos-
   means for accessing an image source providing a plurality                   ite image.
      of images depicting views of objects in the geographic                32. The system of claim 31, wherein the icon on the map is
      area, the views being substantially elevations of the         30   configured to indicate a viewing direction depicted by the
      objects in the geographic area, wherein the images are             composite image.
      associated with image frames acquired by an image                     33. The system of claim 30, wherein the composite image
      recording device moving along a trajectory;                        depicts a wider field of view than is depicted in any one of the
   means for receiving a first user input specifying a first             image frames.
      location in the geographic area;                              35      34. The system of claim 30, wherein the composite image
   means for retrieving from the image source a first image              is created based on a first one of the image frames acquired at
      associated with the first location;                                a first point in the trajectory and a second one of the image
   means for displaying an icon associated with an object in             frames acquired at a second point in the trajectory.
      the geographic area;                                                  35. The system of claim 26 further comprising means for
                                                                    40   processing the image frames acquired from the image record-
   means for receiving a user selection of the icon; and
                                                                         ing device moving through the geographic area.
   means for identifying a second location based on the user
      selection.




                                                         Appx354
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,577,316 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 11/761361
DATED                       : August 18, 2009
INVENTOR(S)                 : Emico DiBernardo et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         Column 16, Claim 4, line 4           Before "image"
                                              Insert -- first --

         Column I 7, Claim 21, line 2         Delete "moves"
                                              Insert -- move --

         Column I 7, Claim 21, line 5         Delete "identifiing"
                                              Insert -- identifying --




                                                                                    Signed and Sealed this
                                                                              Fifteenth Day ofNovember, 2011


                                                                                ~J                   :Y:• f:__~
                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office




                                                          Appx355
          Case: 22-1477                   Document: 15                                                                Page: 424                                           Filed: 08/01/2022



                                                                                      I 1111111111111111 11111 1111111111 11111 1111111111 1111111111 lll111111111111111
                                                                                                                                                                     US007805025B2


c12)   United States Patent                                                                                               (IO)                    Patent No.:                      US 7,805,025 B2
       DiBernardo et al.                                                                                                  (45)                    Date of Patent:                         *Sep.28,2010

(54)   SYSTEM AND METHOD FOR CREATING,                                                                    (58)                        Field of Classification Search ................. 382/113,
       STORING AND UTILIZING IMAGES OF A                                                                                                       382/291, 305,312, 104; 715/850, 851, 854,
       GEOGRAPHIC LOCATION                                                                                                                     715/855; 701/200---215; 340/995.1-995.26;
                                                                                                                                                    342/357.12, 357.13; 370/316; 345/418
                                                                                                                                      See application file for complete search history.
(75)   Inventors: Enrico DiBernardo, Pasadena, CA
                  (US); Luis F. Goncalves, South                                                          (56)                                                         References Cited
                  Pasadena, CA (US)
                                                                                                                                                                 U.S. PATENT DOCUMENTS
(73)   Assignee: Vederi, LLC, Pasadena, CA (US)                                                                                   4,796,191 A                           1/1989 Honey et al.

( *)   Notice:      Subject to any disclaimer, the term ofthis
                    patent is extended or adjusted under 35
                                                                                                                                                                         (Continued)
                    U.S.C. 154(b) by O days.
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                    This patent is subject to a terminal dis-
                    claimer.                                                                              Lin-Eftekhar, Judy, "Virtual Los Angeles Today-A Virtual World
                                                                                                          Tomorrow" Article, Quest, 2000, pp. 4-8, 40.
(21)   Appl. No.: 12/482,314                                                                                                                                             (Continued)
(22)   Filed:       Jun.10,2009                                                                           Primary Examiner-Kanji Patel
                                                                                                          (7 4) Attorney, Agent, or Firm----Christie, Parker & Hale, LLP
(65)                   Prior Publication Data
                                                                                                          (57)                                                           ABSTRACT
       US 2009/0319169 Al           Dec. 24, 2009

                 Related U.S. Application Data                                                            A system and method synthesizing images of a locale to
(60)   Continuation of application No. 11/761,361, filed on                                               generate a composite image that provide a panoramic view of
       Jun. 11, 2007, now Pat. No. 7,577,316, which is a                                                  the locale. A video camera moves along a street recording
       continuation of application No. 11/130,004, filed on                                               images of objects along the street. A GPS receiver and inertial
       May 16, 2005, now Pat. No. 7,239,760, which is a                                                   navigation system provide the position of the camera as the
       division of application No. 09/758,717, filed on Jan.                                              images are being recorded. The images are indexed with the
                                                                                                          position data provided by the GPS receiver and inertial navi-
       11, 2001, now Pat. No. 6,895,126.
                                                                                                          gation system. The composite image is created on a colunm-
(60)   Provisional application No. 60/238,490, filed on Oct.                                              by-colunm basis by determining which of the acquired
       6,2000.                                                                                            images contains the desired pixel colunm, extracting the pix-
                                                                                                          els associated with the column, and stacking the colunms side
(51)   Int. Cl.                                                                                           by side. The composite images are stored in an image data-
       G06K 9/60                    (2006.01)                                                             base and associated with a street name and number range of
       G0SG 11123                   (2006.01)                                                             the street being depicted in the image. The image database
       H04N 7100                    (2006.01)                                                             covers a substantial amount of a geographic area allowing a
       G0lC 21100                   (2006.01)                                                             user to visually navigate the area from a user terminal.
(52)   U.S. Cl. .................... 382/305; 340/995.1; 348/113;
                                                          701/200                                                                                                74 Claims, 18 Drawing Sheets




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                                                          Appx356
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                                                           US 7,805,025 B2
                                                                     Page 2


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                                             FIG.1

                      ~18



   ,---------7
                     ~
                     ~          26a          22
   I             16      I
   I                     I         RS-232
   I        GPS          I        MULTIPLEXER
   I                     I
   1      RECEIVER       1
   I .___ _ ___, I                26b
   I             I
   I .---------, I               30
                                                                           VIDEO-
  · : ACCELEROMETERS/    1
                                                            12            CAMERAS
         GYROSCOPE       1       COMPUTER
                         I                                34
    '----,---1
      20
   L __
                       l
        _ _ _ _ _ _ _ _j




                                   TRAJECTORY             36
                                       DB

                         r------             -------------            ---~     38
                         I                           28
                         I
                         I
                         I        COMPUTER        -------1
                         I
                                                                    VCR
                         I
                         I
                         I
                         I                                     39
                         I
                         I
                         I
                         I
                         I            IMAGE            32
                         I              DB
                         I
                         I
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                                           Appx358
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                                  Appx359
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               Acquire video         60
                and position
                information



              image sequences            62
               with position
                .          .



                Segment and
                  label geo-        64
                location data


                    Generate
                    synthetic       66



                    Genetate
                    relational      68
                    database




                                                          Fig.3


                                   Appx360
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            Select suitab le landm ark in                 70
           image sequen ce that appears
           in at least two distinc t image
                        frames



               Measu re time differe nce T                72
               in image sequence betwe en
                the two landm ark crossi ng
                          times




               For each point on the path                      74
               find the time of return tJX)




           Find the coordinate x for which             ~76

                        4(x) =T




                        Fig.4


                                   Appx361
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                                          Start

                                Select suitable landmark in
                                                                          80
                               image sequence that appears
                               in at least two distinct image
                                            frames



                                                                          82
                                  Initialize the time phase
                                  using camera time stamp




                                  easure distance between the             84
                                    two geo-locations that
                                   correspond to landmark
                                           crossing




                               No
                                                                     86
           Modify time phase




 98---                                        i   Yes
                                                                          Fig.5
                                          8



                                  Appx362
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                                          UTC clock            90                         ~
                                           generator                                      =
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                                                                                                     Document: 15
                                                                                           N
                                                                                          ~CIO
                       GPS                                                                N

                      receiver                                                            ....
                                                                                          0
                                                                                          0
                                                RS-232 port
Appx363




                                                       7                 Video-carncras
                                                                                          rJJ
                                                                                          =-
                Accelerometers
                                                           r28      92
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                                          Computer                                        O'I

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                                           Fig.6                                          =
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                         Sta rt


              Comp ute optical flow of                      100
           botto m rows in image seque nce




              Obtai n vehic le tangential                   102
                     veloc ity GPS
                        readin g




         Register the two velocity profiles to                104
         obtai n alignment of singu lar point s
           (local minima, maxi ma or zero
                       crossings)



                                                                  106
        Read out the time phase betwe en two
                       signals.




                         Fig.7

                                   Appx364
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                                         Segment camera trajectory              120
                                      in elementary straight segments
                                       detecting points of maximum
                                                 curvature



                                         Determine intersection
                                        coordinates as the points             122
   128                                 where segment orthogonally

    ~                                     intersect or maximum
                                        curvature turns are made



                                       Determine correspondences          . ~ 124
                                      between detected intersections
   Geographic information             and intersections in geographic
         database                          information database




                                                                                126
                                         Associate segments with
                                       infonnation from geographic
                                           information database




                                                 Fig.8




                                      Appx365
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                            Fig.9



                                  Appx366
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           Calculate position xc                130
            on sheet segment
                         (position xc on street segment)
    ,-------L --------- --,
       Compute array of equidistant             132
     positions along camera trajectory
            centered around Xe

                          (array of arc length coordinates:    Xj,   i::::: l..N}

       Find for each location xi the          134
      corresponding position time ti.

                           (array of position times)

       Use time phase computed in the
       synchronization step to convert          136
        position times to video times
                            (array of video times)

       or each video time, generate the
        corresponding column array              138
             ofRGB pixel values

     _ _ _ _ __.1....__ _ __:.._.._...:;
                            (array         of video columns)

     Stack alJ columns side by side to         140
     generate one single image bitmap

                            (composite image)
                                                                                    Fig. I 0




                                   Appx367
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         Find image frame acquired at
                                                                150
                  time ti or the
                time closest to t1

                                   (frame index ~)


          Set current position of image                        152
              sequence to frame ~


                                       ( frame buffer)

        Read out of the frame buffer the                    _,r 154
             column with index i

                                   (array of RGB intensities)
                          .-- ·-....
                          .




                       Fig. I I

                                   Appx368
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                        Sta rt


                                                                           160
         ind the 2*N image frames that are
                the closes t to time ti

                                   (fram e index es     f/ ,~2 ,   ... ,   f, 2N)
         --- --- -"" '--- --~
           Comp ute dense optica l flow                               162
             for each one of the 2*N
                     frames



                                                                           164
          Infer the colum n of RGB values
                for colum n i at time ~


                           ------(array of RGB intensities)



                        Fig.12


                                   Appx369
                                                                                                                                            ~
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           172        174              176                 178          180                182                                              ~
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                                    Side of                                            Segments
                                  Street with                     Segmen ts          Adjacent to To                                         ~

                                                   End Point     Adjacenl to          Coordinates Distance from   Length of
          Segmen t    Street     Respect to Hub
                                                  Coordin ates      From                               Hub        Trajectory
            ID        Name
                                                                 Coordin ates                                      Segment
                                                                                                                                            rJJ
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                                                                                                                                                       Document: 15
              l                                                     2(N)                   5(N)                                             N
                                                                    4(S)                   7{S)    (120m, 122m)   (28m, 30m)      (2,0)     ~CIO
                     Colorad o         Wesl        (10, 10),
                     Boulevatd                      (SO, 10)        3(W)                   l(W)                                             N
                                                                     l(E)                  6(E)                                             ....
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Appx370




                                                                        5(N)               8(W)
                                                                        7(S)               10(S)   (130m, 134m)   (20m, 22m)      (0,0)
              6      Colorad o          West        (50, 10)                                                                                rJJ
                     Boulevard                      (65,10)             l(W)               6(W)                                             =-
                                                                                                                                            ('D
                                                                        6(E}               9(E)                                             ........
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                                                                        Fig. 13                                                             =
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          240
                                                              User tenninal retrieves
                                                               from the host computer      248
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                   A street address is input on
                                                                info about new street
                        the user terminal
                                                                      segment
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           242                                                 Client retrieves from the   250     N
                         Address is sent to                   host computer a composite
                          host computer                         image corresponding
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Appx374




                                                                 to the input location

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                    A query is run on the host
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           244




                                                                                                               Page: 442
                     computer to find street
                  segment index that correspond                    Update display                  -....J
                  to such address and the relative
                      position on that segment
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            246     Query result is sent back to
                     the user terminal together
                             with a map
                        of the input location                                                      dr.,;_
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                              User select a location
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                                   on the map                          computer info about
                                                                        new street segment
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                             converted to geographic
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                                                                    host computer a composite
                             location coordinates and               image corresponding to the                   ....
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                             sent to the host computer                     input location
Appx375




                                                                                                                 rJJ
                          A query is run on the host                                                             =-
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          264---..__
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                                                                                                                 ('D
                            computer to find street                                                        272




                                                                                                                             Page: 443
                           segment index that is the                      Update display                         CIO
                        closest to the input geographic
                             location coordinates
                                                                                                                 ........
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                                                                                                                 CIO




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           266              Query result is sent back to
                            the user terminal together
                                    with a map
                               of the input location                                                             dr.,;_
                                                                                                                 -....l
                                                                                                                 00
                                                                                                                 =
                                                                                                                 UI

                                                           Fig.18                                                =
                                                                                                                 N
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      SYSTEM AND METHOD FOR CREATING,                                   either within a plane, or on the surface of an imaginary sphere
      STORING AND UTILIZING IMAGES OF A                                 surrounding the object/scene. Such a sampling, however, is
           GEOGRAPHIC LOCATION                                          computationally intensive and hence cumbersome and inef-
                                                                        ficient in terms of time and cost.
           CROSS-REFERENCE TO RELATED                                      Accordingly, there is a need for a system and method for
                  APPLICATION(S)                                        creating a visual database of a comprehensive geographic
                                                                        area in a more time and cost efficient manner. Such a system
    This application is a continuation application ofU.S. appli-        should not require the reconstruction of 3D scene geometry
cation Ser. No. 11/761,361, filed Jun. 11, 2007 now U.S. Pat.           nor the dense sampling of the locale in multiple dimensions.
No. 7,577,316, whichisacontinuationofSer. No.11/130,004            10   Furthermore, the images in the database should provide a
file May 16, 2005, now U.S. Pat. No. 7,239,760, issued Jul. 3,          wider field of view of a locale to provide context to the objects
2007, which is a divisional of Ser. No. 09/758,717 filed Jan.           being depicted. The database should further correlate the
11, 2001, now U.S. Pat. No. 6,895,126, issued May 17, 2005,             images with additional information related to the geographic
which claims the benefit of U.S. provisional patent applica-            location and objects in the location to further enhance the
tion No. 60/238,490, filed Oct. 6, 2000, the disclosures of        15   viewing experience.
which are hereby incorporated by reference in their entirety
for all purposes.                                                                   SUMMARY OF THE INVENTION

               FIELD OF THE INVENTION                                      The present invention addresses and alleviates the above-
                                                                   20   mentioned deficiencies associated with the prior art. More
   This invention relates to visual databases, specifically to          particularly, the present invention is directed to a computer-
the creation and utilization of visual databases of geographic          implemented system and method for synthesizing images of
locations.                                                              a geographic location to generate composite images of the
                                                                        location. The geographic location may be a particular street in
          BACKGROUND OF THE INVENTION                              25   a geographic area with the composite images providing a
                                                                        view of the objects on each side of the street.
    There exist methods in the prior art for creating visual               According to one aspect of the invention, an image record-
databases of geographic locations. However, such databases              ing device moves along a path recording images of objects
are oflimited use due to the method of acquiring the imagery            along the path. A GPS receiver and/or inertial navigation
as well as the kind of imagery acquired. One particular            30   system provides position information of the image recording
method involves the taking of individual photographs of the             device as the images are being acquired. The image and
location and electronically pasting the photographs on a                position information is provided to a computer to associate
polygonal mesh that provide the framework for a three-di-               each image with the position information.
mensional (3D) rendering of the location. This method, how-                The computer synthesizes image data from the acquired
ever, is time consuming and inefficient for creating large,        35   images to create a composite image depicting a view of the
comprehensive databases covering a substantial geographic               objects from a particular location outside of the path. Prefer-
area such as an entire city, state, or country.                         ably, the composite image provides a field of view of the
    Another method uses video technology to acquire the                 location that is wider than the field of view provided by any
images. The use of video technology, especially digital video           single image acquired by the image recording device.
technology, allows the acquisition of the image data at a          40      In another aspect of the invention, the path of the camera is
higher rate, reducing the cost involved in creating the image           partitioned into discrete segments. Each segment is prefer-
databases. For example, the prior art teaches the use of a              ably associated with multiple composite images where each
vehicle equipped with a video camera and a Global Position-             composite image depicts a portion of the segment. The com-
ing System (GPS) to collect image and position data by driv-            posite images and association information are then stored in
ing through the location. The video images are later corre-        45   an image database.
lated to the GPS data for indexing the imagery. Nevertheless,              In yet another aspect of the invention, the image database
such a system is still limited in its usefulness due to the lack        contains substantially all of the static objects in the geo-
of additional information on the imagery being depicted.                graphic area allowing a user to visually navigate the area from
    The nature of the acquired imagery also limits the useful-          a user terminal. The system and method according to this
ness of such a system. A single image acquired by the video        50   aspect of the invention identifies a current location in the
camera contains a narrow field of view of a locale (e.g. a              geographic area, retrieves an image corresponding to the
picture of a single store-front) due to the limited viewing             current location, monitors a change of the current location in
angle of the video camera. This narrow field of view provides           the geographic area, and retrieves an image corresponding to
little context for the object/scene being viewed. Thus, a user          the changed location. A map of the location may also be
of such an image database may find it difficult to orient          55   displayed to the user along with information about the objects
himself or herself in the image, get familiar with the locale,          depicted in the image.
and navigate through the database itself.
    One way to increase the field of view is to use a shorter                      DESCRIPTION OF THE DRAWINGS
focal length for the video camera, but this introduces distor-
tions in the acquired image. Another method is to increase the     60      FIG. 1 is a schematic block diagram of a data acquisition
distance between the camera and the buildings being filmed.             and processing system for acquiring image and position data
However, this may not be possible due to the limit on the               used to create composite images of a geographic location;
width of the road and constructions on the opposite side of the            FIG. 2 is an illustration ofa composite image created by the
street.                                                                 data acquisition and processing system of FIG. 1;
    The prior art further teaches the dense sampling of images     65      FIG. 3 is a high-level flow diagram of the steps exercised by
of an object/scene to provide different views of the object/            the data acquisition and processing system of FIG. 1 in cre-
scene. The sampling is generally done in two dimensions                 ating and storing the composite images;




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   FIG. 4 is a flow diagram for synchronizing image                       the trajectory. An inertial navigation system 20 including one
sequences with position sequences of a recording camera                   or more accelerometers and/or gyroscopes also provides
according to one embodiment of the invention;                             position information to the data acquisition and processing
   FIG. 5 is a flow diagram of an alternative embodiment for              system. When the inertial navigation system 20 is used in
synchronizing image sequences with position sequences of a                conjunction with the GPS receiver 16, a more accurate cal-
recording camera;                                                         culation of the position information may be produced.
   FIG. 6 is a block diagram of the data acquisition and                     In an alternative embodiment, position information is
processing system of FIG. 1 allowing a real-time synchroni-               acquired using devices other than the inertial navigation sys-
zation of image and position data;                                        tem 20 and/or the GPS receiver 16, such as via computer-
   FIG. 7 is another embodiment for synchronizing image              10   vision-based algorithms that compute positions using video
sequences with position sequences of a recording camera;                  information from the video cameras 10.
   FIG. 8 is a flow diagram for segmenting and labeling a                    The video cameras 10 provide to a multiplexer 22 a frame
camera trajectory;                                                        number and time information for each image acquired via a
   FIG. 9 is an illustration of a trajectory in a single camera           communication link 24 preferably taking the form of a
scenario;                                                            15   LANC™ port. The GPS receiver 16 and inertial navigation
   FIG. 10 is a flow diagram for creating a composite image of            system 20 also provide position information to the multi-
a segment of a camera's path;                                             plexer 22 via communication links 26a, 26b, preferably tak-
   FIG. 11 is a flow diagram for identifying and retrieving an            ing the form of RS-232 ports. The multiplexer 22 in turn
optical colunm from an acquired image according to one                    transmits the received frame number, time information, and
embodiment of the invention;                                         20   position data to a data acquisition computer 34 via a commu-
   FIG. 12 is a flow diagram for identifying and retrieving an            nication link 30, which also preferably takes the form of an
optical colunm from an acquired image according to an alter-              RS-232 port. The computer 34 stores in a trajectory database
native embodiment of the invention;                                       36 the position data from the GPS receiver 16 and/or inertial
   FIG. 13 is an illustration of an exemplary street segments             navigation system 20 along with the frame number and time
table including street segments in a camera's trajectory;            25   information from the video cameras 10. This information is
   FIG. 14 is an illustration of an exemplary image coordi-               then used by a post-processing system 38 to create the com-
nates table for associating composite images with the street              posite images.
segments in the street segments table of FIG. 13;                            The post-processing system 38 preferably includes a post-
   FIG. 15 is an illustration of an exemplary segment block               processing computer 28 in communication with a video
table for allowing an efficient determination of a segment that      30   player 39. The computer 28 preferably includes a video
is closest to a particular geographic coordinate;                         acquisition card for acquiring and storing the image
   FIG. 16 is an illustration of an exemplary graphical user              sequences as the video player 39 plays the videotapes 12 of
interface for allowing the user to place requests and receive             the acquired images. The computer 28 includes a processor
information about particular geographic locations;                        (not shown) prograrmned with instructions to take the image
   FIG. 17 is a flow diagram of a process for obtaining image        35   and position data and create one or more composite images
and location information of an express street address; and                for storing into an image database 32. The image database 32
   FIG. 18 is a flow diagram of the process for obtaining                 is preferably a relational database that resides in a mass stor-
image and location information of a location selected from a              age device taking the form of a hard disk drive or drive array.
map.                                                                      The mass storage device may be part of the computer 28 or a
                                                                     40   separate database server in communication with the com-
    DETAILED DESCRIPTION OF THE INVENTION                                 puter.
                                                                             In an alternative embodiment, the images are transferred
   FIG. 1 is a schematic block diagram of a data acquisition              directly to the data acquisition computer 34 as the images are
and processing system for acquiring and processing image                  being recorded. In this scenario, the computer 34 is preferably
and position data used to create composite images of a geo-          45   equipped with the video acquisition card and includes suffi-
graphic location. The composite images are created by syn-                cient storage space for storing the acquired images. In this
thesizing individual image frames acquired by a video camera              embodiment, the data acquisition computer 34 preferably
moving through the location and filming the objects in its                contains program instructions to create the composite images
view. The composite images may depict on urban scene                      from the acquired images.
including the streets and structures of an entire city, state, or    50      In general terms, a composite image of a particular geo-
country. The composite images may also depict other locales               graphic location is created by using at least one video camera
such as a zoo, national park, or the inside of a museum,                  10 recording a series of video images of the location while
allowing a user to visually navigate the locale.                          moving along a path. In the one camera scenario, the camera
   The data acquisition and processing system includes one or             10 is moved twice on the same path but in opposite directions
more image recording devices preferably taking the form of           55   to film the objects on both sides of the path. Movement to the
digital video cameras 10 moving along a trajectory/path and               camera 10 is provided by a base, platform, or motor vehicle
recording images on the trajectory on digital videotapes 12.              moving at an average speed of preferably about 20 miles/hour
Other types of acquisition devices may also be used in com-               to ensure a sufficient resolution in the resulting images. Video
bination to, or in lieu of, the digital cameras 10, such as analog        cameras with higher sampler rates may allow for faster acqui-
cameras. Furthermore, the video images may be recorded on            60   sition speeds.
optical, magnetic, or silicon video tapes, or on any other                   Preferably, the data acquisition and processing system uses
known types of storage devices that allow random access of                four cameras 10 mounted on top of a moving motor vehicle.
particular image frames and particular video pixels within the            Two side cameras face each side of the path for filming
image frames.                                                             objects viewed from the each side of the vehicle. A front and
   The data acquisition and processing system further                65   back cameras allow the filming of the objects viewed from the
includes a GPS receiver 16 for receiving position information             front and back of the vehicle. The front and back cameras may
from a set of GPS satellites 18 as the cameras 10 move along              be equipped with fish-eye lens for providing a wide-angle




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view of the path. A person skilled in the art should recognize,         form the composite image. Preferably, the image data
however, that additional cameras may be used to film the                extracted from each image frame is an optical colunm that
objects from different viewing directions. For example, a               consists of a vertical set of pixels. The composite image is
duodecahedron of cameras may be used to record the objects              preferably created on a colunm-by-colunm basis by extract-
from all viewing directions. Furthermore, the side cameras              ing the corresponding optical column from each image frame.
need not face directly to the side of the street, but may face a        Thus, to create a colunm Pi 50 in the composite image 40, the
slightly forward or backward direction to provide a look up or          computer locates an image frame 42a that was acquired when
down of the path.                                                       the camera 10 was located at Xi 52. To locate this image frame
   As the images acquired by the cameras 10 are recorded on             42a, the computer uses the GPS data and/or data from the
the videotapes 12, the frame number and time associated with       10   inertial navigation system 20 to identify a time Ti 54 at which
the images are transferred to the data acquisition computer             the camera 10 was in the location Xi 52. Once the image
34. The images recorded on the videotapes 12 are later trans-           frame 42a is identified, the computer 28 extracts the optical
ferred to the post-processing computer 28 for further process-          colunm 56 with an index (Pi/N)*M, where N is the total
ing. Once the images are received, the computer 28 stores the           number of colunms in the composite image 40 and M is the
image data in its memory in its original form or as a com-         15   number of colunms in the image frame 42a. The composite
pressed file using one of various well-known compression                image 40 is stored in the image database 32, preferably in
schemes, such as MPEG.                                                  JPEG format, and associated with an identifier identifying the
   As the camera 10 moves along the path and records the                particular geographic location depicted in the image. Further-
objects in its view, the GPS receiver 16 computes latitude and          more, close-ups and fish-eye views of the objects are also
longitude coordinates using the information received from          20   extracted from the video sequences using well-known meth-
the set ofGPS satellites 18 at selected time intervals (e.g. one        ods, and stored in the image database 32. The unused data
sample every two seconds). The latitude and longitude coor-             from the acquired images is then preferably deleted from the
dinates indicate the position of the camera 10 during the               computer's memory.
recording of a particular image frame. The GPS satellite 18                FIG. 3 is a high-level flow diagram of the steps exercised by
also transmits to the GPS receiver 16 a Universal Time Coor-       25   the data acquisition and processing system in creating and
dinate (UTC) time of when the coordinates were acquired.                storing the composite images. In step 60, the camera 10
The GPS receiver 16 is preferably located on the vehicle                acquires a series of images of a particular geographic loca-
transporting the camera 10 or on the camera itself. The GPS             tion. At the same time, the GPS receiver 16 and/or inertial
data with the position sequences and UTC time information is            navigation system 20 acquires the position of the camera 10
then transferred to the computer 34 for storing in the trajec-     30   while the images are being acquired. Because the time asso-
tory database 36.                                                       ciated with the position information (position time) is likely
   In addition to the position information provided by the GPS          to differ from the times of acquisition of the video images
receiver 16, the inertial navigation system 20 also provides            (video time), the computer 28, in step 62, synchronizes the
acceleration information to the computer 34 for indepen-                image sequence with the position sequence. The synchroni-
dently deriving the position sequence of the camera 10. Spe-       35   zation is preferably a post-processing step that occurs after
cifically, the one or more accelerators and gyroscopes in the           the image and position sequences have been acquired.
inertial navigation system 20 monitor the linear and rotational            In step 64, the computer 28 segments the trajectory taken
acceleration rates of the camera 10 and transfer the accelera-          by the recording camera 10 into multiple segments and labels
tion data to the computer 34. The computer 34 integrates the            each segment with identifying information about the seg-
acceleration data to obtain the position of the camera 10 as a     40   ment. For example, if the camera traverses through various
function of time. The computer 34 preferably combines the               streets, the computer 28 segments the trajectory into multiple
position derived from the acceleration information with the             straight street segments and associates each street segment
GPS position data to produce a more accurate evaluation of              with a street name and number range. In step 66, the computer
the position of the camera 10 at particular instances in time.          28 generates a series of composite images depicting a portion
   The post-processing computer 28 uses the image and posi-        45   of each segment, and in step 68, stores each composite image
tion sequences to synthesize the acquired images and create             in the image database 32 along with the identifying informa-
composite images of the location that was filmed. The com-              tion of the segment with which it is associated.
posite images preferably provide a wider field of view of the              FIG. 4 is a more detailed flow diagram of step 62 for
location than any single image frame acquired by the camera             synchronizing the image sequences with the position
10. In essence, the composite images help provide a pan-           50   sequences of the recording camera according to one embodi-
oramic view of the location.                                            ment of the invention. Although the process illustrated in FIG.
   FIG. 2 is an illustration of a composite image 40 created            4 assumes that the position data is GPS data, a person skilled
from the image frames 42 acquired by the camera 10 while                in the art should recognize that a similar process may be
moving along an x-axis 58 direction. In creating the compos-            employed to synchronize the images to positions calculated
ite image 40, the computer assumes a fictitious camera 44          55   using the inertial navigation system 20.
located behind the actual camera 10 and identifies optical rays            The process starts, and in step 70, a user of the system
46 originating from the fictitious camera. The location of the          selects a landmark in the image sequence that appears in at
fictitious camera 44 depends on the desired field of view of            least two distinct video frames. This indicates that the land-
the location being filmed. The further away the fictitious              mark was recorded once while the camera 10 was moving on
camera is placed from the objects along the x-axis 58, the         60   one direction on the path, and again while the camera was
wider its field of view of the objects.                                 moving in an opposite direction on the same path. The land-
   The computer also identifies optical rays 48 originating             mark may be, for example, a tree in a lane divider.
from the actual camera 10. For each optical ray 46 from the                In step 72, a time interval T is measured in the image
fictitious camera 44, the computer 28 selects an acquired               sequence between the two passings of the landmark. In step
image frame 42 that includes a corresponding optical ray 48        65   74, the computer 28 uses the GPS data to compute a function
originating from the actual camera 10. Image data from each             for determining the time interval between successive passes
selected image frame 42 is then extracted and combined to               of any point along the path. The function is then used to find,




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for each point x on the path, a time of return Tr(x) which               this regard, the latitude and longitude coordinates provided
measures the lapse of time between the two passings of each              by the GPS receiver 16 are converted into two-dimensional
point. In step 76, a point is identified for which Tr(x)=T. The          Mercator coordinates according to well-known methods. A
identified point provides the GPS position of the landmark               spline interpolation is then obtained from the two-dimen-
and hence, a GPS time associated with the landmark. Given                sional Mercator coordinates and the resulting spline function
the GPS time, a difference between the GPS time and the                  is parameterized in arc-length. The computer 28 obtains a
video time associated with the landmark may be calculated                new sampling of the coordinates from the spline function by
for synchronizing any image frame acquired at a particular               uniformly sampling the coordinates in an arc-length incre-
video time to the GPS position of the camera at a particular             ment of about one meter while detecting the points in the new
GPStime.                                                            10   sequence where a turn was made. The place where a tum
    FIG. 5 is a flow diagram of an alternative embodiment for            occurs is assumed to be the place of an intersection of two
synchronizing the image sequences with GPS position infor-               segments.
mation. As in FIG. 4, the process illustrated in FIG. 5 also                Preferably, the computer 28 performs a singular value
identifies, in step 80, a landmark in the image sequence that            decomposition computation according to well-known meth-
appears in at least two distinct image frames. In step 82, a time   15   ods to detect the turns. In this regard, the computer selects an
phase is initialized to an arbitrary value using the camera time         observation window containing N sample points that is
stamp. In step 84, the computer 28 measures the distance                 moved along the spline for calculating an index indicative of
traveled between the two points on the path that correspond to           the overall direction (i.e. alignment) of the points in the win-
the time instants in the image sequence where the landmark is            dow. The higher the index, the less aligned the points, and the
seen from the two sides of the path. In step 86, an inquiry is      20   more likely that the camera was making a turn at those points.
made as to whether the distance has been minimized. If the               The points are least aligned at the center of a turn, and thus,
answer is NO, the time phase is modified in step 88, and the             the computer selects as a tum coordinate a point in the obser-
process returns to step 84 where the distance is measured                vation window where the index is at a local maximum. The
again.                                                                   computer 28 gathers all the points whose indexes correspond
    In another embodiment, the synchronization does not             25   to local maxima and stores them into an array of tum coordi-
occur as a post-production process, but occurs in real-time as           nates.
the image and position sequences are acquired. FIG. 6 is a                  In step 122, the computer 28 determines the center of an
block diagram of a portion of the data acquisition and pro-              intersection by grouping the turn coordinates into clusters
cessing system of FIG. 1 allowing a real-time synchroniza-               where turns that belong to the same cluster are turns made on
tion of image and position data. A UTC clock generator 90           30   the same intersection. An average of the turn coordinates
provides to the data acquisition computer 34 the UTC time                belonging to the same cluster is then calculated and assigned
associated with each GPS position of the recording camera 10             as the intersection coordinate.
as the camera moves along the path. The video time produced                 The endpoints of each straight segment are identified based
by a camera clock 92 is also provided to the data acquisition            on the calculated intersection coordinates. In this regard, an
computer 34 via the communications port 24. A UTC card 94           35   intersection coordinate at the start of the segment is identified
on the computer 34 correlates the video time to the UTC time.            and assigned to the segment as a segment start point (the
Thus, the video image acquired at the video time may be                  "From" intersection coordinate). An intersection coordinate
correlated to the GPS position of the camera during the                  at the end of the segment is also identified and assigned to the
recording of the image.                                                  segment as a segment end point (the "To" intersection coor-
    FIG. 7 is yet another embodiment for synchronizing the          40   dinate).
image sequences with the GPS position of the recording                      In the scenario where at least two side cameras are utilized,
camera 10. In step 100, the post-processing computer 28                  each camera films the objects on each side of the path during
computes the temporal variation in the image values (i.e.                the first pass on the path. Thus, unlike the single camera
optical flow) of the bottom pixel rows in the image sequence.            scenario where a turn is made at each intersection to move the
Thus, the average velocity of each of the pixels in the row may     45   camera along the same path twice but in opposite directions,
be obtained. In step 102, the tangential velocity of the camera          a turn is not made at each intersection in the two camera
10 is obtained from the GPS reading. The average velocity for            scenario. Therefore, instead of identifying the points of maxi-
the computed pixels is directly proportional to the vehicle              mum curvature for determining the intersection coordinates,
tangential velocity. Thus, in step 104, the time phase between           the intersection coordinates are simply detected by tracking
the position and video sequences may be determined as a time        50   the GPS data and identifying where the segments orthogo-
delay maximizing the alignment of local maxima and local                 nally intersect.
minima between the average pixel velocity and the vehicle                   The computer 28 associates the calculated segments with
tangential velocity. This time phase is then read out in step            information obtained from a geographic information data-
106.                                                                     base 128 and stores it into a segments table as is described in
    FIG. 8 is a more detailed flow diagram of step 64 of FIG. 3     55   further detail below. In the scenario where composite images
for segmenting the trajectory followed by one or more record-            of a city are created, the geographic information database 128
ing cameras 10 and labeling the segments with an identifier.             includes a map of the city where the endpoints of each street
In the one camera scenario, the camera is moved along the                segment on the map are identified by latitude and longitude
path making a right tum at each intersection until a block 112           information. The database 128 further includes a street name
has been filmed, as is illustrated in FIG. 9. The camera then       60   and number range for each street segment on the map. Such
moves to a second block 114 to film the objects on that block.           databases are commercially available from third parties such
Thus, a particular path 110 adjoining the two blocks 112, 114            as Navigation Technologies and Etak, Inc.
is traversed twice on opposite directions allowing the filming              In correlating the segments of the camera's trajectory with
of the objects on each side of the path.                                 the segments in the geographic information database 128, the
    In step 120, the post-processing computer 28 segments the       65   computer, in step 124, determines the correspondences
camera's trajectory into straight segments by detecting the              between the "From" and "To" coordinates calculated for the
points of maximum curvature (i.e. where the turns occur). In             trajectory segment with intersection coordinates of the seg-




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                               9                                                                        10
ments in the database. The computer 28 selects the segment in            frame that corresponds to time Ti may be inferred. The com-
the geographic information database 128 which endpoints are              puter 28 may then extract the column ofRGB values from the
closest to the computed "From" and "To" coordinates, as the              new frame for a colunm i.
corresponding segment.                                                      Preferably, the computer 28 creates multiple composite
    In step 126, the computer labels each trajectory segment             images at uniform increments (e.g. every 8 meters) along a
with information that is associated with the corresponding               segment. In the scenario where the composite images are
segment in the database 128. Thus, if each segment in the                created for street segments, the composite images depict the
database 128 includes a street name and number, this infor-              view of the objects on each side of the street. The composite
mation is also associated with the trajectory segment.                   images are then stored in the image database 28 along with
    FIG. 10 is a more detailed flow diagram of step 66 of FIG.      10   various tables that help organize and associate the composite
3 for creating a composite image ofa segment of the camera's             images with street segment information.
path according to one embodiment of the invention. In step                  According to one embodiment of the invention, the image
130, the computer 28 computes the arc length coordinate Xe               database 32 includes composite images of a geographic area
of the center of the segment which is then set as the center of          which together provide a visual representation of at least the
the composite image. In step 132, the computer identifies the       15   static objects in the entire area. Thus, if the geographic area is
optical rays 46 (FIG. 2) originating from the fictitious camera          a particular city, the composite images depict the city on a
44 by computing an array of equidistant positions Xl, X2, ..             street-by-street basis, providing a visual image of the build-
. , Xn along the camera's trajectory, centered around Xe. The            ings, stores, apartments, parks, and other objects on the
number of computed positions preferably depend on the num-               streets. The system further includes an object information
ber of optical columns that are to be created in the composite      20   database with information about the objects being depicted in
image.                                                                   the composite images. If the geographic area being depicted
    In step 134, the computer 28 uses the position information           is a city, the object information database contains information
obtained from the GPS receiver 16 and/or inertial navigation             about the structures and businesses on each city street. In this
system 20 to map each position Xi on the trajectory to a                 scenario, each record in the object information database is
                                                                    25   preferably indexed by a city address.
position time Ti. Thus, if GPS data is used to determine the
camera's position, each position Xi of the camera 10 is                     FIG. 13 is an illustration of an exemplary street segments
mapped to a UTC time.                                                    table 170 including the street segments in the camera's tra-
    In step 136, the computer 28 uses the time phase informa-            jectory. The table 170 suitably includes multiple entries
tion computed in the synchronization step 62 of FIG. 3 to                where each entry is a record specific to a particular street
                                                                    30
convert the position times to video times. For each identified           segment. A particular street segment record includes an index
video time, the computer 28, in step 138, identifies an asso-            identifying the street segment (segment ID) 172 as well as the
ciated image frame and extracts a column of RGB pixel                    corresponding street name 174 obtained from the geographic
values from the frame corresponding to the optical rays 46               information database 128 (FIG. 12). A particular street seg-
originating from the fictitious camera 44. In step 140, the         35   ment record also includes the direction of the street (North,
colunm of RGB pixel values are stacked side by side to                   South, East, or West) 176 with respect to a main city street
generate a single image bitmap forming the composite image.              referred to as a city hub. The direction information generally
    FIG. 11 is a more detailed flow diagram of step 138 for              appears in an address in front of the street name. A city, state,
identifying and retrieving a colunm ofRGB pixel values for a             and/or country fields may also be added to the table 170
particular video time Ti according to one embodiment of the              depending on the extent of the geographic area covered in the
                                                                    40
invention. In step 150, the computer 28 identifies an image              image database 32.
frame with frame index Fi acquired at time Ti. Because the                  A street segment record includes the endpoint coordinates
image frames are acquired at a particular frame rate (e.g. one           178 of the corresponding street segment in the geographic
frame every 1/30 seconds), there may be a particular time Ti for         information database 128. An array of segment IDs corre-
which an image frame was not acquired. In this scenario, the        45
                                                                         sponding to street segments adjacent to the segment start
frame closest to time Ti is identified according to one embodi-          point are identified and stored in field 180 along with the
ment of the invention.                                                   direction in which they lie with respect to the start point (e.g.
    In step 152, the current position of the image sequence is           North, South, East, or West). Similarly, an array of segment
set to the image frame with index Fi, and the frame is placed            IDs corresponding to street segments adjacent to the segment
into a frame buffer. In step 154, a colunm in the image frame       50   end point are also identified and stored in field 182. These
with an index i is read out from the frame buffer.                       segments are also ordered along the direction in which they
    FIG. 12 is a flow diagram of an alternative embodiment for           lie.
identifying and retrieving a colunm ofRGB pixel values for a                In addition to the above, a street segment record includes a
particular video time Ti. If an image frame was not acquired             distance of the start of the trajectory segment from the city
at exactly time Ti, the computer, in step 160, identifies 2*N       55   hub 184. The city hub generally marks the origin of the streets
image frames that are closest to time Ti, where N> 1. Thus, at           from which street numbers and street directions (North,
least two image frames closest to time Ti are identified. In step        South, East, or West) are determined. Street numbers are
162, the computer computes an optical flow field for each of             generally increased by two at uniform distances (e.g. every
the 2*N image frames and in step 164, infers the colunm of               12.5 feet) starting from the hub. Thus the distance from the
RGB values for a colunm i at time Ti. In the situation where        60   hub allows a computation of the street numbers on the street
only two image frames are used to compute the optical flow,              segment. In a one camera situation where each segment is
the computer identifies for each pixel in the first image frame          traversed twice, the distance from the hub is computed for
a position Xl and a position time Tl. A corresponding pixel in           each camera trajectory. In a multiple camera scenario, how-
the second frame is also identified along with a position X2             ever, only one distance is computed since the camera
and a position time T2. The position X' of each pixel at time       65   traverses the segment only once.
Ti is then computed where X'=Xl+((Tl-Tl)/(T2-Tl))*                          Also included in a street segment record is a length of the
(X2-Xl). Given the position of each pixel at time Ti, a new              trajectory segment. Such a length is computed for each tra-




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                              11                                                                       12
jectory in a one camera 10 scenario because the movement of              screen. Alternatively, a keyboard, keypad, joystick, mouse,
the camera 10 is not identical during the two traversals of the          and/or remote control unit is provided to define the user
segment.                                                                 terminal's input apparatus.
    Each street segment record 170 further includes an offset               Each remote user terminal includes a network interface for
value 188 for each side of the street. The offset is used to             communicating with the host computer via wired or wireless
correct the street numberings computed based on the distance             media. Preferably, the communication between the remote
information. Such a computation may not be accurate if, for              user terminals and the host computer occurs over a wide area
instance, there is an unusually wide structure on the segment            network such as the Internet.
that is erroneously assigned multiple street numbers because                In an alternative embodiment of the invention, the image,
it overlaps into the area of the next number assignment. In this    10   geographic information, and object information databases
case, the offset is used to decrease the street numbers on the           reside locally at the user terminals in a CD, DVD, hard disk
segment by the offset value.                                             drive, or any other type of mass storage media. In this embodi-
    FIG. 14 is an illustration of an exemplary image coordi-             ment, the user terminals include a processor programmed
nates table 200 for associating the composite images with the            with instructions to receive queries from the user about a
street segments in the street segments table 170. The image         15   particular geographic location and retrieve composite images
coordinates table 200 includes a plurality of composite image            and associated information in response to the user queries.
records where each record includes a segment ID 202 of the                  FIG. 16 is an illustration of an exemplary graphical user
street segment being depicted in the composite image. In                 interface (GUI) for allowing the user to place requests and
addition, each composite image record includes information               receive information about particular geographic locations.
of the side of the street segment 204 being depicted. For           20   The GUI includes address input fields 220 allowing the user
example, the side may be described as even or odd based on               to enter the street number, street name, city and state of the
the street numbers on the side of the street being depicted.             particular location he or she desires to view. Actuation of a
Each composite image entry also includes a distance from the             "See It" button 222 causes the user terminal to transmit the
segment origin to the center Xe of the composite image 206               address to the host computer to search the image and geo-
indicating the position along the street segment for which the      25   graphic location databases 32, 128 for the composite image
image was computed. The distance information is used to                  and map corresponding to the address. Furthermore, the host
retrieve an appropriate composite image for each position on             computer searches the object information database to retrieve
the street segment.                                                      information about the objects depicted in the composite
    FIG. 15 is an illustration of an exemplary segment block             image.
table 210 for allowing an efficient determination of a segment      30      The retrieved composite image and map are respectively
ID that is closest to a particular geographic coordinate. In this        displayed on the display screen of the requesting user termi-
regard, the geographic area depicted in the image database 32            nal in a map area 226 and an image area 224. The map is
is preferably partitioned into a grid of square blocks where             preferably centered around the requested address and
each block includes a certain number of street segments. The             includes a current location cursor 228 placed on a position
blocks are assigned block labels preferably corresponding to        35   corresponding to the address. The current location identifier
the center longitude and latitude coordinates of the block. The          228 may, for instance, take the shape of an automobile.
block labels are stored in a block label field 212. Associated              The composite image displayed on the image area 224
with each block label are segment IDs 214 corresponding to               provides a view of a side of the street (even or odd) based on
the street segments in the block. Given the coordinates of a             the entered street number. The user may obtain information
particular geographic location, the block closest to the given      40   about the objects being visualized in the composite image by
coordinates may be identified to limit the search of street              actuating one of the information icons 234 above the image of
segments to only street segments within the block.                       a particular object. In displaying the information icons 234, a
    In a particular use of the system, a user places inquiries           range of street addresses for the currently displayed image is
about a location in a geographic area depicted in the image              computed. The listings in the object information database
database 32. For example, the user may enter an address of the      45   with street numbers that fall inside the computed range are
location, enter the geographic coordinates of the location,              then selected and associated with the information icons 234
select the location on a map of the geographic area, or specify          displayed on top of the image of the object.
a displacement from a current location. Preferably, the user                If the objects are business establishments, the information
has access to a remote terminal that communicates with a host            displayed upon actuating the information icons 234 may
computer to service the user requests. The host computer            50   include the name, address, and phone number 236 of the
includes a processor programmed with instructions to access              establishment. This information is preferably displayed each
the image database 32 in response to a user request and                  time the user terminal's cursor or pointing device is passed
retrieve composite images about the particular location. The             above the icon. In addition, if the establishment is associated
processor is also programmed with instructions to access the             with a particular Web page, the information icon 234 func-
geographic and object information databases to retrieve maps        55   tions as a hyperlink for retrieving and displaying the Web
and information on the businesses in the geographic area. The            page, preferably on a separate browser window.
retrieved data is then transmitted to the requesting remote                 The user may obtain a close-up view of a particular object
user terminal for display thereon.                                       in the composite image by selecting the object in the image. A
    The remote user terminals may include personal comput-               close-up view of the object is then obtained by computing the
ers, set-top boxes, portable communication devices such as          60   distance of the selected object from the origin of the street
personal digital assistants, and the like. The visual component          segment where they object lies. The location on the segment
of each remote user terminal preferably includes a VGA or                of the closest close-up image is computed and retrieved from
SVGA liquid-crystal-display (LC) screen, an LED display                  the image database 32. The close-up image is then provided in
screen, or any other suitable display apparatus. Pressure sen-           the image area 224 or in a separate browser window.
sitive (touch screen) technology may be incorporated into the       65      A "Switch View" button 230 allows the user to update the
display screen so that the user may interact with the remote             current composite image providing a view of one side of the
user terminal by merely touching certain portions of the                 street with a composite image of the other side of the street. In




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                                13                                                                    14
a multiple camera scenario, each actuation of the "Switch               corresponding to the identified street segment. Furthermore,
View" button 230 provides a different view of the street. The           the user terminal also retrieves the computed start and end
current view is preferably identified by a direction identifier         street numbers of the street segment, a list of computed com-
(not shown) on or close to the current location identifier 228.         posite images for both sides of the street segment in the image
For instance, one side of the current location identifier 228           coordinates table 200 (FIG. 14), and information of the
may be marked with a dot or an "X" to identify the side of the          objects visible on the street segment in the object information
street being viewed. Alternatively, an arrow may be placed              database.
near the current location identifier 228 to identify the current           In step 250, the user terminal downloads a composite
viewing direction.                                                      image for the appropriate side of the street from the host
   The composite image is also updated as the user navigates       10   computer that has a distance from the origin of the street
through the streets using the navigation buttons 232. From a            segment to the center of the composite image 206 (FIG. 14)
current location, the user may choose to navigate north, south,         that is closest to the distance of the desired street number from
west, and east by actuating the corresponding buttons. Pref-            the origin. The display on the user terminal is then updated in
erably, only the navigation buttons corresponding to the pos-           step 252 with the new location and image information.
sible direction of motions from the current position are           15      FIG. 18 is a flow diagram of the process executed by the
enabled. As the user actuates one of the buttons, the current           host computer for obtaining image and location information
position is incremented by a predetermined amount, currently            of a particular location selected on the map displayed in the
set to eight meters, to the next available composite image on           map area 226. A similar process is executed by the user
the current or adjacent segment. The image area 224 is then             terminal in the embodiment where the location and image
updated with the new composite image.                              20   information are stored locally at the user terminal.
   FIG. 17 is a flow diagram of the process executed by the                The process starts, and in step 260, the user requests infor-
host computer for obtaining image and location information              mation about a particular street address by selecting a loca-
of an express street address entered in the address input fields        tion on the map. In step 262, the map coordinates are con-
220. A similar process is executed by the user terminal in the          verted from screen coordinates to geographic location
embodiment where the location and image information are            25   coordinates (x,y) and transmitted to the host computer pref-
stored locally at the user terminal.                                    erably over the Internet. In step 244, a query is run on the host
   The process starts, and in step 240, the user requests infor-        computer to locate the street segment index in the street
mation about a particular street address by entering the                segment table 170 (FIG. 13) corresponding to the geographic
address in the address input fields 220. In step 242, the               location coordinates. In this regard, the computer searches the
address is transmitted to the host computer preferably over a      30   segment block table 210 (FIG. 15) for a block that includes
wide area network such as the Internet. In step 244, a query is         the street segment corresponding to the input location. In
run on the host computer to locate the street segment index in          order to locate such a block, the computer rounds the identi-
the street segment table 170 (FIG. 13) corresponding to the             fied geographic location coordinates based preferably on the
requested address. In this regard, the computer searches the            size of the block. The rounded (x,y) coordinates may thus be
street segment table 170 for street segments that match the        35   represented by ((round(x/B))*B, (roundy/B)*B)), whereB is
desired street name 174 as well as a city, state, or country if         the length of one of the block sides. The computer then
applicable. For each street segment matching the street name,           compares the rounded number to the coordinates stored in the
the computer computes the starting street number on that                block label field 212 and selects the block with the label field
segment preferably based on the following formula:                      212 equal to the rounded coordinate. Once the appropriate
                                                                   40   block is identified, the computer proceeds to retrieve the
      Start NurnbeF(round((Distance from Hub+Offset)/K)                 segment IDs 214 associated with the block. The geographic
            *2)
                                                                        coordinates of the desired location are then compared with
                                                                        the endpoint coordinates of each street segment in the block
The distance from the hub 184 and offset 188 values are
                                                                        for selecting the closest street segment.
obtained from the street segment table 170. The value K is the
                                                                   45      In step 266, the segment ID of the closest street segment is
distance assumed between any two street numbers on the
                                                                        returned to the user terminal. Additionally, a new map of the
segment.
                                                                        desired location may be transmitted if the previous map was
   The ending street number on the street segment is also               not centered on the desired location.
calculated using a similar formula:                                        In step 268, the requesting user terminal downloads from
      End NurnbeF(round((Distance from Hub+Offset+                 50   the host computer a street segment record in the street seg-
          lengtb)/K)*2)                                                 ments table 170 corresponding to the identified street seg-
                                                                        ment. The user terminal also retrieves the calculated start and
The length is the length 186 value obtained from the street             end street numbers of the street segment, a list of computed
segment table 170.                                                      composite images for both sides of the street the segment in
   Once the start and end street numbers are calculated for a      55   the image coordinates table 200 (FIG.14), and information of
particular street segment, the computer determines whether              the objects visible on the street segment in the object infor-
the requested street number lies within the start and end street        mation database.
numbers. If it does, the computer returns the corresponding                In step 270, the user terminal downloads the composite
segment ID 172. Furthermore, the computer determines the                image corresponding to the geographic coordinates of the
distance of the requested street number from the start of the      60   input location. To achieve this, the geographic coordinates are
street segment for determining the position of the street num-          converted to a distance along the identified street segment.
ber on the street segment.                                              The user terminal downloads a composite image that has a
   In step 246, the host computer transmits the query result to         distance from the origin of the street segment to the center of
the requesting user terminal along with a map of the input              the composite image 206 (FIG. 14) that is closest to the
location retrieved from the geographic information database        65   distance of the input location from the origin. The display on
128. In step 248, the requesting user terminal downloads from           the user terminal is then updated in step 272 with the new
the host computer a record from the street segments table 170           location and image information.




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                               15                                                                        16
   Although this invention has been described in certain spe-               3. The method of claim 1, wherein the first image depicts a
cific embodiments, those skilled in the art will have no diffi-           view of the objects in the geographic area from a first viewing
culty devising variations which in no way depart from the                 direction, and the direction identifier identifies the first view-
scope and spirit of the present invention. For example, the               ing direction.
composite images may be made into streaming video by                         4. The method of claim 3 further comprising:
computing the composite images at small increments along                     receiving a user command to change the first viewing
the path (e.g. every 30 cm). Furthermore, the composite                         direction to a second viewing direction;
images may be computed at several resolutions by moving the                  retrieving from the image source a third image depicting a
fictitious camera 44 (FIG. 2) closer or further away from the                   view of the objects in the geographic area from the
path to decrease or increase its field of view and provide the       10         second viewing direction; and
user with different zoom levels of the image.                                updating the direction identifier for identifying the second
   Variation may also be made to correct any distortions in the                 viewing direction.
perspective of the composite image along the vertical y-axis                 5. The method of claim 1, wherein the direction identifier is
direction. The extraction of the optical colunms from the                 an arrow.
acquired image frames may introduce such a distortion since          15      6. The method of claim 1, wherein the first and second
the sampling technique used along the horizontal x-axis                   images are each a composite image, wherein each composite
direction is not applied along the y-axis. Such a distortion              image is created based on a first one of the image frames
may be corrected by estimating the depth of each pixel in the             acquired at a first point in the trajectory and a second one of
composite image using optical flow. The aspect ratio of each              the image frames acquired at a second point in the trajectory.
pixel may be adjusted based on the distance of the object            20      7. The method of claim 1, wherein the first and second
visualized in the pixel. The distortion may also be corrected             images are each a composite image, wherein each composite
by acquiring images from an array of two or more video                    image is created by processing pixel data of a plurality of the
cameras 10 arranged along the vertical y-axis in addition to              image frames.
the cameras in the horizontal axis.                                          8. The method of claim 1, wherein the first and second
   The described method of generating composite images               25   images each depict a wider field of view than is depicted in
also relies on an assumption that the camera's trajectory is              any one of the image frames.
along a straight line. If this is not the case and the vehicle               9. The method of claim 1 further comprising:
carrying the camera makes a lane change, makes a tum, or                     acquiring position information associated with the image
passes over a bump, the choice of the optical column                            recording device as the image recording device moves
extracted from a particular image frame may be incorrect. The        30         along the trajectory; and
distortion due to such deviations from a straight trajectory                 synchronizing the image frames acquired by the image
may, however, be corrected to some degree using optical flow                    recording device with the position information.
to detect such situations and compensate for their effect.                   10. The method of claim 9, wherein the first and second
   It is therefore to be understood that this invention may be            images are associated to respectively the first and second
practiced otherwise than is specifically described. Thus, the        35   locations, based on the synchronized position information.
present embodiments of the invention should be considered in                 11. The method of claim 1 further comprising:
all respects as illustrative and not restrictive, the scope of the           segmenting the trajectory on which the image recording
invention to be indicated by the appended claims and their                      devices moves, into a plurality of segments;
equivalents rather than the foregoing description.                           correlating the plurality of segments to a plurality of street
                                                                     40
                                                                                segments in a geographic information database;
   What is claimed is:
                                                                             identifying one of the plurality of street segments based on
   1. In a system including an image source and a user termi-                   the first user input specifying the first location; and
nal having a screen and an input device, a method for enabling
                                                                             retrieving the first image based on the identified one of the
visual navigation of a geographic area from the user terminal,
                                                                     45
                                                                                plurality of street segments.
the method comprising:
                                                                             12. The method of claim 11, wherein the correlating the
   receiving a first user input specifying a first location in the
                                                                          plurality of segments includes correlating position data of the
      geographic area;
                                                                          plurality of segments to position data of the plurality of street
   retrieving from the image source a first image associated              segments.
      with the first location, the image source providing a
                                                                     50      13. In a system including an image source and a user
      plurality of images depicting views of objects in the
                                                                          terminal having a screen and an input device, a method for
      geographic area, the views being substantially eleva-
                                                                          enabling visual navigation of a geographic area from the user
      tions of the objects in the geographic area, wherein the
                                                                          terminal, the method comprising:
      images are associated with image frames acquired by an
                                                                             providing by the image source a plurality of images depict-
      image recording device moving along a trajectory;
                                                                     55         ing views of objects in the geographic area, the views
   displaying on the screen a direction identifier for indicating               being substantially elevations of the objects in the geo-
      the viewing direction depicted in the first image;                        graphic area, wherein the images are associated with
   receiving a second user input specifying a navigation direc-                 image frames acquired by an image recording device
      tion relative to the first location in the geographic area;               moving along a trajectory;
   determining a second location based on the user specified         60      receiving by the user terminal a first user input specifying
      navigation direction; and                                                 a first location in the geographic area;
   retrieving from the image source a second image associ-                   retrieving by the user terminal a first image associated with
      ated with the second location.                                            the first location, the first image being one of the plural-
   2. The method of claim 1 further comprising:                                 ity of images provided by the image source;
   displaying the first image on the screen of the user terminal;    65      displaying the first image on the screen of the user terminal;
      and                                                                    displaying on the screen a direction identifier for indicating
   updating the first image with the second image.                              the viewing direction depicted in the first image;




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   receiving by the user terminal a second user input specify-               determining by the computer system a second location
      ing a navigation direction relative to the first location in              based on the user specified navigation direction;
      the geographic area;                                                   retrieving by the computer system a second image associ-
   determining a second location based on the user specified                    ated with the second location, the second image being
      navigation direction;                                                     one of the plurality of images provided by the image
   retrieving by the user terminal a second image associated                     source; and
      with the second location, the second image being one of                providing by the computer system the retrieved second
      the plurality of images provided by the image source;                     image for updating the first image with the second
      and                                                                       image.
   updating the first image with the second image.                   10      22. The method of claim 21, wherein the first image depicts
   14. The method of claim 13, wherein the first image depicts            a view of the objects in the geographic area from a first
a view of the objects in the geographic area from a first                 viewing direction, and the direction identifier identifies the
viewing direction, and the direction identifier identifies the            first viewing direction.
first viewing direction.                                                     23. The method of claim 22 further comprising:
   15. The method of claim 14 further comprising:                    15      receiving by the computer system a user command to
   receiving by the user terminal a user command to change                      change the first viewing direction to a second viewing
      the first viewing direction to a second viewing direction;                direction;
   retrieving by the user terminal a third image depicting a                 retrieving by the computer system a third image depicting
      view of the objects in the geographic area from the                       a view of the objects in the geographic area from the
      second viewing direction, the third image being one of         20          second viewing direction, the third image being one of
      the plurality of images provided by the image source;                     the plurality of images provided by the image source;
      and                                                                       and
   updating by the user terminal the direction identifier for                updating by the computer system the direction identifier
                                              0
                                                                                for identifying the second viewing direction.
   16'.~::i~~~~o!:::~~= ;t~~!r~~:e~~~ ~irection identi-              25      24. The method of claim 21, wherein the direction identi-
                                                                          fier is an arrow.
fier is an arrow.
                                                                             25. The method of claim 21, wherein the first location
   17. The method of claim 13, wherein the first and second
                                                                          specified by the first user input is an address specifying infor-
images each provide a panoramic view of the objects at
                                                                          mation selected from the group consisting of street name, city,
respectively the first and second locations.
                                                                     30   state, and zip code.
   18. The method of claim 13, wherein the first and second
                                                                             26. The method of claim 21 further comprising:
images are each a composite image, wherein each composite
                                                                             invoking by the computer system a display of a navigation
image is created based on a first one of the image frames
                                                                                button indicating the navigation direction; and
acquired at a first point in the trajectory and a second one of
                                                                             receiving by the computer system user selection of the
the image frames acquired at a second point in the trajectory.
                                                                     35         navigation button.
   19. The method of claim 13, wherein the first and second                  27. The method of claim 21 further comprising:
images are each a composite image, wherein each composite                    receiving by the computer system a user selection associ-
image is created by processing pixel data of a plurality of the                 ated with a particular one of the objects depicted in the
image frames.                                                                   first image; and
   20. The method of claim 13, wherein the first and second          40      invoking by the computer system a display of information
images each depict a wider field of view than is depicted in                    on the particular one of the objects in response to the user
any one of the image frames.                                                     selection.
   21. A method for enabling visual navigation of a geo-                     28. The method of claim 27, wherein the particular one of
graphic area via a computer system coupled to an image                    the objects is a retail establishment, the method further com-
source, the computer system including one or more computer           45   prising:
devices, at least one of the computer devices having a display               accessing a web page for the retail establishment; and
screen, the method comprising:                                               invoking by the computer system a display of the web page
   providing by the image source a plurality of images depict-                  on the display screen.
      ing views of objects in the geographic area, the views                 29. The method of claim 27 further comprising:
      being substantially elevations of the objects in the geo-      50      invoking by the computer system a display of an icon in
      graphic area, wherein the images are associated with                      association with the particular one of the objects,
      image frames acquired by an image recording device                        wherein the user selection is actuation of the icon.
      moving along a trajectory;                                             30. The method of claim 21 further comprising:
   receiving by the computer system a first user input speci-                invoking by the computer system a display of a map of at
      fying a first location in the geographic area;                 55         least a portion of the geographic area, wherein the direc-
   retrieving by the computer system a first image associated                   tion identifier is displayed on the map.
      with the first location, the first image being one of the              31. The method of claim 30 further comprising:
      plurality of images provided by the image source;                      invoking by the computer system a display of a location
   providing by the computer system the retrieved first image                   identifier on the map for identifying the location
      for displaying on a first display area of the display          60         depicted by the first or second image.
       screen;                                                               32. The method of claim 30 further comprising:
   invoking by the computer system a display of a direction                  receiving by the computer system a user selection of a
      identifier for indicating the viewing direction depicted in               location on the displayed map;
      the first image;                                                       retrieving by the computer system a third image associated
   receiving by the computer system a second user input              65         with the selected location on the map, the third image
       specifying a navigation direction relative to the first                  being one of the plurality of images provided by the
      location in the geographic area;                                          image source; and




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                               19                                                                        20
   invoking by the computer system a display of the third                        determining a second location based on the user speci-
      image on the display screen.                                                  fied navigation direction;
   33. The method of claim 21, wherein the first and second                      retrieving from the image source a second image asso-
images each provide a panoramic view of the objects at                              ciated with the second location; and
respectively the first and second locations.                                     updating the first image with the second image.
   34. The method of claim 21, wherein the first and second                   44. The user terminal of claim 43, wherein the first image
images are each a composite image, wherein each composite                  depicts a view of the objects in the geographic area from a first
image is created based on a first one of the image frames                  viewing direction, and the direction identifier identifies the
acquired at a first point in the trajectory and a second one of            first viewing direction.
the image frames acquired at a second point in the trajectory.        10      45. The user terminal of claim 44, wherein the computer
   35. The method of claim 21, wherein the first and second                program instructions further include:
images are each a composite image, wherein each composite                     receiving a user command to change the first viewing
image is created by processing pixel data of a plurality of the                  direction to a second viewing direction;
image frames.                                                                 retrieving from the image source a third image depicting a
   36. The method of claim 21, wherein the first and second           15         view of the objects in the geographic area from the
images each depict a wider field of view than is depicted in                     second viewing direction; and
any one of the image frames.                                                  updating the direction identifier for identifying the second
   37. The method of claim 21 further comprising:                                viewing direction.
   acquiring position information associated with the image                   46. The user terminal of claim 44, wherein the direction
      recording device as the image recording device moves            20   identifier is an arrow.
      along the trajectory; and                                               47. The user terminal of claim 43, wherein the first location
   synchronizing the image frames acquired by the image                    specified by the first user input is an address specifying infor-
      recording device with the position information.                      mation selected from the group consisting of street name, city,
   38. The method of claim 37, wherein the first and second                state, and zip code.
images are associated to respectively the first and second            25      48. The user terminal of claim 43, wherein the computer
locations, based on the synchronized position information.                 program instructions further include:
   39. The method of claim 21 further comprising:                             displaying a navigation button indicating the navigation
   segmenting the trajectory on which the image recording                        direction; and
      devices moves, into a plurality of segments;                            receiving user selection of the navigation button.
                                                                      30      49. The user terminal of claim 43, wherein the computer
   correlating the plurality of segments to a plurality of street
      segments in a geographic information database;                       program instructions further include:
   identifying one of the plurality of street segments based on               receiving a user selection associated with a particular one
      the first user input specifying the first location; and                    of the objects depicted in the first image; and
   retrieving the first image based on the identified one of the              displaying information on the particular one of the objects
                                                                      35         in response to the user selection.
      plurality of street segments.
   40. The method of claim 39, wherein the correlating the                    50. The user terminal of claim 49, wherein the particular
plurality of segments includes correlating position data of the            one of the objects is a retail establishment, and the computer
plurality of segments to position data of the plurality of street          program instructions further include:
segments.                                                                     accessing a web page for the retail establishment; and
                                                                      40
   41. The method of claim 21, wherein the one or more                        displaying the web page on the display screen.
computer devices includes a server.                                           51. The user terminal of claim 49, wherein the computer
   42. The method of claim 21, wherein the one or more                     program instructions further include:
computer devices includes a user terminal.                                    displaying an icon in association with the particular one of
   43. A user terminal coupled to an image source for visually                   the objects, wherein the user selection is actuation of the
                                                                      45
navigating a geographic area, the user terminal including:                       icon.
   a display screen;                                                          52. The user terminal of claim 43, wherein the computer
   a processor coupled to the display screen; and                          program instructions further include:
   a memory coupled to the processor and storing computer                     displaying a map of at least a portion of the geographic
      program instructions therein, the processor configured          50
                                                                                 area, wherein the direction identifier is displayed on the
      to execute the computer program instructions, the com-                     map.
      puter program instructions including:                                   53. The user terminal of claim 52, wherein the computer
      receiving a first user input specifying a first location in          program instructions further include:
         the geographic area;                                                 displaying on the map a location identifier identifying the
      retrieving from the image source a first image associated       55         location depicted by the first or second image.
         with the first location, the image source providing a                54. The user terminal of claim 52, wherein the computer
         plurality of images depicting views of objects in the             program instructions further include:
         geographic area, the views being substantially eleva-                receiving a user selection of a location on the displayed
         tions of the objects in the geographic area, wherein the                map;
         images are associated with image frames acquired by          60      retrieving from the image source a third image associated
         an image recording device moving along a trajectory;                    with the selected location on the map; and
      displaying on the display screen a direction identifier for             displaying the third image on the display screen.
         indicating the viewing direction depicted in the first               55. A system for enabling visual navigation of a geographic
         image;                                                            area, the system comprising:
      receiving a second user input specifying a navigation           65      an image source providing a plurality of images depicting
         direction relative to the first location in the geographic              views of objects in the geographic area, the views being
         area;                                                                   substantially elevations of the objects in the geographic




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                                                        US 7,805,025 B2
                               21                                                                        22
      area, wherein the images are associated with image                     63. The system of claim 61, wherein the computer program
      frames acquired by an image recording device moving                  instructions further include:
      along a trajectory; and                                                 invoking display of an icon in association with the particu-
   one or more computer devices coupled to the image source,                     lar one of the objects, wherein the user selection is
      at least one of the computer devices having a display                      actuation of the icon.
      screen, the one or more computer devices being config-                  64. The system of claim 55, wherein the computer program
      ured to execute computer program instructions includ-                instructions further include:
      ing:                                                                    invoking by the computer system display of a map of at
      receiving a first user input specifying a first location in                least a portion of the geographic area, wherein the direc-
         the geographic area;                                         10         tion identifier is displayed on the map.
      retrieving a first image associated with the first location,            65. The system of claim 64, wherein the computer program
         the first image being one of the plurality of images              instructions further include:
         provided by the image source;                                        invoking display of a location identifier on the map for
      providing the retrieved first image for displaying on a                    identifying the location depicted by the first or second
         first display area of the display screen;                    15         image.
      invoking display of a direction identifier for indicating               66. The system of claim 64, wherein the computer program
         the viewing direction depicted in the first image;                instructions further include:
      receiving a second user input specifying a navigation                   receiving a user selection of a location on the displayed
         direction relative to the first location in the geographic              map;
         area;                                                        20      retrieving a third image associated with the selected loca-
      determining a second location based on the user speci-                     tion on the map, the third image being one of the plural-
         fied navigation direction;                                              ity of images provided by the image source; and
      retrieving a second image associated with the second                    invoking display of the third image on the display screen.
         location, the second image being one of the plurality                67. The system of claim 55, wherein the first and second
         of images provided by the image source; and                  25   images each provide a panoramic view of the objects at
      providing the retrieved second image for updating the                respectively the first and second locations.
         first image with the second image.                                   68. The system of claim 55, wherein the first and second
   56. The system of claim 55, wherein the first image depicts             images are each a composite image, wherein each composite
a view of the objects in the geographic area from a first                  image is created based on a first one of the image frames
viewing direction, and the direction identifier identifies the        30   acquired at a first point in the trajectory and a second one of
first viewing direction.                                                   the image frames acquired at a second point in the trajectory.
   57. The system of claim 56, wherein the computer program                   69. The system of claim 55, wherein the first and second
instructions further include:                                              images are each a composite image, wherein each composite
   receiving a user command to change the first viewing                    image is created by processing pixel data of a plurality of the
      direction to a second viewing direction;                        35   image frames.
   retrieving a third image depicting a view of the objects in                70. The system of claim 55, wherein the first and second
      the geographic area from the second viewing direction,               images each depict a wider field of view than is depicted in
      the third image being one of the plurality of images                 any one of the image frames.
      provided by the image source; and                                       71. The system of claim 55, wherein the computer program
   updating the direction identifier for identifying the second       40   instructions further include:
      viewing direction.                                                      acquiring position information associated with the image
   58. The system of claim 55, wherein the direction identifier                  recording device as the image recording device moves
is an arrow.                                                                     along the trajectory; and
   59. The system of claim 55, wherein the first location                     synchronizing the image frames acquired by the image
specified by the first user input is an address specifying infor-     45         recording device with the position information.
mation selected from the group consisting of street name, city,               72. The system of claim 71, wherein the first and second
state, and zip code.                                                       images are associated to respectively the first and second
   60. The system of claim 55, wherein the computer program                locations, based on the synchronized position information.
instructions further include:                                                 73. The system of claim 55, wherein the computer program
   invoking display of a navigation button indicating the navi-       50   instructions further include:
      gation direction; and                                                   segmenting the trajectory on which the image recording
   receiving user selection of the navigation button.                            devices moves, into a plurality of segments;
   61. The system of claim 55, wherein the computer program                   correlating the plurality of segments to a plurality of street
instructions further include:                                                    segments in a geographic information database;
   receiving a user selection associated with a particular one        55      identifying one of the plurality of street segments based on
      of the objects depicted in the first image; and                            the first user input specifying the first location; and
   invoking display ofinformation on the particular one of the                retrieving the first image based on the identified one of the
      objects in response to the user selection.                                 plurality of street segments.
                                                                              74. The system of claim 73, wherein the correlating the
   62. The system of claim 61, wherein the particular one of
the objects is a retail establishment, the method further com-        60   plurality of segments includes correlating position data of the
prising:                                                                   plurality of segments to position data of the plurality of street
                                                                           segments.
   accessing a web page for the retail establishment; and
   invoking display of the web page on the display screen.




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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,805,025 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 12/482314
DATED                       : September 28, 2010
INVENTOR(S)                 : Emico DiBernardo et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         On the Title Page
         (57) Abstract, line 2                          Delete "provide" Insert -- provides --


         In the Claims
         Column 16, Claim 11, line 38                   Delete "devices" Insert -- device --
         Column 19, Claim 39, line 29                   Delete "devices" Insert -- device --
         Column 22, Claim 73, line 52                   Delete "devices" Insert -- device --




                                                                                      Signed and Sealed this
                                                                                    Twelfth Day of April, 2011


                                                                                ~J3:•·t-.~
                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office




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                                                                                                 US007813596B2


c12)   United States Patent                                                  (IO)   Patent No.:                   US 7,813,596 B2
       Di Bernardo et al.                                                    (45)   Date of Patent:                        *Oct. 12, 2010

(54)   SYSTEM AND METHOD FOR CREATING,                                   (58)    Field of Classification Search ................. 382/104,
       STORING AND UTILIZING IMAGES OF A                                                  382/113, 291,305, 312; 715/850, 851, 854,
       GEOGRAPHIC LOCATION                                                                715/855; 701/200---215; 340/995.1-995.26;
                                                                                                          342/357.12, 357.13; 370/316
                                                                                 See application file for complete search history.
(75)   Inventors: Enrico Di Bernardo, Pasadena, CA
                  (US); Luis F. Goncalves, South                         (56)                      References Cited
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(73)   Assignee: Vederi, LLC, Pasadena, CA (US)                                 4,796,191 A          1/1989 Honey et al.

( *)   Notice:      Subject to any disclaimer, the term ofthis
                    patent is extended or adjusted under 35
                                                                                                       (Continued)
                    U.S.C. 154(b) by O days.
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                    This patent is subject to a terminal dis-
                    claimer.                                             Lin-Eftekhar, Judy, "Virtual Los Angeles Today-A Virtual World
                                                                         Tomorrow" Article, Quest, 2000, pp. 4-8, 40.
(21)   Appl. No.: 12/482,284                                                                           (Continued)
(22)    Filed:      Jun.10,2009                                         Primary Examiner-Kanji Patel
                                                                        (7 4) Attorney, Agent, or Firm----Christie, Parker & Hale, LLP
(65)                   Prior Publication Data
                                                                         (57)                         ABSTRACT
       US 2009/0303312 Al           Dec. 10,2009

                 Related U.S. Application Data                          A system and method synthesizing images of a locale to
(60)   Continuation of application No. 11/761,361, filed on             generate a composite image that provide a panoramic view of
       Jun. 11, 2007, now Pat. No. 7,577,316, which is a                the locale. A video camera moves along a street recording
       continuation of application No. 11/130,004, filed on             images of objects along the street. A GPS receiver and inertial
       May 16, 2005, now Pat. No. 7,239,760, which is a                 navigation system provide the position of the camera as the
       division of application No. 09/758,717, filed on Jan.            images are being recorded. The images are indexed with the
                                                                        position data provided by the GPS receiver and inertial navi-
       11, 2001, now Pat. No. 6,895,126.
                                                                        gation system. The composite image is created on a colunm-
(60)    Provisional application No. 60/238,490, filed on Oct.           by-colunm basis by determining which of the acquired
        6,2000.                                                         images contains the desired pixel colunm, extracting the pix-
                                                                        els associated with the column, and stacking the colunms side
(51)   Int. Cl.                                                         by side. The composite images are stored in an image data-
       G06K 9/60                    (2006.01)                           base and associated with a street name and number range of
       G0SG 11123                   (2006.01)                           the street being depicted in the image. The image database
       H04N 7100                    (2006.01)                           covers a substantial amount of a geographic area allowing a
       G0lC 21100                   (2006.01)                           user to visually navigate the area from a user terminal.
(52)   U.S. Cl. .................... 382/305; 340/995.1; 348/113;
                                                          701/200                          62 Claims, 18 Drawing Sheets




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                                                       LANC
 I            16          I                            PORT
 I                        I          RS-232                                          10
 I      GPS               I         MULTIPLEXER
 I                        I
 1    RECEIVER            1

 I.___ _ ___, I                     26b RS-232
 I                        I
 I .---------. I                  30     PORT
 : ACCELEROMETERS/                                                               VIDEO-
                      1
                                                              12                CAMERAS
 1    GYROSCOPE       1            COMPUTER
 I               I                                         34
 I '-----.-----' I
 I    20
 L _________
                 I
                     _j




                                    TRAJECTORY
                                        DB

                     ,------                  -------------
                                                      28

                                   COMPUTER~--~                        VCR

                                                                  39


                                       IMAGE             32
                                        DB




                                              Appx390
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                          44~




                                  F.ig.2




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              Acquire video            60
              and position
               information


                     ntze
           image sequences                62
            with position
               .           .


              Segment and
                label geo..           64
              location data


                   Generate
                   synthetic          66
                    images
                   database


                   Generate
                   relational ·      68
                   database




                                                           Fig.3


                                     Appx392
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               Select suitable landmark in                       70
              image sequence that appears....___
              in at least two distinct image
                           frames



                Measure time difference T                        72
               in image sequence between.____
                the two landmark crossing
                             times



               For each point on the path                             74
               find the time of return ty{x)




           Find the coordinate x for which                             76

                          fw.(x) = T




                         Fig.4

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                                                Start

                                      Select suitable landmark in
                                     image sequence that appears                80
                                     in at least two distinct image
                                                  frames



                                                                               82
                                       Initialize the time phase
                                       using camera time stamp




                                      easure distance between the
                                                                                84
                                       two geo-locations that
                                       correspond to landmark
                                               crossing




                                  No
                                                                          86
              Modify time phase




  93---
                                                                               Fig.5




                                     Appx394
                                                                                                                                                       ~
                                                                                            UTCclock               90
                                                                                                                                                      .00




                                                                                                                                                                  Case: 22-1477
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                                                                                            Multiplexer                                                (')
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                                                                                                                                                       0
Appx395




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                        Accelerometerst"" I                                                                                                            =-
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                                                                                                                   28                                  .....
                                                                                                                                                       ('D




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                                                                                            Computer                             92                    O'I

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                                                                                            Fig.6                                                      0--,

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                       Start


             Compute optical flow of                         100
         bottom rows in image sequence




           Obtain vehicle tangential                        102
                 velocity GPS
                    reading



      Register the two velocity profiles to                   104
      obtain alignment of singular points
         (local minima, maxima or zero
                   crossings)



                                                                106
      Read out the time phase between two
                       signals.




                     Fig.7

                                    Appx396
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                                          Segment camera trajectory
                                                                                    120
                                       in elementary straight segments
                                        detecting points of maximum
                                                  curvature



                                          Determine intersection
                                         coordinates as the points                122
   128                                  where segment orthogonally
                                          intersect or maximum
                                         curvature turns are made



                                        Determine correspondences             , - - 124
                                       between detected intersections
   Geographic infonnation              and intersections in geographic
         database
                                            infonnation database




                                                                                    126
                                          Associate segments with
                                        information from geographic
                                            infonnation database




                                                 Fig.8




                                      Appx397
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                              Fig.9


                                    Appx398
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          Calculate position Xe                 130
           on sheet segment

                        (position Xe on street segment)
     Compute array of equidistant
                                                132
   positions al~ng camera trajectory
          centered around Xe

                         {array of arc length coordinates~ x1, i = l .. N)

      Find for each location   xi   the       134
     corresponding position time ~.

                         (array of position times)

     Use time phase computed in the
     synchronization step to convert           136
      position times to video times

                          (array of video times)

     or each video time, generate the
      corresponding column array               138
           of RGB pixel values

                (array of video columns)
   ---------------
   Stack all columns side by side to
                            140
   generate one single image bitmap

                          (composite image)
                                                                         Fig. I 0




                                          Appx399
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          Find image frame acquired at
                   time~ or the                                150
                 time closest to ti

                                    (frame index ~)


          Set current position of image                       152
              sequence to frame ~


                                    (frame buffer)

         Read out of the frame buffer the ~                    154
              column with index i

                           ~......(array of RGB         intensities)




                       Fig. I I

                                    Appx400
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                                                                  160
       ind the 2*N image frames that are
              the closest to time ~

                                    (frame indexes~•    J?, ... , ~2N)
       ----------------
         Compute dense optical flow                             162
              for each one of the 2*N
                      frames



                                                                 164
       Infer the column of RGB values
             for column i at time ~

                          -~(array of RGB intensities)




                      Fig.12

                                    Appx401
                                                                                                                                     ~
           172        174             176                178          180             182            184          186         188
                                                                                                                                    .00




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                                  r                  r            r               r              r            r           L          ~
                                      Side of                                     Segments                                Offset     ~
                                                                                                                                     ~

          Segment
            1D
                     Street
                     Name
                                 Street with
                                Respect to Hub    End Point
                                                 Coordinates
                                                                Segments
                                                               Adjacent to
                                                                  From
                                                                                Adjacent to To
                                                                                 Coordinates Distance from   Length of               =
                                                                                                                                     ~

                                                                                                  Hub        Trajectory
                                                               Coordinates                                    Segment
                                                                                                                                     0
                                                                                                                                     (')
             I                                                                                                                       :-+-
                                                                  2(N)                S(N)                                           ....




                                                                                                                                                 Document: 15
                    Colorado           West       (\0, 10),       4(S)                7(S)    (120m, 122m)   (28m, 30m)   {2,0)     ~
                    Boulevard                     (50, 10)        3(W)                J(W)                                           N
                                                                   l(E)               6(E)                                           ....
                                                                                                                                     0
                                                                                                                                     0
Appx402




                                                                  S(N)                8(W)
             6      Colorado           West        (50. 10)                                                                          rJJ
                    Boulevard                      {65,10)
                                                                  7(S)
                                                                  l(W)
                                                                                      10(S)
                                                                                      6(W)
                                                                                              {130m, 134m)   (20m, 22m)   (0,0)      =-
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                                                                  6(E)                9(E)
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                                                                 Fig. 13                                                             0--,

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                                         Appx403
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               Tool
        Scoutyoo·re
         ''-See where         gamgf"
                                                           by VEDERLcom




                                         Fig.16




                                        Appx405
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          240
                    A street address is input on
                                                              User terminal retrieves
                                                              from the host computer       248
                                                                                                   =~



                         the user terminal                     info about new street
                                                                      segment
                                                                                                    0
                                                                                                    (')
                                                                                                    :-+-
                                                                                                    ....




                                                                                                                Document: 15
           242                                                                                      ~
                                                               Client retrieves from the   250      N
                         Address is sent lo
                          host computer
                                                              host computer a composite
                                                                image corresponding
                                                                                                    ....
                                                                                                    0
                                                                                                    0
Appx406




                                                                 to the input location

                                                                                                    rJJ
                    A query is run on the host                                                      =-
                                                                                                    ('D


                                                                                                    .........
                                                                                                    ('D
           244




                                                                                                                Page: 474
                       computer to find street                                               212
                  segment index that correspond                    Update display                   -....J
                  to such address and the relative                                                  ........
                                                                                                    0

                      position on that segment                                                      QO




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            246     Query result is sent back to
                    the user terminal together
                            with a map                                                              dr.,;_
                       of the input location
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                                                     Fig.17                                         0--,

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          260 ---         I                                    I            User terminal                          =~




                                                              I                                        ,-- 268
                                User select a location                 retrieves from the host     I
                                     on the map                         computer info about
                                                                         new street segment        I
                                                                                                                    0
                                                                                                                    (')
                                                                                                                    :-+-
                                                                                                                    ....
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          262-........    I    Screen coordinates are
                                                                                                                   ~




                                                                      Client rotrievcs from lru,           270      N
                              converted to geographic                host computer a composite                      ....
                                                                                                                    0
                                                                                                                    0
                              location coordinates and               image corresponding to the
Appx407




                              sent to the host computer                     input location
                                                                                                                    rJJ
                                                                                                                    =-
                                                                                                                    ('D




                                                                                                       ~
                            A query is run on the host
                                                                                                                    .........
                                                                                                                    ('D




                                                                                                                                Page: 475
          264--....__    I computer to find street                                                                  QO
                             segment index that is the
                          closest to the input geographic
                                                                           Update display                    272    ........
                                                                                                                    0


                               location coordinates                                                                 QO




                                                                             s




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           266 ----...   I Query result is sent back to
                              the user tenninal together
                                      with a map                                                                    dr.,;_
                                 of the input location                                                              -....l
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                                                            Fig.18                                                  =
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                                                      US 7,813,596 B2
                               1                                                                       2
      SYSTEM AND METHOD FOR CREATING,                                   either within a plane, or on the surface of an imaginary sphere
      STORING AND UTILIZING IMAGES OF A                                 surrounding the object/scene. Such a sampling, however, is
           GEOGRAPHIC LOCATION                                          computationally intensive and hence cumbersome and inef-
                                                                        ficient in terms of time and cost.
           CROSS-REFERENCE TO RELATED                                      Accordingly, there is a need for a system and method for
                  APPLICATION(S)                                        creating a visual database of a comprehensive geographic
                                                                        area in a more time and cost efficient manner. Such a system
   This application is a continuation application ofU.S. appli-         should not require the reconstruction of 3D scene geometry
cation Ser. No. 11/761,361, filed Jun. 11, 2007 now U.S. Pat.           nor the dense sampling of the locale in multiple dimensions.
No. 7,577,316, which is a continuation of U.S. application         10   Furthermore, the images in the database should provide a
Ser. No. 11/130,004, filed May 16, 2005, now U.S. Pat. No.              wider field of view of a locale to provide context to the objects
7,239,760, issued Jul. 3, 2007, which is a divisional of U.S.           being depicted. The database should further correlate the
application Ser. No. 09/758,717, filed Jan 11, 2001, now U.S.           images with additional information related to the geographic
Pat. No. 6,895,126, issued May 17, 2005, which claims the               location and objects in the location to further enhance the
benefit of U.S. provisional patent application No. 60/238,         15   viewing experience.
490, filed Oct. 6, 2000, the disclosures of which are hereby
incorporated by reference in their entirety for all purposes.                       SUMMARY OF THE INVENTION

               FIELD OF THE INVENTION                                      The present invention addresses and alleviates the above-
                                                                   20   mentioned deficiencies associated with the prior art. More
   This invention relates to visual databases, specifically to          particularly, the present invention is directed to a computer-
the creation and utilization of visual databases of geographic          implemented system and method for synthesizing images of
locations.                                                              a geographic location to generate composite images of the
                                                                        location. The geographic location may be a particular street in
          BACKGROUND OF THE INVENTION                              25   a geographic area with the composite images providing a
                                                                        view of the objects on each side of the street.
    There exist methods in the prior art for creating visual               According to one aspect of the invention, an image record-
databases of geographic locations. However, such databases              ing device moves along a path recording images of objects
are oflimited use due to the method of acquiring the imagery            along the path. A GPS receiver and/or inertial navigation
as well as the kind of imagery acquired. One particular            30   system provides position information of the image recording
method involves the taking of individual photographs of the             device as the images are being acquired. The image and
location and electronically pasting the photographs on a                position information is provided to a computer to associate
polygonal mesh that provide the framework for a three-di-               each image with the position information.
mensional (3D) rendering of the location. This method, how-                The computer synthesizes image data from the acquired
ever, is time consuming and inefficient for creating large,        35   images to create a composite image depicting a view of the
comprehensive databases covering a substantial geographic               objects from a particular location outside of the path. Prefer-
area such as an entire city, state, or country.                         ably, the composite image provides a field of view of the
    Another method uses video technology to acquire the                 location that is wider than the field of view provided by any
images. The use of video technology, especially digital video           single image acquired by the image recording device.
technology, allows the acquisition of the image data at a          40      In another aspect of the invention, the path of the camera is
higher rate, reducing the cost involved in creating the image           partitioned into discrete segments. Each segment is prefer-
databases. For example, the prior art teaches the use of a              ably associated with multiple composite images where each
vehicle equipped with a video camera and a Global Position-             composite image depicts a portion of the segment. The com-
ing System (GPS) to collect image and position data by driv-            posite images and association information are then stored in
ing through the location. The video images are later corre-        45   an image database.
lated to the GPS data for indexing the imagery. Nevertheless,              In yet another aspect of the invention, the image database
such a system is still limited in its usefulness due to the lack        contains substantially all of the static objects in the geo-
of additional information on the imagery being depicted.                graphic area allowing a user to visually navigate the area from
    The nature of the acquired imagery also limits the useful-          a user terminal. The system and method according to this
ness of such a system. A single image acquired by the video        50   aspect of the invention identifies a current location in the
camera contains a narrow field of view of a locale (e.g. a              geographic area, retrieves an image corresponding to the
picture of a single store-front) due to the limited viewing             current location, monitors a change of the current location in
angle of the video camera. This narrow field of view provides           the geographic area, and retrieves an image corresponding to
little context for the object/scene being viewed. Thus, a user          the changed location. A map of the location may also be
of such an image database may find it difficult to orient          55   displayed to the user along with information about the objects
himself or herself in the image, get familiar with the locale,          depicted in the image.
and navigate through the database itself.
    One way to increase the field of view is to use a shorter                      DESCRIPTION OF THE DRAWINGS
focal length for the video camera, but this introduces distor-
tions in the acquired image. Another method is to increase the     60      FIG. 1 is a schematic block diagram of a data acquisition
distance between the camera and the buildings being filmed.             and processing system for acquiring image and position data
However, this may not be possible due to the limit on the               used to create composite images of a geographic location;
width of the road and constructions on the opposite side of the            FIG. 2 is an illustration ofa composite image created by the
street.                                                                 data acquisition and processing system of FIG. 1;
    The prior art further teaches the dense sampling of images     65      FIG. 3 is a high-level flow diagram of the steps exercised by
of an object/scene to provide different views of the object/            the data acquisition and processing system of FIG. 1 in cre-
scene. The sampling is generally done in two dimensions                 ating and storing the composite images;




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                                3                                                                       4
   FIG. 4 is a flow diagram for synchronizing image                       the trajectory. An inertial navigation system 20 including one
sequences with position sequences of a recording camera                   or more accelerometers and/or gyroscopes also provides
according to one embodiment of the invention;                             position information to the data acquisition and processing
   FIG. 5 is a flow diagram of an alternative embodiment for              system. When the inertial navigation system 20 is used in
synchronizing image sequences with position sequences of a                conjunction with the GPS receiver 16, a more accurate cal-
recording camera;                                                         culation of the position information may be produced.
   FIG. 6 is a block diagram of the data acquisition and                     In an alternative embodiment, position information is
processing system of FIG. 1 allowing a real-time synchroni-               acquired using devices other than the inertial navigation sys-
zation of image and position data;                                        tem 20 and/or the GPS receiver 16, such as via computer-
   FIG. 7 is another embodiment for synchronizing image              10   vision-based algorithms that compute positions using video
sequences with position sequences of a recording camera;                  information from the video cameras 10.
   FIG. 8 is a flow diagram for segmenting and labeling a                    The video cameras 10 provide to a multiplexer 22 a frame
camera trajectory;                                                        number and time information for each image acquired via a
   FIG. 9 is an illustration of a trajectory in a single camera           communication link 24 preferably taking the form of a
scenario;                                                            15   LANC™ port. The GPS receiver 16 and inertial navigation
   FIG. 10 is a flow diagram for creating a composite image of            system 20 also provide position information to the multi-
a segment of a camera's path;                                             plexer 22 via communication links 26a, 26b, preferably tak-
   FIG. 11 is a flow diagram for identifying and retrieving an            ing the form of RS-232 ports. The multiplexer 22 in turn
optical colunm from an acquired image according to one                    transmits the received frame number, time information, and
embodiment of the invention;                                         20   position data to a data acquisition computer 34 via a commu-
   FIG. 12 is a flow diagram for identifying and retrieving an            nication link 30, which also preferably takes the form of an
optical colunm from an acquired image according to an alter-              RS-232 port. The computer 34 stores in a trajectory database
native embodiment of the invention;                                       36 the position data from the GPS receiver 16 and/or inertial
   FIG. 13 is an illustration of an exemplary street segments             navigation system 20 along with the frame number and time
table including street segments in a camera's trajectory;            25   information from the video cameras 10. This information is
   FIG. 14 is an illustration of an exemplary image coordi-               then used by a post-processing system 38 to create the com-
nates table for associating composite images with the street              posite images.
segments in the street segments table of FIG. 13;                            The post-processing system 38 preferably includes a post-
   FIG. 15 is an illustration of an exemplary segment block               processing computer 28 in communication with a video
table for allowing an efficient determination of a segment that      30   player 39. The computer 28 preferably includes a video
is closest to a particular geographic coordinate;                         acquisition card for acquiring and storing the image
   FIG. 16 is an illustration of an exemplary graphical user              sequences as the video player 39 plays the videotapes 12 of
interface for allowing the user to place requests and receive             the acquired images. The computer 28 includes a processor
information about particular geographic locations;                        (not shown) prograrmned with instructions to take the image
   FIG. 17 is a flow diagram of a process for obtaining image        35   and position data and create one or more composite images
and location information of an express street address; and                for storing into an image database 32. The image database 32
   FIG. 18 is a flow diagram of the process for obtaining                 is preferably a relational database that resides in a mass stor-
image and location information of a location selected from a              age device taking the form of a hard disk drive or drive array.
map.                                                                      The mass storage device may be part of the computer 28 or a
                                                                     40   separate database server in communication with the com-
    DETAILED DESCRIPTION OF THE INVENTION                                 puter.
                                                                             In an alternative embodiment, the images are transferred
   FIG. 1 is a schematic block diagram of a data acquisition              directly to the data acquisition computer 34 as the images are
and processing system for acquiring and processing image                  being recorded. In this scenario, the computer 34 is preferably
and position data used to create composite images of a geo-          45   equipped with the video acquisition card and includes suffi-
graphic location. The composite images are created by syn-                cient storage space for storing the acquired images. In this
thesizing individual image frames acquired by a video camera              embodiment, the data acquisition computer 34 preferably
moving through the location and filming the objects in its                contains program instructions to create the composite images
view. The composite images may depict on urban scene                      from the acquired images.
including the streets and structures of an entire city, state, or    50      In general terms, a composite image of a particular geo-
country. The composite images may also depict other locales               graphic location is created by using at least one video camera
such as a zoo, national park, or the inside of a museum,                  10 recording a series of video images of the location while
allowing a user to visually navigate the locale.                          moving along a path. In the one camera scenario, the camera
   The data acquisition and processing system includes one or             10 is moved twice on the same path but in opposite directions
more image recording devices preferably taking the form of           55   to film the objects on both sides of the path. Movement to the
digital video cameras 10 moving along a trajectory/path and               camera 10 is provided by a base, platform, or motor vehicle
recording images on the trajectory on digital videotapes 12.              moving at an average speed of preferably about 20 miles/hour
Other types of acquisition devices may also be used in com-               to ensure a sufficient resolution in the resulting images. Video
bination to, or in lieu of, the digital cameras 10, such as analog        cameras with higher sampler rates may allow for faster acqui-
cameras. Furthermore, the video images may be recorded on            60   sition speeds.
optical, magnetic, or silicon video tapes, or on any other                   Preferably, the data acquisition and processing system uses
known types of storage devices that allow random access of                four cameras 10 mounted on top of a moving motor vehicle.
particular image frames and particular video pixels within the            Two side cameras face each side of the path for filming
image frames.                                                             objects viewed from the each side of the vehicle. A front and
   The data acquisition and processing system further                65   back cameras allow the filming of the objects viewed from the
includes a GPS receiver 16 for receiving position information             front and back of the vehicle. The front and back cameras may
from a set of GPS satellites 18 as the cameras 10 move along              be equipped with fish-eye lens for providing a wide-angle




                                                          Appx409
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view of the path. A person skilled in the art should recognize,         form the composite image. Preferably, the image data
however, that additional cameras may be used to film the                extracted from each image frame is an optical colunm that
objects from different viewing directions. For example, a               consists of a vertical set of pixels. The composite image is
duodecahedron of cameras may be used to record the objects              preferably created on a colunm-by-colunm basis by extract-
from all viewing directions. Furthermore, the side cameras              ing the corresponding optical column from each image frame.
need not face directly to the side of the street, but may face a        Thus, to create a colunm Pi 50 in the composite image 40, the
slightly forward or backward direction to provide a look up or          computer locates an image frame 42a that was acquired when
down of the path.                                                       the camera 10 was located at Xi 52. To locate this image frame
   As the images acquired by the cameras 10 are recorded on             42a, the computer uses the GPS data and/or data from the
the videotapes 12, the frame number and time associated with       10   inertial navigation system 20 to identify a time Ti 54 at which
the images are transferred to the data acquisition computer             the camera 10 was in the location Xi 52. Once the image
34. The images recorded on the videotapes 12 are later trans-           frame 42a is identified, the computer 28 extracts the optical
ferred to the post-processing computer 28 for further process-          colunm 56 with an index (Pi/N)*M, where N is the total
ing. Once the images are received, the computer 28 stores the           number of colunms in the composite image 40 and M is the
image data in its memory in its original form or as a com-         15   number of colunms in the image frame 42a. The composite
pressed file using one of various well-known compression                image 40 is stored in the image database 32, preferably in
schemes, such as MPEG.                                                  JPEG format, and associated with an identifier identifying the
   As the camera 10 moves along the path and records the                particular geographic location depicted in the image. Further-
objects in its view, the GPS receiver 16 computes latitude and          more, close-ups and fish-eye views of the objects are also
longitude coordinates using the information received from          20   extracted from the video sequences using well-known meth-
the set ofGPS satellites 18 at selected time intervals (e.g. one        ods, and stored in the image database 32. The unused data
sample every two seconds). The latitude and longitude coor-             from the acquired images is then preferably deleted from the
dinates indicate the position of the camera 10 during the               computer's memory.
recording of a particular image frame. The GPS satellite 18                FIG. 3 is a high-level flow diagram of the steps exercised by
also transmits to the GPS receiver 16 a Universal Time Coor-       25   the data acquisition and processing system in creating and
dinate (UTC) time of when the coordinates were acquired.                storing the composite images. In step 60, the camera 10
The GPS receiver 16 is preferably located on the vehicle                acquires a series of images of a particular geographic loca-
transporting the camera 10 or on the camera itself. The GPS             tion. At the same time, the GPS receiver 16 and/or inertial
data with the position sequences and UTC time information is            navigation system 20 acquires the position of the camera 10
then transferred to the computer 34 for storing in the trajec-     30   while the images are being acquired. Because the time asso-
tory database 36.                                                       ciated with the position information (position time) is likely
   In addition to the position information provided by the GPS          to differ from the times of acquisition of the video images
receiver 16, the inertial navigation system 20 also provides            (video time), the computer 28, in step 62, synchronizes the
acceleration information to the computer 34 for indepen-                image sequence with the position sequence. The synchroni-
dently deriving the position sequence of the camera 10. Spe-       35   zation is preferably a post-processing step that occurs after
cifically, the one or more accelerators and gyroscopes in the           the image and position sequences have been acquired.
inertial navigation system 20 monitor the linear and rotational            In step 64, the computer 28 segments the trajectory taken
acceleration rates of the camera 10 and transfer the accelera-          by the recording camera 10 into multiple segments and labels
tion data to the computer 34. The computer 34 integrates the            each segment with identifying information about the seg-
acceleration data to obtain the position of the camera 10 as a     40   ment. For example, if the camera traverses through various
function of time. The computer 34 preferably combines the               streets, the computer 28 segments the trajectory into multiple
position derived from the acceleration information with the             straight street segments and associates each street segment
GPS position data to produce a more accurate evaluation of              with a street name and number range. In step 66, the computer
the position of the camera 10 at particular instances in time.          28 generates a series of composite images depicting a portion
   The post-processing computer 28 uses the image and posi-        45   of each segment, and in step 68, stores each composite image
tion sequences to synthesize the acquired images and create             in the image database 32 along with the identifying informa-
composite images of the location that was filmed. The com-              tion of the segment with which it is associated.
posite images preferably provide a wider field of view of the              FIG. 4 is a more detailed flow diagram of step 62 for
location than any single image frame acquired by the camera             synchronizing the image sequences with the position
10. In essence, the composite images help provide a pan-           50   sequences of the recording camera according to one embodi-
oramic view of the location.                                            ment of the invention. Although the process illustrated in FIG.
   FIG. 2 is an illustration of a composite image 40 created            4 assumes that the position data is GPS data, a person skilled
from the image frames 42 acquired by the camera 10 while                in the art should recognize that a similar process may be
moving along an x-axis 58 direction. In creating the compos-            employed to synchronize the images to positions calculated
ite image 40, the computer assumes a fictitious camera 44          55   using the inertial navigation system 20.
located behind the actual camera 10 and identifies optical rays            The process starts, and in step 70, a user of the system
46 originating from the fictitious camera. The location of the          selects a landmark in the image sequence that appears in at
fictitious camera 44 depends on the desired field of view of            least two distinct video frames. This indicates that the land-
the location being filmed. The further away the fictitious              mark was recorded once while the camera 10 was moving on
camera is placed from the objects along the x-axis 58, the         60   one direction on the path, and again while the camera was
wider its field of view of the objects.                                 moving in an opposite direction on the same path. The land-
   The computer also identifies optical rays 48 originating             mark may be, for example, a tree in a lane divider.
from the actual camera 10. For each optical ray 46 from the                In step 72, a time interval T is measured in the image
fictitious camera 44, the computer 28 selects an acquired               sequence between the two passings of the landmark. In step
image frame 42 that includes a corresponding optical ray 48        65   74, the computer 28 uses the GPS data to compute a function
originating from the actual camera 10. Image data from each             for determining the time interval between successive passes
selected image frame 42 is then extracted and combined to               of any point along the path. The function is then used to find,




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for each point x on the path, a time of return Tr(x) which               this regard, the latitude and longitude coordinates provided
measures the lapse of time between the two passings of each              by the GPS receiver 16 are converted into two-dimensional
point. In step 76, a point is identified for which Tr(x)=T. The          Mercator coordinates according to well-known methods. A
identified point provides the GPS position of the landmark               spline interpolation is then obtained from the two-dimen-
and hence, a GPS time associated with the landmark. Given                sional Mercator coordinates and the resulting spline function
the GPS time, a difference between the GPS time and the                  is parameterized in arc-length. The computer 28 obtains a
video time associated with the landmark may be calculated                new sampling of the coordinates from the spline function by
for synchronizing any image frame acquired at a particular               uniformly sampling the coordinates in an arc-length incre-
video time to the GPS position of the camera at a particular             ment of about one meter while detecting the points in the new
GPStime.                                                            10   sequence where a turn was made. The place where a tum
    FIG. 5 is a flow diagram of an alternative embodiment for            occurs is assumed to be the place of an intersection of two
synchronizing the image sequences with GPS position infor-               segments.
mation. As in FIG. 4, the process illustrated in FIG. 5 also                Preferably, the computer 28 performs a singular value
identifies, in step 80, a landmark in the image sequence that            decomposition computation according to well-known meth-
appears in at least two distinct image frames. In step 82, a time   15   ods to detect the turns. In this regard, the computer selects an
phase is initialized to an arbitrary value using the camera time         observation window containing N sample points that is
stamp. In step 84, the computer 28 measures the distance                 moved along the spline for calculating an index indicative of
traveled between the two points on the path that correspond to           the overall direction (i.e. alignment) of the points in the win-
the time instants in the image sequence where the landmark is            dow. The higher the index, the less aligned the points, and the
seen from the two sides of the path. In step 86, an inquiry is      20   more likely that the camera was making a turn at those points.
made as to whether the distance has been minimized. If the               The points are least aligned at the center of a turn, and thus,
answer is NO, the time phase is modified in step 88, and the             the computer selects as a tum coordinate a point in the obser-
process returns to step 84 where the distance is measured                vation window where the index is at a local maximum. The
again.                                                                   computer 28 gathers all the points whose indexes correspond
    In another embodiment, the synchronization does not             25   to local maxima and stores them into an array of tum coordi-
occur as a post-production process, but occurs in real-time as           nates.
the image and position sequences are acquired. FIG. 6 is a                  In step 122, the computer 28 determines the center of an
block diagram of a portion of the data acquisition and pro-              intersection by grouping the turn coordinates into clusters
cessing system of FIG. 1 allowing a real-time synchroniza-               where turns that belong to the same cluster are turns made on
tion of image and position data. A UTC clock generator 90           30   the same intersection. An average of the turn coordinates
provides to the data acquisition computer 34 the UTC time                belonging to the same cluster is then calculated and assigned
associated with each GPS position of the recording camera 10             as the intersection coordinate.
as the camera moves along the path. The video time produced                 The endpoints of each straight segment are identified based
by a camera clock 92 is also provided to the data acquisition            on the calculated intersection coordinates. In this regard, an
computer 34 via the communications port 24. A UTC card 94           35   intersection coordinate at the start of the segment is identified
on the computer 34 correlates the video time to the UTC time.            and assigned to the segment as a segment start point (the
Thus, the video image acquired at the video time may be                  "From" intersection coordinate). An intersection coordinate
correlated to the GPS position of the camera during the                  at the end of the segment is also identified and assigned to the
recording of the image.                                                  segment as a segment end point (the "To" intersection coor-
    FIG. 7 is yet another embodiment for synchronizing the          40   dinate).
image sequences with the GPS position of the recording                      In the scenario where at least two side cameras are utilized,
camera 10. In step 100, the post-processing computer 28                  each camera films the objects on each side of the path during
computes the temporal variation in the image values (i.e.                the first pass on the path. Thus, unlike the single camera
optical flow) of the bottom pixel rows in the image sequence.            scenario where a turn is made at each intersection to move the
Thus, the average velocity of each of the pixels in the row may     45   camera along the same path twice but in opposite directions,
be obtained. In step 102, the tangential velocity of the camera          a turn is not made at each intersection in the two camera
10 is obtained from the GPS reading. The average velocity for            scenario. Therefore, instead of identifying the points of maxi-
the computed pixels is directly proportional to the vehicle              mum curvature for determining the intersection coordinates,
tangential velocity. Thus, in step 104, the time phase between           the intersection coordinates are simply detected by tracking
the position and video sequences may be determined as a time        50   the GPS data and identifying where the segments orthogo-
delay maximizing the alignment of local maxima and local                 nally intersect.
minima between the average pixel velocity and the vehicle                   The computer 28 associates the calculated segments with
tangential velocity. This time phase is then read out in step            information obtained from a geographic information data-
106.                                                                     base 128 and stores it into a segments table as is described in
    FIG. 8 is a more detailed flow diagram of step 64 of FIG. 3     55   further detail below. In the scenario where composite images
for segmenting the trajectory followed by one or more record-            of a city are created, the geographic information database 128
ing cameras 10 and labeling the segments with an identifier.             includes a map of the city where the endpoints of each street
In the one camera scenario, the camera is moved along the                segment on the map are identified by latitude and longitude
path making a right tum at each intersection until a block 112           information. The database 128 further includes a street name
has been filmed, as is illustrated in FIG. 9. The camera then       60   and number range for each street segment on the map. Such
moves to a second block 114 to film the objects on that block.           databases are commercially available from third parties such
Thus, a particular path 110 adjoining the two blocks 112, 114            as Navigation Technologies and Etak, Inc.
is traversed twice on opposite directions allowing the filming              In correlating the segments of the camera's trajectory with
of the objects on each side of the path.                                 the segments in the geographic information database 128, the
    In step 120, the post-processing computer 28 segments the       65   computer, in step 124, determines the correspondences
camera's trajectory into straight segments by detecting the              between the "From" and "To" coordinates calculated for the
points of maximum curvature (i.e. where the turns occur). In             trajectory segment with intersection coordinates of the seg-




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ments in the database. The computer 28 selects the segment in            that corresponds to time Ti may be inferred. The computer 28
the geographic information database 128 which endpoints are              may then extract the colunm of RGB values from the new
closest to the computed "From" and "To" coordinates, as the              frame for a colunm i.
corresponding segment.                                                      Preferably, the computer 28 creates multiple composite
   In step 126, the computer labels each trajectory segment              images at uniform increments (e.g. every 8 meters) along a
with information that is associated with the corresponding               segment. In the scenario where the composite images are
segment in the database 128. Thus, if each segment in the                created for street segments, the composite images depict the
database 128 includes a street name and number, this infor-              view of the objects on each side of the street. The composite
mation is also associated with the trajectory segment.                   images are then stored in the image database 28 along with
   FIG. 10 is a more detailed flow diagram of step 66 of FIG.       10   various tables that help organize and associate the composite
3 for creating a composite image ofa segment of the camera's             images with street segment information.
path according to one embodiment of the invention. In step                  According to one embodiment of the invention, the image
130, the computer 28 computes the arc length coordinate Xe               database 32 includes composite images of a geographic area
of the center of the segment which is then set as the center of          which together provide a visual representation of at least the
the composite image. In step 132, the computer identifies the       15   static objects in the entire area. Thus, if the geographic area is
optical rays 46 (FIG. 2) originating from the fictitious camera          a particular city, the composite images depict the city on a
44 by computing an array of equidistant positions Xl,                    street-by-street basis, providing a visual image of the build-
X2, ... , Xn along the camera's trajectory, centered around              ings, stores, apartments, parks, and other objects on the
Xe. The number of computed positions preferably depend on                streets. The system further includes an object information
the number of optical colunms that are to be created in the         20   database with information about the objects being depicted in
composite image.                                                         the composite images. If the geographic area being depicted
   In step 134, the computer 28 uses the position information            is a city, the object information database contains information
obtained from the GPS receiver 16 and/or inertial navigation             about the structures and businesses on each city street. In this
system 20 to map each position Xi on the trajectory to a                 scenario, each record in the object information database is
                                                                    25   preferably indexed by a city address.
position time Ti. Thus, if GPS data is used to determine the
camera's position, each position Xi of the camera 10 is                     FIG. 13 is an illustration of an exemplary street segments
mapped to a UTC time.                                                    table 170 including the street segments in the camera's tra-
   In step 136, the computer 28 uses the time phase informa-             jectory. The table 170 suitably includes multiple entries
tion computed in the synchronization step 62 of FIG. 3 to                where each entry is a record specific to a particular street
                                                                    30
convert the position times to video times. For each identified           segment. A particular street segment record includes an index
video time, the computer 28, in step 138, identifies an asso-            identifying the street segment (segment ID) 172 as well as the
ciated image frame and extracts a column of RGB pixel                    corresponding street name 174 obtained from the geographic
values from the frame corresponding to the optical rays 46               information database 128 (FIG. 12). A particular street seg-
originating from the fictitious camera 44. In step 140, the         35   ment record also includes the direction of the street (North,
colunm of RGB pixel values are stacked side by side to                   South, East, or West) 176 with respect to a main city street
generate a single image bitmap forming the composite image.              referred to as a city hub. The direction information generally
   FIG. 11 is a more detailed flow diagram of step 138 for               appears in an address in front of the street name. A city, state,
identifying and retrieving a colunm ofRGB pixel values for a             and/or country fields may also be added to the table 170
particular video time Ti according to one embodiment of the              depending on the extent of the geographic area covered in the
                                                                    40
invention. In step 150, the computer 28 identifies an image              image database 32.
frame with frame index Fi acquired at time Ti. Because the                  A street segment record includes the endpoint coordinates
image frames are acquired at a particular frame rate (e.g. one           178 of the corresponding street segment in the geographic
frame every 1/30 seconds), there may be a particular time Ti for         information database 128. An array of segment IDs corre-
which an image frame was not acquired. In this scenario, the        45
                                                                         sponding to street segments adjacent to the segment start
frame closest to time Ti is identified according to one embodi-          point are identified and stored in field 180 along with the
ment of the invention.                                                   direction in which they lie with respect to the start point (e.g.
   In step 152, the current position of the image sequence is            North, South, East, or West). Similarly, an array of segment
set to the image frame with index Fi, and the frame is placed            IDs corresponding to street segments adjacent to the segment
into a frame buffer. In step 154, a colunm in the image frame       50   end point are also identified and stored in field 182. These
with an index i is read out from the frame buffer.                       segments are also ordered along the direction in which they
   FIG. 12 is a flow diagram of an alternative embodiment for            lie.
identifying and retrieving a colunm ofRGB pixel values for a                In addition to the above, a street segment record includes a
particular video time Ti. If an image frame was not acquired             distance of the start of the trajectory segment from the city
at exactly time Ti, the computer, in step 160, identifies 2*N       55   hub 184. The city hub generally marks the origin of the streets
image frames that are closest to time Ti, where N> 1. Thus, at           from which street numbers and street directions (North,
least two image frames closest to time Ti are identified. In step        South, East, or West) are determined. Street numbers are
162, the computer computes an optical flow field for each of             generally increased by two at uniform distances (e.g. every
the 2*N image frames and in step 164, infers the colunm of               12.5 feet) starting from the hub. Thus the distance from the
RGB values for a colunm i at time Ti. In the situation where        60   hub allows a computation of the street numbers on the street
only two image frames are used to compute the optical flow,              segment. In a one camera situation where each segment is
the computer identifies for each pixel in the first image frame          traversed twice, the distance from the hub is computed for
a position Xl and a position time Tl. A corresponding pixel in           each camera trajectory. In a multiple camera scenario, how-
the second frame is also identified along with a position X2             ever, only one distance is computed since the camera
and a position time T2. The position X' of each pixel at time       65   traverses the segment only once.
Ti is then computed where X'=Xl+((Ti-Tl)/(T2-Tl))*(X2-                      Also included in a street segment record is a length of the
Xl ). Given the position of each pixel at time Ti, a new frame           trajectory segment. Such a length is computed for each tra-




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jectory in a one camera 10 scenario because the movement of              screen. Alternatively, a keyboard, keypad, joystick, mouse,
the camera 10 is not identical during the two traversals of the          and/or remote control unit is provided to define the user
segment.                                                                 terminal's input apparatus.
    Each street segment record 170 further includes an offset               Each remote user terminal includes a network interface for
value 188 for each side of the street. The offset is used to             communicating with the host computer via wired or wireless
correct the street numberings computed based on the distance             media. Preferably, the communication between the remote
information. Such a computation may not be accurate if, for              user terminals and the host computer occurs over a wide area
instance, there is an unusually wide structure on the segment            network such as the Internet.
that is erroneously assigned multiple street numbers because                In an alternative embodiment of the invention, the image,
it overlaps into the area of the next number assignment. In this    10   geographic information, and object information databases
case, the offset is used to decrease the street numbers on the           reside locally at the user terminals in a CD, DVD, hard disk
segment by the offset value.                                             drive, or any other type of mass storage media. In this embodi-
    FIG. 14 is an illustration of an exemplary image coordi-             ment, the user terminals include a processor programmed
nates table 200 for associating the composite images with the            with instructions to receive queries from the user about a
street segments in the street segments table 170. The image         15   particular geographic location and retrieve composite images
coordinates table 200 includes a plurality of composite image            and associated information in response to the user queries.
records where each record includes a segment ID 202 of the                  FIG. 16 is an illustration of an exemplary graphical user
street segment being depicted in the composite image. In                 interface (GUI) for allowing the user to place requests and
addition, each composite image record includes information               receive information about particular geographic locations.
of the side of the street segment 204 being depicted. For           20   The GUI includes address input fields 220 allowing the user
example, the side may be described as even or odd based on               to enter the street number, street name, city and state of the
the street numbers on the side of the street being depicted.             particular location he or she desires to view. Actuation of a
Each composite image entry also includes a distance from the             "See It" button 222 causes the user terminal to transmit the
segment origin to the center Xe of the composite image 206               address to the host computer to search the image and geo-
indicating the position along the street segment for which the      25   graphic location databases 32, 128 for the composite image
image was computed. The distance information is used to                  and map corresponding to the address. Furthermore, the host
retrieve an appropriate composite image for each position on             computer searches the object information database to retrieve
the street segment.                                                      information about the objects depicted in the composite
    FIG. 15 is an illustration of an exemplary segment block             image.
table 210 for allowing an efficient determination of a segment      30      The retrieved composite image and map are respectively
ID that is closest to a particular geographic coordinate. In this        displayed on the display screen of the requesting user termi-
regard, the geographic area depicted in the image database 32            nal in a map area 226 and an image area 224. The map is
is preferably partitioned into a grid of square blocks where             preferably centered around the requested address and
each block includes a certain number of street segments. The             includes a current location cursor 228 placed on a position
blocks are assigned block labels preferably corresponding to        35   corresponding to the address. The current location identifier
the center longitude and latitude coordinates of the block. The          228 may, for instance, take the shape of an automobile.
block labels are stored in a block label field 212. Associated              The composite image displayed on the image area 224
with each block label are segment IDs 214 corresponding to               provides a view of a side of the street (even or odd) based on
the street segments in the block. Given the coordinates of a             the entered street number. The user may obtain information
particular geographic location, the block closest to the given      40   about the objects being visualized in the composite image by
coordinates may be identified to limit the search of street              actuating one of the information icons 234 above the image of
segments to only street segments within the block.                       a particular object. In displaying the information icons 234, a
    In a particular use of the system, a user places inquiries           range of street addresses for the currently displayed image is
about a location in a geographic area depicted in the image              computed. The listings in the object information database
database 32. For example, the user may enter an address of the      45   with street numbers that fall inside the computed range are
location, enter the geographic coordinates of the location,              then selected and associated with the information icons 234
select the location on a map of the geographic area, or specify          displayed on top of the image of the object.
a displacement from a current location. Preferably, the user                If the objects are business establishments, the information
has access to a remote terminal that communicates with a host            displayed upon actuating the information icons 234 may
computer to service the user requests. The host computer            50   include the name, address, and phone number 236 of the
includes a processor programmed with instructions to access              establishment. This information is preferably displayed each
the image database 32 in response to a user request and                  time the user terminal's cursor or pointing device is passed
retrieve composite images about the particular location. The             above the icon. In addition, if the establishment is associated
processor is also programmed with instructions to access the             with a particular Web page, the information icon 234 func-
geographic and object information databases to retrieve maps        55   tions as a hyperlink for retrieving and displaying the Web
and information on the businesses in the geographic area. The            page, preferably on a separate browser window.
retrieved data is then transmitted to the requesting remote                 The user may obtain a close-up view of a particular object
user terminal for display thereon.                                       in the composite image by selecting the object in the image. A
    The remote user terminals may include personal comput-               close-up view of the object is then obtained by computing the
ers, set-top boxes, portable communication devices such as          60   distance of the selected object from the origin of the street
personal digital assistants, and the like. The visual component          segment where they object lies. The location on the segment
of each remote user terminal preferably includes a VGA or                of the closest close-up image is computed and retrieved from
SVGA liquid-crystal-display (LC) screen, an LED display                  the image database 32. The close-up image is then provided in
screen, or any other suitable display apparatus. Pressure sen-           the image area 224 or in a separate browser window.
sitive (touch screen) technology may be incorporated into the       65      A "Switch View" button 230 allows the user to update the
display screen so that the user may interact with the remote             current composite image providing a view of one side of the
user terminal by merely touching certain portions of the                 street with a composite image of the other side of the street. In




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a multiple camera scenario, each actuation of the "Switch               the user terminal also retrieves the computed start and end
View" button 230 provides a different view of the street. The           street numbers of the street segment, a list of computed com-
current view is preferably identified by a direction identifier         posite images for both sides of the street segment in the image
(not shown) on or close to the current location identifier 228.         coordinates table 200 (FIG. 14), and information of the
For instance, one side of the current location identifier 228           objects visible on the street segment in the object information
may be marked with a dot or an "X" to identify the side of the          database.
street being viewed. Alternatively, an arrow may be placed                 In step 250, the user terminal downloads a composite
near the current location identifier 228 to identify the current        image for the appropriate side of the street from the host
viewing direction.                                                      computer that has a distance from the origin of the street
   The composite image is also updated as the user navigates       10   segment to the center of the composite image 206 (FIG. 14)
through the streets using the navigation buttons 232. From a            that is closest to the distance of the desired street number from
current location, the user may choose to navigate north, south,         the origin. The display on the user terminal is then updated in
west, and east by actuating the corresponding buttons. Pref-            step 252 with the new location and image information.
erably, only the navigation buttons corresponding to the pos-              FIG. 18 is a flow diagram of the process executed by the
sible direction of motions from the current position are           15   host computer for obtaining image and location information
enabled. As the user actuates one of the buttons, the current           of a particular location selected on the map displayed in the
position is incremented by a predetermined amount, currently            map area 226. A similar process is executed by the user
set to eight meters, to the next available composite image on           terminal in the embodiment where the location and image
the current or adjacent segment. The image area 224 is then             information are stored locally at the user terminal.
updated with the new composite image.                              20
                                                                           The process starts, and in step 260, the user requests infor-
   FIG. 17 is a flow diagram of the process executed by the
                                                                        mation about a particular street address by selecting a loca-
host computer for obtaining image and location information
                                                                        tion on the map. In step 262, the map coordinates are con-
of an express street address entered in the address input fields
                                                                        verted from screen coordinates to geographic location
220. A similar process is executed by the user terminal in the
                                                                        coordinates (x,y) and transmitted to the host computer pref-
embodiment where the location and image information are            25
                                                                        erably over the Internet. In step 244, a query is run on the host
stored locally at the user terminal.
                                                                        computer to locate the street segment index in the street
   The process starts, and in step 240, the user requests infor-
                                                                        segment table 170 (FIG. 13) corresponding to the geographic
mation about a particular street address by entering the
                                                                        location coordinates. In this regard, the computer searches the
address in the address input fields 220. In step 242, the
                                                                        segment block table 210 (FIG. 15) for a block that includes
address is transmitted to the host computer preferably over a      30
                                                                        the street segment corresponding to the input location. In
wide area network such as the Internet. In step 244, a query is
                                                                        order to locate such a block, the computer rounds the identi-
run on the host computer to locate the street segment index in
                                                                        fied geographic location coordinates based preferably on the
the street segment table 170 (FIG. 13) corresponding to the
                                                                        size of the block. The rounded (x,y) coordinates may thus be
requested address. In this regard, the computer searches the
                                                                        represented by ((round(x/B))*B, (roundy/B)*B)), whereB is
street segment table 170 for street segments that match the        35
                                                                        the length of one of the block sides. The computer then
desired street name 174 as well as a city, state, or country if
                                                                        compares the rounded number to the coordinates stored in the
applicable. For each street segment matching the street name,
                                                                        block label field 212 and selects the block with the label field
the computer computes the starting street number on that
                                                                        212 equal to the rounded coordinate. Once the appropriate
segment preferably based on the following formula:
                                                                        block is identified, the computer proceeds to retrieve the
                                                                   40
      Start NurnbeF(round((Distance from Hub+Offset)/                   segment IDs 214 associated with the block. The geographic
           K)*2)                                                        coordinates of the desired location are then compared with
   The distance from the hub 184 and offset 188 values are              the endpoint coordinates of each street segment in the block
obtained from the street segment table 170. The value K is the          for selecting the closest street segment.
distance assumed between any two street numbers on the             45
                                                                           In step 266, the segment ID of the closest street segment is
segment.                                                                returned to the user terminal. Additionally, a new map of the
   The ending street number on the street segment is also               desired location may be transmitted if the previous map was
calculated using a similar formula:                                     not centered on the desired location.
      End NurnbeF(round((Distance from Hub+Offset+
                                                                           In step 268, the requesting user terminal downloads from
          lengtb)/K)*2)                                            50   the host computer a street segment record in the street seg-
                                                                        ments table 170 corresponding to the identified street seg-
The length is the length 186 value obtained from the street             ment. The user terminal also retrieves the calculated start and
segment table 170.                                                      end street numbers of the street segment, a list of computed
   Once the start and end street numbers are calculated for a           composite images for both sides of the street the segment in
particular street segment, the computer determines whether         55   the image coordinates table 200 (FIG.14), and information of
the requested street number lies within the start and end street        the objects visible on the street segment in the object infor-
numbers. If it does, the computer returns the corresponding             mation database.
segment ID 172. Furthermore, the computer determines the                   In step 270, the user terminal downloads the composite
distance of the requested street number from the start of the           image corresponding to the geographic coordinates of the
street segment for determining the position of the street num-     60   input location. To achieve this, the geographic coordinates are
ber on the street segment.                                              converted to a distance along the identified street segment.
   In step 246, the host computer transmits the query result to         The user terminal downloads a composite image that has a
the requesting user terminal along with a map of the input              distance from the origin of the street segment to the center of
location retrieved from the geographic information database             the composite image 206 (FIG. 14) that is closest to the
128. In step 248, the requesting user terminal downloads from      65   distance of the input location from the origin. The display on
the host computer a record from the street segments table 170           the user terminal is then updated in step 272 with the new
corresponding to the identified street segment. Furthermore,            location and image information.




                                                         Appx414
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                               15                                                                        16
   Although this invention has been described in certain spe-               3. The method of claim 1, wherein the first and second
cific embodiments, those skilled in the art will have no diffi-           images are each a composite image, wherein each composite
culty devising variations which in no way depart from the                 image is created based on a first one of the image frames
scope and spirit of the present invention. For example, the               acquired at a first point in the trajectory and a second one of
composite images may be made into streaming video by                      the image frames acquired at a second point in the trajectory.
computing the composite images at small increments along                     4. The method of claim 1, wherein the first and second
the path (e.g. every 30 cm). Furthermore, the composite                   images are each a composite image, wherein each composite
images may be computed at several resolutions by moving the               image is created by processing pixel data of a plurality of the
fictitious camera 44 (FIG. 2) closer or further away from the             image frames.
path to decrease or increase its field of view and provide the       10      5. The method of claim 1, wherein the first and second
user with different zoom levels of the image.                             images each depict a wider field of view than is depicted in
   Variation may also be made to correct any distortions in the           any one of the image frames.
perspective of the composite image along the vertical y-axis                 6. The method of claim 1 further comprising:
direction. The extraction of the optical colunms from the                    acquiring position information associated with the image
acquired image frames may introduce such a distortion since          15         recording device as the image recording device moves
the sampling technique used along the horizontal x-axis                         along the trajectory; and
direction is not applied along the y-axis. Such a distortion                 synchronizing the image frames acquired by the image
may be corrected by estimating the depth of each pixel in the                   recording device with the position information.
composite image using optical flow. The aspect ratio of each                 7. The method of claim 6, wherein the first and second
pixel may be adjusted based on the distance of the object            20   images are associated to respectively the first and second
visualized in the pixel. The distortion may also be corrected             locations, based on the synchronized position information.
by acquiring images from an array of two or more video                       8. The method of claim 1 further comprising:
cameras 10 arranged along the vertical y-axis in addition to                 segmenting the trajectory on which the image recording
the cameras in the horizontal axis.                                             devices moves, into a plurality of segments;
   The described method of generating composite images               25      correlating the plurality of segments to a plurality of street
also relies on an assumption that the camera's trajectory is                    segments in a geographic information database;
along a straight line. If this is not the case and the vehicle               identifying one of the plurality of street segments based on
carrying the camera makes a lane change, makes a tum, or                        the first user input specifying the first location; and
passes over a bump, the choice of the optical column                         retrieving the first image based on the identified one of the
extracted from a particular image frame may be incorrect. The        30         plurality of street segments.
distortion due to such deviations from a straight trajectory                 9. The method of claim 8, wherein the correlating the
may, however, be corrected to some degree using optical flow              plurality of segments includes correlating position data of the
to detect such situations and compensate for their effect.                plurality of segments to position data of the plurality of street
   It is therefore to be understood that this invention may be            segments.
practiced otherwise than is specifically described. Thus, the        35      10. In a system including an image source and a user
present embodiments of the invention should be considered in              terminal having a screen and an input device, a method for
all respects as illustrative and not restrictive, the scope of the        enabling visual navigation of a geographic area from the user
invention to be indicated by the appended claims and their                terminal, the method comprising:
equivalents rather than the foregoing description.                           providing by the image source a plurality of images depict-
                                                                     40         ing views of objects in the geographic area, the views
   What is claimed is:
                                                                                being substantially elevations of the objects in the geo-
   1. In a system including an image source and a user termi-
                                                                                graphic area, wherein the images are associated with
nal having a screen and an input device, a method for enabling
                                                                                image frames acquired by an image recording device
visual navigation of a geographic area from the user terminal,
                                                                                moving along a trajectory;
the method comprising:
                                                                     45      receiving by the user terminal a first user input specifying
   receiving a first user input specifying a first location in the              a first location in the geographic area;
      geographic area;                                                       retrieving by the user terminal a first image associated with
   retrieving from the image source a first image associated                    the first location, the first image being one of the plural-
      with the first location, the image source providing a                     ity of images provided by the image source;
      plurality of images depicting views of objects in the          50      retrieving by the user terminal a map of at least a portion of
      geographic area, the views being substantially eleva-                     the geographic area;
      tions of the objects in the geographic area, wherein the               displaying by the user terminal the retrieved first image on
      images are associated with image frames acquired by an                    a first display area of the screen and the retrieved map on
      image recording device moving along a trajectory;                         a second display area of the screen;
   retrieving a map of at least a portion of the geographic area;    55      receiving by the user terminal user selection of a second
   displaying the retrieved first image on a first display area of              location on the displayed map;
      the screen and the retrieved map on a second display area              retrieving by the user terminal a second image associated
      of the screen;                                                            with the second location, the second image being one of
   receiving a user selection of a position on the displayed                    the plurality of images provided by the image source;
      map;                                                           60         and
   determining a second location based on the user selected                  displaying by the user terminal the retrieved second image
      position; and                                                             on the first display area of the user terminal.
   retrieving from the image source a second image associ-                   11. The method of claim 10, wherein the first and second
      ated with the second location.                                      images are each a composite image, wherein each composite
   2. The method of claim 1 further comprising:                      65   image is created based on a first one of the image frames
   displaying the second image on the first display area of the           acquired at a first point in the trajectory and a second one of
      screen.                                                             the image frames acquired at a second point in the trajectory.




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                              17                                                                       18
   12. The method of claim 10, wherein the first and second                 20. The method of claim 15 further comprising:
images each depict a wider field of view than is depicted in                receiving by the computer system a second user selection
any one of the image frames.                                                   associated with a particular one of the objects depicted
   13. The method of claim 10, wherein the first and second                    in the first image; and
images are each a composite image, wherein each composite                   invoking display ofinformation on the particular one of the
image is created by processing pixel data of a plurality of the                objects in response to the second user selection.
image frames.                                                               21. The method of claim 20, wherein the particular one of
   14. The method of claim 10, wherein the image source is               the objects is a retail establishment, the method further com-
hosted by the user terminal.                                             prising:
   15. A method for enabling visual navigation of a geo-            10      accessing a web page for the retail establishment; and
graphic area via a computer system coupled to an image                      invoking by the computer system a display of the web page
source, the computer system including one or more computer                     on the display screen.
devices, at least one of the computer devices having a display              22. The method of claim 20 further comprising:
screen, the method comprising:                                              invoking by the computer system a display of an icon in
   providing by the image source a plurality ofimages depict-       15         association with the particular one of the objects,
      ing views of objects in the geographic area, the views                   wherein the second user selection is actuation of the
      being substantially elevations of the objects in the geo-                icon.
      graphic area, wherein the images are associated with                  23. The method of claim 15 further comprising:
      image frames acquired by an image recording device                    invoking by the computer system a display of a direction
      moving along a trajectory;                                    20         identifier for indicating a viewing direction depicted by
                                                                               the first or second image displayed on the first display
   receiving by the computer system a first user input speci-
                                                                               area.
      fying a first location in the geographic area;
                                                                            24. The method of claim 15 further comprising:
   retrieving by the computer system a first image associated               invoking by the computer system a display of a location
      with the first location, the first image being one of the     25         identifier on the map for identifying the first location in
      plurality of images provided by the image source;                        the portion of the geographic area.
   providing by the computer system the retrieved first image               25. The method of claim 15, wherein the first and second
      for displaying on a first display area of the display              images each provide a panoramic view of the objects at
      screen;                                                            respectively the first and second locations.
   providing a map of at least a portion of the geographic area     30      26. The method of claim 15, wherein the first and second
      for displaying on a second display area of the display             images are each a composite image, wherein each composite
      screen;                                                            image is created based on a first one of the image frames
   receiving by the computer system a user selection of a                acquired at a first point in the trajectory and a second one of
      position on the map;                                               the image frames acquired at a second point in the trajectory.
   determining by the computer system a second location in          35      27. The method of claim 15, wherein the first and second
      the geographic area in response to the user selection;             images are each a composite image, wherein each composite
   retrieving by the computer system a second image associ-              image is created by processing pixel data of a plurality of the
      ated with the second location, the second image being              image frames.
      one of the plurality of images provided by the image                  28. The method of claim 15, wherein the first and second
      source; and                                                   40   images each depict a wider field of view than is depicted in
   providing by the computer system the retrieved second                 any one of the image frames.
      image for displaying on the first display area of the                 29. The method of claim 15 further comprising:
      display screen.                                                       acquiring position information associated with the image
                                                                               recording device as the image recording device moves
   16. The method of claim 15, wherein the first location
                                                                    45         along the trajectory; and
specified by the first user input is an address specifying infor-
                                                                            synchronizing the image frames acquired by the image
mation selected from the group consisting of street name, city,
                                                                               recording device with the position information.
state, and zip code.
                                                                            30. The method of claim 29, wherein the first and second
   17. The method of claim 15 further comprising:                        images are associated to respectively the first and second
   determining screen coordinates of the selected position;         50   locations, based on the synchronized position information.
   converting the screen coordinates to geographic location                 31. The method of claim 15 further comprising:
      data; and                                                             segmenting the trajectory on which the image recording
   determining the second location based on the geographic                     devices moves, into a plurality of segments;
      location data.                                                        correlating the plurality of segments to a plurality of street
   18. The method of claim 15 further comprising:                   55         segments in a geographic information database;
   receiving by the computer system a second user input                     identifying one of the plurality of street segments based on
      specifying a navigation direction relative to the second                 the first user input specifying the first location; and
      location in the geographic area; and                                  retrieving the first image based on the identified one of the
                                                                               plurality of street segments.
   updating by the computer system the second image dis-
                                                                    60      32. The method of claim 31, wherein the correlating the
      played on the first display area in response to the second
                                                                         plurality of segments includes correlating position data of the
      user input.
                                                                         plurality of segments to position data of the plurality of street
   19. The method of claim 18 further comprising:                        segments.
   invoking by the computer system a display of a navigation                33. The method of claim 15, wherein the one or more
      button indicating the navigation direction; and               65   computer devices includes a server.
   receiving by the computer system user selection of the                   34. The method of claim 15, wherein the one or more
      navigation button.                                                 computer devices includes a user terminal.




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                                                       US 7,813,596 B2
                               19                                                                        20
  35. A user terminal coupled to an image source and a data                  displaying an icon in association with the particular one of
store for visually navigating a geographic area, the user ter-                  the objects, wherein the second user selection is actua-
minal including:                                                                tion of the icon.
   a display screen;                                                         43. The user terminal of claim 35, wherein the computer
   a processor coupled to the display screen; and                         program instructions further include:
   a memory coupled to the processor and storing computer                    displaying a direction identifier for indicating a viewing
      program instructions therein, the processor configured                    direction depicted by the first or second image displayed
      to execute the computer program instructions, the com-                    on the first display area.
      puter program instructions including:                                  44. The user terminal of claim 35, wherein the computer
      receiving a first user input specifying a first location in    10   program instructions further include:
         the geographic area;                                                displaying a location identifier on the map for identifying
      retrieving from the image source a first image associated                 the first location in the portion of the geographic area.
         with the first location, the image source providing a               45. A system for enabling visual navigation of a geographic
         plurality of images depicting views of objects in the            area, the system comprising:
         geographic area, the views being substantially eleva-       15      an image source providing a plurality of images depicting
         tions of the objects in the geographic area, wherein the               views of objects in the geographic area, the views being
         images are associated with image frames acquired by                    substantially elevations of the objects in the geographic
         an image recording device moving along a trajectory;                   area, wherein the images are associated with image
      retrieving from the data store a map of at least a portion                frames acquired by an image recording device moving
         of the geographic area;                                     20         along a trajectory;
      displaying the retrieved first image on a first display area           a data store storing a map of the geographic area; and
         of the display screen and the retrieved map on a sec-               one or more computer devices coupled to the image source
         ond display area of the display screen;                                and the data store, at least one of the computer devices
      receiving a user selection of a second location on the                    having a display screen, the one or more computer
         displayed map;                                              25         devices being configured to execute computer program
      retrieving from the image source a second image asso-                     instructions including:
         ciated with the second location; and                                   receiving a first user input specifying a first location in
      displaying the retrieved second image on the first display                   the geographic area;
         area of the display screen.                                            retrieving a first image associated with the first location,
   36. The user terminal of claim 35, wherein the first location     30            the first image being one of the plurality of images
specified by the first user input is an address specifying infor-                  provided by the image source;
mation selected from the group consisting of street name, city,                 providing the retrieved first image for displaying on a
state, and zip code.                                                               first display area of the display screen;
   37. The user terminal of claim 35, wherein the computer                      providing a map of at least a portion of the geographic
program instructions further include:                                35            area for displaying on a second display area of the
   determining screen coordinates associated with the                              display screen;
      selected second location;                                                 receiving a user selection of a position on the map;
   converting the screen coordinates to geographic location                     determining a second location in the geographic area in
      data; and                                                                    response to the user selection;
   determining the second location in the geographic area            40         retrieving a second image associated with the second
      based on the geographic location data.                                       location, the second image being one of the plurality
   38. The user terminal of claim 37, wherein the computer
                                                                                   of images provided by the image source; and
program instructions further include:                                           providing the retrieved second image for displaying on
                                                                                   the first display area of the display screen.
   receiving a second user input specifying a navigation direc-
                                                                     45      46. The system of claim 45, wherein the first location
      tion relative to the second location in the geographic
                                                                          specified by the first user input is an address specifying infor-
      area; and
                                                                          mation selected from the group consisting of street name, city,
   updating the second image displayed on the first display
                                                                          state, and zip code.
      area in response to the second user input.
                                                                             47. The system of claim 45, wherein the computer program
   39. The user terminal of claim 38, wherein the computer
                                                                     50   instructions further include:
program instructions further include:
                                                                             determining screen coordinates of the selected position;
   displaying a navigation button indicating the navigation                  converting the screen coordinates to geographic location
      direction; and                                                            data; and
   receiving user selection of the navigation button.                        determining the second location based on the geographic
   40. The user terminal of claim 35, wherein the computer           55         location data.
program instructions further include:                                        48. The system of claim 45, wherein the computer program
   receiving a second user selection associated with a particu-           instructions further include:
      lar one of the objects depicted in the first image; and                receiving a second user input specifying a navigation direc-
   displaying information on the particular one of the objects                  tion relative to the second location in the geographic
      in response to the second user selection.                      60         area; and
   41. The user terminal of claim 40, wherein the particular                 updating the second image displayed on the first display
one of the objects is a retail establishment, and the computer                  area in response to the second user input.
program instructions further include:                                        49. The system of claim 48, wherein the computer program
   accessing a web page for the retail establishment; and                 instructions further include:
   displaying the web page on the display screen.                    65      invoking display of a navigation button indicating the navi-
   42. The user terminal of claim 40, wherein the computer                      gation direction; and
program instructions further include:                                        receiving user selection of the navigation button.




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                             21                                                                      22
  50. The system of claim 45, wherein the computer program               57. The system of claim 45, wherein the first and second
instructions further include:                                          images are each a composite image, wherein each composite
   receiving a second user selection associated with a particu-        image is created by processing pixel data of a plurality of the
      lar one of the objects depicted in the first image; and          image frames.
   invoking display ofinformation on the particular one of the            58. The system of claim 45, wherein the first and second
      objects in response to the second user selection.                images each depict a wider field of view than is depicted in
   51. The system of claim 50, wherein the particular one of           any one of the image frames.
the objects is a retail establishment, the method further com-            59. The system of claim 45, wherein the computer program
prising:                                                               instructions further include:
   accessing a web page for the retail establishment; and         10      acquiring position information associated with the image
   invoking display of the web page on the display screen.                   recording device as the image recording device moves
   52. The system of claim 50, wherein the computer program                  along the trajectory; and
instructions further include:                                             synchronizing the image frames acquired by the image
   invoking display of an icon in association with the particu-              recording device with the position information.
      lar one of the objects, wherein the second user selection   15      60. The system of claim 59, wherein the first and second
      is actuation of the icon.                                        images are associated to respectively the first and second
   53. The system of claim 45, wherein the computer program            locations, based on the synchronized position information.
instructions further include:                                             61. The system of claim 45, wherein the computer program
   invoking display of a direction identifier for indicating a         instructions further include:
      viewing direction depicted by the first or second image     20
                                                                          segmenting the trajectory on which the image recording
      displayed on the first display area.
                                                                             devices moves, into a plurality of segments;
   54. The system of claim 45, wherein the computer program
instructions further include:                                             correlating the plurality of segments to a plurality of street
   invoking display of a location identifier on the map for                  segments in a geographic information database;
      identifying the first location in the portion of the geo-   25      identifying one of the plurality of street segments based on
      graphic area.                                                          the first user input specifying the first location; and
   55. The system of claim 45, wherein the first and second               retrieving the first image based on the identified one of the
images each provide a panoramic view of the objects at                       plurality of street segments.
respectively the first and second locations.                              62. The system of claim 61, wherein the correlating the
   56. The system of claim 45, wherein the first and second       30   plurality of segments includes correlating position data of the
images are each a composite image, wherein each composite              plurality of segments to position data of the plurality of street
image is created based on a first one of the image frames              segments.
acquired at a first point in the trajectory and a second one of
the image frames acquired at a second point in the trajectory.




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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,813,596 B2                                                                                         Page 1 of 1
APPLICATION NO.             : 12/482284
DATED                       : October 12, 2010
INVENTOR(S)                 : Luis F. Goncalves et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         On the Title Page
         Item (57) Abstract, line 2                      Delete "provide"
                                                         Insert -- provides --



         In the Specification
         Column 3, line 49                               Delete "on"
                                                         Insert -- an --

         Column 4, line 64                               Delete "A front"
                                                         Insert -- Front --

         Column 10, line 38                              Delete "fields"
                                                         Insert -- field --




                                                                                         Signed and Sealed this
                                                                                       Fifth Day of August, 2014



                                                                                                      Michelle K. Lee
                                                                              Deputy Director of the United States Patent and Trademark Office




                                                           Appx419
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FORM 19. Certificate of Compliance with Type-Volume Limitations                               Form 19
                                                                                             July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number:        2022-1477, 2022-1478, 2022-1479, 2022-1480


  Short Case Caption: Vederi LLC v. Google LLC

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
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                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        08/01/2022
  Date: _________________                        Signature:       /s/ Shaun P. Lee


                                                 Name:            Shaun P. Lee
